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                         Tl~ T~T]~ CC1U~t'~' C1F CUMMON PLEAS
                              HA ~LTC}I~T COUNTY,OHIO
                                      CIVIL A~V~SIDN

~o~~sE ~a~Lrss,B~ ~vD                        Cage No.     A 1 6 025 3
'r~taX.r~x aFrER x~rsB~vn ~vn
NEXT FRIENII,STEVEN ~AYLISS
36 Sheraton Court                            JLTL}CE
HarniltQn, 4hia 45Q13
                                              COlVIPLA~~i'~'
And                                           A14ID JURY DEMAIVA

KEVIN &HILLARY
X45 Elm Street #1
Felicity, tJhio 45120
                                             (ALL I~E~ DR.Di1RRANI
And                                          CASES SHALL GO TD JUDGE
                                             Ri7EHLMA~T PER HIS ORDER}
CARC?~.'Y'I~ ,►4i "~VX~.~IAM HURSONG
3464 Hallyglen Court
Cincinnati, Ohio 45251

And

CH1tISTUPHER 11~ICCAUGAEY
As Adnunistratar of the
~STAT~ b~'SARAH JUEItGENS
?2'J 1Vlartin Luther King Dr. W.Apt 4D9w
Cincinnati, OH 4-5220

And

LINDA KALLMEYER-WARD
12000 Westerly Drive
Cincinnati, OH 45231

Anal

~TELYN KAUF~'MAN
16 Merlin Drive
Fairfield, OAT X5(]14

An~i

:#1V~A1'~AA, KUCH
X133 lVlt~unt Alverno
Cincinnati, qH 45238




                                                                   EXHIBIT A
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:~i
r
RUVIMBO NYEMBA
41.31 St. Martins Place
C~~acinnatx, C~H 45211

And                                     -

R~INALI} R[IWLEY
274 Prairie Avenue
Wit~nington, aH 45177

And

BILLY SP~VY
31~ Rice Drive #14
West Union, Uk~~o 45693

       Plaintiffs,
v.

ABi7BAI{A~t ATIQ IlT7RRANI, M.D.,
Serve: ~rthapedie &Spine Institute
243 Canal Road
Lala~re 54D~0 Pakistan
(Serve by regular mail

And

CENTER FUR ADVANCEII SPINE
TECHZVCILQ~IE~,INC.
Serve: Urtl~opedic & SpiYie Institute
203 Canal Road
La17ar~ 5A000 Pakistan
(Serve by regular mail



WEST CHESTER HOSPITAL,LLC
7740 UNNERSITY DRIVE
WEST CHESTER,~?H 45069
SERVE: GH&R BLISIN~SS SVCS.,INC.
511 WALNUT STREET
19~~ FZFTH THIRI3 CENTER
CINCINNATI,(aH A~5202
 Case: 1:16-cv-00594-SJD Doc #: 1-3 Filed: 05/31/16 Page: 3 of 307 PAGEID #: 26




(Serve aria Gei-~ified mail)

Anti

UC HEALTI~
SERVE: GH&R BUSINESS SVCS.,l~C.
5~ 1 WAI,Iti1UT STREET
19+D0 FIFTH THIRD CENTER
CINCINNATI,~H 4522
(Serve via Certified mail)

►:~I

C~-IRYS'~' HOSPITAL
2X 3~ ~U~U~N AVENUE
CINCINNATI, OHIa Q~5214

SERVE: CT CORPORATION
SYSTEM
73D0 EAST NINTH STEET
CLEVELAND, OHIO 4144

And

CINCINNATI CHILDREN'S
HOSPITAL IV~DICAL CENTER
3333 8T_TRNET AVENE.TE
CIN~INNA'~, ClH 45229

Sezve: k'rank C. Woodside III
100 C~iemed Center
Cincinnati, CITE 45202
(S~rve via Certified mail)

                defendants.



        Come now Plaintiffs, and file this Complaint and jury demand, puzsuant to the agreerr~ent

at'fihe parties and Dz-de~- v~'the court, and state as fallaws:

                                  INTRCIDUCTaRY PARAGRAPH

1. All ofthe Plaintiffs filed in this lawsuit are residents of and darniciled in the State of(.~hio.

Z. Plaintiffs hive filed these cases toge#her because of the common fact each of'thern h~.d
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   sux~eries performed by Dr. Durrani whiae he vv~s under suspension at Vilest Chester Hospital.

3, Dz, Durrani, during his suspension from August ~,201{l u~atil Dctaber 5,201 ,performed

   surgeries can multiple Plaintiff's by labeling the surgeries "emergencies."

4. Dr. Durrani performed mare thaa~ 3~ surgeries whip he was undar suspension at West

   Chester Hospital.

S. A memorandum, attached as Exhfh~t A,discusses canversa~ic~ns that Brian Isaacs ar~d Santen

   Hughes Law firm hid, which addresses and confirms that I7r. Durxa~ai was suspended from

   August 6, 2010 through at least October 5, 2010 at'~est Chester Haspita~. E:~hibft B is t1~e

   list of uses s~~rject to this Complaint a1le~atioza.

C~, Tl~e mernoran~iurn states, Dr. Duzr~.ni was suspended he was nflt alic~wed to sched~e new

   patients ar perform surgeries, etc.

7. Plaintiff, Louise Bayliss, Kevin Hartness, Care►~yn Hursong, Sarah Ju~rgens, Linda

   Kallmayer-Ward,Ruyimbo Nyernb~, and Billy Spiny, all have Infi~selBMP-2 implanted iri

   their spines from surgeries Dr. Dul7ani performed while uzadez suspe~YS~~n at West Chester

   Hospital.

S. Plaitrtif~'s Shei7-i Allen, Gayle Bachman, Gerald Ratner, Latoya Bradshaw, Neil Fa~aron,

   Tonia McQueary, grad Christina Brashear are alsfl S'lainti£fs that I}r, Duxrani performed

   surgery an while he was under susp~zasxon at West Chester Hospital; howe~ar, tl3ese cases are

   already filed with this Court.

9, Plaintiff Ctuistina Goldstein is also a Plaintiff that 17r, Durrani perfozm~d surgery on while

    he was under suspension at West C~aest~r Hospital; however,this case has already been filed

    xn Butler County Court.

1Q. Additionally, these cases a~~e being filed together t[~ be cast ef#xcient as well as ~reing filed
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   together far thei~~ carnman scheme offac#s and based upon Judge Ruehlt~az~'s December 15

   Court Order Plaintiffs will request ALL cases xnvo~~ng I~z. Durrani operating ~vhi~e

   suspended be tried together.

                                 JURISDICTIDIV ANI~ VENUE

1 1. At all tunes relevant, Plaintiffs were residents of and domiciled in the State of Ohio.

12. At all times rele~~t, Defendant Dr, A~rubakar- At~q Dunani(hereinafter "I]r. I3urrani"} was

   licensed to and did in fact practice medicine in ~Iie Mate of Ohio.

~3. ~.t ail tames relevant, Center for Advanced Spine Technologies, Tnc. [hereinafter"CAST"),

   was licensed to and did in fact perform medical sexvACes xx~ the State of Ohio, end was and is

   a coiparation authorized to ~rans~ct business in the Mate of Ohio and Kentuc~Cy.

14. At all times relevant, The Grist Hospital("TCH")~~as a limited liability company

   authorized to transact busixiess and perform rnedi~al s~rv~ices in the State o~~hia and

   operating under the trade narrte The C~~`ist Haspita7.

1 S. At all times relevant, Cincinnati Children's Hospital Medical Center {hereina#~er "Children's

   Hospital"}, seas authorized to transact business and perForm medical services i~ tl~e Stag of

   Ohio and operate under the trade name Children's Hospital Medical Center.

lb. At all times re~e~ant herein, Children's Hospital held its~l£ut~t to the public, and specifically

   to PlaintifF, as a hospital ~ro~iding ~orzapetent and qualified medical end ntu'sing services,

   care acid treatment by artd through its ~ahysicians, physicians in training, residents, nurses,

   agents, astensxble agents, servants andlo~ employees.

17. A.t all times relevant, Wes# Chester Hospital, LLC(he~-eina$er `°West Chester Hospital"), was

   a limited liability company authorized to transact business and ~erfor-m medical services ~r~

   the State of Shia and operate under the trade xaa~ae West Chester Hospital.
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1 ~. A# all t~rnes relevant, ~3~f~ndant UC Healt~i Inc., r~vas a duly iic;ensed ccarporation which

   owned, operated andlor x~anaget~ multiple hospitals including, but no# limited to West

   Chester Hospital, and tivhich shared certain services, profits, and liabilities of hospitals

   including W est Chestear.

19. At all times relevant herein, West Chester Medical Center, Inc., aka West Chester Hospital

   held itself out to the public, and specifically tt~ Plairati~~s, as a ~~ospital p~o'~idin~ competent

    and qualified medical and nursing s~zces, care and treatment by and through its physiciaias,

   physicians iii raining, residents, nurses, agents, nstensibYe agents, servants ancllor employees,

20, UC Health is the cor~or~te parent, owner a~~d operator of Wrest Chester Hospital, LLC.

21. UC Health Stored BMP~2 at L1C Health Business Cezatea~ w~elaouse vacated in Hamilton

    County.

22. UC Hea~tli is the cQrpor~.te parent, owner and operator of West Chester Hospital, LLC. UC

    Health is located in Hamilton Coun~Ly making ~a►niiton C~u~aty apprnpriat~ to bring this

    lawsuit.

23, The amount in contra~~rsy e~ceecls the jurisdictional threshalc~ of tYtis Court..

24. These Plaintiffs cases have been previously dismissed pursuant to Civ. R.41(A)(1}(a) and is

    raow being refiled within the tir.~e allowed by O.R.C. 2305.14.

                         FACTUAL ALLEGATIQNS OF PLAIl'~TIFFS

     L4UISE BAYLI~~ BY AIVII THRQrUGH HER H'[7SBAND AND 1dTEXT ~+RIEltTD,

                                         STEVEN BAl'LISS

25. At all times re~e~ant, l'IaintifFs were married ar~d residents and domiciled in tl~e Stata of

    +Ohio.

Z6. Plaintiff sought treatment with l~z. Durrani in September 2010, after a re~`erral fiom her
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   family physic~a~, Dr, Mita1.

27. Dr. Ilurxani informed Plaintiff she ~aci two bulging discs and a neck fracture and that su~'gery

   was necessary so that she woulr~ be pain free.

2$. ~n August 6, 2010, West Chester Hospital suspended Dr. Durrani's surgical privileges, until

   Dr. I7urrani completed surgical charts and die suspensifln was in effect at Ieast through

   October S,2010.

29. Upon information and belief, Dr. Durrani, CAST, and '4~1est Chester ~-IospitalNC Health

   never infarrned Plaintiffteat D~. Durrani's pri~uileges wexe suspended.

~{I. On car about October 4, 2010, Dr. Durrani performed surgery on t1~e Plaintiffat West Chester

   Haspitat.

31. Upon information and b~~ief, Dr. Durranx used InfuselHMP-2 or Pure~an "off-label" in this

   surgery without Plaintiff's knowledge ar consent, causing harm.

32. The use ofBMP-2 iticreases a person's chance ofcancer by 3.5%

33. I]ue to the ~xnnecessary surge~es br. Durrani performed, Plai~tx~has a 3.5%increased

   chance of cancer because ofthe use ofBMP-2.

34, As a direct and proximate result of the use and iz~nplerz~entation ofInfuselBMP-Z Plaintiff

    has incurred a 3.5% increase in the risk of Cancer. As a result, Plaintiff has an increased fear

    of Cancer.

3S. Fallowing surgery, Flainti~s voice was rally deep and scratchy, but Dr. Durrani informed

    the family that this was temporary anc~ that he heel gone Ehrough the front of her neck as it

    was less invasive and r~ui~ker to heal.

3b. ~n October b,2010, Mrs. Bayiis~ was sent to Schroeder Mahar fnr ane week ofrehab,

    which surprised the family. ~'laintiffwas in extreme pain and could aaot ~~alk on her otivn
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   without the assistance of a cans ar walker.

37. ~n ~ctob~z' ~ $, 2010,Plaintiff had apost-operative visit and expressed pain and discomforx.

38. Over tk~e next several months, Mrs. Bayliss was ~n constant pain, monitored by family. Mrs.

   Bayliss ~~as losing her ability to speak and even sought speech therapy treatment, which was

   unsuccessful.

~~. Qn or about January 6, x.01 I,Plain#iff; was still in pain and h~~ing txr~uia~e ~novin~ around,

    went to Dr. Dturani ~~d recei~vec~ a steroid injection.

40. In June 2 11,Plaintiff's family physician, Dr. Mital, sent heY to Doverwood Village far

    additional reh~.b.

41. C?n ox about June 21, 24I 1, M[zs. Bayliss saw Dr. Du~~ani, after waiting for two h€~~rs. At

   this time, Plaintiff was still in extreme pain.

~2. On or about June 3D, 2011, Dr.1VIital ordered another MRI ofiVIrs, Sayliss's back.

43. On ox ai~t~ut July 5, 201 i, Plaintiffreturne~ to Do~erwood Village for additional rehab.

44. Over the next several months, Plai~~tiff continued a cyc~~ ofh~spital ~risits and stints in

   zehab. T~iraugh~ut this time, IVIrs. Baylzss lest her ability t~ speak, could not eat without

    coking,5h~ lost an extreme amount of weight, going frerm 1251bs to 9D~bs. Sloe l~~d to be

    lifted from a bed ax chair to be wheeled around.

45. In less th~.n a year, Mrs. Bayliss w~zzt from an independent, active person, to being unable to

    speak,requiring assistance for daily life ac#ivities.

fib. In November ?Q11, Mrs. Bayliss was admitted to Heritage Springs, where sloe continued to

    be in ex~rera7~ pain unable tc~ eat, walk, ox talk. the was able to wri#e notes and point at t~-iing.

    Her p~.in was in bar neck and ail dfl~n her bacl~.
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4~. t?n or about Z]ecember 26, 2013, Flainitiff was admitted to West Chester Hospital far

   dehydr~ti~n. When the family ar~7ved at the hospital, they leaned that she had fallen into a

   coma.

48. Upon inforrnatian and belief, the surgery perfarr~led by I)r. Du~xxani vas medically

    ua~n~cessary and improperly p~ormed.

49, Upan information and belief, Dr. Durrat~i was pe~'~'o~mi~g surg~Y-ies ti~hile his surgical

   ~rieileges were suspended. Dr. Dux~rani never informed the Plaintiff ofthe suspension and

    acted as if every surgery tivas an ernerge~cy, sa that he could perform s►zrgery on the Plaintiff.

    Dr. Durrani zr~islead, failed to disclose vital information, and improperly induced the Plaintiff

    to have surgery.

5D, As a direct anc~ proximate result o~this surgery acid Dr. Dut7ani's negligence, tha Plaintiffs

   lave suffered harm.

51. ~'laiz~tif~'s did riot become aware of Dr. Durraxix's use ofInfuselBMP-2 un#i1 legal counsel

    reviewed Plaintiffs' bills.

                                  KEV~~I &HILLARY Hr~RT1VESS

52.,At all times releva~it, Plaintiffs, Keviza arzd Hillery Hartness,("Fiaintiffs" or "Plaintiff'} were

    mair~iecl and residents Qf az~d domiciled in the State of Ohio.

S3. Plaintiff, Mr. Hartness, sought treatment with Dr. Durrani in e~r~y 2D09 ft►r lower back pain

    related to an au#omobile accident in 2007.

54. Dr. Durrani recommended surgery on Plaintiff to ralie~e pain.

55. Qn August 6, 2D~ 0, Nest Chester Hospital suspended D~. Durrar~i's surgi~a] privileges, until

    Dr. Xlurrani completed surgical chaz-ts and the suspension was in effect at leas# through

    Detaber 5,2010.
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56. Upon info7Ynation anti belief, Dr. Durra~li, CAST,and West Chester Hospita]ItJC Health

   never informed Plaintiff that Dr. Du~-rani's privileges were suspended.

57. On or abQUt September 1 S, 2Q 10, Dr. Durrarti performed surgery an Plaintiff a# West Chester

   Hospital. Specifically, Dr. ~lurrani perfo~ned a Direct Lateral Lumbar Interbody Fusion L3-

   L5 with instrumentation.

5$. The use of B1VIP-2 incr~as~s a person's chance o~c~n~e~'by 3.5%

S9. Due tv the um~aecessary sur~exies l~r. I3urrani performed,Plaintiff has a 3.5°lo xz~creased

   crianee of cancer because ofthe use ~f BMP-2.

G0. As a direct ana proximate result of the nse and implementation ofInfuselBMP-2 Plaintiff

   has incurred a 3.5%increase in the risk of Gancez, A,s ~ result, plaintiff has an increased fear

   of Cancer.

61. Plaintiffslack pain increased immediately following surgery. Plaintiff cantinuecl to seek

   treatmer~t with Dr. Durrani for this pain. each visit Dr, Dc~rrani would recommend another

   stugexy.

62. ~n or about March 23, 2011, Dr. Durrani perfoz~ed surgery on Plaintiff's neck at West

   Chester Hospital. Speeificaily, Dr. Durrani ~erfonned an Anterior Cervical discectomy C6-

   C7 with Instrumentation.

63. Pla~n#iffls fain in his neck and back increased dramatically after the second surgery.

64. Plaintiff continued #o fallow up with Dr. Durrani and inform hirn of this new and ~vorser~ing

   pain.

55. Dr•. Duc~rani continued to tell Plaintiff to give it time.

66. Plaintiff continues to live wzth constant discorn#'ort and pain in his neck, back, and arms since

   the ~~rgeries.
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67. Pl~inti~fis no longer able t~ drive, his a loss ofintimacy with his fiance, and experiences

    mig~r~ines, since the surgery with Dr. Duxr~~az.

d$. ~`taiz~ti#'f refixes on his fiance to dive him and helps with mast a~'t~ae household chores.

6}. Plaintiffis ntit able to activities ~l~at he once eiajayed, like hunting and £fishing.

70. Upon information and belief, the surgery performed by Dr. Durrat~i was mredically

    usuiecessary ar~d improperly ~aerfo~meei.

71. Upon information anti belief, Dr. Durrani was performing surgeries while his suzgical

    privileges were suspended. Dr. D~rrani never informed the Plaintiff ofthe suspension and

    acted as if every surgery ~uas ~n Emergency, sa tk~~t he could perform surgery on the Flainti~f.

    I7r, Durrani mislead, failed to disclose vital information, anc~ improperly induced the Plaintiff

    to have sui-geiy.

72. As a direct and praxirnate result of'this surgery atad Dz. T~ux7ranx's negligence, the Plaintiffs

    have suffered harm,

73. Plaintiffs dici not become aware ofDr. Durrani's use of Infuse/BMP-2 until legat cflunsel

    xeviewed Plaintiffs' bills.

                              CA~RULYTT &WILLIAM H[lRSQ~iG

74. At ail times relevant, Carolyn and William Hursong, were rnanried and were residents of and

    dazx~ieiled in the Stake of01iia.

75. Plaintiff was referred to seek treatrnent with Dr. Durra~i in 2010 for neck pairs that xadiated

    down bilaterally into her aztns. She also was experiencing numbness with this pain.

7G. Dr. Durrani racorxxnn~aded surgery are the first office visit.

77. Un August 6, 201(}, West Chester Hospital suspended Dr. Durrani's sw-gical privileges, until

    Dr. Durrani cflmpleted surgxc~], charts and the suspension was ire effect at least through
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    October 5, 2010.

78. Upon information and belief, Dr, Durr~ni, CAST,and West Chester Hospital/L1C Health

    never informed ~'lai~tiffthat Dr. Durrani's privileges were suspendecE.

79. On ~r around October 1, 2010, Dr. Durrani performed a spinal fusion anti anteY-iar cervical

    dzscectomy can Plaintiff at West Chester Hospital.

$0. Ater the surgery, Plaintiffs pain progressively gat wflrse. She continued to fo11o`v up with

    Dr. Durrani and complain of this pain.

81. Dr. Durrani informed Plaintiff the screws fxom the first surgery were out o~place and he

    needed to do a reviszon surgery.

82. t7n ox abut duly 11, 2~ ~ 1, Dr. Duirani performed a revision surgery ofPlaintiffs spine at

    West Chester Hospital.

~3. Plaintiff continued to follow up r~it~i Dr. Durrani and her pain levels stayed extremely high.

    Sloe fast ~~~~bilit~ in her neck f411owing the second surgery.

SA~. A~ditiana7ly, Plaintiff has blackouts, i~ she urns her n~c~C to acertain degx-ee. 'This did ~~ot

    happen before th.e sux~~ries.

$S. F'lainti#'#'continues to live with pain, C~15Cf?17z~~i~, and numba~ess. Her quality of life 11as

    diminished as a result ofthe suzgeries p~rf'oY~ned by Dr. Durrani,

$d. L~pfln infarmativz~ and t~elief, the s~geries upon Plaintiff by L7r. I3urra~~i were medically

    unnecessary.

~7. Upon information and belief, Dx. D~~rani was performing surgeries while his surgical

    privileges were suspended. Dr. Durrani never informed the Plaintiff of the suspension and

    acted as if every surgery was an emergency, sa that he could per~o~-tx~ surgery an tYte Plaintiff,
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   Dr. Durraz~i mislead, failed tta d~scl~se vital infQrrnation, and improperly induced the ~'laintiff

   to have surgery.

88. As a r~su~t ofthe neglige~ace ofthe Defendants named l~e~ein, Plaintiffs haves suffered

   damages includin,~ medical expenses, pain and s~ff~ring and loss flf enjoyment df life.

89.1'laintiffs did not become avaare of Dr. Duzxani's use of Infuse/BMP-2 until legal counsel

   reviewed Plaintiffs' bills.

  CHRYS NICCA~7GHE'Y AS EKEC~JTtIR Cl~'THE ESTATE {'!F SARAH JUERGENS

9Q. At all times relevant, Sarah Jue~rge~is, vas a resident of and d+arniciled in tha State of4hia.

91. ~'laintifffiY~st began treatment with Dr. Durrani in 2aQ9.

92. Shortly after heginni~g her first treatment witlY Dr. F~urrani, ha informed her that s~ie needed

   to undergo surgery. However, Dr. Durrani alga informed her that he could not ~erfoi~rn tl~i~

    surgery 1~eeause it was"too dangerous and tedious asa operation."

93. Soon after, Dr. Durrani persuaded Plaintiff that he could ~erfartn a "minimally invasive"

    technique that would allow the proposed surgery, and that Plaintiffwould experience

    immediate pain relief fo~~owirlg this "rninim~lly invasive°° surgery.

94. Na eonsetvatit~e treatment aptiQns were discussed, r~cornmended, ox attempted prior to Dr.

    Durrani telling the Plaintiffthat she needed surg~-y.

95. ~n August 6,201Q, West Chester Hospital suspended Dr. Durrani's surgical privileges, ~uuatil

    Dr. Durrani completed surgical charts and the suspension vas in effect at least through

    October 5,2DJ a.

96. Upon in.fvrmatian aid belief, D~. Durrani, CAST, and West Chester HospitallUG Healtk~

    never informed Plaixitiff that L7r. Du~-raniys privileges were suspended.
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97. Qn September 12, 201a, Dr. Du~xani perfoi~ned art extensive laterat entry surgery on the

   Plaintiff at Nest Chester ~as~atal and im~ianting hardware into tk~e Plaintz~f's sine["the

   first surgery„~

98. CTpon information and belief, Dt~. Dt~rrani used BMP-2JYnfiise or Puregen "off-label” in this

   first surgery without plaintiffs knowledge or consent, causing harm,

99. The use ofBMP-2 increases a person's chance of cancer by 3.5°la

lOd.    Due to t~.e unnecessary surgeries Dr. T~urrani performed,PlaintiFf has a 3,5%increased

    ehaiace of cancer because ofthe usetry BMP-2.

1Q1.     As a direct and proximate result of the use and implementation o~Infus~IBlull',2

   Plaintiff has incurred a 3.5% increase in the risk of Ca~icer, As a result, Plaintiffhas an

   increased fear of Ca~icer.

1.02,   Follvr~ving this first surgery, Plaintiff began experiencing new,~varse pain than she chid

    prior to the surgery.

103.    Since that time, this new pain has neither resolved nor subsided.

104,    C]n or auound Qctaber 27,2 10,Dr. Durrani perfa        ed a seeon~ extensive surgery to the

    Plaintiff's thoracic spine that required the ia~stallation of several pieces of hardware["the

    seco~td surgery"].

l OS,   Upon information aa~d belief, Dr. Durrani used AMP-Z/Infuse or Puregen "off-label" in

    this second surgery without Plaintiff's knowledge or consent, causing harm.

10~.    At follow up appointments to these surgeries, Dr. Dunani assured ~'laiz~t~£~'that her pain

    and immobility vaould r~st~lve anti her condition would drast~eally improve.

107.    In actuality plaintiffs rn~dica] condition were extreme and worsening, bt~t I7~r. Durrani

    continued tt~ falsely dacuFnent that Plaintiff's Ganditior~ vas impro~i~ag in his CAST nQt~s.
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1Q8.     4n or around November 3, 201Q, Defendants perFormed a corrective su~~gery to repair

    surgical mis~ake~ and failed hardware ~xtrtn the ~trst antE second surgeries["the third

    surgery"]

1 D9.    Thereafter, k~laintiff obtained n.o pain relief, and in fact, her condition continued to

    worsen.

110.     Plaintiff,$efare her death, was pernlanently harmed, ~~rgely immobile, and in constant

    pain as the result of these failed and improper surgeries.

111.     Plaintiff died on December 9,2fl13.

11.2.    LT~on infarmatxon and belief, the snr~ery pe~farmed by Dr. Durrani was medially

    unnecessary and improperly performed.

113.     Upon information and belief, Dr. Llurrani was performing surgeries while his surgical

    privileges were suspended. Dr. L?urranz never infarnled the PlaxntifF ofthe susp~~sion and

    acted a~ if every surgery was an emergency, so that he could perfoi7n surgery on the Pl~.intif£

    I3r. Duz7rani mislead, famed to disclose vital infartnat~on, and improperly induced the Flaintiff

    dv have surgery.

1 ~~}.   As a direct and praxirraate result ofthese surgeries and Dr. Durrani's neglige~rce, the

    Pla~nt~ffhas suffered harm.

115.     Plaintiffdid nt~t became awaa-e ofDr. Durrani's use ofInfusalBMP-2 until legal counsel

    reviewed Plaintiff's hills.

                                   LXNDA I~-~L~ME'~ER-WARD

116,     At all times, relerrant Plaintiff rva~ a resident Qf and domiciled in the State of Qhia,

717.     In or arauzid 2009, Ms. Ward began expeziencing pain x~ her neck,low back, and left

     az7n, along with nunnbness and tingtizag xn her left arm.
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118.   Plaintiff's family pl~ysiciara refetxed her to Dr. Durrani.

119.   In or around spring 20]0, Ms. Ward first consulted tivith Dr. Durrani at CAST,

120.   Upon information and belief, d~uing her first visit with Dr, Uunraaai, Dr, Durrani told Nis.

   Ward that he could "fix" her problems and that surgery was necessary to resolve her pain,

121.   Dr. Ilurrani diagnosed Ms. W€~ci with spinal st~nosis and disc degeneration at L3-L4,

   anterolistlaesas ofL3 on LA~, and disc herniation with spinal s~enasis.

12~.   C~}z~ August 6,201 a, West Chester Hospital suspended Dr. Durrani's surgical privileges,

   uyi#il Ilr, Durrani completed surgical charts and the suspension was in effect at feast tku~augh

   October 5,~41~.

123.   Upon infaz~r~xatic~n and belief, Dr. Durrani, CA"~T, and West Chester Haspital/LTC Health

   never informed Plaintiff that Dr. Durran~'s privileges were suspended.

I24.   On flr abQUt August 3~,2~1fl, Dr. Dul~rani performed an a~teriaar cen~ical diskectomy

   fusion using autr~graf~ and a~lograft at CS-C~ ar~d C6-C'7, placed anterior cervical cages at

   CS-C~ and CG-7, and placed anteriaz cervical ~nstraunentation at C5-6 and CG07, on Plaintif~at

   West Chester Hc~spita~.

125.   Upon i~farmation and belief, Dr. Durrani used InfuseBMP-2 "off —label" and/or Puregen

   without Plaintiffs knowledge ox consen#, causing Plaintiff harr.~.

126.   T}ie use ofBMP-2 increases a person's ch~.nce of cancer b~ 3.5%

127.    Due to the unnecessary surgeries Dr, Durrani performed,Plaintiff has a 3.5% increaset~

   chance ofcancer because of tkae use ofBMP-2.

128.    As a direct az~d proximate result of the use and irnplementatic~n ofIY7fiiselBMP-2

   plaintiff Baas incurred a 3.~%increase in the risk of Cancer_ As a result, Flaintif~has an

   tncrea~ed fear of Cancer.
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12~.   In or around Septera~ber 13,2Q1 Q,Plaintiff visited CAST for a fallowv tip appointrn~nt.

134.   A staff member crf CAS`i' noted that Plain#iff's wound laalced great beat that she was

   having dif~xculty swalYawing and was experiencing pairs in her shoulder blades.

131.   ~n ar about Se~tem~6er 23, 2010, Ms. Waxd visited Dr. D~rani at Gt~ST for apre-ap

   visit regarding her upca~rning sect3nd surgery.

132.   Llpan infol-matifln and belief, during the September 23,2~ I Q visit, 17r. T7urrani did not

   address Ms. Wart's current condition ar status.

133.   On or about C?ctober 4, 2fl10, Dr. Durrani performed a direct lateral lumbar fusion at L3-

   4 using autt►gr~ft and allograft, placed a lateral interbody cage at L3-4, placed posterior

   spinal inst~-~mentation at L3-4, and performed a posterior spi~tal fusion using autograft at L3-

   4 on Ms. Ward at West Chester ~aspital.

134.   U'pern izafarmatfon and 1?elief, Dr. Duz~-ani used InfiaselSMP-2 "off —label" andlor

   Fu7•eCen without Ms.War's knowledge ox ~t~ns~nt, c~usin~ 1V1s. W~a-d harm.

I35.   t'~n or about Qctabez l $, ~~1 d, Ms. Ward attended her two-week past-ap visit with r}r.

   Durrani at CAST.

136.   It was noted at this visit that mss.'Ward was complaining ofsome minor low back pain,

   was walking daily, and that shy was to begin physical therapy.

137.   Plainriff'returned to work at CFNTAS fallowing her surgeries despite the fact that she

   expez-ienced daily back paa~z as well as pain in her neck, arms, and Iegs.

13S.   In flr around June 2011, Dr. Durrani re~omrxier~ded t}~at plaintiff receive lumbar epidural

   steroids to #reat a large disc herniation at the L4-S level.

139.   In or around March 20l 2, Dr. Dur~•ani recommended tha# Plai~ltiffunderg~ a third

   surgery.
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14D,    In or around Apri120~2, Plaintiff was diagnosed wkt~ lung cancer and began visiting an

   oncologist.

141.    Plaintiff had pre~~ously smoked but quit in 207,five years before her lung cancer

   diagnosis.

142.    BMP-2/Infuse is known try increase the risk of cancer.

143.    M~. V~lard cancelled her scheduled third surgery with Dr. Durrani.

t 44.   Ms. Ward continues to treat with he~~ oncologist.

145.    1VIs. Ward naw expeni~~ces daily pain in her nec~C and back, which limits her ability to

   perform everyday activities.

14~.    Plaintiff naw has difficulty swallawang and experiences throat pain, which she did nc~t

    expexi~nce prior to undergoing surgeries with Dr. Durrani.

1~7.    Upon infarmatia~ and belief, Llr. Durrani was perfarrr~in~ surgeries while his surgical

    privileges wexe suspended. Dr. Durz~aa~i never i~~foz7ned the Plaintiff of the suspension and

    aete~ ~.s ifevery surgery was an emergency, so that he could perform surgery nn the Plaintiff:

    Dr. Durrani mislead, failed to disclose vital informatit~ti, anc~ improperly induced the Plaintiff

    to have suargery.

148,    Upon infai-~nation and belief, the surgez-~es pexformetl by DY. Durra~~i were medically

    unnecessary and improperly performed.

149.    As a direct and praxiniate result of Flaintif~'s surgeries, Dr, Durrani's negligence, and the

    Defendant°s negligence, ~'laintiff has suffered harm.

150.    Plaintiff did not become aware o~'SnfuselBMP-2 andlor Puregen iultil she contacted her

    undersigned counsel.
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                                       ~A'~~LYlW KACJFlF1VYAI+1

1 Sl.   At alI times z'elevant, Plaintifftivas a resident of and domiciled in the State of Ohio.

IS2.    On August 6,2p1(}, West Chester Hospital suspended Dr, I3urt-ani'~ surgical privileges,

   until Dr. Durrani completed surgical charts and the suspension ti~vas in effect at least through

   C}ct~ber 5,2010.

153.    Upon information and belief, ~]r. Drtrra~ii, CAST,and West Chester HospitalCCTC Health

   never informed Plaintiff that I}r. Durrani's privileges were suspended.

154.    Plaintiff first met fir, Durrar~i in Septerrtber 2010 at his CAST offices in Evendale.

155.    plaantx~fload been aYperiencing pain in her lower back and ~gl~t I~g.

I S6.   I7r. Durrani reviewed. Plaintiffs ~MRI previously taken in June Qr July ofZDJ 0 through

    Ohio Valley Clrthopedics, and diagnosed Plaintiff with a herniated disc in her lower back.

157.    Dr. Du~rrani recommended immediate surgery, and attempted to schedule such a

    procedure fc~r the very next day; k~awe~er, his schedule was already fiill at that time, and so a

    Iater date was needed.

158,    Dr. Durrarii advised the Plaintiff that if she did not have surgery tivathixt a short tiz~e, she

    vu~ould experience perma~aent nerve damage and become disabled.

159.    Plaintiff was scheduled for a surgery to occux sometime within the two weeks following

    her appointment.

160.    Cyn September 22, 241Q Dr. l7urrani artdlor Dr. Shaz~ti perforfned surgery on tie Plaintiff'

    that was supposed to consist of aright-side ~ndascapic discectc~rny from L5-Sl at West

    Chester Hospital.

161,    Upon information and belief, Dr. Durrani azadlar Dr. Shanti used InfusefBMP-2 or

    Puregen "o~#~label" in this surgery witk~out Plaintiffs knowledge oz consent, cawing harm.
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162.    The use of BMF'-2 increases a person's chance of cancer try 3.5%

163.    Due ~o the utar~ecessa~'y surgeries L]r. Duz-~ani perforrnecl, Plaintiff has a 3.5%increased

   chance of cancer because of the use of$M~'-2.

1d4.     As a direct and proximate result o~the use aid implementation ofInfuselBMP-2

   Plaintiff has incurred a 3.5°Jo increase in the risk of Cancer. As a resin#, Plaintz~£'has an

   increased fear of Cancer.

165.    However, due ~o failure to dock the endoscopic ports onto the LS-S 1 disc, ~ll5 WAS

   converted to an open praced~re.

166.    Plaintiff did got learn ofthe change in der procedure u7itil she awoke from surgery, after

   the suz-gezy had already been pexforrned.

167.    Plaintiff was told that k~er procedure 4~ot~d ret~uire a sr~aall "ke~hoie" sized incision in her

   back; instead, she awoke «Jitl~ a t'our~inch incision in her back that requirad extensive

   ~`ecupezation far beyond the 2-3 weeks° recovery time she hoc! previously been gi~er~.

1 bS.   Following the surgexy, Plaintiffrequired the az~aximum usage of morphine that the

   hospital allowed.

1 b9,   After neaxly seven weeks ofreca~ery and physical tk~~rapy, Plaintifffinally felt up to

   returning to work.

170.    However, as a result of the constant and severe pain that she now suffers, Plaintiff has

   been unable to find work ~n her chosen field and as struggling wider the weight cif the bills

   levied against 1~~ ley Dr. Dur7ani, Dr. Shanti, CAST,and West Chester HospitallUC Health.

171.    Upon zz~£ormation and belief, the surgery performed ~y ~lr. Durxani was rrredically

    unnecessary and improperly perfa red.
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172.    Upon in#'ormatzon and belief, Dr. Durrani was performing surgeries while his surgical

   privileges tivere suspended. Dr. Durrani never informed the Plaintiff of the suspension and

   acted as of every surgery tivas an emergency, so that he could perform surgery on the Plaintiff.

   ~'1X, ]Durrani mislead,failed to disclose vital iz~~oxmation, and impra~erly induced the Fl~i~t~~'f

   to have surgery.

173.    As a direct and proximate zesult of this surgery and I7r, Durrani's negligence, the Plaintiff

   has suffered ha.rrn.

174.    Plaintiff did got become aware of Dr. Durrani's use QfInfuselBMP-2 until legal counsel

   reviewed ~laintiffls bills.

                                        AMANDA KQCH

175.    At alb times releva~at, Amanda Koch, was a resident and domiciled in the State ot~ C?hio.

176.    At the time, Plaintiff soug~it the advice of Dr. Dun-ani, s~~e was experiencing intense pain

   and cQU1d barely walk.

177.    Qn ar around December lb, 2007,Dr. Durrani performed surgery on the Plaintiff at.

    Chx~dzen's Hospital.[the first siugery] She was only fourteen years old,

178.    I1pon information a.x~d belief, Dr. Dur-rani used InfuselBMP~2"offlabel" in this first

   surgery without plaintiffs knawlecige or consent, causing ~tarm.

179.    The use of8MP-2 increases a pez-son's chance cif cancer ley 3.5°/a

1 ~0.   I~ue to the unnecessary surgeries Dr. Durrani perforixied, Plaintiff has a 3.5°/a increased

   chance of cancer because ofthe use of$MP-2.

181,     ,As a direct and proximate result ofthe use and implementation of Infuse/BMP-2

    Plaintiff has incurred a 3.S%increase in the risk of Cancer. As a result, Plaintiff has an

    increased fear- of Cancer.
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1 ~2.   After der first surgery,Plair~tiffls pain became unbearable. Dr.Durrani rec€~rnrnended a

    second surgery be perfoi7ned to caned this pain.

183.    Before this second surgery could take place, Plaintiff would lose almos# all feeling in ~Zer

   legs and louzar exfremities.

18 4.   Can August 6, 2D1a,'L~'est Chester Hospital suspended Dx, Durrani's surgical privileges,

    u:ntxZ Ax. Duxz-ani carnpletEd suxgical carts and tie suspension was in e~`fect ~t leas# through

   {~ctober 5, 2t?10.

185.    Upo~Y infoi~natiQn and belief, Dr. Dur~ani, CAST,anct West Chester HospitallUC Health

    never informed Plaintiff that Dr. Durrani's privileges were suspended.

18~.    Qn or around September 20, 2010,Dr. Uu~-~ralai pex~arzxred surgexy an the Plaintiff at ~7[~est

    C~t@5th' HOS~}it~I ~"tl~e second surgery"].   PlaintifFwas seventeen at the time of this suzgery.

187.    LT~aan infor~natian and belief, Dr. Durrani used InfuselBMP-2 or PureGen "off-label" in

    Haas second surgery without Plaintiff's knowledge or consent, causing hazm.

18~.    The use ofBMP-2 increases a person's chance of cancer by 3.5°/n

189.    Due to the unnecessary surgeries I7r. Du~ani performed, ~'~~.intiff has a 3.5%increased

    chance off'cancer because of the use ~fBMP-2.

194.     As a direct and proximate result of the use and aznplexnentatian ofInfuselBMP-2

    Plaintiff has incurred a 3.5% increase i~ the risk of Cancer. As a result, Plaintiff has an

    increased fear ofCancer.

191.    About three days after her second surgexy ~vh~n Amanda Koch began to try to walk her

    legs began to "give out" c~uszng her t~ fa11, Amanda Kach ~~ras iz~ constant pain after fhe

    surgery with Dr. Dutrani.
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1 ~2,   Plainti£#'informed Dr. Durrani of her pain and trouble waking. Dr. Durrarii prescribed

   injections for Pi~ntiff, which cliti nothing to relieve her pain.

193.    On or around August 2 12, Dr. Durrani performed a revision surgery on the Flaint~ff at

   West Chester Hospital["the third surgery"}

194.    Upon information and belief, Dr. Durrani used TnfuselE3MP-Z or ~'ureGen "offlabel" in

   this second surgery without Plaintiff's l~now~edge or cozasent, causing harm.

195.    The use of BMp-2 increases ~ p~ez'son's chance of cancer by 3,5°/4

19b.    Due tQ the unnecessary surgeries D~•. Durrani perfoY~ned, Plaintiff has a 3.5°~o increased

   chance of cancer because ofthe use of BMP-2.

197.     As a direct and prnxiinate result ofthe use az~d xm~p~ernez~tatit~n ofInfiaselBMP-2

   l~l~intiff has incurred a 3.5% xr~cxease in the risk of Cancer. As a ~esurt, Plaintiffleas an

   i~icreased fear of Ca~icer.

19$.    Plaintiff is in constant pain every day anal has eYtrerne difficulty sleeping due to this }gain.

1 ~~,   ~'~aintz~~is a nrzother oftwo children and due to the carnage caused ~y T3r. Durrani s~.e is

   unable to perform everyday activities.

200.    Upon information and belief, the surgery ~erformecl ~y Dr. Durrani w~~ medically

   unnecessary and improperly performed.

24l.    Upon info~rnation and belief, Dr. Duzxani was performing suz-gea-ies while hip surgical

   privileges were suspended. D~'. Durrar~i never informed the Plaintiff ofthe suspension and

    acted as if every surgery was an emergency, so that he col~ld perform surgery an the Plaintiff.

    Dr. Durrani mislead, failure to disclose vital xnforrnation, and ir~r~properly induced the

    Plainti#~to have surgexy.
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2Q2.    As a direct and proximate result of this surgery and Dr. Dur-rani's negligence, the Plaintiff

   has suffered haa~n.

2t~3,   Plaintiff aid not became aware ofDr. Durrani's use ofInfuse/BMP-2 until legal cota~s~i

   reviewed Plaintiff's bills.

                                       RU~TIMBQ NYEMBA

204.    At all tircies relevant, Plaintiff was a resident and domiciled zr~ ttxe Stag of Ohio.

2~5.    Pt~intif~was refei7ed to fir. Durrani at Cincinnati Children's Hospital Medical Center by

    der elementary school aft~x a routine school examination for scaliosis.

~~b.    At the ~irrte other referral, Flainti~f was experiencing pain o~~ly occasionally; usually if

    she remained staa~ding for long periods of time,

207.    Dr. Durrani decided to keep a close eye on Plaintiff's "curve go~th" until her physical

    develQpmer~t stabilized.

208.    When Plazntiff'turned 16 years of age, Dr. Durrani recommended that ~lainti£~`undezgc~ a

    spinal fusia~i surgery to adjust the curvature ofher spine.

X09.    Dr. Durrani assured the Plaintiff that she would be "back to normal" in three weeks.

21Q.    an August 6, 2014, West Chester Hospital suspended ~7r, Durrar~i's surgical privileges,

    until Dr. Duz~rani completed surgical charts and the suspension ti~+as in effect at least t~irough

    o~tot~e~ s,z~~a.
211.    Upa~ anfc~rmatian and belief, Dr. Durrani, CAST,and West Chester Hos~aitallUC Health

    never infoi7ned Plaintiff t11at Dr. Durrani's privileges were suspended.

212.    C1n Septerc~ber 1 S, 20I4, Dr. Durrat~i performed surgery an the Plaintiff consisting of a

    spinal fusion at West Chester Hospital.

2I3,    After this surgery,the operative report vas not dictated, by Dr. Durrani, for 47 days.
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214.    Upon information and belief, Dr. Durz-ani used InfuselBMP-2 or Puregen °`off-label" in

    this surgery without Plaintiff's kno~l~dge or consent, causing harm.

2},S.   The use ofBMF-2 increases a person's chance of cancer by 3.5%

216.    Due to the unnecessary surgeries Dr. Durrani performed, l'l~intiff has a 3.5°/a ~z~cx'eased

    chance flf cancer because t~fthe use of B1VIP-2.

217.     As a direct and proximate result of the use and ixnpleznentatXOn ofInfi~sel~MA~2

    Plaintiff has i~curzed ~. 3.Sa/o increase in the risk of Cancer, As a result, Plaintiffhas an

   increased fear a~Car~cer.

218.    Af~~r this surgery, Plaintiffreceived follow-up treatnZent from Dr. Durrani and CAST.

219.    Plaintiff ncrw suffers ~z'am extreme pain that is worse than away she experienced prior to

    the surgery. In addition, she has lost a fair rr~easure of her flexibility.

22fl.   ~lai~taff continued to fo~Iow up ti~ith Dr. Durrani until August or September of2012.

221.    Upon information and belief, t~~e surgerg performed by Dr, D~ani vvas medically

    unnecessary aid improperly performed.

2~2.    Upon information and belief, Dr. Dut~ani way parformazxg surgex-i.es while ]azs surgic~.l

    privileges were suspended. Dr. Durrani nevez- anforrnect tl~e Plaintiffofthe suspension and

    acted as if every su1•gery was an err~e~'gency, sa that h~ could perform surgery on the Plaintiff.

    Dr, Durraa~i nvslead, failure to disclose vvital info   ~tion, and improperly induced trie

    PlaintifftQ have surgery.

223.    As a dixect and proximate result ofthis s~gery and Dr. D~arrani's negligence, the

    Plaintiffs have suffered k~az~n,
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                                      RUI~ALD RQ''4~VLEY

224.   At alI ~irnes relevant, Plaintiff, Ronald Rowley,("Plaintiff') was a resident of and

   do~nieiled in the State of Ohia.

2~5.   In early 2010,F~aintiffs primary care physician referred P'laintifftfl D~'. Durrani at~d

   CAST in Slue Ash for Ia~~ back and leg pain.

226,   Qn IVlaxch 25,2010, at Plaintiff's initial visit with I3r. Duirani at CAST,I3r. Dunani

   stated he would "fix" Plaintiff and xmrneciiately recommended Plaintiff undergo surgery on

   his lumbar spine.

Z27.   fin August 6,201 Q, West Chester Hospital suspended Dr. Duxrani's suxgical privileges,

   uz~tal Dr. Durrani completed surgical charts and the suspension was in effect at least throu~~h

   actober S, 2~I0.

228.   Upon information ~ncl belief, Dr. Durrani, CAS`I', and West Ck~ester ~~rspxtallUC ~~alth

   never infar~ned Plaintiff that Dr. Duxxani's privileges were suspended.

229.   Can August 25,20X d at Jest Chester ~-Ios~ital, Dr. Durrani operated an Plaintiff's lumbar

   spine. Specifically, Dr. D    ani perfflrmed a fizsion and placed a lateral ir~ferbod~ cage at L4-

   LS.

230.     During the August 25, 2010 surgery, Dr. Duxz-a~raa used InfuseJSMP-2 "off=label" without

   ~'lazzati£~s knowledge of consent, causing Plaintiff harm.

231.     The use ofBMP-2 increases ~ person's chance of cancer by 3.5°l0

232.     Due to the unnecessary surgeries Dr. Duzrani ~rerformed, Plazntzff has a 3.5%increased

   chance of cancer because of the use a~ AMP-2.
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233.    As a direct anti proximate result ofthe use arzd irrtplernentatior~ of InfuseBMP-2

   Plaintiffhas in~u~~ed a 3.5%increase in the risk of Caxzc~r. t~s a result, Plaintiff has an

   increased.

234.   After surgery, Plainta£ftreated with Dr. D~trrani at CAST in Blue Ash, until .tune 2(l1 ~1.

235.   Aber surgery with I3r. Durrani, Plaintiff caY~tinues to experience sever pain, which zs

   much worse than the pain he expe~i~zxced prior to undergoing surgery with Y7r. ]7t~rrani.

23~.   Upon informa~ioY~ and belief, t ae s~u~eries performed by Dr.Durrani were inedieally

   unnecessary and improperly perf'orrned.

237.   T.~poaa inf~r~rnation and belief,I]r. Durrani vas pe~•forming surgeries while his surgical

   privileges were suspended. Dr. Durrani never inforn-ted the Plaintiff ofthe suspe~si~n and

   acted as if eery surgery was an emergency, so that he could perform ~uXgery on the Plaintiff.

   Dr. Duxrarii mislead, tailed to disclose vital anforrnation, and impra~erly induced the Plaintiff

   to have surgery.

238.   As a direct and proximate result cif Plaintiff's surgeries, Dr. Durrani's negligence, and the

   De#'et~dant's negligence, Plaintiff has suf'f'ered harm.

239.   Plaintiff did n~nt become awaxe ofInfuse/BIv~~'-2 and/or PureGen until he contacted her

   undersigned cpunsel.

                                          BILLY SPIVY

240.   At all tines relevant,Plaintiff was a resident of anc~ domiciled in the State erf Ohio.

241.   Piainti~fsought treatment r~vith Dr. Durrani in January 2007 because ofintermittent

   nun~xbness in his right leg that would cause it to gQ #o sleep.

242.   Dr. Ihirrarai recommended lumbar surgery an the first visit.

243.   On February 9,2007,fir. DuY-rani performed lumbar fusion surgery at Christ Hospital.
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24~.   Irnmedia#ely follavv~ng surgexy, Plai~taffi~egat~ experiencing back fain end cau~d

   physically feel the hazdwar~ under his skin.

245.   Upon inforxxiation and belief, Dr. Durrani used Infuse/BMP-2 or Furegen "off-label" iz~

   this surgery without Plain#iffs kllawledge or consent, causing hai-r~i.

246.   The use of BMF-2 increases a persfln's chance of cancer by 3.5%

247.    Due to the unnecessary s~uge~es Dr. Durrani pertorrned, Plaintiff has a 3.5°~'o increased

   chance of cancer because of the use of B~VIP-~.

~4~.    As a direct and proximate x~sult o~the use and irnplernentatic~n ofI~ifusefBMP-2

   Plaintiffh~s i~tct~rred a. ~.5%increase in the risk of Cancer. As a result, Plaintiff has an

   increased.

249.   Plaintiff complained to Dr. Durrani about the n.ew p~i~ end I3r, Durrani iz~fazzxfed him the

   only thugs that would relieve him of this ~v4uld be a follow up surgery to get a disc Off ofa

   ~ter~~e iri his back.

250.   an March 27, 2{149,17x. Duzraz~i performed a cervical fusion surgery on Plaintiff at Christ

   Hospital. Plaintiff stayed in the hospital approximately 7 days following this surgery because

   ofcomplications with excessive bleeding.

251.   FQllawing this surgery, Plaintiff hacl an increase in back pain and began expeY-iencing a

   new fain in his lower back. and right leg.

252.   Plaintiff continued to follow np with I3r, I3urrani and complain ~f the pain,I]r. Durrani

   told him to give it a year to heal.

253.   After continued pain and follow up treatment, Ilr. Durrani recommended anflther surgery

   to held alleviate the pain.

254.   ~7n August ~,2010, West Chester Hospital suspended Dr, Durrani's surgical privileges,
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   until Ax, Uurrani completed surgical charts ar~d the suspension was iz~ effect at least through

   Dotober 5, 2Q 1 Q,

255.   Upfln infvrmatian and belief, Dr. Durrani, CAS's', a~td West Chester Hospital/CTC Health

   Weser informed Plaintiffthat Dr. Durrani's privileges were suspended.

25b.   Can September 17, 241 ,Dr. T]urrar~i perfoxrned a cervical fusifln on Plaintiffon the back

   ofhis neck at Wept Chester HQSpital.

257.   Upon inforrn~tion ar~d belief, DY-. Durrani used Infusef~MP-2 or P~regen "cuff-label" in

   tk~~s surgery without Plaintiff's knowledge ar consent, causing ~az~.

25$.   The use oFBMP-2 increases aperson's chance ~f cancerby ~.S%

259.   Due to the unnecessary surge~zes Dr. Dttrrani performed,Plaintiff has a 3.5%increased

   chance of cancer because of the use ofBMP-2.

26Q.    As a direct and prflximate result Qf the ~.se and implementation ofInfuse/F3MP-2

   Plaintiff has incurred a ~.~% increase in the r~si: of Cancer. As a result, Plaintift'has an

   i~acxe~s~d.

261.   Ulan information and belief, I}r. Durranf did not explain to Plaintiff that hardware would

   be implanted in his sp~~e pre-o~aeratively.

262.   Plaa~tiffreceived a s~apli infection fro~i this surgery and hack major health cornplicatxans

   due to this infection.

263.   On February 28, 2411,Plaintiff has to unde~rga heart surgezy and becaaxae uz~x~sponsive

   an the operating table. He ti~as resuscitated.

26~.   The operating doetnr infortxxed Plaintiff his surgical history had affe~tad his heart.

265.   Since Plaintiff'has difficulty rn4ving around, since Dr. Duxx-~.r~~ performed surgery on

   him, he has lead to move to an assisted living nursing facility.
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266.    Plaintiff now requires assistance to get dressed, bathing, shaving, preparing meals,

   mailing bills, cleaaaing, and with the grocery shopping,

267.    He has difficulty walling, sleeping ar~d standing,

26$.    He has limited flexibility o#'his reek ever since the s~rgaries with Dr. Durr~ni.

2C9.    Pl~iz~ti££is no longer able to drive, since the surgeries with ]fir. I7urrani.

2'~0.   Upon information end belief, the surgery performed by Dr. Durrani was medically

    t~sv~ecessa~y and improperly ~rerfoi~ed.

271.    Upon information and baliaf, Dr. Durrani vas performing surgeries while his surgical

    privileges mere suspen~ecl. Dr. Diur~ni z~e~er informed the Plaintiff ofthe suspension and

    acted as if every surgery was ~n emergency, sa that he could perform surgery on tie Plaint~£~:

    Dr. Dutrani rnis3ead, failed to disclose vital in#'ortnatic~n, and impraper~y induced the Plaintiff

    to have surgery.

272.    ,As a direct and proximate xesult of these surgeries azad ]~'. Durrani's negligence,the

    Plaintiffs have suffered harm.

273.    Plaintiffs did not became awaxe ofDr. Durrani's use cif ~nfuselBMP-2 until ~e~~l counsel

    reviewed Plaintiffs' bills.

                       ADDITIONAL ~ACKGRCILTND X~T~(JRMATI[?N:


27~.    Defendants fraudulently induced Plainti~F#'and her insurance company to pay for the

    surgery.

275.    According to CFO Mike Jeffers, West Chester Hospital was in the business of making as

    much money as possible rega~d~ass ofth~iz- non-pro~tt status.

275.    According to CFO Mike ~ef#'ers, it waul~i be against West Chestex hospital's interest to

    do something that would limit their earning potential or stop snaking mnney.
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2?7.   According to CFO IVlike Jeffers, Dr. Dun-ani was the k~i~hest monthly revenge generator

   at West Chester Hospital.

275.   Thy Br~ard ofDirectors of UC I-Iealth, according to CFO Fvlike Jeffers, tivere aware ofthe

   fin~.ncial grarvth of the hospital and. Qfthe or~h~paedic and spine department and in particular

   the signi~"icant financial revenue ge~neratecl from Dr. Durrani's surgeries.

279.   Accc~rcling to CFL7, Milo Jeffers, West Chester Hospital biped mpxe ~QX B~VIP-2 and

   Fur~~en then what trey purchased the items for.

284.   Accflrding to CFQ,Mike Jeffers, Nest Chester Hospital tracked the occupancy of their

   lf2 beds by floor.

2$].   A.ceQrc~ing to CFA,Mike Jeffers, at the and of each month thew was a Reporting packet

   that was requested fi'om a~1 the finance directors, ar~d it would be sent to the corporate

   controller Charity Fannin regarding tie rnorithly finances.

2$2.   .According to CFiD, Mike Jeffers, the i~iformation was tracked by each individual patient

   in the hospital.

2$3.   A~ecar~ing to ~~nnual Reports put together by Jef~Hi~ds and f~n~.ncial statements of west

   Chesterli3C He~lt~.from 2049 tluough 2413,the Defendants violated R.C. 1702(50,by

   knowingly pacing false information innumerous documents governed by R.C. i702(54}

   i~cJuding over $4 million dollars falsely claimed as income for MedxcaidlMedtcare fraud and

   other false statennents in their prospective, repat-ts, financial statefnents, ininu~es, records and

   accounts.

2$4.   West ChesterlLTC Health made mare money from surgical patients than medical patients.

   ~1r. Durrani was a spine surgeon.
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285.   West ChesterlUC Health made more money from more surgical procedxtres and more

   diagnostic tests anti therapeutic procedures of any kind. Dr. Durrani ardere~ significant

   uzar~ecessary diagnostic tuts and procedures for his patients and the Defendants knew this

   fact.

28~.   Complex cases made West ChesterlUG Health more money than simple ones. Dr.

   D~rtani had complex cases.

287.   There have been serious consequences since orthopedic device eomp~.rties begaaa se~ading

   sales r~~tresentatives tQ the operating room ofhospitals as they did 2~~nd do ttr Nest

   ChesterlUC Health.

288.   The sales representatives assist the back table with the insh-urnents, technique and

   managed inventory. This has allowed the hospitals to allow their staffto not know specifics

   about oases and orthopedic systems. This has also allowed tote hospitals to avoid the cost of

   training their stafFs for what the sales representatives da. This all applies to West

   GhesterlCTC Healtih

2$9.   The sales representative adds approximately 4D% to the cost oftie iYnplan# and increases

   implant usage to 3Q°~o at Nest Chesterf~J'C Health.

290.   Th.e I7r, Dt~rrani saga at west Chester is Exhibit A of the medical complex,run amok far

   profit artd greed over patient care.

291.   West Chesterl~.JC Health failed t~ report a single incident oiFaa~y kind involving Dr,

   IJu~cxani to the National Practitioner Data Bank az~d any other repoi~ing agency including the

   t~hifl Medical Board despite there being countless required xep~rts.

292.   According to HRSA Data,42°fo ofhospitals have never made a single report ts~ NPDB,
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293.    With respect to Dr. Durrani, West ChesterlUC ~Iealdi did not folloti~ their written medial

    staf~pt~licxes and proced~xes under their professio~~ practice evaluation policy.

294.    West Chester/[]C Hfea~th failed #o follow tote triggers for pier review firom January ~Od9

   through May 2013.

.~95.   From January 24D9 tiv~ough May 2013, with respect to Dr. I]uxrani, Defendants failed tt~

   fo~taw their Medical Staff Cade of Conduct which they approved as witnessed by Ed Crane,

    Fresident ofthe ~Vledacal Staff axad Paula Hawk.

296.    Unlrn~wn Defendants include all Members ofthe Executive Cornaaaittee, Credentialing

    Comnnittee acid Peer Review from 2049 tl~-vugh 2013.

297.    Article I ofthe MEC bylaws gives the MEC `bversig~it," Qf quality of care and patie3nt

    safety for West Chester.

298.    Article 3.1.1 sets forth who the officers are including President, Director of S~irgery,

    Director of Medicine and Chair of Credentials Cofnmit~ee.

299.    Article 3.3.1 provides tk~e dutias ofeach department director and Article 4.4 ~ar~vides the

    fu~nctians ofthe department.

34~,    I7e~endants ~ar~e refused to produce Ehrai~gla discovery the members o~ West Chester's

    Medical Executive ~onnmittee, Credentialin~ Committee an~i Peer Tteview Corn7nittee frarn

    2Q~9 t.~raugh 2013.

3(}1.   According tp Barbara Bum,slie prepared tha application for crede~at~als to be reviewed by

    the depa~e~tt directors, t13e credentialing committee,the MSC and the Board.

302,    According to Grant'Wenzel, there vvas a rnaz-ke~ing campaign that"sake v£`our

    capabilities" inn spine surgery.
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3U3.   West C~testerlUC Health and the I]a~endants ~llawed Dr. Durrani from at last August ~,

   2Q10 to Oc#obey 5, 2t}10 tU perform surgeries at West Chester while suspended. Over 3~

   patients had surgeries during this tune period, This intentional egregious conduct is

   appalling and represents fraud in the concealment. None ofthese 30 plus patients would

   have allowed Dr. Durrani to perfnrm thezr surgery had they known Dr. D~urani was

   suspended.

3Q4.   West Chester/[.TC H~altY~ and Defendants bragged about and still brag about their spine

   surgery capabilities.

305.   West GhesterllJC Health failed to cornpl~r with their 1VIedic~l Staff£ Byla~~vs which include:

          a} Bylaws

           b} Cxedentialing Plan

          c) 12ules and Regi,~lat~Qias

30G.   The list cif negligent acts, intentional acts and fraudulent acts by Dr, Durrani lrnown to the

   hospital xnanagemeYlt, administration and board membeXS including these Defendants

   include:

              1}          I3r. Durrani was the #1 rrxoz~ey making doctor for West Chester.

              2}          West Chester planned to lease Dr. Durrani the fouxtkY £laor of the hospital for

                CAST physical therapy.

              3)          According to Paula Hawk, West Chzster and br. Durrani wire "partners in

                crime."

              4)          West Chester allowed three days of blocked surgery tine and allowed more than

                one surgery at a time.

              S)          West Chester ignored their Medical Executive Corz~mittee bylaws when it came

                to credentialing and retaining Dr. Durrani.
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          6~         West Chester West Chester/UC Health knew BMP-2 was being used impxoper]y

           by Dr.]7urrane including in minors, non-approved locations in the spine and in patients

            wTith ca~acer risks.

          7)         West ChesterlC]C ~lealth knew Elr. Durraui was doing extensive multiple

            surgex~es on patients.

          8}         West ~hesterfUC Health knew ofDr. Durrani's issues at ether issues at hospitals

            before his application of privileges at West Chester.

          9)         Vilest ChesterlUC Health knew about the "Sl»ti Shuffle" which is an expression

            to describe Dr. Shanti, Dr.i?uz~atu's employee spine surgeon, performing spine surgeries

            for Dr.Durrani without the consent of the patient.

           1 f})    'West ChesterlUC Health kne«+ about"emergency" add on issue wk~exe I]r.

            Dut~'ani would claim ~ surgery was an emergency to add it on tc~ an existing schedule,

           11)       West ChesterlUC Health knew PureCTen was being used improperly by I}r.

            Durrani includi~a~ that was never apprc~~ed for human ~tse and t~iey bc~ug~~t it from Dr.

            Tlurrani.

           12}       West ChesterlCTC Health I~ew TJx. Dunani was the biggest avenue gezie~atax.

           13}       Vilest Chesterli.]C Health kne~~v I]r. Durrani would perform multiple sEZrgeries at

            the same tinge in the ~R.

           14}       West Chester~UC Health kner~ Dr. L~urrani was not dictating OR reports ar

            dictating tliern extremely date, often times up to six rnQnths.

           15}       West ChesterlUC T~e~lth knew Dr. Durrani's patients had extended anesthesia

            waiting fvr surgery.

           I6)       West ChesterlUC Health rr~arketed themselves as a world leader iz~ spine sw•gezy.

           17)       West C~esterlUC Health knew Dr. Dur~-ani was "OVZ~-Utk~k2111~,"

           18)       The officers and administrators in depasttions laa~r~ ad~nnittad West Chester/LJC

             Health knew ofthe issues involving Dr. Durrani.
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           19}        West Chester/i.TC Health knern+ Dr, burrax~i was nflt obtaining proper informed

           ~ansez~ts frorz~ his patients.

           20)        West ChesterlUC Health knew 17r. Durrani dictated discharge summaries Iate

           and sometimes not at atl,

           21}        West CkiesterlUC Health mew they wexe not £allowing their bylaws,rules and

           policies in their supen~isio~ Qf Dr. Duxrani.

           22)        West Chesterl~]G Health knew i]r. Durrani was abusive to staff.

           23}        West ChesterlCTC Health knew Dr. L]urrani was "sloppy" in surgery.

           24}        West ChesterlCTC Health knew staff and medical staff ~voulci lie regarding Dr.

           Durr~ni issues.

           25)        west Chesterl[IC Health forced silence upon staff and rnedieal staff:

           26)        West ChesterlUC Health tracked BMP-2 use by Dr. Ihu'irani to calculate their

           ~ra~ts from its use.

           27}        tiVest ChesterlUC Health knew Dr. Durrani performers surgeries toa late into

           night tc~ tha detriment of patient safety.

           2$)        West Cnesteritl`C T~eaith knew Llr. I7urrani's use of irz~prnper hardware in spinal

           surgeries.

           29)        West Chester/CTC Health knew Dr. Durrani some#imes marketed himself as a

           neurosur~ean to patients.

           3p}        West ChestexfLTC Health knew Dr. Dt~rrani perfoxmed procedures beyond his

           scope of practice and training.

           31}        West ChesterlUC Health knew Dr. Durrani perfa~rned surgeries with inadequate

           tr~ining-

           32)        West Chesterf[JC Health knew Dr. L7urrani used "cut and paste" in his OR

           reports.
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          33)      West Chester/IJC Health knew IJr. Dunani engaged in improper fi~laneial

           relatiatiships with orthopaedic prnciuct vendors.

          34)      West Chester(UC Health knew Dr. Durrani had th.e lack of attention to detail as

           requxre~. cif a spinal surgeon.

          35)      lest Chester/UC Health knew multiple ~1r. Durz'ani patients suffered fr~rrr~

           irrtprapez''VATS procwiures, resulting in various reactive ~ixway diseases postoperatively.

          3b~       West ChesterlUC Health knew they did not do propex credentialing procedures of

           Dr. Durrani prior to privileging him as a surgeon.

          37)       West ChesterlUG Health lcr►sw Elizabeth Garrett (physician's ~ssxst~nt} was

           present artd active in the f~R as an assistant surgeon without the proper approval.

          38)       West ChasterlUC Health allowed anal prorraoted Dr. Durrani to give seminars

           knaWing he misreprese~ited his status at Ghi~dren's T~ospital and ~Iniversity Hospital.

           3~)      West ChesterlUC Health knee Mfr. Dunat~i had an improper personal relationship

           with Elizabeth Garrett.

           4~)      West ChesterlC]C Health knew that the required tracking papetv~+prk ofHMP-2

           and PureGen was not routinely completed in tl~e QR.

           ~}a}     West ChestexlUC Health knew Iaz. Dur~ar~i's patients were having anesthesia

            related com~licatzons itZtraoperati~ely and postc~perati~ely, and did not disclose it to

            patients.

           42)      West ChesterlUC Health knew Dr. Duzxani failed to disclose to patients anti

            family medical problems e3lcoi.tntered during surgery.

           43)      V►~est ChesterlCTC Health knew Dr. I3u~~rani was creating heatth care billing fraud

            azid they too committed billing gaud.

           44)      West ChesterlUC Health knew Dr_ Durrani handpicked patients with optimal

            health insurance fpr unnecessary surgeries to profit himself and the hospital.
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             45}      V~Iest C~esterlUC Health knew Dr. Durrani often did not contact his patient's

              primary care practitioner #'ar in-patient hospital faliaw up appointments, and instead

              picked West Chester staffto cover ~azaximize profit, and not have to disclose his

              wrotigdoings.

307.   fihE hospital's ma~aagement adminzstration and board me~nhers,including the

  ]~e~er~dants, l~new ofthe improper use of BMF-2 and ~'ureGen by not only ]J~'. I3r~rani, but

   other surgeons. 'I'l~is Complaint contains detailed sections pertaining to these two substances.

3~8.   There were over 185 BMP-2 victims and aver 84 PureGen victims a~ West Chester/UC

   Health, all D~. Durrani patients. There are hundreds and even probably over a thousand ar

   snare past patients of West Chesterl[.~C Health who have no idea they have H~VIP~2 or

   PureGen in their spines and they are encountering health issues they have t7o idea cQUld be

   cawed by BMP-Z or PureGen. Two separate class actions an this issue will be filed

   simultaneous with this lawsuit.

30~,   The Annu~.I Re~rorts Qf UG Health reflect the bragging by the management,

   administration and hoard, including De£end~nts, of West Chester's financial performance anc!

   spine awards with Full knowledge aft~ie false information contained in them including aver

   $~ million in fraudulent Medicaid and Medicare billings. The vne fc~r the Fiscal year ended

   June 3~,2Q13 is the last one applicable to Dr. Duaxani, his last year at West Chester.

  MORE SPECIFIC ALL~GATI[3N5 BASED UPC3N DISCOVERY AND DEFQSITI~N

                                           TESTIMQI~TY

310.   This information is to demonstxate the o~exall negligence and inappropriate actions ofDr.

Durrani and the hospitals he worked with andlor foY andlor in an individual oapacity.
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311.     Krissy Probst was Dr. Durrani's professic~~al anti personal assistant handling

professional, acadEmic,travel, surgery scheduling, his journals, his Boards, his credentia~ing, his

perst~nal affairs az~c~ his bills.

3I2.     I~rissy Probst worked as Dr. Durrani's assistant for t~uree years at Children's Hospital

frort~ 2006, 2D~7, and ZD~&.

313.     Krissy Probst reported Dr. Dixrraax~ to Sandy Si~gletan, the Business Director at

Children's far his having an affair witJa 7amie Mar~r,his physician assistant.

314.      Ksissy Pro}~st resigned in 2(108 from Dr. Durrani and remained working fc~r three a~her

surgeons in the ClrthQpe~i~ Department.

315.      Krissy Probsf worked in the C}rthapedic Department for eleven years frarn 2002-20 3.

    She ze~red in May,2013.

3i~.      Krissy Probst confirmed Dr. Dm-rani claims being a Prince, when he is zaot,

317.      According to I~rissy Probst, Dr. Cra~+ford, an icon in pediatric ~~o~edics treated Dr.

     Durrar~ "dike a s~rn.'°

318.      Accordia~g to Krissy ~ra~st, ~}r. Cxaw~ard, Chiefof Orthopedics at Children's

     unconditionally supported Dr. Durrani na matter the issues and problems Dr. T}urrani faced.

3I9.      Dr. Durr~.zkx's patien# case at Children's Haspi~al dropped off c4nsiderahly after Jamie

     Moor bec~ne his physician assistant and they began their affair.

3~0.      D~. Durrani was the only orthopedic spine surgeon at Children's who would perform a

     dangerous high volume of suxgeries.

321.      At Ck~il~re3n's, L7r. Dttt7'ani would begin a surgery, leave and have fellows and residents

       co~plet~ a surgery gar do the #all surgery while he was in his office with Jamie 1Vloor, his

       physician assistant for faux ter five hours.
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322.   Children's Board and administxatioYi i~new about Ilz. Du~~rani dn~ng too many surgeries

   and not properly doing the surgeries. They dick nothing.

323.   Dr. Durrani argued to Childxen's administration when they carnplained to him that k~e

   made them money so Children's tolerated hixrt and allowed him to do what he wanted.

324.   Dr. Durrani, when told by Children's float Jamie Ivioar had to Leave, told Ghild~'en's that

   he would leave toes.

325.   Dx. Aga6agi would do=one spine patient a day at Children's because it takes normally

   eight hours far a fu11 fusion.

32b.   Dr. Durrani would schedule two to three spine surgeries a day at Children's.

327.   Dr. Durrani would repeatedly have the B~xsiness Director, Sandy Singleton, csr C}R

   Director allow him to add surgeries claiming #hey were emergencies when they were not.

328.   Dr. Durrani waulc~ lease a s~ir~e surgery patient for four ar five hours in the surgery suit

   ttt~der the care offellows ar residents, unsupervised and sit in his office and check on the

   s~'~ery as he pleased.

329.   Dr. Petex Stein did nat like Dr. Durran~ while Dr. Durrani was at Children's becausa he

   knew all about his patient safety risk issues. Yet, Dr. Stern supported,aided and abetted Dr.

   Durrani's arri~a~ at West Chester, It defies comprehension, but was far one of the wand's

   oldest motives—greed of money.

33D.   There is also a Dr, Peter Sturrr~, an orthopedic at Chilt3ren's who also had no use for Dr.

   I]urrani.

331.   Dr. Duzrani chose his oven codes for Children's billing which he manipulated with the

   f~l~ kncr~vledge of Children's hoard and managemen#.
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332.   I7r. Durrani was dating and living with Beth Garrett, a nt~'sing school drop-qut, with the

   Full knowledge ofhis wife Shazia.

333.   I7r. Durrani was close with David 12attigan u~n~il David Rattigan pu~s~ed Jamie Moor and

   Dr. Durrani would not allow Ilavid Rattigan in the ~R at Children's for a long time.

X34.   Dr. Ihirraa~i, while claiming to have ri~h~s, rifles not. Dr. Durrani's wife's family paid for

   Dr. Durraati's education and xt is her family with the signifi~~nt'wealth.

335.   Nledtranics ~a~d for Dr, Durrani's trips and paid hina $1Q,D00 fees far speaking or simply

   showing up at a spine e4nference.

336.   Krissy Probst's business director tt~ld her to save all Dr. Durrana relatec~ documents and

   informatifln and she did.

337.   While doing research at Children's, Dr. Durrani would misstate facts r~g~rding his

   research. Children's knew he did this.

338.   Dr. Durrar~ ended on such bad terms with Children's Hospital he was nod allowed an tlxe

   pxernises after his departure in December 200, yet he ~aerfarmed a spine surgery there iY1

   February 2U09.

339.   Eric J. WaII, MD was the Director of Stargical Services Division ofPediatric Urthapedic

   Surgery whan Dr. Durrani left Chaldren's.

340.   Sandy Sza~gleton, MBA vvas the Senior Business Director ofSurgical Services Z}zvi.sion of

   Pediatric Oi~hopedic Surgery when Dr. Durrani lift Children's.

341.   Dn inforrnatio~ ~d belief, Dr. Durtani used his r~lationshi~s with Children's officials to

   purge his Chx~dren's file of all patient safety and legal issues which had occurred as paz-t of

   his departure "deal" which I]efend~ts hide with privilege.
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                                              INFU~EIBMP-Z

I,      BACKGR+D[JN]D ~NFaRMA'TIUN

342.    The Deters Law Firm, P.Q.C., represents approximately S00 Plaintiffs in medical

     ma~pxactice actions against a former Northern KentuckylCincinnati-area spine surgeon

     r~~med Abubakar A~iq Dr. D~ur7ani (Dr. Durz~ani), his company, Center for Advanced Swine

     Tec~u•►olagies, Inc.(CAST}, and several aa'ea hospitals including, but not limited to, West

     Chester Ht~spital (V1~~H), University a~ Cincinnati Heatth RUC Health}, Cincinnati Children's

     Hospital Medical Center {CCHMC),Christ Hos~aital, Deaconess Hospital, Goon Samaritan

     Hospital and Journey Lice of Cincinnati, LLC (~~ru~`ney Lite}{collectively Hospitals).

343. Dr, Durrani perfr~rrncd necessary,ftaudulent, dangerous, and ultimately damaging

     surgeries on these plaintiffs while working for and with these Hospitals.

344. The scheme and artifice to defraud that Dr. Durrani devised, executed, and attempted to

     execute while working for and with the Hospitals included the fallowing patterns and

     practices:

            a. Dr. Durrani persuaded the patient that surgery was the only option, when in £act tha

                  patient did not need surgery.

            b. Dr. ~urrani told the patient tk~at the medical situation was urgent and required immediate

                  surgery. He also falsely told the pa#lent that ]ie(she was at risk of grave injuries without

                  the sw'gery.

            a. T.~x. J3u~mani often told his cervical spine patients that they risked paralysis or that hislher

                  head would fall o~~ if he(she was involved in a car accident, ostensibly because there was

                  almost nothing attaching the head to the patient's body.

             ti. Dr, Durrani pften ordered imaging studies such as x-rays, GT scans, or MRIs for patients

                  but eitkter did not read ox ignored the resulting radiology reports.
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          e. Dr. Durrani often provided his awe exaggerated acid dire reading of the patient's unaging

              study t1~at was either inconsistent with or tvas plainly contradicted by the radiologist's

              repprt. At times, I}r, Durrani provided 2r ~a~se reading ofthe imaging.

          f. Dr. Durrani often dictated that ha had perFQrmed certain physical examinations and

              prac~ciures on patients that he did not actually per~'oi~i.

          g. I?r. I~aa~rani often ordered a pain injection far a bevel of the spine that was inconsistent

              with the paxr~ stated by the patient or with tk~at indicated by khe imaging. Dr. Durrani also

              scheduled patients for surgeries without le~rz7ing o~ or waiting for the results of certain

              pain injections or related t~terapies.

          h. Dr. Durrani often dictated his operative reports or other patient retards months after the

              actual treatment had occurred.

          i. Dr. Durratu's operative reports and trea#nient records contained false statements about the

              patient's diagnosis, the procedure performed, and the uistrumentation used in the

              procedure.

          j. When a patient experienced cornpiicati~ns 1'BSU~tltla          f['flTYl f.~]~ SUP~~1'}r,   Dr. Dc~rrani ~t

              times failed to inform the patient of, Qr misrepresented the nature af, the complications.

          k. A.li of the above-mentioned actions were done with the knowledge, coopera~ian, or

              intentiorZal ignorance a£ the Hospitals because Dr. Durrani was one of the biggest

              inorieymakers fc~r tl~e Hospitals.

3~~.   In addition to the civil medical ~nalpr~~tice actions against I]r. Durrani, on August 7,

   2413, he was indicted by the Federal Government far p~zformiz~g u~az~ecessary surgeries and

   fvr defrauding the Medicare and Medicaid programs. Specifically, the ten-count corn~laint

   charged Dr. Durrasai with health care gaud,in vifllation of 18 U.S.C. § 1347, and making

   false statetnetlts in health c~r~ matters,in violation ~f 18 U,S,C,§ 1035. There was a

   subsequent superseding indictment adding over 3o counts.
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346,      Fallowing these czxrta~nal indictments, in Deceaaaber of?413 and prior to the first

      Plaintiffls trial in t~'iese actions, Dr. Durrani fled the United S#ates and returned to T~akist~n.

      He has not returned to the United States to face alleg~.ticrns of either criminal or civil lzabil~ty.

3~7.      t'~mang Dx, Du~ra~~i's and the ~Iospitals' ~rafessianal failings was the use of a synthetic

      bone-marphogenetic protein called BIvIP~2, whioh was ~nark$tec~ under the fx'ade name

      "infuse," Dr, Durrani used SMP-21Infuse in ways that were ezt~er not approved ~y the

      fedezal Food and Dr~ig Ad~niz~istration FDA}ar that were specifically contraindicated as

      noted on khe FTIA-approved p~'aduct labeling. Tl~ae Defendants hack full knawledg~ ofthis

      fact.

348.      BMP-Z/Infuse was, at the time of the surgeries in questia~, az~d currently still is

      manufactured by a compazay called Ivledtranic, In.c.(Medtronic}.

349.      Dr. I]urrani predominantly used BMP-21Ir~fuse on patients at WCH,which is 4wnefl by

      UC ~Tealth.

35~,      It is Plaintiffs' pvsitaan tha# this non-FD,A-apprflr~ed use ofBMP-21Infu~e was not only

      negligent, and fraudulent, but crimi~a~1 based upon the manner in which xt was allowed tv be

      uset~ by Dr. Durrani at west Chester, all ~~ith tl~e knowledge and fiill su~p~rt ofthe

      Defendants.

XX.       THE PLAYERS REGARDING BMfP-Z

351.Dr, Dur~ani is a ci~ize~ ofthe Republic ofPakistan and was a permanent resident ~fthe

      United States wk~o, from approximately 2005 tQ 2013,t~oz-ked as a spine surgeon in and

      around Cincinnati, Shia, until die fled the United States tQ escape czvil liability and criminal

      prosecution.
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3S2=M~C~~T~IIiC   15   an Irish corporation, with its principal executive a£fice 1QCated in Dublin,

   Ireland, and i#s operational headquarters located in Minneapolis, Miz~nesata. Medtronic is the

   world's third largest medical device cc}mpany end manufactures and markets B1VIP-21lnfuse.

   Medtronic sales 7•epresentatives were aIs[~ present during the experimental surgeries

   performed on Plaintiff, who are clients ofthe Deters Law Finn.

353.CAST was a car~or~txon organized under the Taws of Ohio and had business and medial

   vf~,ces in Florence, Kentucky and Evendale, Qhio. CAST was owned,in ~vho~e or in part, by

   Dr. D~rrani.

35~.Bahler Medical, Inc. is a manufacturer of medical implants az~d ~s a coiporat~on located in

   the state of Ohio.

355_ David Rattigan is an Ohio resident and was and is ~ sales representative far Medtronic.

    Fu1-ther, he is affiliated wit1~ Bahler Medical, Inc., tivas involved in many ofthe transactions

   involving BMF-2, and was present for the exper~7i~ental surgeries in which HMP-2 was used.

356.West Chester Hospital, LLC is a caiporation organised under the laws ~fShia. It provides

    medical facilities and billing support to physicians, includx~g Dr. Durrarti, in the state of

    Qhio, WCH is owned bar UC Health..

357.UC Health is a private, non-~ro~it c~rporat~a~i organized under the haws of Ohio. It provides

    medical facilities, management, administrative, ancillazy, and billing support to physicians,

    aa~.d it or~vns WCH.

35$.GGHMC is a xnedioal facility in Ohio where I]r. Durrani was an employee until

    appro~irx~ately 2Q0$.
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III.      WH~iT XS BMP-2/INF[TSE?

359,      The ft~1l name a~B]VIP-2 is "Recom}~ir~~nt Htunan Mazphogenetic Protein-2"[a~~o called

   ~hBMF-Z). The folJawing definitions apply:

              a, Recombinant — Artificially created i~► a lal~;

              b. Morphogenet~c — ~v~tueianary development Qf an organism;

              c. Protein — Essez~tia~ far growth and repair oftissue.

360.Reco~i~binant k~uman protein(rhBMP-2) is currently available for orthopedic usage in the

       United States.

X61.Medtronic manufactured, marketed, sold, and distaributed BMP-2 under the trade name

   "Infuse."

352.B1VIP-2 has been shown to stimulate the production ofbone,

363.      Implantation cif PIMP-2 i~a a collagen sponge induces new bone formation and can be

       used far the treatment ofl~a~ty defects, delayec9 union, and zao~a-union,

BMF-2 A.S A BIOLOGIC

36~,      BMF-2 is not a device, but instead it is a biologic. See July 2049 American Nledi~al

       Association. Article and 2011 Stanford School cif Medicine Article.

3b5. Aceorciing to the ~'DA,"[a~ `bialagicat prodz~et' means a virus, therapeutic serum,toxin,

       antifioxfi~, vaccine, ~la~d, blood component a~~ derivative, allergenic product, ar analago~is

       prfldt~ct, car arsphenamine or derivative of arsp~,e~~nine (or any other trivale~~t oxganic

       arsenic compound}, applicable to tyre prevention, treatment, or cl~re ofa disease or conditi~an

       of human ~aeings (Public Health ~er-vice ActSec,351(i}1."Available

       http:llwww.fda.gc~v1I~~C11lns~ectionslIONU~canI22535.htxn.

366.       BMP-2 is a Bone-Niorphogenetic protein tha# is used to promote bane creation and

       rernt~lding ~d falls under the definition ofa biologic. See A.NIA article("bone forming
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   propeztzes")and Stanford Article. BMP-2 differs from a rxtedi~al device in ghat Once

   impl~.nted, i~ can oily be removed days after Surgery. ~~ a patient had a complication due to

   $MP~2 and did nat discover this corx~plication luitil year after surgery,the patient could not

   lave BMP-2 retnc~ved tc~ reduce the complication laecattse BMP-2 is so integrated into the

   patient's bane.

3G7,   A patient has a right to determine what happens to his or her body and the preservation of

   that right requires that the patiea~t be informed whin a krone growth product,fiat causes

   irreversible harm,is placed ~~n his or her body.

WHEN IS IT USED?
368. Reeotnlainant human BMPs are used in orthopedic applicat~ans such as spinal fusions,

   nQ~n-unrtolzs, an~i oral surget-y.

359.   The bone graft contains twt~ parts. The first is a solution ~f human bone growkh protein or

   morpl~c~genetic ~ratein-2. This protein is found in the kauman body in small dosages and is

   ~x~pQrtant for the healing and forr~aation ofbones. The pro#ein is genetically engineered to be

   utilized in t ie Infuse Bone Cnraft ~raduct, and it is employed for the stiinulatiQn offormatioan

   and grQV~rth in bones.

374.   The secflnd part ofthe luane graft is an absorbable collagen sponge.

371.   Both cotnpanents of t~Ye Infuse Sane Graft structure are used to fill the LT-Cage Lumbar

   Ta~r~red Fusion Device. This chamber is intended to restore the deteritr~ated disc space to its

   oi~ginal height.

372.   FDA-a rrived use ~'or the Inf~ise Bane Graft product is only for lowea-back surgery using

   an interior lumbar interbQdy fusion CALIF), a technique wti~re the crpeXation on the spine is

    conducted through the abd~zxaen.
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373.   In addition, the Infuse Sone Graft prod~z~t must be used in conjunction with Medtronic's

   LT-Cage. Use ofSNAP-2 without the LT-Cage is considered an "Taff-label" use.

        r     ~.      ;;




374. The FDA specifically warns against the use of Infuse in the cervical spine, citing reports of

   "life-threatening complications."

375. Any use of Infuse other thin ~~ lumbar spine surgeries with the LT-Cage is canside~ed

   "Offlabel" use

376. I~►fuse should never ~e used on the skeletally immature patient, i,e,, inpatients less than 18

    years of age ar those with nQ radiagraplaic evidence ~f epi~hyseal closure.

377. Infuse should never be used in, the vicinity of a resected or extant tumor.

378. Infuse should r~eve~ be used in those patients known to have active infection at the surgical

   site.

RISKS ASSOCIATED WITH[~FF~LABEL USE

379. When used in an off-label mannex, patients rna~ experience problems with pregnancy,

   inchtding but not limited ta: complications in fetal development; allergic reactions to

    titanium, bovine type I collagen, or bone ma~plaagenetic protein-2;i~f~etaon; the creation or

    Fntensi$cation oftumors;liver or kidney disease; ~upt~s or h~rnan imrnunode~ciency virus

   (HIVIAIDS}; problems with radiation, chemotherapy, oz steroids if a patient is malignant;

    paralysis; bowel and/ar bladder dys~unctzoz~s; sexual disorders, including sterilisation and

    i1lct~mpetence; res~iratQry failure; excessive bleeding, and; death.
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IV.      THE REGULATQRY PROCESS

38U.     ~"he Medical Device Amendments(MDA}to the federal Food,Drcrgy and Ctismetic Act,

   21 U.S.C. § 3dl et seq., established Savo separate approval processes far medical

   devices: Pre—iV~~arket Approval(PN1A)and Pze-1VI~t`ket Notifica~on.1

381, The FLIA's PMA process ~s lengthy and involves extensive investig~tit~n by the FDA,.

   Thy PMA application requires ma~lufacturers to submit ex~e~nsi~e animal and human data to

      est~blxsl~ their devices' safety and effectiveness. 21 C.F.R. ~ 814.20. Frequently, an

      experimental program ~nd~r dose FDA scrutiny must be successfully completed before

      FDA approval can be obtained tinder this process, FDA regu~a#ions also

      require FMA applicants to submit copies of all proposed labeling for the device. 2J. C.Q.R.

      $l 4.'~~(b~fl0l. The FDA appr'aves ~i PMA application aniy after exten.szve review by tla~

      agency and an advisory coxrxmittee composed o~outside experks, 2J C.F,R. § $1~.40,~

3~2.     ~n contrast, the FDA's Pre—Market Notification ~racess is ~aaor~ a~bxeva~ted aaid

      iY;rro~ves less FDA a~ersight. `Phis process z~ec~ui~es applicants to s~t~imit descriptions of their

      deices and ether infarmati~n necessary far tkae age~c~r to dete~~n~ne r~hether the devices are

      si~bstax~tially equivalent. Pre-11~arket Notification applicants must also submit their proposed

      labeling. 21 G.F.R. § 807.87. If #Jae FDA determines that a device is substantially equivalent

      to a device that was on the tna~'ket pr-iar to the enactment ofthe MDA in 1~7b, the applacar~t

      is free to market the device.




~ Fender v. Medtronic, 887 ~.Supp. 1326 fn 1 ~E.6. Ca€,1995j.

~ Fender v. lv~edtronac, 8~7 F.Supp. I32b fn 1 {E.D. Ca1.~995}.
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3$3.    BMA'-2 reeeived PMA (PMA number Pd00C}58) for the Infuse/BMP-2 Lumbar Tapered

   Fusion Derrice, which 1'MA p~ovirled for limite~ci use with specific requirements for its use on

   individuals. ~~e Medtronic Package Insert.

StCOI~E f,~F THE PMA AND PRODI]C7C I.ABELII~TG

3$4.    The PMA for BMF-2 provided that the praduc# may only be used xn patients with the

   following characteristics:

            d. Ske].etaIly mature patient, AND

            e. ~.t levels L2-S 1, AND

            f, Confirmed degenerative disc disease(DDI]}, ANI}

            g. Using only an Qpen anterior ar anteri€~r la~aroscopic approach,~TD3

            h. Six months ofz~on-operative treatment prior to treatment with the device, AND

            i. In combina~ioil with the metallic LT-CAG~.4

See Medtronic Package Insert,"INDICATIONS."

3$5.    According to Medtronic's package insert for BMP-21Infuse as well as other industry

    literature, the following risks are associated ~►uith the use of B1VIP-21Irtfiise:

                 A.       Male Sterility

                 B.      Cancer

                 C,      Increased progression of cancer

                 D.      Suf~'ocation ofthe cervical region

                 E.      Ba~ae fracture

                 F.      Bowellbladder problems


3 The anterior interbody fusion approaoh vas developed because the risk of non-union (pseudarthrosis~ is
significantly higher in posterior approaches. The biggest risk factor for fusion surgery is non-union,

4 Instrumented fusions in~fllve hardware and are more stable fusions tivith a shorter recovery time than non-
instrumented fusions.
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           G.     bass of spinal mobility Qr function

           H.     Change in mental status

           1.     Damage to blood vessels anti cardiovascular syster~i compromise

           J.     Excessive done mass bloc~ang the a}aility to treat pain

           K.     Damage to internal organs and connective tissue

           L.     Beath

           1'~.   Respiratozy problems

           I~.    r7isassembly and migration of companezzts

           0.     Dora]tears

           P.     Ectopic and e~cut~ec~ant hone formation

           Q.     Fetal development cornplicatians (birth defects)

           R.     Foz•eign Uady {allergic} xeaction

           S.     Gastxointestinal complications

           T.     Incisional complications

           C~.    Infection

           V.     Tnsufflatian complications

           W.     Neurological systemcorc~pramise

           X.     Nan-union

           Y.     Delayed union

           Z.     Mal~union

           ,AA.   Change in cuzv~ture ofspine

            BB.   Retragrarie ejaculation

            CC.   Sca~~s

            DD.   Tissue and nerve damage

            EE.   Itching
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                FF.     Pait3

                GG.     Hematoma

                HH.     Anaphylactic reaction

                II.     Elevated erythrocyte sedimentatifln rate

38&.   Jnjur~rPercentages:

          j. Ectapic Bone Growth-63°/a

          k, Inflnminatory hTeuritis-Z S°Jo

          1.    DsteolysislSubsidenae-~ 3°/a

          m. Acute Swelling~7°~a

          ~1. Retrograde Ejaculation-2°/n

          n. 85°l0 oftime, BMP-~ ir7iplanted in off-label use

387.   Not a singe one of#here risks in the fast two paragraphs were ever explained to a single

   p~#ient at Children's Haspita] by Dr. I7urrani.

3$8.   BMP-2 was NAT approved by the FDA ~t~r use in the ~er~ical ~d thoracic s~ir~e and

   B1V~P~2 was NOT safe ar approved for use in children less th~.n 21 years of age. These uses

   aze considered "off-label."

°4oFF-LABEL" USE

389.   ~ usa of a deice is considez-ed "off-label" if it is not approved under the Pre-Market

   Approval process UR cleared fc~r such use pu~rsuat~t tQ ~1 U.S.C. § 360c(f}(also kn~vsrn as

   "the S10k prenaarket noti~tca#ion process"}.

39~.   Infuse can be implanted in an aff-label rna~az~er in t]~ree ways:

           p. Approaehlpnsition: Any approach otk~er than an anterior approach;

           q. product: Failure to ~YSe LT-Cage (ar any cagE); mixing rhBMP-2 with other grafting

                produc#s li~Ce Allagraft or Autagraft;

           r.    Dkscs: llse on multiple levels or on a level outside ofL2-S 1.
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39~.   Dr. Durrani and the Hos~ita.~s in ~v~ich he perfartned sttr~;eries repeatedly used BMA'-2 in

   these non-FDA-approved manners.

THE l~ION-COMPLIANCE VVTT3E~ 'THE 1tE~GULA,'~`(~RY PRUCESS

392.   The pMA a~~a58 "Canditzons of Appr~rval" specifies the fallowing condition: "Before

   making any change affecting the safety ox effectiveness of the device, submit a PMA

   supplernetit for review ~t~d approval by the FDA ... [a] AMA su~lement or alternate

   submission sha31 comply with applicable rec~~airements undue'21 C.F.R. X14.39[.]"

393.   21 C.F.R. 814.39 requires a PMA supplement pursuant to subsection ~a}(1} fflr yew

   indications flfuse of the deice arxd pursuant to subsection ~a~(6} for changes in components.

394. 'fie PMA Q00~53 "Conditions of Ap~rov~" ncates the past-marketing reporting

   requirement imposed by 21 C.F.R. 814.$4, pat~icularly "~d~ntificatian of changes described

   in 21 G.F.R. $14.39(a}." Medtronic chid nQt cflmply Frith this requirement relating tQ the

   intended uses and camponentry.

395.   The FDA caza xzxlpose gust-approval requirements in the PMA pursuant to 2~ C.F.R,

   814.82, and this fact rasults ~n the device being characterized as "restricted" pursuant t~ 21

   LT,S,C. § 360j(e) for purposes of2~ U.S.C. y~ 352(q}. Section 352(q} states that any restricted

   duce that is distributed or offered for sale witk~ false or misleading advextzsing is

   "misbxar~da~i."

396.   "Indications for use" is a necessary part of the ]PMA application and the "Indicatit~ns for

   use" are requzxe~ to be limited by the application. Any di~fe~ent use is ~~actrnsistent with the

   FMA.

397.   A device #ha# fails to meet the requirements of the PMA ar 21 C.F.R. S14 is "adulterated"

   as defined by 2~ U.S.C. § 351(fj.
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a9$.    21 C.F.R. 801.b defines a misleading statement related to a DiFFER.ENT device

     contained in the label d~aivered with the device intended to be used will render the de~rice to

     be used misbranded.

399.     Medtronic dick not apply for a PMA supplement, as required by the FDA generally and

     PMA OQO(~5$ specifically, for the ofdlabel uses, nor did it provide warnings Qf the risks

     known about th.e off-label uses. All named L}e~endants in these cases knew about the

     ticCUrr~ces ofcuff-label use.

4t}p,    The PMA requires are application friar to marketing for new indicated uses by

     incorporating the fed~a~ requirerneY~ts and explicitly reGi#ing the text of 21 C.F.R. 314.39

     and $ 4.84 and by specifically Mating the x'ange ofindicated uses on the PMA.

V.       MEllTRQI~IC

4Q1.     In or about 20 1, Medtronic began preparing for the launch of#wa spinal fusion prc~duots,

     PYPtAIVIID axed INFUSE (BIVIP~~}, which i~ projected would enjoy broad applica~ian with

     spinal surgeons and their p~~~ents on a nationwide basis,

X402.    Mecltranic ~.ntic~pated that both products would initially be limited in application.

X403.    Motivated by greed and a desaxe to gain competitive advantage i~a tkae rriarketpla~e,

     Medtronic began a course ofconduct designed t4 broaden the applicatiran of both products by

     end-users. The course of conduct inva~veci fraud, false statements, rnateri~I

     misrepresentation, and deceit #'or the ~ur}~ose of bro~denin~ the sales of these products

     beyond ghat which the usual acceptance within the scientific community or regulatory

     approval would otherwise allow.

4Q4.     On Qr after July 2,2 102, Medtronic received notification that its Pre-Ma~~et A~►praval

     application for its BS~P-~llnfuse hone graft products had been approved by the FDA.
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   However,such approval was limited to the application oftha device from the L~ tht~ough S1

   levels. Further, the appznval mandated the conduc# ofpost-a~prfl~al studies to evaluate the

   long-term performance oFthe BMF-2 bane graft and to study the potential side effects and

   complicatit~ns such as the promotion 4f honors by the bane marp$ogenetic protein

   conapanent cif BMP-2. Othei studies were ct~r~ducted as well. See "A.11egati+~ns against

   ZVIedtrQnic in the Unsealed IVlissis~ippi false Claims Case."

4~5.   Medtronic engaged in a fra~duletat course Qf conduct designed to inaximi~e its revenues

   fr~rr~ BMP~2,regardless of whether it would eventually be allowed to remain on tha market.

40b_   one ofthe physicians Medtronic co-opted into its fraudulent scheme was a Thomas A.

   ,Zde~lick, M.D. Dr. Zdehtick was art orthopedic surgeon whose invention, the LT-Cage, was

   t~Ze only agpraved device to act as the delivery vehicle for BMP-2 into t~i~ ~ociy.

X07.   Dr. Zdeblick enjoyed a ~c~sitian within the scientific community as a Key Opinion

   Leader, and he was both a practicing arthopetlic surgeon and ~arofessor at the Unive~rszty of

   Wisconsin.

40~.   Tn vne of Dr. Zdeblick's fir-~t attempts tv tout his LT-Cage end z'hBMP-2, tiVI11GI] WOUlC~

   beccnne the active ingredient izz tla~ ultimate InfuselBMP-2 product, he encountered same

   drawbacks to his goal o£pramoting his and Medtronic's pz-oducts, which arose from tl~e

   policy of certain industry journals,including the journal Spine, which followed industry

   standards before printing peer-reviewed material. See article in the jouY~a1 Spine, published

   in 2~~~.

4Q9.   Not only vt+ere the clrawhacks related to industry ~uhlishing standards,but tie Na~ic~nal

   Consumer Health Inf~rrnatian and Health Promotion ,Act of 1~7b enacted certain provisions

   at 42 U.S.C. § 34~u, et seq., whereby the Federal Government hack. entered the field Qf
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   medic~i reseax'ch publication. Such standards promulgated by the Secretary ofthe

    predecessor to the U.S. Department of Health and Human Services required that applications

   for grants and contracts must lie subject to "appropriate peer a'evier~v." See 42 U.S.C. § 30~u-



41(}.   The drawbacks encountered with the peer~reviewec~ Spine article ~~ere as follows:

            a, Attribution tha# the study was "sponsored by Medtronic Sofamor Danek,Inc.;"

            ti, `£lze study was conducted under FI]A regulations, and was °`...designed as a prospective,

                  multicenter, nonblznt~ed, randomize.~i, and controlled pilot sti.~dy;" and

            c. It was accompanied by a cautionary comment, yr Paint of View, which minimized the

                  exuberance and impart ofthe article.

41 l.   In the article, BIVIF-2 was touted by Zdeblick and the coauthors as the potential

    realization of a dream of Dr. Marshall L7rist, a revered pioneer in the indu~i~y and discoverer

    of BMP,where it cased with the Following: "...it is encouraging to note that Marsk~all

    Urist's seminal observation made more than 34 years ago may ~~►ally corne to clinical

    fruition.>'

412.    In the Point of View, a Dr. Jahn O'Brian of London questioned whether there catxld be

    long-term problems associated with tie product. He treated ~del~lick's study with caution

    anr~ pointed out that simple plaster ofParis has achieved the same or similar results maze

    than 5~ years prior. He posited that,"[p]erha~s ~ascularization.,.fixatAO~. procedures are as

    important as the biochemical ec~rnpasiti+~n oftie `filter,"'

413.    Vascularization is achieved through removal ofthe disc material between two vertebral

    bodies and then the scraping of ti e surfaces flf the vertebral bodies iz~ a fusion procedure;

    fix~t~on is the process of securing the motion segment tl~rflugh medical hardware. ~n other, if
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    ~e alternative proposed by Dr. Q'B~-ien proved to achieve equivalent or better results,

    Zdeblick and Medtronic's InfuselSMP-2 products would be useless and unnecessary.

~}1 ~.   Certain efforts would follow in an attempt to alleviate the drawbacks encau~xtered with

    the 2~4a Spiny journal article.

4~ 5.    I:~ 20D2, I7r. ~debtick was installed as the sole editor-in-chiefflf a medicaljournal known

    prior to his installation as the JouYnal ofSpinal Disorders. Prior to his instailatian, the

    j4urrial enjoyed afourteen-yeaz history under the co-editorship ofI]r. Dan Spangler and Ar,

    Tam ~3ucker, Clnce installed, Dr. Zdeblick successfully supplanted Drs. D~.n Spe~;~ler and

     Tam Ducker and became the sole editor-in-chief, a position Gvhich wau~d enable hiin tQ have

     greater cont~41 and would aid his participation in the fraudulent sc~a~tne.

416.     I]uring this same time period, Dr. Zdeblick also enjoyed a position on Che associate

     editorial board of the medical journal Spine, the leading p~~alicatian cavezi~g alt disciplines

     zelating to the spzne.

417.     In one of Dr. Zdeblic~C's actions as edatQr~in-chief, he set about re-purposing the journal

     in a way that would aid him in the fi~'th~,rance refth e fraudulent schexta~ through the

     streamlining ofthe p~zhlication process.

418.     In furtb.erance ofthe fraudulent scheme,Dr. Zdeb~ick re-purposed the aournal and

     renazzaed it the Journal af'Spirac~l Diso~der-s and ~'ecl~nigtces {,~SZ]T~, ann4u~cing that the new

     jpurnal ~~+as "ez~teY-ing a new partnership tivi.th Sparte." As part ofthis partnership, Spalae ti~voul~

     "continue to function as abroad-based scientific journal" tailored to both cliniciaYis anc~

     scientists. However, the.Iau~nc~l o,fSpinal disorders and ~'echniq~es worald be directed

     solely to physicians in clinical practice.
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419.   Dr. ~deblick's stated $oal vas "to ~ro~ide a forum for up~to-date teck~~xques,..", and in

   furtherance of that goal, Dr. Zdebli~k announced tk~at his journal would publish Class II ar

   better clinical articles but world °`occasionally accept cutting edge articles wig Tess Phan one-

   year follow-up." Tv justify this streamlined prpcess, Dr. Zdebliak claimed as his gaol the

   ability of his journal "tt~ keep up with the fast pace Qfprogress in the treatment of spinal

   patients."

X20.   Arni~in-arri~ witlY Mecltranic and others, Dr. Zdeblick would in short order abuse his

   pflsition o~trust as the editor-iz~-chief of JSDT.

421.   In tl1e October 20+D2 edition, JSBT publisY~ed an article entitled,"Ant~tzflr Lumbar

   Interbady Fusion n~ing rhBMP-2 with Tapered Interbody Cages." This article was cQ-

   authored by, among others, Curtis A, Dickman, M.D.,4~ho was a developer o~ Medtronic's

   PYRAMID plate and who k~as been paid significant sums by M.edtrtrnic through royalty

   agreements, consulting agreements, and education training and speaking agreements.

422.   In addztipn to his interest zn the PYRAl'vIID plate, Dr. Glickman had assisted Medtronic in

   the approval process for InfuselBMP-2. As part ofthe pre-approval hearing process, Dr.

   Dickman and his BaY7~w Neurological Associates group ofPhoenix, Arizona hid submitted

   a letter to the Meeting ofthe FDA's Qrthopedics and RehabilitaL~o~ Devices Advisory Panel,

   which mat on January 1 D, 2Q02. In that letter, Dr. L7i~kr~an represented that "approval of

   BMP would provide a significant advance for patient outcome and satisfaction fotlawing

   spinal fiisiun."

423,   In the Dctabez 2Q02 issue of JSDT tou#~ng the benefits of InfuselBMP-2, Zdeblick and

    others failed to disclose their financial ties to Medtronic, though industry sta~idards ree~uire

   such ackr~owledge~x~ent. Not only did Dr. Zdablic~ fail to disclose that he profited from each
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   and every surgery which InfuselBMP-2 was used thrau~~ rights in the exclusive delivezy

   vehicle, his LT-Cage, Uut no reference whatsoerrer to their financial ties to Medtronic was

   made either by Dr. Zdeblick ox Dr, Dickman.

424.   For years, ~e recognized gold standaxd for spinal bone grafts k~as been the use of

   autogenaus bone, or bane harvested dram the patient's t~waa iliac crest, or hip bone.

   Medtronic designed to have its Infusel~MP-2 product supplant autaganous bane as the gold

   standard in the met~xcal community, ~d utilizet~ false statements, a fraudz~Ient enterprise and

   the support of~'ederal funds to da so.

425.   As part and parcel of Medtronic's fraudulent scheme, the Uctober 2002 s~ur~y vas

   published in Dr. Zdebliek's jpuz7nal three months after Medtronic received FDA apprflv~l for

   Infuse. As the artzcle shoti~s, it was actually received an 1Vlarch 28,2(J02 or after I7x. Zdeblick

   had aceaxrzplisl~ed insta~lrn~zat as ~e editor-in-chief, and was accepted by Dr. Zdeblick's

   jQUrnal for publicatiar~ on Judy 30, 2~{l2.

426.   At the same time Dr. Zdeblic~C's jo~rna~ was p►~blishing the initial article on Infuse, Dr.

   Zdeblx~k was already finalizing and preparing for subsequent publication afollow-up article

   to tout I~ifuse pot~ntial~y as the new gold stand~~rd. A second article, co-a~athared by Dr.

   Zdeblick a~t~ twt~ other ca-authors of the original arti~Ie, was entitled "Is Infuse Bone Graft

   5uperiar to Autograft Sone? An Integrated Analysis o~ Clanic~] Trials using the LT-Cage

   Lumbar Tapered Fusion Device."

427.   This secc►nd a7~ticle was published in Vol.2 flf2Q03 and once again, there was no mention

   of Dr. Zdeblic~'s finz~ncial dies to Medtronic.
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428.   This second article would serve as the second covext advertisement far the Ir~~use

   product, and the article states that "tY~e purpose of our analysis was to investigate the

   potential statistical superiority of Infuse borne graft to autrr~raft..."

429.   This se~on~ at~zc~e event onto announce the duly 20 2 FICA approval ofrhSMP-2.

430.   This article anel~ded as an "acknowledgment°' ~ti expression of gratitude to the

   pk~ys~ci~ns "wht~ provided patients for this study and to the clinic research groin at

   Medtronic Sofartnor Danek fdr their help in data ~allection and. statzstxc~t~ analysis."

   Howe~+er, the article still f~.a~Xed to advise the medical comrrxunity that some or all ofthe

   authors reaching these conclusions touted as xnon~mental had direct financial interests tied to

   tY~ose coaacfusions.

431.   Rather, the failure to reperzt t~aesa clear conflicts ofinterest o~ the part ofthose holding

   ~ositians oftrust bath within t ie medical camznunity and aver- patients was part of

   Medtxunic's fraudulent enterprise. Ht~rvever, unchecked by appropriate peer review,

   Med#ronic was able to systerna~ically accon~~lisY~ heir gpals.

43~.   In its Z~J03 Annual Report, and without recognizing that Zdebli~k was being paid by

   Medtrpnie, Medt~ol~ic cited to Zdeblick's 2~fl3 as reporting tk~~# ~z~fus~ "...zr~ay becozia~ the

   new gold standard in spinal fusion surgery."

433.   By its 20af Annual Report, ifnot earlier, Medtronic had ran~oved all doubt, declaring

   t11at after its introduction i~12QD2,"Infuse Bone Gra#~ quickty became the gold standard far

   certain tykes oflumbar fusion."

X34.   Medtronic's fraudulent schezxae was successful and resulted in a revenue stream ranging

   from 700 to 900 million dollars der year.
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435.     It has been re~oz`ted that arerund the same time these stories about Infuse were published,

   editors at the Spzne ~our~~al began receiving complaints from doctors around t~~e Gauntry who

   were painting out contradictions between pipers pub~isk~ed by dvctars with fis~~cial ties to

   Medtroz~zc ~d other data in~c~Iving Infuse camplicatians.' See Journal Sentinel article of

   Jahn ~`auber,

43~,     Through the use o~these sk~am coaasulting, royalty and education/training agreements

   with its physician agents zn this ~'rauduient enterprise, Medfranic has reaped windfalls in the

   billions of dollars,lVledtroni~ has used t~iis fraudulent enterprise and civil canspir~.cy tt► drive

   its vast profits and enhance its market pc~sitia~t beyond that which it ti~vould ha~re realized

   without engaging wi11fu1~y, knowingly and potentially deliberAte, conscious, or reckless

   indifference in the fraudulent enterprise and fraudulent ~~ncealment. See Mississippi case.

437.     Defendaa~ts hall full kno«ledge of all these facts pertaining to Medtronies.

VI.      FDA PTJB~.r~~ HEALTH l~IaTIFICA'I'IUN'

438.     On July 1, 200$ t ae FDA issued a Public Health Notzfzcatian entitled "Life-Threatening

   Camplicatioris Associated with Recombinant Human Bane Morphogenetic Protein in

      Cervical Spine Fusian."

439.     This notification was sent to health care p~'actitioners all across fi.~e United States warming

      p#'the con~~lications associated with BMP-2, specifically when used in the cervical spine.

~~Q.     In the nQtificatian tk~e FDA stated they received at least 38 reports o#'complications

      during the prior four years with the use o~BMP-2 in cervical spine fissions.

441.     The camplica#ions were associated with swelling ofthe neck and throat areas, which

      resulted in compression ofthe airway andlaz- neurological struchires in the neck.
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X42.    Some reports describe difficulty swallowing, breathing ax speaking and severe dysphagia

   follrawir;g cervical spine fusinn using BMF-Z products had also been reported.

443.    The notificati an f►al-ther stated that,"since the safety and effectiveness ofrhBMP for

   treatment of cexvical spine cflnditians has not been detnanstrated, and in lig~it a~'the serious

    adverse events described above, FDA recommends that practitioners either use ~ppro~ed

    alternative treatments ~r consider enrolling as investigators in approved clinical studies.

~4~F.   The Notification further emphasized the impflrtance offully informing patients of these

    potential Y-isks and saad that patients treated with BMP-2 in the cervical spine should know:

            s. The sighs and symptoms of azrway complications, includuig ciiffieulty breathing o~

                 swallowing, ar sweIlin~ of t~~e neck, ton~~ie, rnoutk~, throat anc~ shoulders or upper chest

                 area

            t.   ThaE they need to seek medical attentivz~ unrnediately at the first sign of an airway

                 cainplicatian

            u. TI1at they need to be especially watchful 2-14 days after the procedure when au-way

                 complications are more likely tv occur

            v. rhHMP-2(contained in Ln~use done Graft) has received pre-market approval. far fusion of

                 tlxe lumbar spine in skeletally mature patients with degenerative disc disease at ane level

                 from L2-S 1 and far healing of acute, open tibial shaft fractures stabilized with an IM nail

                 end treated within 14 days of the initial injury.

445.    Additionally, BMP is nat approved in any manner far use in patients who are skeletally

    immaiure(~18 years of age) or pregnant.

A~46.   Dr. Duxrani and the Hospitals i~axed ALL of these warnings and used BMP-2 in

    cervical spine s~~rgeries, children, and those wit~~ knor~n compromising factors such as

    osteoporosis, smoking, and diabetes.
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4~7.    FurthErmare, the 1Votificatio~ stated that the FDA requires hospitals and other user

   facilities to Depart deaths and serious injuries associated with the use of medical devices.

448.    Tlae Hospitals that allowed Dr. Durrani to use B1vIP-2 in their facilities failed to report

    any complications resulting fraYn his use ofBMP-2.

~~II.   ~ENATJ~ FIl~IAl~ICE CUlV~MITTEE REPORT

449,    I1rledtronic's actiaa~s did not go unnoticed, and in June of2011 the Senate Finance

    Committee begaa't an investigation into the fraudulent actions ofMedtronic.

450.    Medtronic produced mare Haan ~,OQ~ dac~ments pertaining to 13 different studies of

    BMA'-~ £o~ the investigation.

451.    On ~ctaber 25, 2(}X2, Sena#e Finance Cammitt~e Chairman N~ax Baucus(D-1Vlont.) and

    senior member Chuck Crrassley (R.-Xo~va) released the resu]ts of~ieir 1 b-month investigation

    into Medtronic, which rev~aJed questionably: ties between the medical technology company

    and the physician ca~asultants tasked with testing and revie~vin~ 1VIedtroriic products.

452.    The investigation revealed that Medtronic employees collabora#ed with physician authors

    to edit and write segments Qf published studies on BMP-2/Infuse without publicly disclosing

    this collaboratiaz~.

453.    Theca fraudulently-pradu~ed sfiudies may have inaccurately represented BMP-2's ~is~s

    and may have placed added weight an floe side effects of alternative treatments.

454.    T'he Senate in~ves#igation further found that Medtronic also maintained significant,

    previously undisclosed financial ties with phtysicians who authored studies about BMP-2,

    making $21~ million in payments to physicians aver a l S-year period,

X55.    S~natrar Baucus stated,"Medtronic's actions violate the tt~ust patients have in their

    medical care. Medical journal articles should convey an accurate picture ofthe risks and
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   benefits of drugs and medical devices, but patients are at serious risk when companies distort

  the facts the way 1vledtrc~nic has. Patients everywhere will be better served by a more open,

   honest system ~vithaut this kind of collusion.."

45~.   Senator Grassley stated,"The findings also shoutd prompt medical journals to take a eery

   proactive appxaach to accQUnting fQr the egntent cifthe aa`~icles along wxxh the authorship of

   the articles and the studies they feature. These publications are prestigious and influential,

   and their standing rests on rigorous seien~e and objecfi~ity. It's ~n the interest. ofthese

   journals to take action, and the public will benefit from more transparency and accountability

   Q1C1 {~1~]T per."


457.   Major findings of the investigation inolude:

            a. lVledtronic vas involvEd in drafting, editing, and shaping the content afm~dical jou~nnal

                articles authored by its physicia71 consultants rui~o received significant amounts of money

                through r~~+alties and consulting fees from Medtrazlic. The enmpany's role i~~ authoring

                or snbst~ntially editing tliese articles was not disclosed in the ~rublished articles. Medical

                jour7iais should ensure that any industry role in drafting articles ax cont3-ibuti~ns to

                aut~ars is fially disclosed.

            b, Nledtrnnic paid a total of apprpximately $210 million to physician authors of Medtronic-

                sponsored studies from November 199b t1u'ough ➢eaemlaer 2010 for consu~tin~, royalty

                and other arran~em~nts.

            c. An ~m~I exchange shows that a Medtronic employee recomrnerzded against publishing a

                complete list of adverse events, nr side effects, possibly associated with BMP~2IInfuse in

                 a 20Q5.Iournal ofBone c~rzd Jai~zt ~5'urge~y 2u~icle.

            d. Medtronic officials inserted language i~ato studies that p~ame~ted BMP-2 as a fetter

                 technique than an alternative by emphasising tk~e pain associated with the altat~ative.
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           e. Documents indicate that Medtronic prepared one expert's remar~CS to the ~'DA ad~isary

               panel nneeting prioz'to BMP-2 being approved. At the tixrne, the expert was a private

               physician lout «as later hired to be a rice president at MedtXpnic in ZOD7.

           f. Mecltrflruc documents show the company successfully attempted to adopt weaker safety

               rules for a clinical tz'ial studying BMP-2. in the cerrrical spine that would ha~~e allowed the

               company to continue the trial in the event that patients ~p~rienced severe s~vellin; in the

               neck.

"VIII. YQDA STiTI?Y

458.    ~n response to the various controversies surrounding BMP-~Ilnfuse, including a June

   2011 article in the journal SpinE, the Yale University Open Data Access {YQI7A)team.

   reached an agreement for 1Vledt~onic to pzovide full i~adi~virlual paztiaipa~t data from all their

   tx-i~ls ofrhBMP-2 and allow unrestricted independent re-analysis of this data.

X59.    The YODA str.~~y invcsl~ed research teazxas at two universities — tk~e U~iiversiry ofYork

   and tlae Oregon Health grid Science University.

X60.    The review focused exclusively on tie use ofrhBMP-2 in patients undergoing spinal

   fusion sur~er'y far treatment of degenerative disc disease, spondyiolist~tesis, or any other

   relevant spinal condition.

4fi1.   The three main objectiUes of tyre study were: 1)~a examine the potential benefits Q~BM~-

    2,2~ to examine the potential ►arms o£ BIvIP-2, and 3} to assess the reliability ofthe

    published evadenoe base,

462.    Medtronic submitted data 'rpm 17 studies, izacluding 12 randomized cantra~~ed trials

    ~RCTs).

463.    In total, the YODA stuff y analyzed the data frarn 1,409 participants.
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464. 'I'lxvugh the results showed moderate success with fusions as a result of BMP-2, the study

   found that BMP~2 results in sev~~al different complications including: arthritis, ~rnplant-

   xeJated events, retrograde ej~culatia~n, wound cQrnplicatians, and neuralc~gic~~, ~'ogenital,

   and vascular events.

4~5.    In regard to the alleged tampering with the peer-reviewed studies by Medtronic, the

   YODA study fat~nd that only two out af`twenty peer-reviewed journal publications repaxted a

    comprehensive list of all adverse events that occuarred oaring the studies.

4bfi.   Furthermore,the way in which adverse event data was pxesented in the literature was

   imcvnsistent, and floe rationale ft~r preset3ti~g sc~rne adverse events but nit others was rarely

    clear.

467.    The study canc~uded that for the period up to 24 months after su1-gery, treahn~z~t with

    BMI'-2 increases the probability ofsuccess~t fusion (according to Medtra~nic definitions and

    reports, which the study noted "were subjective so i~ is not possible to confi~7n whether

    repcar€ed successful fusions truly were successful" see Y~DA study, ~. 35)lout this does nc~t

    trairslate to c~inieally meaningful benefits its pain reduction, function, ttr quality oflife. Tie

    sma11 benefits in these outcomes vbset`ved from six months or~~~ard come at the expense o~

    more pain in the immediate posh-operative period and a pt~ssible increased risk ofcancer.

4d$.    Even more rele~a~t to the case ag~.inst Llr. Duzrani and the Hospitals is the Y(]IlA

    study's coxlclusion that, "[i~t is very i7np~rtant that these fi~adings are expressed clearly and

    discussed with pafients so that that' can make informed choices about the type ofsurgery

    they would prefer." Icy.
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469.   The University of Oregon Study determined that Inf~sefBMP-~ as r at bettez than

   Autograft, while the University of Yr~rk study determined that Infuse/BMP-2 offers only a

   slight and not ~tatis~tically sig~a~fcant advantage over AutQgraft.

474.   The YODA study concluded that Medtronic `~ni~represented the effectiveness and harms

   through selective reporting, duplicate publication, and underreporting."

471.   Adverse event categories such as heterotopzc bare formation, asteolysis, and radiculitis

   were not included in participant databases car internal reports; therefore, the safety profile was

   not fully assessed.

472. 'fie YDDA study fiirthex cc~nel~udecl that Medtronic was involved in drafting, editing, and

   shaping the content ~£xnedical journal articles on Infuse/BIVIP-2 authored by its physician

   cons~~ltants who received signifcant amounts of money through royalties aid consulting fees

   from rvledtronic. The company's significant role in authoring or substantively editing these

   articles was not disclosed in the published articles.

473.    Medtronic paid a Total of approximately $21~ million tQ the physician authors of

    Medtre~nic-sponsored studies on Infuse from November 1996 through 210 for consulting,

    royalty and other arrangements.

474.    An email excha;tge showed ~liat a Med~tonic exraployee recommended against publishing

    a complete list of adverse events or side effects possibly associated tivith Infuse in a 2005

    Jn~sr~nal ofBone end ~Toint Sa~rgefy ~.rtxcle.

475.    Medtronic officials inserted language into studies that promoted Infuse as a better

    tecl~ique than an alternative procedure by overemphasizing the pain associated with the

    ~l~erna#ive procedure.
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476.    Medtronic's actit~ns violated the trust patients have in their medical care. Medical jQUrnal

   articles should. convey an accurate pichire ofthe risi~s and he~z~fits of drugs and medical

   devices, but patients are at serious risk when companies distort ~~ ~~cts t1~~ way Medtronic

   has. See United States Senafie Committee on ~'zaaance, Uctober 2U 12.

A~77.   Infuse was intended £or a single level aaxteriar lumbar interbody fitsia~i per#`vr~ned with all

   three components in a specific spinat region. The three components are a tapered metallic

   spinal fusion cage (N(~'T PLASTIC), a recombinant human(SNIP)hone Moiphogenetic

   Protein, and a cat~rier/scaffold fc~r the BMF and resulting bone. The Infixse product is inserted

   into the LT-GAGE LumUar tapered Fusion Device cvmpo~aent t~ foxm the co:►xa~lete In£use

   Bone CYraftlLT—Cage Lumbar Tapered Fusion Device. These components must ba used as a

   system. The Infuse Bone Crra~ component must not be uses without the LT-Cage Lumbar

   Tapered Fusion Device cflmponent.

x}78.   B1VIP-2 is not supposed to be used in minors.

479.    B1VIP-2 is ant supposed to be used with smokers and diabetics because of vascular

    5YflW111g.


480.    BMP-2 should not die used with women in child Dearing years.

481.    BMA'-2 is contraindicated for patients wi.tla a known hypez-sensitivitty tt~ r~tBMP-2 and

    should ~1Qt be used in the vicinity ofa resected or extant tumor,inpatients with active

    malignancy, or in patients ►.undergoing treatment for a malignancy.

IX.     DR.DURRA~Ii A.1~D BMF-2

X82.     Respite all of these warning signs, Dr. Durrani, with the full knowledge ofthe

    De~rendants, coaat~nued to use BMP-2 in ways r at approved by the FDA,ar in an "off-label"

      manner,
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4$3.   As early as 200'1, I)r. I]ur~ani and UC Health knew there w~:~'e issues with BMF-2

   because insurance ctirnpanies such ~s Anthem were refusing to pay far BMP-2.

4$4.   Medtronic pro~ded in writing to Dr, DL1TC2~I11 aTtt~       Cf~~ST ~1~ ~~?~7IOV~C~ U5~5 ~Or


   ICIfUSeB~'VY~°~.


X85.   However,Dr, Dut~ani and t ie Defendants continued to use I3MP-2 in off-I~bel ways,

   including but not limited to:

           a. Y7sing BMP-21Infuse in children, despite Medt~'onic specifically requiring at be used t~nly

               in "skeletally mahaXe patients;"

           b, Using it gutside tk~e i.2-51 level of the spizte;

           c, Ignoring the xequiren7ent that BMP-2/Infuse only be used for Grade 1 spandylolisthesis

               or Grade ~ retrolisthesis;

           d. Not requiri~~~ at Feast six months of non-aperati~e treatment prior to the use of BMP-

               21I~~fuse;

           e, Using BMP-21~nfuse without the required cage;

           f. Not using the "carrier scaffold" in conjunction with BMP-21Infuse as xequired;

           g. Using BMP-~lI~lfiis~ withatrt proper t~~aining despite Medtxoni~'s w~tmin~,"Caution:

               Federal(LTSA)law restricts this device to sale by or on the order of a physician with

               appropriate training or experience."

48b.   Dr. Durrani ryas a paid consultant for Medtronic.

487.   According to Dr. Durrar~i's nwn deposition testimony i~ several cases, Medtronic

   required one ciftheir representatives to he present in the operating room when its product

   BMP-21Infuse is used.
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488.    Because Medtronic representatives were pz'esent in these surgeries, Medtronic knew

   when Dr. Durrani used BMA-2/lnfuse c~utsade the ap~raved uses according to Nlecitronic's

   own guidelines.

489.    Ilr. Ilurrazai 'vas encouraged ~y .l'+~edtranic to obtain peep review and published studies

   frarn 1Vledtzonic solos representatives to sup~ark his use ofBMP-71lr~fuse.

490.    Dr. Durrani was encouraged by Medtronic to be a~ advocate for his patients and describe

   laow BMP-21Infuse technology can benefit them.

491.    Wien asked how he got his Medtronic grant, Dr. Durrani responded,"You apply to tl~e

   Medtronic's ~oxpvrate and say this is what v~re want to do,lx~Ce everyba~y else in the coi~nhy

   applies, and then they came anti evaluate the thing anti say,"C~l~ay, we think it's wartk~y.

   We'11 give you the grant.,'

492.    In regard to ~iis role as a 1VIedtronic consultant, Dr. Duxxani stated, "If there ate certain

   products that they help us in developing, then they will corny to us for a certain consultant

   role for a certain product de~elapment."

493.    Dr. Dun-ani also stated,"I was inval~ved in the development ofthe rninima~ly invasive

   spine instrumentation."

49~.    Dr. Durrani have conflicting repoz-ts Qn his financia] xelationship with Medtronic.

495.    In a deposition, wY~en asked when his relatio~aship with Mecittonic l~e~an, D~-. Durranx

   responded "20~a-it's 2Q~3,'OA. Samethin~ in that category. I'm not sure, It's can the

    Medtronic website. you can go look at it."

49fi.   Medt~ranic's wehsi~e has Sao infar~nation regarding their relationship ~vit~ Dx. Durrani.

497,    In anothei deposition, Dr. Durrani stated he began his relationship with Medtronic in
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49$.    Dr. Durrani also gave conflicti~~ re~arts on liow much campensatior~ ~e received from

   Medtronic fox his consultation services.

x}94.   In one deposition, Dr. Durran~ stated in response to an inquiry as ~Q how much payment

   he rece~v~d, "It's a ~tand~rd com~aensation. Again, it's on the website, how much they've

    paid us."

500.    Again,this information is not available on the Medtr~~zc website.

5~~.    In an€rther deposition, ~~hen asked if he received income from Medtronic, Dr, Durrani

    replied,"No, ~ don't."

502.    When questioned further if he received a fee as a consultant, lie stated,"If you da a work,

    them is a contractual obligation that they have to pay you..As I told you in my last

    deposition, they did declare it on their r~vehsite, so you can actually go on tk~e website and see

    how much they laid."

5~3.    In another deposition, Dr. I3urrani stated that he recezved,"less than $l 0,D00 in ten

    years" fiorn Medtrp~ie.

504.    An email datad July 30,2048 from 11~edtronic Senior ~'r~duct Manager Katie Stamps to

    Dr, Durrani states float she "is in the process of working on tie renewal of your ~Dr.

    Durrani's] consulting agreemetlt," As stated, t1Yis irlfortnation is not a~aila~le ~n Medirronic's

    r~ebszte, nor is any inforanatian relating to Dr. Durrani's role as a consultant fQr Medtronic.

545.    A CCHMC packet relating to its Orthopedics department indicated that Dr. Durrani

    recei~red $60,~OD in grants, contracts, r~r industry agreennents from Medtronic Sofamor

    I?anek in FY 208.

5Q6.    Financial inforrnatic~rt discovered oc~ncerning Dr. Durrar~i's xelat~onship with Medtronic

    was t~oun.d in Dr. Durrani's biography Qn the website for the Orthopaedic &Spine Institute,
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   which Dr. Durr~ni currently operates in Pakistan. The biography states #l~at "Dr. Atiq Dr.

   Durr~ni has also received the Glznaca~ Spine ~ella~vship Giant by the Department ot~

   Orthopaedic Surgery which was funded by Medtronic Sa~amar Danek with a budget of

  $59,170 per dear." See httt~'l/wwry.osi.cam.pkldc~ctor/dr-atiq-Dr. Durrani-mdl.

5~7,   W~ie~ a requesf was made to Medtronic regardzr~~ its affiliation ~~ith Dr. r7uxrani, the

   Mec~trvni~ Supplier Rel~.taans Team stated that Ar, D     ani's "name [is] ~aat listed in our

   system."

508.   IVledtrc~nic further responded tc~ the Deters Law Firm's request that t1~e firm would need a

  "Vender I.D. Number," ~~hich neither Medtronic nor asay other party has provided.

Sag.   David Rattigan, was T}r. Durrani's mein Medkrunic representative from Bahler Medical,

S10.   David Rattigan and Medtronic hive the same lawyer. Despite the I3eters Law Firm's

   willingness t~ cc~aperate in scheduling the date #'or a deposition, they have refused until

   rec~ntty. Mr. Rattigan's deposition was tal~~n dune S,2015.

511.   In summary, clients of the Detexs Law Firm, with the fixll knowledge anti intentional

   cansez~t flf X11 Defendants, beoame unsus~ectia~g expeY~~nents far real world testxzag of

   Ivledf~onic hardware and BMP-2, by and througl-i Dr. Duzxani and CAST,~~+~o had secret

   financial conne~tinns to Med~anic,impro~~er m~ti~ves, and submitted false claims. The

   govert~nent paid far many of these improper and unregulated experiments as ~ result oftt~e

   false claims made by I]r. Durrani, with the knovvl~dge of Medtronic, t~r►der the veil of

   `medically necessary" surgeries.

512.   Despite repeated requests, Medtronic has refused to cooperate in providing any requested

   infar-~natian and zs actively downplaying their connections to Llr. Durrani.
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X.      7Cl[~E DEFENDANTS AND SMP-2

513.    The purpose of the 1~a.c~girouz~d ir~forrnatinn on the following Defendants ar~d BMl'-2

eaneerning other hospitals is to s~iow the egl'egiaus methot~s, which upon information and ~relz~f

were used at all hospitals.

514.    The I3~fe~,da~ts atlowed and encouraged these practices by Dr. Durrani for the stile

purpose o~'~tnc~ney and greed.

515.    David Rattigan was always present in Dr. Durrani's operatz~.g rc~orns as a~ representative

~f Medtronic.

51~i.   David Rattig~'s sale jab was to deliver the BMP-21Infiise to the Hospitals and ma~~

sure that it was inserted co~7ectly into the patient.

517. David Rattigan's presence in the OR further suppt~rts the Deferzda~ats awareness flf Dr.

Durrani's fraudulent use o£BMP-2/Infuse.

515. Infar~ned consent for Surgical pr Medical Procedure and Sedation:

It is the responsibly ofthe attending physician to obtain informed consent prior to the pxocedure.
The patient, or hislher representative, will he advised try hislher physician of:

            a. The explanation ofthe procedure

            b. The benefits of the procedure

            c. The potential problems that might occur during recuperation

            ci. The risks and side effec#s of the procedure which could include but aze nt~t limited to
                sevez~e btovd loss, infection, stroke or death.

            e. The benefits, risks and side effect of alter~iatir~e prpcedures including the consequences of
               declining tk~is procedure or any alternative procedures,

            f.   The likelihood ofachieving satisfactory results

        Completion of the "Consent to Ht~spital and Medical Treahnent" forrt~ to examine and
        treat is NOT sufficient as consent to perfflrn~ a s~~rgical pro~e~lure, in~asi~ve proceduxe, ar
        for medical regimens of substantial risk or that are tk~e subject of human investigation oz
        research.
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S ~ 9,   The Defendants had tie responsibility to ~a~~r•y out these consent rules.

520.     Dr, Durrani oftentimes used BMP-2 "cuff-label" when performing surgeries.

521.     BMP-2 is manufactured, marketed, said and distributed by Defendant Medtrt~z~ic under

the bade nain~ "Inf~.ise."

522..    Dr. Durrani is a cansi~ltant for Medtronic.

523.     Defendants dtd not inform Plaintiffs cif Durrani's financial interest, conflicts ofinterest or

consulting arrangement r~uith Medtxo~ic.

524.     ~edtxonic, prodded in ~rriting to Dr. I3urrani the approved uses far B.I~P-2, the

substance also referred to as Infuse, which is a bane morphog~nie protein, used as an ar~ificz~l

substitute for bane grafting in spine surgeries.

525.     BN1P-2 is not appxaved lay the Food and Drug Ad~cxinistration foot use in the cervical and

thoracic spine.

52b.     BMF-2 is neither safe nor apprtr~ed for use on children less than twenty-one {~1) years of

age.

527.     For use in spinal surgery, BMP-21In#'use is approved by the FDA for a limited procedure,

perfornied can a limited ax~~ trf the spine, using s~recifc components. Specifically, the FDA

approved Infuse for one procedure offhe spine: Anterior L~tnbar In#erl~ody Fusion ~"ALIF" Qr

"Anterior" approach); and only in one area a~the spifle: L4 to S~; and only when used in

conjunction with FDA-Apprvvec~ Components: LT-CAGE Lumbar Tapered ~'usian Devise

Cam~onent{"LT-CAGE")

528.     Use of Infiise in cervical sir thoracic surgery, or use through the back (posterior}, or side

{latexal}, ar oza axes ofthe spine outsida ofthe L4-~1 region {e.g., the cervical spine}, ox using
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components othez tliat~ Qr in additiall to the LT~CAGE is not approved by the FDA, and thus

such procedures and/or use of nan-FDA approved compone~ttz'~ is termed "off-label."

529.   V4~l~er~ used off-1abe1, Infiise frequently causes excessive or uncontrolled (also referred to

as "ectapic" ar "exuberant")bone growth on or around the spinal cord. When nerves are

compressed by such excessive bony grawtl~, a patient can experience, a~nang other adverse

events, intractable pain, paralysis, spasms, and cramps in limbs.

530.   The product packaging for BMP-21~nfuse indicates it causes an incre~se~.risl~ o~caxac~r

four {4) times greater than other bone graft alternatives.

53l.   I3r. Durrani and Children's Hospital perso~rael did not disclose to Plaintiffs their intent to

use BMP-21Infus~, and further, did gat d~scl~se their intent to use BMP-21Infiise in a way not

approved by the FDA,

532.   17r. Il:~uz-rani used B1VIP-2 in Plaintiffin a manner not approved by Medtr-c~nic car the FDA,

533.   Defendants did not inform Plaintiffs that Dr. Durrani used InfiisefBNFP-2 in his surgeries.

534.   Plaintiffs ti~nu~d not have allowed SMP-2 to be used by Dr. Durrani in his. surgery in a

manner that was not approved by the FDA.ox Medtronic, InfuselBIVIP-2's manufacturer.

535.    Plaintiffs would not have consented to tl~e use ofBMP-2 in Plaintiff's body ifin~ormed

ofthe risks by Z7x, Dta~ranf ar any Children's ~-Tospital personnel.

53{.    The written informed cans~nt ~fDr. Dui~rani signed by Plaintiffs hacked the disclosure of

InfizselSMP-2's use in his procedures.

537.    Plaintiffs never received a verbal disclosure ofInfitselSMP-2 from Dr. Durrani ar a7ly

Children's Hospital personnel.

538.    Medtronic specifically required 1~zfuselBMP-2 rimy be used in "skeletally mature

padexits" with degenerative disc disease.
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539.   Medtronic required at least six (~)months ofnog-operative txea~nent prior tc~ use of

InfuselBMP-2.

540.   Dr. Durrani regularly used Ir~~useBMP-2 wifhout t~~is six(G} month r~on-operative

treatment.

541.   Mgd~ronic required BN1~'-2 always be used in conjunction with a metal LT cage.

542.   Dr. Durrani regularly used BIvIP-2 without a proper ~T cage in his surgeries.

                                   T]f~IGGERS - RETENTIUN

5~3.   Wzth respect to Dr. Dui7ani, West Chesterli~C Heath slid not fallow their written medical

staff policies and procedures under their professi~:nal p~ac~ica e~alt~a~inn policy.

5~4.   L~Vest Chesterl[JC Health failed to follow the triggers £or deer review from January 2Q09

through May 2413.

545.   The following are the trig~exs for peer review or other actions as provided by West

ChesterlUC Health to the Deters Law Office in discovery an related litigation and is a list which

by their own aclrnission is not exclusive and is a list they produced after fii]1 knowledge ofthe

items Dr, Keith Wiley, Flainti#'fs' experts, considered triggers:

             A.. Wrong operative ~arocedure performed

             B. Serious injury due to medical device

             C. Pr~cee~ure perfarmec~ on wrong patient

             l~. IVledication resulting in depth

             E. Delay in diagnosis

             F. Autopsy not correlated with clinical di~.gnasis

             G, Delay in treatment resulting in serious injury or death

             H. Alleged abuse ar neglect
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         I, Unexpected death.

         J. Surgical death

         I~. Mortality revietiv

         L. Unplanned second surgeon called tv 4R

         M. MD not credentialed far procedure

         N. Focus review

         C). Incident reports

         ~', Contraindication to surgery

         Q. Unintended retention offoreign abject in a patient after surgery

         R. Complications frflrn procedure (i,e. reAdmits,infections, pneumathc~rax after

             procedure)

         S. X-ray discrepanvies

         T. Returns to surgery

         U. Transfusion not meeting criteria an order shut

         V. Change in surgerylprocedure

         W. Laceration/ar perforatzc~nlpuncture of organ durifig invasive procedure

         X. Acute MI or C~V'A v,~ithili 48 hours ofprocedure

         Y. Anesthesia complications

         ~, MLt without timely response to E]] or unit call

         AA.         Risk management issues

         BB.         Dewy in treatrraez~t nc~t resulting zn serious injury andlor death

         CC.         Delay in dia~~ic~sis nc~t resulting in injury ar death

         DD.         ,A~ute blood lass as indicated by pra~edure
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         EE,          A.pprapriate care measures not ordered

         FF.          Readmission- camplicatian Qf previous admission

         UG.          Unplanned admissAOn following surgery

         HH.           72 hours returns to ED and readmit sazaae issue

                       Insufficient doctun~ntat~on

                         u-'' _,

                       PureGen

                      Late dictation or na dicta#~on of operative reports or discharge sununari~s

         MM.          False claim Qf spo~d~+lolisthesis

         NN.          False Maim ofstenasis or its severity

         CJU.         P@TfO~TI]~i~ S11Tg8T1~5 Old ]J~Y1017tS W~'ID58 ~]~cZlt~7 CQI1f~$01? V1~lat~5 5U7'~~:


               age, diabetes, obesity, hypertension, mental he~Ith issues, etc.

         PP.           S1~anti S~lauffle- Dr. Shand being forced t~ do an entire sux,~ery for Dr.

               Durrani by Dr, Durrani with~aut the patient'S ICI]QW1~C~~,~.

         QQ.          Na h~s~it~l consents or improper CAST consents

         RR.          Failed Hardware

         SS.          Performing surgery nvt qualified to perform

         TT.          Dura tear

         UU.           Having hardware which s~iould be rerraoved, which is never removed

         VV.          ~1ot using the proper cage with BMP-2

         WVL~.         Ignoring xadialt~gy results

         ~X,          Misrepresentations to prim~-y care physicians
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Sob.   Dr. Keith Wilkey, a board certified spine expert, has reviewed over'213 ~►atient charts at

West Chester ofI~r. Durrani and signed 2~3 affidavits of xner~t as requ~xed under CRl~ of Chia

R~1es ot~ Procedure to file a medical malpractice case and based upon #hese reviews over 5[l0

events triggers place which would have required action against Dr. Durrarii by West Chester.

Defendants intentionally tQOk no action.

547.   In 2048,insurance carnpanxes i~eca~ne rnuah more selective in what they wau~d authorize

for payment. They started only paying for spinal surgeries that tivere highly indicated, meaning

there was rack solid medical evidence to support their necessity far fireat~a7ent of patients.

548.   Certain diagnoses such as s~ondylalisthesis and severe spinal stenosis have good

liter~.t~ire support ~'or complicated lumbar fusion procedures with instrurrtentatic~n, higl~]~

indicated procedures with go~~rd Qutcomes which ~es~alt irt; more pay for Durrat~i. Dr. Durrani

would use these extensiae~y, The data shor~vs Dr. Duz'rani falsely claimed sponciylolisthesas

diagnosis 95°!0 of the tune.

549.    Mast ofthe surgeries Dr. Durrani actually performed were a lesser indication; mainly

degenerative disc disease with lessen atnaunts of spinal stenc~sxs ~~hieh insurance companies will

not usually pay for the more expensive spinal fusion; less pay for Dr. Duri-ani. This is why Dr.

Durrani would claim the conditions cif spondyiolisthesis.

550.    Surgeons have to obtain advanced a~tthorizafians from the patient's insurance carrier

pz~or to doing the surgery. Y~ surgeons are requesting to do a surgery with a lesser indication,

most of the ~in~ae it is denied unless tY~e requesting surgeon can ennvi~ace a "peer surgeon" ofthe

need to da the bigger surgery and demonstrate why this case is an exception to their policies.

T~-iat takes titn~ and the peer has access to the patient's whole medical recc~r~. That peer

reviewer could easily have diseAVered the fraudulent di~gn~ses Durr~ni vvas claiming.
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551.   Beginning in 20(79, Dr. Durrani lied much more often to avpid the whale prc~~ess and

possibility of discovery ]~y the insurance companies.

552.   Dr. Durrani didn't rlo his opu~ati~e reports on time sa as to assist his eo~er-up trf the

fraudulent diagnoses.

553.    Gave~tnent has given 1~ospitals incredible power to act as the "watch" fox patient's

safety and tive11-being,but with ~l-►at dower cor►aes responsibility.

554.    Vl~est Chester Hospital hard the duty tv monitor i#s physicians vaa the peer'review process

and at least fln paper, t~aey had the process in place.

SSS.   In that process, West Chester had several "triggers" established which wrauld have

resulted in a~, in-depth peer review. Tt7ggers don't have to be events or behaviors that are

rnalpractiea, i~ut are designed to be even more sensitive.

556.    Mast ofthose triggers are suggested by the ga~ernment such as complications az~d retuz-~

to surgery. However, hospitals axa sup~ased to adjust their triggers ft~r the andivic~ual physicians

depending an their practice type and bek~a~iors. This is to izasure that the hospital has n~eaningfi~l

triggers for each physician. It wouldn't make sense to monitor operative reports for an inter~~ist

that doesn't Operate. It would make more sense to look at his dischaa-ge surrimaries.

557.    For Dr. Duz-~an;, meaningful triggers would have been items #packed during the rnedzc~l

record review ofthe malpracta~e claims. Altlaau~h complications such as haxdware failure,

nonunipn and revision are not mandated by t11e government ~nx hospital triggers, any

responsibility peer zeview cornn~ittee should have ~e~ieWed Dr. D~trani's results and adjusted

the triggers faz Dr. Dui~rani to zeflect his higher than normal con~plieatir~n xate in these areas.

ether areas tracked shau~d have included his off-label ar~d eontraandicatec~ use of Fnfuse and

Fu~•eGen.
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55$.    Defendants failed t~ act upon an overwhebmi~g a.rnount of material. There were aver 59~

individual triggers that were ignored by West Chester. That is overwhelming and unforgivable

for a hospital tQ allow, giaen the pativer t~aey had to protect their patients from kartn.

559.    an peer review, they are asked to identify and assist wit~~ the removal ofknown

incompetence. A surgeon's duty oat tfYe peer review panel is to protect patients from illegal

operations. Surgeons look for false and fraudulent diagnoses plus fictitious medical treahnent.

SdO.    The peer review committee is asked to sit on the committee far usuaJXy two years at a

request.

SGl.    west Chester Hospital had bylaws based upon the joint comrn~ssian accreditation of

healthcare organizations knows ~s "The Joint Corntnission." The principles of the initial

credentiaiing that allowed Dr. Duzrani to start operating and mech~a~isms ~vail~ble tc~ the hospital

tv stop him from har~rning other patients a b~szcally equivalent, There are some "minor"

variations between state laws but for the most part, they are tie same. An exarr~ple would be the

"pr~eess" called summary suspension, after it bece~z~xes clear of a physician's inaa~npetence, the

mechanism to remove him are the same everywhere. T17erefare,the situation regarding West

Chester and Dr. Durraxai are unique an y in their depth and degree t~ whick~ Dr. Duz-raz~i's

~gregiaus behavior was a~Ic~wed to harm patients before he was stopped only by the ding of aver

one hundred lawsuits.

5b2.   '~'he credenti~ling and ~aeer review work is kept secret from the pubic,

563,    ~redentialing is a very lengthy a~plxeati~n where 40 to 100 pages of documents are

required. Each of Ehese have t~ be t~erifted by the credentia~ing personnel from the hospital and

then a committee zr~exnber is assigned to do a fuz-t~zer background check into these applicants past

work to include calling references, hospitals and training programs.
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~b4,    Within Borne broad limits, one caz~ probe very deep into the past ofan applicant because

the applicant signs rnuttiple disclosure agreements before the t~ackgraund check. This insures

t~lat if needed,the peex review can make good recornrnendaticrns tc~ the conunittee chairperson.

565.    Criven Dr. Durrani's behavior and clinical problems in Cincinnati at the time h~ ura~s

applying ft~r credentials at test Chester, phone ca11s should have been made regarding Ar.

Durrani's past wor~C history, particularly at Clailc~en's Hospital, Anafi~er "red flab" that D~.

Durraz~i r~+ould have had was the ~~ct he w~.s not board certified by the American Academy of

artk~apedic Surgeons or a member of the ~torth American Spine Sac~ety.

56b.    Being l~aard certified and a member of a specialty society is a good way'for a hospital to

ha~~e some external quality check fo r the applicant. If the applicant doesn't have those in their

pacl~et, it's a "red flag" and the reviewer fox the carr~mittee has to be vigilant and do extra

digging.

567.    Tf West Chester and Defendants had called and received reports not favorable to Dr.

Durrani the information wt~uld be confidential and administration could still take a chance and

convince the physicians ofthe credentiating committee arld MEC Ya allow tl~e privileging
                                                                                                 V~Tif 5fT1CC
anyway.    FT1V11~~111g ilI]d~T f~1~5~ C1TCL1TI15taT1~85 15 USlIaI1~ ~r`~Tit~ ~7y the 5ta~f W1~1


 terms end the physician mould be on a very "short leash,"

 Sb$.    If this happens, the physician is put an a strict probationary period with any violation of

 the bylaws resulting in t~ninatian acid databank report is filed.

 569.    Dr. Du~~'ani was incozx►petent and he should have had an iznrnediate summary suspension

 and a I~ationat Practitio~ez-'s Databank report should have been filed after a fair hearing

 confirmed the initial suspension. This report would be floe only «ay the public would know that

 X7r. Durrani was found #o be inca~npetent by his peexs at West Chester. This report did not
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happen and the hospital administration officers, Baard members and Defendants were protecting

Dr. I~u~rani from the usual prt~cess ofpeer review.

57U.   The hospital administration has considerable con#~ol ofthe peen review process. They

rightly claim the actual process ofreviewing the patient's records and voting on the issue at hand

is dcs~e by the hospital medical staff. The administration controls all the remaining variables; the

physicians assigned to the commitfiee are assigned to review the individual case, which physician

is reviewed aid the selecting "triggers" far the process and,the "assistants of the car~mi~tee" that

monitor physicians on a daily basis are all hospital employees.

X71.   According to a review areport of Dr. I~u~nrani performed by Dr. Keith Wilkey, 8 of I5

patients ~R reports were not done in a thirty-day windflw, it included a lot offictitious,

fraudulent and False diagnoses, two contraindicated use of Infuse used in minors, one cancer after

Infuse and several novel surgeries—VATS,AxiaLIF,DLIF. The results of't1~is pear review

speak. for itself: Had this study been earr~pleted, there is zoo way to cancluc~e otherwise tk~at Dr.

Durrani ~~vas in~ornpetent. He should have been summarily suspended befoxe the study was done

to protect fixture patient. The peer review sho~tlfl have reported to the MEC and then Dr.

Dutrani should have been suspended until a hearing at the IVIEC level confirmed or denied the

stunmazy suspension. A databank report would have been required to be filed by West Chester.

57~.    west Chester's bylaws clearly stag the requirement that DR repc~Y~ts be done within 3Q

days from the completion ofthe surgery. Without exceptions, physicians get w~tten no~ificatian

oftheir delinquent records aid are given anywhere from severs to ten days ~o correct the

deficiency. If the charts are not dictated within ghat time limit, the physician is summarily

suspended and the case is sent to the MEC for their review. This process may be repeated one yr

two nrtare tunes, but usua~~y within a six-month pet-iod, the delinquent physicia~i has their
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privileges revoked and a databank report filed. Dr. ~]urrani was given an exce~tian for over four

years.

573.     T]efendants willingly overloflked illegal op~e~ra~ions. I7r. Durrani gage false oz'

exaggerated and fraudulexit diagnoses plus fictitious medical treatment. His sur$ieal outcomes

were laoxrible.

5'14,    The hospital k~as to disclose t1~e QR reports and the report included the time and the date

o~the dictation, to which the delay frarn the surgery date can be det.ermiaaed. West Chester had

to disclose emails between tlae hospitals aand Dr. Di~rra~i. In ane err~ail from the CEO,Defendant

Joseph to Dr. Durrani, the CEa acknflwledges that #hey knew ofDr, I)urrani's dict~.tion

violations, Therefore,they had actual knowledge of L~r. I]uz-z~ani's ~ialations and cannot claim a

statutory presurrzptioti ofimmunity fiom negligent credentialing.

575.     T'~e Joint Commission sets the standard anal l~ospifal compli&nce isn't can~ra~led b~ the

state. Hospitals have to have ongoing physician monitoring in palace to satzsfy t1~e accreditation

requirements. Gaoci hospitals require a medical st~f~that is willing and able to monator itself

through Practitioner Fer~'armance-~~going professional practice evaluation "OPPE,"

576.     Sinca 2t}09, the Joint Coznrr►ission has required k~ospitals, through its medical staff, #o

conduct an on~c+ing profes~~unal practice evaluation ofevery privileged p~raetitioner at the

hospital, without exception. There are three essentials to U~'k'E: it must measure certain things

(£or surgeons, suz~ical camplicati4ns anfl treatment patterns), the measures must be collected and

assessed {periodic chart review, observation, discussion with other c~actors and nurses), and

finally the mer~ical sta£~must act an its findings (focused professional pe~-~'arrnance evaluatit~n

instituted.) It is a confidential process.
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577.   ]due to the confidentiality, Dr. DurranF's OPPE fram the l~ospat~~ is riot ~vai~able but

because West Chester is joint com~xssion accredited and they suppasec~ly meet atl their

requirements, it is safe to conclude t ie OP~'E process was done two or three times ox~ Dr.

Burrani. Qnce he started at West Chester and then before his re-crec~entialing eery two years,

He ait~her resigned, did not reapply, or was revoked arou~ad ~axs ~vur-year re-credentialing.

578.   There is anothe~;r ~nsta~~ce where West Ck~ester adtnirustratian should have known about

the ether Dr. Durxani issue in that ifthe OP~E fiat~d p~ablerns, the MEC should ha~~e required a

FPPE, which xs an in-depth review with the passible requirement for earrecti~e ~ctitrx~, summary

suspensians, and recainmendatior~ oflimitation or termination ~f privileges, If a FPPE was

atigoing and Dr. Durrar~~ resigned during this process, a Databank report should have been filed,

which didn't hap~ren.

579. ,Anytime an ~~ent occurs that is significant, called a "trigger"(~I'pE or a~~ FPPE can be

conducted, and given Z3r, I7urra~~i's poor performance that should have occurred given a medical

staff that was diligent in their duties, The administration had ~x~ultzple cuarnings from t.~ae medical

staff about Di. Durrani. T1n.ey knew he was bad and ignored teat fact.

                                          INFUSEfBMP-2

584.    Dr. Durrani oftentimes used B1VIP-2 "off-label" whe~Y perftrrrning surgeries.

5$1.    B1VIP-2 is manufactured, marketed, sold and distributed by Defendant Me~trariic under

the trade name "infuse."

5$2.    ~tx. Durrani is a cflnsultant fr~r Medtronic.

583.    Defendants did zaot inform Plaintiff o#'Durraru's financial interest, conflicts ofinterest or

carisc~tting arraiagement with Med~ranic.
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5$4.     Mec~tranic, provir~ed in writing to Dr. Durrani and CAST the approved uses for BMP-2,

the substance also referred to as Infuse, which is a bone rnarphogenic protein, us~r3 as an

artificial substitute for bone grafting in spine surgeries.

585.      AMP-2 is not approved by the Food and Drug Administration for use in tl~e cetv~ical anc~

t~'1fl]'aG1C Sp2ne.


58G.     BMP-~ is neither safe nor approved fax use on children less than ~ven~y-one {21}years of

age.

587.     For use in spinal surgery, SMP-2llnfuse is a~~roved b~ the FI]A for a limited procedure,

perfox~ned on a limited area ofthe spine, using specific components. Specifically, the FDA

approved Infuse far one pxacedure o~the spine: Anterior Lumbar Interbody Fusion("ALIT'" or

"Antei~inr" approach); and only in one area ofthe spine: L4 to S1; and only when used in

canjunctian with FDA-Approved Con~~onents: LT-CAGE Lumbar Tapered Fusion. Device

Cornpnnex~.t("LT-CAGE")

58~.     Use ofInfuse in cervical or thoracic surgery, or use through the back (posterior}, or side

{lateral}, or apt areas of the swine outside of the L~-S1 region {e.g., the ~er~ical sine}, or using

components other than or in ad€~itian to the LT-SAGE is not approved by the FDA, and thus

such procedures and/ar use ofnon-FDA approved componentry is termed "vf£label."

589.     When used a~'flabel, Iz~~iuse frequently c~~ses ex~esszve or c~ncontro~le~ (also referred to

as "ectopia" or "exuberant") bone growth an ar around the spinal cord. When nerves are

canlpressed by such excessive bone growth, a patient can experience, among other adverse

events,intractable pai~a, paralysis, spasms, and cramps in Iimbs,

590.     The product packaging for BMP-2lInfuse indicates it causes are increased risk of cancer

ft~ur (4)times greater than o€her bane ~xaft alternatives.
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591.    Dr. Durraaai, CAST staff and employees, and West ChesterlC7C Health personnel did nQ#~

disclose to PlaantifF~lleir intent to use BMP-21Infuse, ar~d further, did ~aot dxsclos~ tk~exr z~tent to

use BSt~JP-2lInfitse in a way not approved by the FT7A.

592,    Dr. Durrani used BMP-2 in Plaintiffin a r~azxner not approved by Mec~ironic or the FDA,

5~3,    Plaintiffwas not informed by Defendants that Dr, Durr~ni used Infuse/BMP-2 in her

surgery.

594.    Flainti~would nc~t have a1low~d SMP-2 to be used by Dr. Durrani in her surgeries in a

manner that was not appraved'~y the FDA 4r Medtronic, In~uselBlVIP-2's manufacturer.

595.    Plaintiff would not have consented to the use of BMI~-2 in der bo[~y i£ir~formed oftl~e

risks by Dr. Durrani, CAST staff and enxployees, Qr any West C~ester/LJC Ileaith personnel.

596.    The written informed consent of Dr. Durrani and CAST signed by PlaintifF lacked the

disc~asuze o£ ~~afuseBMP-2's use in her procedures.

597.    Plaintiffnever received a verbal disclosure ofItifuselBMP-2 from Dr. Durrani, CAST

staff anr3 employees, ter any West Chester![7C Health personnel.

S9$.    Medtrotuc spe~ifica~ly required Infuse/~3Mk'-2 pn1~ be used in "skeletally mature

patients" with degenerative disc disease.

599.    Medtronic required at least six (5} man#hs of non-operative tr~atmen~ prior to use of

InfuselBMP~2.

600.    Dr. Durrani regularly used InfuselBNIP-2 without this stx(6) month non operative

treatment.

fial.   Medtronic required B1vIP-2 always be used in conjunction with a metal LT cage.

€~02.   Dr. Durrani regularly used BMP-2 without a paper ~.T gage xn his surgeries.
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                                           PLTREGEN

                                   PUREGEN l~ARRATIVE

PUREGEN SACKG~',QUND

603.    ~'ureGen Osteoprogenitor CeII Atlograft(FureGen)is a highly concen~tAted, pure

population of Early Lineage Adult(ELA)stem cells that arigznates in bone marrow and is

collected fiam live, healt~ay donors.

604.    PureGen is harvested from lining human beings under the stern Cell Call~ction k'rt~graan

ac~rninistered by the Fool and Drug Adm~~a~stration {FDA} and is definer} as both a "i~iologic" by

42 U.S.C. 351{i} and a "drug'° as defined by U.S.C. 321{g}.

d~5.    PureCxen's purpose was tt~ facilitate bane fusion by mimicking the regenerative

environment of youthful tissues by increasing the e~ncentrafion cif stem cells available to repair

tissue and build bone.

Gfl6.   When used aff-label, as Dr. Durrani often did, biologic bone allagraft frequently causes

excessive ar uncontrolled (also referred to as "ectopid'or "exuberant")bone growth an or

arouxzd the spinal cord.

~ip7.   ~f~en nerves are compressed by such excessive Done growth, a patent caz~ experience,

among other adverse e~enfis, intractable pain, paralysis, spasms, and cramps in Ii~1bs.

GO$,    Alphatec S}aine, Xne, is a cQr~porat~on under the laws of California, and jointly developed

and distributed PureGen in the Sta#e of O~aao.

G09.    Alphate~c Holdings, Inc. is a holding cozporatian foi~rned Guider the laws of Delaware with

z~a operations separate from the balding of other companies which owns Al~hatec Spine, Inc.

610.    Dirk Kuyper was President and CEO of Alpha#ec ~oldi~igs, Inc. frorn~ February 2007 to

August 201.2.
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611.   Parcels Labcarat~ries, LLC is organized under tYae laws cifDelaware and jointly developed

Puregen.

612.    Alphatec and Parcell co-developed the product "PureGen", azad bath ~x~ected PureGen

would tae initially limited in applicatioza.

613.   PLtreGen is produced and distributed by Alphatec Spine, LLC,a division of Alphatec

I-~o~dings.

614.    PureGen was entered into 3 clinical trials toy Atphatec an ar around ~eb~uary g, X011

which were sck~~duled to last until September df 2013.

615.    The study population were 54 rn.~Xelfemale subjects 18 years ~r~d older suffering from

symptoms of ~ervic~l degenerative disc disease in one to four contiguous levels between C3 anc~

Tl.

X16.    Th;e clinical trial required:

        a.      Inclusion

                     i. Age over 50

                    ii. Side-~y-side use ofPurege~a acid Autalogous bane in the same patient ft~r

                        radiographic cornparisan

                    iii. Symptarnatic lumbar ~iegener~tive disc disease in up to 2 contiguous

                         levels betweeza LI artd S~

                    iv. Subjects with bask andlor leg pai~at indicated for posterior stabilization

                         with or v~rithout decompression at any level az~d pasteriolateral fiusion

                     v, Unresponsive to conservative trea~ne~xt fax at least 6 months

                    vi. Radiographic evidence ofprimaxy diagnosis

        b.       Exclusion:
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                vii.    No healthy va~unteers pernlit~ed

                viii.   1Vlore than twa levels requiring p~steriolateral fi~siQn (1'LF)

                 ix.    Spondyliosxs heater than Grade 1

                  x.    Prior failed fusion surgery at lumbar levels}

                 xi.    Systemic or local infectifln in the disc ar cen~ical spine, past or

                        present

                 xii.   A~ti~ve systemic disease

                xiii.   Qsteoparosis, Osteoinalacia, ar other metabolic bone disease that

                        would sigxaificant~y inhibit bone healing

                xiv.    Use o#'other bone grad, Bane Morphoger~ic Protein(BMP}, ar

                        bone graft substitutes in addition tv or in place ofthose products

                        specified

                 xv,    BMA greater than 40

                xvi.    Use ofpast-t~perative spinal card stimulator

                xvii.   Known or suspected l~zstvey of al~ohfll andlor drug abuse

               xviii.   Involved in ~enciin~;litigation ox worker's carnpensatiQn related to

                        the spine

                xix.    Pregnant of planning to became pregFaant during the course of the

                        study

                 xx,    Insulin-dependent diabetes mellitus

                 xxi.   Life expectancy less than duration o£study
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                    xxii.      Any significant psychological disturbance that could impair

                               consent process ox ability to complete se4f-assesstnen~

                               questionnaires

                   xxiii.      Undergoing cl~.ernQtherapy r~r ~adiatian treatment, or cYu~onac use of

                               oral flr inj~~ted steroids or pxalonged use of nonWsteroidal anti-

                               infla.mr~atory drugs

                   xxi~v.      Known history ofhypexsensitivi#y ar anaplaylact~a reaction to

                               dimenthyl sulfoxide ~DMSC3~.

517.   AI13 clinical trials were "TeY7ninated" before any results were produced.

61$.   Alp~ateo and Parcell saw this lixzaited approval fir clinical trials as an opp~rtu~zty ter

market FureGen without premarket approval, 514K. clearance, an exeeptaorr tt~ the Foac~ Drug

and Cosmetic Act, meeting the humanitarian deice exceptic~~, investigational new dr«g{IND)

applx~~tia~, or other germi~sion to market PureGen, all in violation ofi the Faod I}rug and

Cosmetic Act.

619.   Alp~atec and Parcell began a course ofconduct desired to expand the application off'

~ureGen by end users in excess €~fthe approved clinical ix~ial ofPureGen.'~'~is cflurse of conduct

utilized fraud, false statements, material misrepresentation, and deceit in order to broaden t ie

sales of ~'ureGen beyond that which the t~s~al acceptance within the scientific commu~xty or

regulatory approval would otherwise allow.

62Q.   1'lie Food and Drug Administration {FDA} conducted an inspection flf Parcell

Laboratories b$tween February 9-14, 2Dl 1.
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b~21.   After the inspection, the FDA responded quickly tv the urtlxcensed maxketi~ag of the

device PureGen by warning that PureGen was not the subject of an IND application ~.c~r a valid

biologics license vaith ~ later dated June 23, 2Q11.

C22.    The letter stated t~~t the cells used in the production ofPureGen were human cells,

tissues, or cellular and tissue-based products(HCT/Ps) as defined in 21 CFR 12?1.3~d).

623,    Based an this analysis, the FIIA determined ghat PureGan was a drug and biological

product as defined in the Federal Fflod, Drub and Cosmetic Act.

524.    According to the Public Health Serv7ice Act, a v~~id biolt~gtcs ~ice~ase xs also required to

introduce a biologics device tQ the n:~arket.

625.    Alplaatee Spine did not acquire a valid biologics license to enter a biologics product i1~to

interstate ec~mrnerce, in violation of21 U.S.C. 355(x);42 U.S.C. 262(a),

626.    The FDA stated that PureGen,"does not meet all ofthe criteria in 21 CFR 1271,1Ot~} and

therefore is not re~atecl solely under section 361 ofthe Pubic Health Service Act and the

~egulatians in 21 CFR Part 127I. ~pecifical~y, the product dies not meet the criterion in 21 CFR

7271.1 Cl(a~(4}(ii~(b) because the product is dependent on the metabolic actieity of~ivin~ cells ~c~x

xts primary function."

627.    As a result, a. valid biologics ~ic~Fise was required, which was never pbtai~ed by Alphatec

ar Parcell labs in regards t~ P~at~eGen. Defendants knew all this.

628,    Given this lack of a valid biologics license, the FDA determined that the marketing of

FureGen violated both the Federal Food, Drug and Cosmetic Act and the Public Health service

Aet.

X29.    In a statement to the press approxinraately aweek after receiving the FDA Letter,

Alphatec President Dirk ~uyper stated,"Bo#h Alphatec Spine and Pa~cell Laboratories are fully
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committed to work closely ~~nd collaboratively whh the FDA to address the questions related to

the Pu~eGen Product. We look forward to discussing the PureGen product with the FAA and

sharing our clinical outcarnes to date." See article `°Alphatec comments on FDA's letter

regarding PureGen product for spinal fusion prescedures", Sginal News Intez`natiflnal, July 28,

2011, attached as E~ibit E.

630.    No such eoopera#ion by Alphatec and Parcell labs ~accurred and na cluvcal outcomes

were shared with the FDA as all clinical trials ofP~reGen were "Terminated" and no data was

~elease~d as to the findings.

631.    In fact, Alphatec and Parcell responded to this letter by cantinui~.g to maa'~et ~~reGen in

~n ua~l~cet~sed manner until Alphatec finally acknowledged the Letter in ar around Fe~rua~y 2 13,

almost two years after receiving the letter, by stating it disagrees with the FDA's classification of

PureGen as anything other than a tissue product — despite the clinxeal ~a~ ~ppro~al listing

1'uxeGen as "Biological: FureGen Osteoprogenitor Cell Allo~aft".

632.    Furthermore, according to sales represen#ative,'Thomas Blank, Alphatec falsely informed

distributors ofPureGen that they "~esalvad" the issues addressed in the FDA letter, raid not have

to take Pu~'eGen offthe maxket and it was "alc" for their dis#ributars to continue niarke~ing ana

selling PureGen.

633.    Despite the a~~roval for the clinical trial ofPureGen which limited enrc~llrnent to Sa

patients, Al~hatec advertised in its 2012 Annual Report that PureGen had been implanted in over

3,540 patients.

534.    1'ureGen further stated that it hid been placed in these 3,SQ0 patients with "no adverse

events relayed tQ the product", despite nfl study, statistics or information to back up such a claim.

635.    This 2012 annul report also identified PureCen as a biologic.
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63b.    In the First Quarter of2011, Alpha#ec Spxne attributed part ofits 40.9% increase in

revenue to the PureGen product. See Becker's Spine Revie~~, Alphatec Suir~e Reports $49.7M in

~1 Revenue,4D.9% Xncrease, May S, 2011, attached as exhibit H.

637.    Eventually, after F~u-eGen had been tu~l~r~vfully implanted in thousands of patien#s,

Alphatec and Parcell conceded that PureGen is a tissue product and a biologic and stopped

shipping PureGera in February of 2013.

PUI~GEN AND U~IIG LA,W

635.    Zt is the position c~~the Deters Law Firm that the dis~7butian and use ofPureGen her I3r.

Durranrt, Evolution Medical, Alphatec Spine, Xaac., ~t~d West ChesterlC]C Health by Defendants is

in violation riot oz~~y of Federal Law as outlined in the FDA's I~tter, but Ohio State La~v as well.

d39.    f~hio Revised Code 371 S.6S{A)states that"No person shall sell, deliver, offer ~oz' s~l~,

held for sale, or give away any new drug unless an application with respect to the drug has

become effective under section 505 o#'the Federal Food,Drug and Cosmetic Act, 52 Stat. I~4D

(1938}, 21 U.S.C.A. 3t~1". Lefenc~ants violated this pro~visian.

64fl.   A "New Drug" is defined as "A.zay drub the compasit~on of which is not generally

recognized ar~zvng experts by scientific training and experience to evaluate the safety Qf dxugs, as

safe for use under the coanditians prescribed, recommended, or suggested zn the labeling thereof."

aliio Revised Cote 3715.01~9)(a}.

641.    PureGen's status as a Biolt~gic further suppaxts the classification of a drug under tk~e FDA

and Qhia Law:"A "biological product" means a virus, therapeutic sexum,toxin, antitoxin,

vaccine, blood, blotrd component or derivative, allergenic product, or analogous product, Qr

axsphenamine car deriva#ire of arsphenamine (ear aziy Qther trivalent organic arsenic compound),

applicable to the prevention, treatment, or cure of a disease ar condition ofhuman beings(Public
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Health Service A,ct Sec. 351(i)). Additional interpretation ofthe statutory la~gua~e is found in 21

CFR ~0~,3. Biological products also meet the definition o£ either a drug or device under ~ectians

2dl(g~ and th.) af'the Federal Food, Drug, and Cosmetic Act(FD&C Act)." See

ht~p:lfwww.fda.govlICECUInspectionslIflMtucm12253S.htm.

642.    It is the position ofthe Deters Law Firm tkaat PureCen is a dnig as defined in ORC

3?15.01 anc1 that its distribution before FI}A approval was in ~iola#aan of GRC 3715.65(.4,). The

I~e~~t~ciants with full knowledge and intent violated this statute.

PUREGEN AT THE HC)S~IT`ALS

643.    4n Qctober 10, 2011, UC Health began purc~ttsing FureGen from Alphatec. Thomas

Blank was an ernp~oyee ofInnovative Medical Consultants, LLC a~ld a sates representative,

seller, m~keter, and distributer t~f PureG~n for the I~TortYaern KentuckylCincinnati axea.

G4~.    In his professional capacity, Thomas Blank was present during most,ifnot all, ofthe

surgeries at issue where PureGen was secretly implanted ir~t~ various Plaintiffs without xx~~arnra~.

consent or permission.

645.    Traarn~s Qlank t~orked directly with A,~phatec Spine, Zne. and Defendants in the

xzaarketing and distribution ofFureGen.

64b.    Additioza~lly, Thomas Blank is a shareholder in Alph~tec Spire, Inc.

64'7.   On May 10,2012 Evalutidn IVledical, LLC,a pk~ysician awned distt~ibutarship (~'OD},

awned in pant(at lest 4D%} by Dr. Durrani and iracor~arated in Delaware, received a Kentucky

Cet~ti~cate of Authority.

b48.    Around this time, Tharnas Blank began to ~vark with Ev~Iutian Medical in the marketing

and distribution ofPureGen, in additit~n to his dealing with Alphatec Spine, Inc.
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6A~9.   On July 20,2412,~fJC Health wit~l the full krto~vXedge and carisent of Defendants began

purchasing PureGen from Evolution 1Vledical, LLC.

55[}.   The purchase ofPureGen, the logistics ofthe billing, the bills oflading, the receiving and

handling of~ureGen far West Chester Hospital was handled by UC Health Purchasing.

G51.    The ~efendat~ts stacked West ChesterlUC Health's purchases ofPureGen from ~vQlu~ion

x~aedical.

b52.    specifically, Thomas Blanl~ wau~d provide the materials from A~phatec related tQ the use

and a}~prt~~a1 ofFureGen to Dwayne Brown on behalfof UC health, wha would request

PureGen based an the az~e►unts requested by Dr. Duz~ani and other doctors who used the prQduet.

d53.     After the UC Health reps approved the use ofPureGen,Thomas Blank and his associate

Toff y Wilcox would Order the product, typically in l~ea~k, and draft t ae requisite }pilling

documents.

65~.     The PureGen ordered would be stoxed Qn site at WCH in the freezer of tlae operating

rooms.

X55.     In addition to Dr. Durrani, other doctors at WCH used PureGen,including Dr. Chunduri,

Dr, Curt artd Dr. ~hanti.

656,     Defendants would purchase and a11ow these doctors to use a substance not approved by

the FDA inpatients witllaut their informed consent.

657. '`hough V4~CH and UC Health do have patien#s fill out "in£orrned consent" farms, no

mention of PureGen or its non-FDA approved stains is mentioned ~n these forms.

DR.DURRANI AND PUREGEN

65$.     7n one ofthe few depositions taken ofDr. Auzrani before his flight from the country h~

stated that PureGen is "essentially stem cells" anc~ that he `~sec~ to use [Pl~reGen~ for a certain
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amount a~ time." DepQSition ofDr. Durrax~i in Brenda Shell v. Dur~°c~ni, p. 25-26, attached as

Exk~ibxt N.

659.    This "ce7-tain amount oftime" was ap~raxirnately 3 years between 2010 and 2013, all

vt+hire PureGen remained unaPpra~ed by the FDA.

~i60.   Thaugh downplaying his involvement with PureGen, Dr. R          ani, through his illegal

Pt7D E~alution Medical, distributed PureGen to West Chester/UC Health with the full

knowledge and cc~nse~nt o~Defendants.

661.    Dr. Durirani and his Evolution Medical co-owner To~~r Wilcox and Defendants,knew t~~

I}e~rar~m~nt ofHealth and Human Services ~.nd the United States Senate Finance Committee has

released r~parts on dangers of k'hysiaian-awned entities, notably ~'hysician-owned

Distributorships (~`OI]'s}.

6d2,    Dr. Dt~rrani anct Toby Wilcox's actions through Evolution IVIe~iical violated the tlnti-

Kicf~back Statute 42 U.S.C. 132 and Stark Law 42 U.S.C. 1395.

X63.    Campliazace with the Anti-Kickback Statutes is a condition of recei~i~ig payment from a

~ederally~funded healthcare program, and most private insurers have a parallel conditional

reyuirernent.

f64.    Tkie ,anti-Kickbac~C Statute prohii~its the payment and receipt of kickbacks in return for

either procuring ar recamr;aer~ding the procurement of a good, facility, yr item to be paid in

whole or in part by a federal healthcare program. 42 U.S.C. i 320a-7b(b),

CGS.    In vio~atic~n of ~5 C.F.R. 46, and in furtherance o~the scheme to feign avoidance of the

an#i-kickbact~ statutes, Dr. Durrani, CAST, Alphatec and the Defend~.nts expeririaented an

patients by using PureGen in unapproved manners, without t~~ info~Yned consent ofthe patients,
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and subsequently billi~tg their health insurance companies all while concealing the true nature of

their actions.

6~6.    ~3r. IJurr~z~i also hart connections with Alphatec as his personal calendar indicates

meetings with Dirk Kuykaer, President and CE4 of Alphatec in SQL}$,

667.    Dr. Durrani ~~perimentally used Puregen bone graft in twenty cervical surgeries, along

with as many as 72 ~haracic, cervical, azad lurnb~.r surgeries, ignoring the limited uses it was

approved for in the clinical trials.

6G8.    Dr. D~,urani, through his POD Evolution Medical, was essentially "double dipping" in his

dealings with PureGen.

669.    Dr, Dt~rr~rii would se11 WCH and the atk~er hospitals the FureGen thrau~;h Evolution

Medical an~I then use and bill ~'oz the PureGen in his surgeries.

fi70.   Dr. D~ura.ni aid Defendants knew such an arrangement was Wither unethical and illegal

{though still nab disclosing the use of PureGen)by having the patients sign an Acknowledgement

of Potential Conflict of Ynterest fo~n.

67l.    WCH ~z~d Defendant also benefited frorxz this arrangement by up changing patients for tie

PureGen after purchasing it from Evolutipn Medical and Dr. Durrani.

672.    At all times relevant, Dr. D~rrani and Defendants vvas in exclusive control ofthe amount

and ratio c~f~'uregen bone graft that was experimentally irnplan#ed into ~aatients.

673.    PureGen ryas and rertiazzas unapproved by the FDA for use in humans without an

Investigation New Drug("IND")or experimental informed consent Q~'tl~e patient.

G74.    Dr. Durrani and Defendants dad x~ot receive experimental inf~rrmed consent from patients,

nor did he verify that an IND was obtained.
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X75.   Thy basic "Informed Consent Forms"Dr. Durrani and CAST did have patients fill out

made no r~entaon ofP~reGen of the fact anon-FI}A approved ~raduct was being implanted in

their body.

675.   In fact, Dr. Durrani and Defendants wo~ild even conceal the use o~ P~.tr~Gen by

intentionally withholding it from the billing recaxds, noting on one Pze-Op Code skeet"Ao Not

Bill" twice in regards to 1'tu~eGen.

677.   Implanting Pureg~n in any part oftie spinal canal vvithaut FDA clearance, proper trials,

and patient consent xs reckless battery anc~ violates the Hippocratic Oath's statement "I will

prescribe regimens for the good of my patients according to my ability and my judgment and

ne~~er do harm tQ anyone." It is criminal.

                                PUREGEN AND BUR CLIENTS

678.   't~laat falltrws are dust a few examples ~fthe damage caused Dr. Durrani and the

Defendants deceptive and fraudulent use of1'~reGen in Deters Lar~v office clients without their

consent.

679,    A majority ofthese surgeries occurred AFTER tl~►e FX]A inspectio~a az~d subsequent

warning on the non-FDA approved status ofPLtreGen.

68Q.    Following t1~e cervical surgeries in which Puregen ,was implanted, the patients' pain

became far ~t~rorse and more e~trerne.

681.    The patients attest to dif#iculty with s«allowing unthickened liquid, medications in pill

farm,routine saliva, and food.

582,    Many patients describe a chakin~ sensation felt on a daily basis when swallowing and

c~ianges to the tone and audxbili~y of their ~aice, atong with a chr~ni~ cough.
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G$3.   Following the thoracic and luz~bar s~geries, patients attest to increased spinal pain,

difficulty with ~mbulatifln, numbness and tingling in Iowez extremities, decreased flexibility.

b~9.   Belaw aa-e some ofthe client's experiences since having the ~'ureGer~ implanted:

X55.   "T have severe low beck pain, stiffiiess, decreased range of motion and tenderness. Pain

radiating to deft posterior thigh and right/left lumb~.r area. ~Dnset months ago after surgery." —

William Hayes

68G.   "CoY~stant, irritating pain, less intense but still present. Even after two stuger~es, I

continue to have limitet~ use of my left deg. The fain is ever-present. I am easily fati~ed and

have severe fain after brief #asks such as cfloking dinnex, preaching a sermon, even snaking a

bed. Bending over• is so painful acid traduces such instability that zx~y family helps put on my

sacks and shoes. I require a ca~~e far arrabulation, due t~ left deg weakness and limited grange of

motion.°' — Darrell Ears

6$7.   "Severe spin in my neck, aY7n, shauld~ blades. Pressure on my throat making it

unbearable to swallow meds and food. ~.oss ofrange of motion in my neck and stiffri~ss in back,

The pain is so severe that I cap no longer sleek lying down. I hive to sleep sitting up. The pain

in my Week is unbearable most days. The pain tans betwee~a m~ shv~lder blades into my chest.

and in my throat aand side oftrey neck." -Duane PeJ~rey

68$.    "I feel I have lost a lot of the flexibility in my neck and back, I have lower back gain,

tightness in neck and shoulders, and have a hard time liftinglstanding for long pex-iads o~ kimE.

When I bend aver, I base a hard time straightening back up to an ugr~glzt posi~on." - Dana

 Donley

6$9. "Low back pain radiating into bilateral hips, buttocks, legs and feet. Bilateral deg

 weakness. Numbness in left foot and toes. Bilate~•a] tiuttac~ end posterior thigh muscle spawns.
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Burxzan~ sensation in right abdarnen that radiates around to hack. Mypast-surgery M}~.1 end CT

scam shoved bony overgrowth into #tae foramen and into the canal tin left at LS-S1." - ~ulae

Mfu'tin

G9~. "I experience pounding headaches that are far worse than ~t7ything pr~c~r to surgery. Left

ieg is numb,paix~fitl and swc►llez~, muscle spasms occurring in hip anc~ bilateral iegs since

surgeries with fir. Durrani. My whale back, neck and leg hux-t sa bad I could throw up."- T~nia

McQueary

b91. "I have much m are pain. Constaa~t right-sided headache,intensity' varies but always

pxesent, The back of~ny neck swells. My esophagus feels like it is iri a different place. My throat

swells." —Kelly Hennessey

b92.      As stated, there are just a few examples of clients that have been dxseovered to have had

naza-FDA approved ~'ureGen implanted into their hot~ias without their informed cansexat, in

violation of both Federal and State Law, all with the knowledge of Defendants.

                                             PUREGEN

693,      ~}r. ~7urr~ni oftentimes used Puragen wlxen performing surgeries.

69~}.     Furegen is a product produced by .Alphatec Spx~e.

695.      Dr. Burrani was and is a paid consultant for Alphatec Spine.

695.      Dr. Durrani has an otivnership stake i~a the Alphatec Spine_

697.      Puregen has never ~aeen approved ~by the FDA for any human use.

 698.     ~uregen is now removed from the rnark~t for any use.

 G99.     Dr. I]urrani used tie product Puregen as bone graft substi#ute similar to InfuseBMP-2

 during spinal surgeries.
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7010.    Dr. Durr~sax, CAST staff and employees, and West Chesterl[]C Health personnel did not

disclose their intent to use Puregen:, ~rar did they inform Plaintiffthat it vas a product that was

not approved ~y the FDA for human use.

701.     Dr. I7urrani used Pt~regen in Plaintiff in manners net approved by the FDA.

7a2.     Plaintiff was not infarnned ~y Dr. Durrani, CAST staff and employees, or any West

 Chester/i.TC Health personnel that Dr. Durra~i used Puregen in her surgeries.

7a3.     Plaintiff would not have allowed ~~regen to be used by I3r. Dua~ani in her surgeries in a

 manner that was not approved by the FDA.

704.     Plaintiff wvulc~ not have consented to the u~~ o~ ~uregen in their body ifinfo~necl ofthe

 risks by Dr, Durrani, CAST staff and employees, or any 31Vesfi ChesterlLlC Health personnel.

 7t~5.   The written informed cflnsent of Ur. Durrani and CAST signed by P1ain~ifflicked tie

 disclosure ofPuregen's use in her procedures.

 706,    Plaintiff never received a verbal disc~QSUre ofPuregen £~-am I3r. Durrani, BAST staff and

 employees, or any Nest ChesterlUC Health personnel.

                                    DR.I7~URRANI CUUNTS:

                                    C~►UNT I: NEGLIGENCE

 7fl7.   Defendant Dr. Durrani owed his patient, plaintiffs, the duty to exercise the degree of

 skill, care, and diligence an ordinarily prtzd~r~t healfh care pxovader would have exercised under

 like or similar circ~m~t~nces.

 70~.    Defendant Dr. Durrani breached his duty by failing to exercise ~h~ Xeq~isite degree of

 skill, care ar~d diligence that an ordinarily prudent health pare provider would have exercised

 ivader sane car similar circezmstances through, among other things, negligent dia~zaosis, medical

 mismanagement ~nt~ r~iistrea€~ent ofPlaintiffs, includi~~ but not limited to improper sele~tic~n
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far surgery, improper performance ofthe surgez'y, and imprvpez- falla~t~-up care adti~`~ssing a

 patient's concerns.

7~9.     As a direct and proximate result a£the aforementioned negligence anti deviation frvrn the

standard ofcare on fhe dart of tk~e Defendant ~}r. Durrani, Plaintiffs sustained a71 damages

requesfed in the grayer for relief.

                                          COTJ'~' XI: BATTERY

 710.    Dr. Durrani cornmi~ed battery against Plaintiffs by performing a surgery that was

 tlxlllecessary, contraindicated   for Plaintiffs' medical eonditian, and for whic~t k~e did not properly

 ohtain informed consent, inter alia, by using B1VIP-2, PureGen arictlor Baxano in ways and for

 surgeries not approved by the FAA and medical community, anc~ by the failure to provide this

iza~ormation to ~'Iainti~fs,

 7]1.    Plaintiffs ~Tauld nat have agreed to the surgeries if they knew the surgeries tivere

unnecessary, nflt approved by the FDA,and not indicated.

?12.     As ~. direct atYd proximate result ofthe aforernentionedbattery by Dr, Durrani, Plaintiffs

 sustained all damages requested iz~ the prayer for relief.

                         COUNT III: LACK QF INFO~tMED CoN~EIYT

 713.    Tl~e infarrnecl consent farms fronn Dr. ~Jurrarii and CAST ~+hich ~liey required. ~'taintiffs

 to sign failed to fully caper alb tie infc~Ymatic~n necessary and required far the procedures and

 surgical procedures performed by Dr. Durrani. Dr. Durraryi and CAST each required an

 informed cortser~t release.

 714.    In addition, no one v~-bally informed Plaintiffs of the information and z~isks required £or

 informed consent at tk~~ time pf ar before Plaintiffs' surgery.
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715.    Dr. Durrani failed to inform P1ain~iffs of material risks and dangers inherent or

~atentially involved with 1ne~r surgeries and procedures.

71 ~.   Had Plaintiffs bce~ appropriately infarr~ed ~fthe need or lack of need for surgery and

attier procedures and the risks ofthe procedures, Plaintiffs would not Y~ave undergone the surgery

or proce~.ures.

717.    As a d~zect and proximate result o~ the Iack ofinformed consent, Plaintiffs sustained all

damages requested in the prayer for relief.

         +CfIUN'x ~V:      TE~TI~Nt~L INFLICT~Cl1Y OF EMCIT~UNAL DTS'~'RESS

7I8.    Dr. Durrani's conduct as described above was intentional and reckless.

719.    It is ou~ageous acid affend~ against the generally accepted standards of morality.

7~Q.    It was the proximate and actual cause ofPtaintyffs' ~sych~logical injuries, emotional

injuries, mental anguish, suf~ering~ ~11tI C~ISfT~55.

721.    Plaintiffs suffered severe distress and anguis~a sa serious and ofa nature twat aao

reasonable man or woman would be expected to endure.

                                         CUIUNT V: FRAUD

722.    Dx, Aurrani made material, false representations to Plaintiffs and their insurance

company related tc~ Plaintiffs's treatment including: stating the surgeries were necessary, that Dr.

I?urrani "could fix" Plaintiffs, that more cc~nser~ative treacrnent was ux~rtecessary and futile, that

the suxgery would be simple ar was "`no big de~.l", that Plaintiffs would be walking normally

within days after each surgery, #hat tie procedures were medically necessary and accurately

reported on the billing to the insurance rampany,that the surgery was successful, and that

Plainti£~s were r~ec€ically stable az~d reedy to be clischarge~.
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723.    Dr. BuiYani also ccancealecl the potential use cif Infuse/BMF-2 andlor Puregen in

Plaintiffs' s~-gery, as well as other infot7nation, when lie had a duty to discls~se to Plaintiffs his

planned use of the same.

724.    These misrepresentations andlor concealments were material to Plaintiffs because they

directly induced Plaintiffs to undergo her surgery.

725.    ]fir. Durrarti knew or should have krtawn such representations were false, ancUar rnad~ the

misrep~res~zata~ions with uttez~ disregard aaad xecklessx~e~s as to their truth that knowledge oftheir

falsity may be inferred,

72b.    Dr. Durrani made the tnisreprese~Ytations before, during anti after the suargeri~s with the

intent of misleading Plaintiffs and their insurance company into relying u~c~n them, Specifically,

the mis~epxesentations tivere made to xr~d~ce payment by the insurance company, without which

Dr. Durrani w4u~d not have perfoi7~~ed tha surgeries, and to induce Plaintiffs to undergo the

surgeries without regard to medical necessity and only far the purpose Qfreceiving payment.

727.    The misrepresentations andicrr concealments were made dung Plaintiffs' office ~~isits at

Dr. Lhu~rani's CAST offices.

'~2$.   Plaintiffs were justified in tk~eiz- rreliance orz the misrepresentations because a patier7t has a

right tQ txust their doctor and that the facility is overseeing the doctor to ensure the patients of

that doctor can k-~st tl~e facility.

729.    As a direct ar~d proxinaa~e xesult of the afarernentic~ned fraud, Plaintiffs did undergo

surgeries rnrhich were paid for in rn~hole or in part by #heir insurance company, and suffered all

damages as requested in the prayer for relic F.
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                           CI]NT VI: SP4LIATItIN C?F ErVIDEN~E

730.    Dr. Durrani will~.i~ly altered, destroyed, delayed, hid, modified andlor spailecl("spoiled")

Plaintiffs' records, emails, billzm~ xecc~rds, paperwork anti related evidence.

731.    I]r. Dturani spoiled evidence ~rrith knowledge that there was pending or probable

litigation involving ~'lainti£fs,

732,    17r. Durra~i's conduct was designed to disrupt Plaintiffs' pot~.ti~.l and/ar actual case, and

dxd in fact aid proximately cause disi~ption, damages and harm to k'laxntiffs,

                                          CAST CoUNT~:

                               CUI7NT I: VICARIOUS LIASIL~7CX

733.    At all times r~~ev~nt, Defetzda~lt Dr. Durrani was an agent, an~lor employee of CAST.

734,    Dr, Durrani is iii fact, the owner of CAST.

735.    Defendant I7r. I7urrani w~.s performing within the scope ofhis employ~r~ent with CAST

during the care and treatment ofPlaintiffs.

735.    Defendant CAST is respansitale far haxna eaus~d dry acts ofits em~aloyees for conduct tl~~t

 was within the scope of err~ployment under the theory ofrespandeat superior.

737.    X7efez~dan# CAST is ~icariausly liable for the acts a~Defendant Dr, Duzr~r~.x alleged in

this Corn~laint including all of the counts ~.sserted against Dr. Durrani directly.

 738.   As a direct and p~-aximate resul# flf Defendar~f CA~T's arts and omissions, Plaintiffs

 sustaxz~ed ail damages requested in the prayer far zelief.

             COUNT IX: NEGLIGENT HIRING,RETENTICI~N,ANIl~ SUPE~.VISZC}N

 739.   CAST provided Dr, Durrani, inter olio, financial suppp~t, cc~~~-ol, medical facilities,

 bilking aa~d insurance payment support, staff support, medicines, and tangii~le items far use on

 patients.
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740,     CAST and Dr. Durrani participated in ex~erirnents using BMP-2 and/or ~'uregen bone

graft on patients, including Flaintiffs, without obtaining proper informed consent thereby causing

harm to Plaintiffs.

741.     CAST breached its duty to Plaintiffs, inter alia, by not s~pe7vising or controlling the

actions of Dr. Du~'ani and the doctors, nurses, sfiaff, and tl~ose with privileges, dining the

medial treatment of Plaintiffs at CAST.

742.     The Safe Medical Device Act required entries such as CAST to report serious injtuies,

serious illnesses, anc~ deaths related to tailed ~nnedical devices to the FDA and the manufacturer;

this was never done.

 743.    Such disregard for and violations Qffederal ~ativ represents strori~ evidence that CAST

 negligently hired, retained, and supervised Dr. T3urra~~i.

 7~#4.   As a direct a.nd pra~:irna#e result ofthe acts and oznissian~ herein described, including but

 not limited to failure to properly supervise medical treatment by Dr, Zlurrani, Plaintiffs sustained

 all danraages requested in the prayer far reli~~

                           ~QC7NT IiI: SFCILIATI(l1rT DF E'V~DENCE

 745.    CAST,through ifis agents and employees, willfully altered, destroyed, delayed, hid,

 modified and/or spoiled("spoiled"} Plaintiff's' records, emails, billing records, papez-work and

 refated evidence.

 746.    CAST,through ids agents and employees, spoiled evidence ti~ith lrnowledge that there

 'was pending or ~robab~e litigation involving Plaintiffs.

 747.    CAST's conduct vaas desigr~eci to disrupt Plaintiffs' potential amdlar actual case, and did

 in fact and proximately cause d~sr~ption, darr~ages and harm to Plain~i#'fs.

                 ~~UI~iT IV: DHX(l CONS~TMER SALES PROTECTI~IV ACT
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748.   Although the Ohio Consumer S~1es Pratectian Stat~~tes U.R.0 1345.01 et sett. exempts

physieiaz~s, a trat~sactian between a hospital and a patx~ticansumer is not clearly exempted.

749.   CAST's services rendered to Plain#iffs constitute a "co~lsumer transaction" as de~~.ed in

ORC Section 13~5.01(A}.

75~,   CAST amftted suppressed and concealed from Plaintiffs facts wi#h the intent that

Plaintiffs rely on these omissions, suppressions and concealments as set Forth k~erein,

751.   CAST's misxepreset~tarians, and its amissions, suppressions a~t~d ~pnceairnen#s offact, as

described above, constituted unfair, deceptive and unconscionable acts and practices in violation

of O.R.0 k 345,Q2 and 1345.~J3 and to Substantive Rules and ease law.

752.   CAST was fully aware of its actions.

?53.   CAST was ~'ul~y aware that Plaintt~fs were induced by and relied upon CAST's

representations at the tinge CAST was engaged by P1aa~tiffs,

754.   Had Plaintiffs bee~a awarefat GAST's representations as set fartla above were untrue,

Plaintiffs would not lime used the services QfDefendants.

755.   CAST,Y~'ough ids agency and employees knowingly committed the unfair, deceptive

~ndlor unconscionable acts and practices described above.

754.   CAST's actions were not the result of any ba~a fide errors.

757.   As a result of CAST's unfair, deceptive and unconsciflnable acts and practices, k'lainti~s

have suffered and cflr~danues to suffer damages, which in~~ude, but are not limited to the

following:

             a.   Lass of money paid

             h. Severe aggravation and in~on~enienoes

             c. i]nder[y,R.C. 1345.41 PlaintifFs are entitled t~:
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                           i_    An order requiring that CAST restore to Plaintiffs all money received

                                 from Plaintiffs plus three times actual damages an~lor actuaflstatutary

                                 damages far each violation;

                           ~i.   All incidental and consequential damages incurred by Plaintiffs;

                          iii.   A11 reasonable atEarneys' fees, ~~itness fees, ca►.u~t costs and other fees

                                 incurred.

                                         C+DUNT IV: FRAiID

 758.    Upon information and belief, Plaintiffs believes the bills requested by Plaintiffs will

 indicate t~xat CAST falsely represented th~.t ~~aintiffs' surgery was appropriately indicated,

 p~rfc~rmed, and medically necessaxy in contra-indication ofthe stand.azd v~'care.

 759.    CAST sent out billing to ~'laintiffs at his home fallowing his surgery at West Chester

 HospitaUtJ~ Healtkz and Ch~~ist Hospital.

 7b~.    The exact dates these medical bills were sent out are reflected z~ th~sse na~dical bzlls.

 7b2.    These bills constzt~zted affirmative represe~atations by CAST t~iat the charges related to

 Fl~intif~s' suxgery vuere medically appz'opriate and pY~operly documented.

 7G2.    The bills were sent wiitk~ the knawledg~ of CAST that in fact ~'laintiffs' surgery was rat

 appropriately billed and dac~rnented and that the services rendered at West Chester Hos~itallUC

 Health and Christ Hospital associated with Dr. L7urran~ were gat appropriate.

 763.    The bills sent by CAST try Plaintiff's falsely represented that Plaintiffs' surgery was

 appropriately indicated, performed and nnedically necessary in contra-indication ofthe standard

 of care.

 7C~4.   Plaintiffs relied on the facility holding Ilr. Durrani out as a surgeon and allowing him to

 perform surgeries at its heatth care facility as assuratace the facility was overseeing Dr. Dur~ani,
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vouching for his surgical abilities, acid further was appropriately billing ~"laintiffs for CAST's

services in association with D~. Du~-rani's surgery.

7b5.    A,s a direct and proximate result of this reliance on the billing of CAST,Plaintiffs

it~ctu~`ed medical bills that she otherwise would nc~t have i~acurred.

76b.    CAST also either• congealed from Plainti~#'s ~acis they knew about Dr. Durrani,ir~cZuding

that InfuseBlVIF-2 or Puregen woad be used in Plaintiffs' surgery, or misrepresented to

Plaintiffs the nature cifthe surgery, and the particular• risks that were in~r~lved therein.

767.    CAST's concea~xnents and misrepresentations regarding Dr. Durrani, InfuselBMP-2 flr

Puregen and tie nature and risks ofPlaintiffs' surgery were material facts.

76$,    Because of its superior position anti professional role as a medical seXVxce pzovxde~',

CAST hid a duty to disclose these xt~aterial facts to Flaintiffs and a duty to refrain from

misrepresenting such material facts to Plaintiffs.

763.    CAST intentionally rt~ncealed andfor misrepresented said material facts with the intent to

defraud P~ain~iffs in order to induce Plaintiffs to undergo the surgery, and thereby prafitec~ from

the siugery aaad pxoceciures Dr. Durrfznni performed vn ~laizata£~'s at Nest Chester Hos~itallUC

Health and Christ Hospital.

770.    Plaintiffs were u~aaware that Infias~IBl'vIP-2 or Puregen would be used in Plaintiffs'

surg~zy and tl~exe~are, was unaware ofthe health xisks ofInfuseBMP-2 or Pur~gen's use in

Plaintiff' sine.

771.    Had Plaint~f~s Down before Plaintiffs' surgery that InfixselBMP-2 ter Puregen would be

used in Plarnti~£s' spine and informed oftY~~ specific, harmful risks flowing therefrom, Plaintiffs

would not have undergone the surgery rraith Dr. Durrani at West Chester I-~aspitallUC Health and

 Christ Hospital.
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 772.    T'laintiffs are sill awaiting itemized billing from CAST reflecting the exact tpt~ls charged

 for the use t~f BMP-2 on the Plaintiffs.

 773.    As a direct and ~roximat~ result of the fraud against Plaintiffs by CAST,Plaintiffs

 sustained a!1 darna~es xequ~sted in the prayer for ~•elief.

                    WEST CHESTER.H(~SPITALIUC HEALTI3 COUNT;

                                     COUNT I:NEGL~GENCE

'774.   West Chester FIaspital/UC Health awed their patient, Plaintiffs, through its agents and

 ernploy~es the duty to exercise tie degree ofskill, care, and diligence an ordinarily prudent

 health care provider would have exercised under like or sixa~iltlr circumstances.

 775.   West Chester Hospatal(UC Health acting through its agents and ex~rzployees breached their

 duty by failing to exercise the requisite degree ofskill, care and diligence that aaa ordinarily

 ~rttdent ~lealth care provider would have exercised under same ar similar circumstances tl~u-ough,

 among other things, negligent diagnosis, xraedical misrnanagelnetit anci mis~-eat~rtent of Plain~i~fs,

 including but nc~t limited to imp~apeY selection far surgery, improper performance ofthe surgery,

im~ra~er as~istaz~ce during Pl~int~ffs' surgeries and improper follovc~ up care addressing a

~aatien#'s concerns.

 776.   The agents and employees who deviated from the standax-d of care include nurses,

 physician assistants, residents az~d at~ea- hospital personnel why participated in Plaintiffs'

 surgeries.

'777.   The management, employees,nurses, technicians, agents and a1i staff during the seflpe of

 their employment andlor agency ~f Vtlest Chester Hospital/iJiC Health's ~ctiawled~e and ap~rpval,

 either knew or should have known the surgery was not rnedicall~ necessary based upon Dr.

 ~7urrani's known practice; the pre~c~p radiflla~y; the pre-op evaluation and assessment; and the
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 violation ciftheir r~spr~nsibility under the bylaws, rules, regulations and policies of West Chester

 Haspita7/UC Health.

 778.    As a direct mad proximate result t~f the aforezx~er~tior~ed negligence and deviation from the

 standard of care by the agents and employees cif V4~est Cl~estez I-~asp~talll.liC Heal~li, Plaintiffs

 sustained all damages requested in the prayer ~'or relied',

    CQUNT TY: I~IEGLZGEI~T CREDENTIALING,SUPERVISION,Al~TD RETENTION

 779.    As described in the Coiu~ts asserted directly against Dr. Durrani,the actions of Dr.

 Duxrani with respect to Plaintiffs constitute medical negligence,lack ofinformed consent,

 battery, and fraud.

 7$4.    ~7est Chester Hc~spitallLTC Health negligently cre~lentialed, supezvised, and retained Dr.

 Durrani as a credentialed physician, violating their bylaws and JCAHO rues by:

                 a.      A11o~ving I~r. Durrani tv repeatedly violate the Vilest Chester HaspitaWC Health

                 byla~~s with its full knowledge ofthe same;

                 b.      Failing to adequately review,lack into, and otherwise investigate Dr. Durrani's

                 educational background, work history and peer reviews when he applied for and

                 reapplied far privileges at West Chester Hospital;

                 c.      Ignoring complaints about Dr. Durrani's treatment of patients reported to it by

                 ❑Vest Chester Hospital staff, doctr~rs, Dr. Durrani's patien#s and by others;

                 d.      ignoring information, they knew or should have ~czaown pertaining to L)r.

                 Ih~rrani's previous privileged time at other Cincinnati area hospitals, xtacluding

                 Children's Hospital, Utu~ersity Hospital, Deaconess Hospital, Goad Samaritan Hospital

                 and Christ Hospital.

 78t.    The safe Medical Devoe Act required entities sl~ch as 'West Chester Haspita11t1C Health

 to report s~riot~s i~xjuries, serious illnesses, anal deaths related to failed medical deices to the
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FDA and tlae manufacturer; this was never done.

7$2.    As a direct and proximate result ofthe negligent crede~tialing, supervision, and retention

ofDr. Durrani, Plaintiffs sustained all damages requested in the gayer fc~r retie£

                                        COUNT III: ~'ItAUD

7$3.    West Chester Hospital/UC Health sent out b~~~xng to Plaintiffs at his home following his

surgeries at West Chester I~Iosp~tal.

78 4.   1~e exact dates ~l~ese medical bills were sent out are reflected in those medical dills.

785.    These bills constituted affiirmative r~presentatians by West Chester HospitallUG Health

that the ~~~arges related to Plaintiffs' surgeries were medicatty appropriate and properly

 doccunented.

786.    The bills were sent with the knowledge ofV4lest Chester HospitalliTC Health that in fact

Plaintiffs' surgeries were not appropriately billed and documented and that the services rendered

 at West Ches#er HospitallC..1C Health associated wtt11 Dr. Durrani were not appropriate.

 787.   The bi~~s sent by Nest Chester Hospital/ITC Health ~a Ptaintiffs falsely represented that

 Plai~tx~~s' surget-ies were appz-opriately indicated, performed and medically z~ecessar~ in contra-

 indication of the sta~adard ofcaxe.

 788.   Plaintiffs relied on the facility holding Dr. Durrani out as a surgeon anti aliawing him to

 perfozm surgeries at its health care facility as assurance the facitity was overseeing Dr. Du~-ani,

 r~r~u~hing for his surgical abilities, and fuXth~r was appropriately billing Plaintiffs for West

 Chester HaspitalfUC Health's services in asso~iatit~n with Dr. Durrani's surgeries.

 789.    As a direct and pra~:imate result of this reliance ova the billing of West Chester

 Haspita11t7C Health,Plaintiffs incu~-z-ed medical bills that he otherwise would not have inc~.irred.
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790.    West Chester HaspitaUUC Health also either ct~ncealed from Plaintiffs facts they knew

abQUt I7r. I7urr~ni, including that Infuse/BMP-Z or Puregen would be used in plaintiff's' suxgezy,

 ar misrepresented tt~ Plaintiffs the nature of the surgery, and the particulax ri~l~s that Were

involved therein.

 79l.    West Chester HospitallirC ~-iealth's concealments and misrepresentations regarding

InfiiseBMP-2 or Pul-egen and the nature and risks of Plaintiffs' sru'geries were ~na~erial facts.

792.     West Chester Hns~~ital/ UC I~ealth billed Plaintiffs, Louise Bayliss, for"QR

 ALLOGRAFTS"in Elie anaQUnt of $5,941.20; upon izafarmatian and belief, Plaintiffs helie~es

 that "~R ALLnGRAk'T~"is I~ifuse/RMP-2 used ian Plaintiff's ~ctoher 4, ~01d suxgez'y.

 793.    West Chester Hospital/ LTC Health billed Plaintiffs, Kevin. ~~a'tness, for"OR

 ALL~GRAFTS"in the ama~nt of $2,600.34; upfln ir~foxzxaa~ion and belief, Plaintiffs believes

 that"QR ALLi7Gl~4~'TS" is InfuselBMP-2 or ~'ureGen used in Plaintiff's March 23,2011

 suxgery.

 7~~.    West Chester Hospital)UC Health billed Plaintiffs, Kevin Hartness,for "f.~R

 ALLC7GAAFTS" x~ the amount of $14,979.76; u~an info nation and belief, ~'laintiffs believes

 that"4R ALLQGRAFTS"is InfuselBMP-2 and for PuxeGen used in Plaintiffs September 17,

 2010 surgery.

 795.    West Chester Haspi#all UC Health billed Plaintiffs, Jennifer F7ickey, ft~r "flR

 ALLDGRAFTS"in the amount of$9,34fi.51; Ripon infcrr~natian and belief, Plaintiffs believes

 that"QR ALLOGRAFTS"is InfuselBMP-2 or PureGen used in Plaintiff s November 5,2010

 surgery.

 79b.    'V~l'est Chester Hospital! UC Health biped plaintiffs, Sarah Juergens, for"OR

 ALL~GRAFTS"in the arncsunt of$18,872.73; upon information and belief, PJaznt~ffs believes
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 that"4R ALLDG1tA~'TS"is InfuseBMP-2 and 1ar PureGen used in ~Iaintiff's S~pte~nber ~ S,

 2010 surgery.

 797.    West Chestex Hospital/ UC Health billed Plaintiffs, Sarah Juergens,for"OR

 ALLOGRAFTS"in the ar~c7ount crf $14,95.$0; upon infoi~nation and belief, ~'laintiffs believes

 that"OR ALLOGRAFTS" is In£use1BM~'-2 or 1'ureGen used in Plaintiff's Qctaber 27, 2010,

 79$.    West Chester Hospital) LAG He~~th bx~~ec~ Plaintiffs, Amanda Koch,for"OR MED SURG

 SUPPLY"in the amount of X2028.43; u~pn infarmat~on and belief, Plaintiffs believes that "OR

 MED SLT1~G SUPPLY"is InfuselBiVIP-2 ~r PureGen ~set~ in Plaintiff's September 20,2Q1 t]

 surgery.

 799.   West Chester Hospital/ UC ~Iealth billed Plaintiffs, Amanda Kach, far "OR MED SURD

 SUPPLY"in the amou~~t of$7,362.9(}; ~~an iri~'ort~z~ation and belief, Plaintiffs believes that"DR

 MED SIJ~.G SUPPLY"is InfiiselBMP-2 or PureGen used in Plainta#~'s August 17,212

 surgery.

 8~0.    West Chester HospitaU UC Health billed Plaintiffs, ~.z~da I~ailmeyer Ward,fax"4R

 ALL~GRAFTS"in the amount of$5418.28; upon infarmatian and belief, Plaintiffs believes that

"OR ALL~GRAFTS"is InfuselBlVIP-2 end for PureGen used in Plaintiffs August 30,2fl la

 surgery.

 801.    West Chester Hdspitall UC Health billed Plaintiffs, Linda Kallmeyer Ward,fo7"lJR

 ALLC.~C.7RAFTS" in t13e amount of$I2,392.86; upon information and belief, Plaintiffs believes

 that "ClR ALL~GRAFTS"is InfuselBMP-2 and for FuxeGen used in ~l~intiff's tJctober 4,2~I~

 surger}r.

 8~2.    West Chester Hospital)UC Health billed P1~intif€'s, Ronald Rowley,far"~R

 A~,~,QGRAFTS"in the amount of $12,36$.7D; upon information and belief, Plaintiffs believes
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that"OR ALLQGR.~4~'TS" is InfuseBMP-2 and It~r ~ureGen used in ~'laintiffls August 25,201{l

surgery.

803.    Flaintxffs, Ca,~rolyn. Hursong, is still awaiting itemized bilking statements from West

Chester Hospitalf UC Health.

844.    Plaintiffs, Katelyn I~auffinaan, are still awaiting itemized billing statements from West

Chester Hospital)UC Heaith.

805.    Plaintiffs, Ruyirnbo Nyemha,is still awaiting iten~izec~ billing statements firc~m West

Chester Hospifiall UC Health.

846.    plaintiffs, Billy Spry,is still awaiting itemised billing statements from Nest Chester

Haspitall LTC Health,

807.    Because ofits superior ~asition anr~ pzaf~ssional role as a medical service provider, West

Chester ~ospitaifUC Health had a duty to disclose these material facts to Plaintiffs end a duty to

refrain from misrepresenting sucJ~ z~aterial facts to Plaintiff's.

848.    West Chester HospitallCTC Health intenti~r~ally ~oracealed ancUor rnisreprese~rted said

material facts witk~ the intent tg defratic~ Plaintiffs in Qrder to indace Plaintiffs to undergo the

surgery, and thereby profited from the surgeries and pzacedures Llr. Du~raYii perk'onned an

Plaintiffs at West Chester HospitallLTC Heath.

8~9.    P~aiantif£s wexe tuaaware that Infuse/BMP-2 or Piiregen would be used in Plaintiffs'

surgeries and therefore, was cu~awars ofthe health risks a#'InfuselBMP-2 ar Puregen's use in

Plaintiffs' spine.

810.    Had Pl~inti£fs known before Plaintiffs' surgez~es that InfuselBMP-2 0~' ~'uregen would be

used in Plaintiffs' spine and iliforrned c~f'the specific, lia7~nf~x1 risks flowing therefroa~a, Plaintif#s

 ti~~ould not have undergone the surgeries with Dr. Durrarti at West Chester HospitalC~C Health.
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 811.      As a direct and proximate resin# c~#'the fraud upon Plaintiffs by West Chester

 F3ospitallCTC He~Ith, P12tinta££s sustained all damages requested in k~e prayer for relied

                            COUNT IV: SPOLIATION C?F EVIDENCE

 812.      West Chester Hospitall[]C Healtkt through its agents and employees, w~Zlfuily altered,

 destroyed, delayed, hid, 7nadi~ed andlar spoiled("spoiled'°} Plaintiffs' records, enaails, billing

 records, paperwork and related evidet~~e,

$a 3.      VtTest Chester Hos~itallUC Health through its a~e~ts and employees, spoiled evidence

 with 1~nowledge that there was pending or probable litiga~io~ involving Plaintiffs.

 814.      West Chester HospatallUC Health's conduct was designed to das~.pt 1'laintift~s' potential

 ancllar actual case, and did in fact and pxaxxznately cause disruption, damages and harm to

 ~`laxz~tiffs.

                  COUNT V: OHIQ Cl7NSUME~t SA~,ES PRQTECTI~N ACT

 $15.      Although the Chia Consumer Sales ~a-otection Statutes t3.R.0 1345.fl1 e~ seq, exempts

 physicians, a transaction between a hospital and a ~atienticonsumer is not clearly exempted,

 816.      West Chester HospitallUC Health's services rendered to Plaintiffs constitute a "consumer

 transaction" as defined iri ORC Sectipn 1345,Q1(A~.

 817.      West Chester HaspitaliUC Health omitted suppressed and concealed from Plaintiffs facts

 wide the intent that P~aintaffs rely on these omissions, suppressit~ns and cc~nce~lrnen#s as set forth

 herein.

 $18.     'West Chester Hospital/[]C Health's misrepresentations, anti its omissions, suppressions

 a~~c~ concealments offact, as described above, constituted unfair, deceptive ar~d unconscionable

 acts and practices in vic~latian crf Q.R.0 1345.42 and 1345.03 end to Substantive Rules and case

law.
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 819.    West Chester HospitalNC Health was fully aware ofits actions.

 $20.   'vVest Chester HaspitallLTC Health was fiilly av+rare that Plaintiffs were induced by end

 relied upon West Chester Hospital(LTC Health's representations at the time West Chester

 HospitaWC Health was engaged by Plaintiffs.

 521.    Had Plaintiffs been aware that West Ck~ester Hospita.ULJC Health's representations as set

 Forth above were untrue, Plaintiffs would not have used the services a1F Defendants.

 822.    West Chester Hospitall[TC Health, through its age~acy arxd emplcry~~s knowingly

 committed the ur~f~.ir, deceptive and/or unconscionable acts and prac~ces described above.

 $23.    West Chester Hospital/UC Health `s actiflns wire not the result of any b~rna fide ezrors.

 824.    As a result ofNest Chester Hospit~lli.,TC ~ealt~i's unt'air, deceptive and unconscionable

 oats ar~d praetic~s, Plaintiffs have suffered and continues to suffer damages, which include, but

 are not limited to the ~o~low7i~ag:

             a. Loss of money paid

             b. Severe aggravation and inconveniences

             c. Under O.R.C. 1345.D1 Plaintiffs are entitled to:

                                 An order requiring West ChestEr HospitallUC Health restore to Plaintiffs

                                 all money received from Plaintiffs plus three times actual damages

                                 azxdlor actuallstatutory damages for each violatio~t;

                           ii.   All incidental and consequential damages incurred by Plaintiffs;

                          iii.   All reasonable attorneys' fees, witness fees, court costs and outer fees

                                 incurred.
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                                    BELLY SPIVY vs. TCH CC.IUNT~:

        CUUNT`I: IVEGLIG~NT CREDENTIA.LING,SUPERVISION,& R~TENTIDN

 $25.    As described in the Counts asserted directly against fir. I3urrani, the actions ofDr.

 I~uurrar~i with respect to Plaintiffs canstz~ute medical negligence,lack ofinformed consent,

 ba#tery, and fraud.

 $26.    TCH negligently credentiaJed, supervised, artd z'etained Dr. Durrani as a credenti2il~:d

 physician, viola#ing their bylaws and JCAHO rules z~a ~ume~rous ways,including, but not limited

 to:

                 a,      Allowing 17urrani to repeatecity violate TCH bylaws with its fult knowledge of

                 the same;

                 b,      failing to adequately revier~v, look into, and otl~e~ise investigate Durrani's

                 educational background, ti~az'~ history and. peer reviews whin he applied for and

                 reapplied far privileges at TCH;

                 c.      ignoring aa~plain~.s about Durran~i`s treatment of patients reported to it by'~'C~

                 staff, doctors, patients and others;

                 d.      ignoring information, they knew or should have known pertaining to burrani's

                 other privileged time at othex area hospitals.

 $Z7,    The Safe Medical Device Act required entities such as TCH to report serious inj~uies,

 serious illnesses, and deaths xelated to failed riaedical devices tQ the ~'DA and tha manufacturer;

 this was never dare.

 828.    As ~. direct and proximate xesult crfthe negligent credentialing, supervision, and retentiant

 of Jar, I7urrani, Plaintiffs sustained all damages requested in the prayer for zelief,
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                           CUNT II: SPQLIATI(3N OF EVID~NC~

X29.     TCH through its agents and employees, willfully altered, destroyed, delayed, hid,

modified andJor spflilec~("spoiled"} Plaintiffs' records, emails, billing records, paperwork and

related evidence.

830.     TCH tl~uough its agents and ernplayees, spoiled euidence with knowledge that there was

pending or probable litigation involving ~`1aintiffs.

831.     TCH's conduct r~vas assigned to disrupt Pl~intx~~s' potential and/or actual case, and did in

fait and proximately cause disruption, damages a~ad harm to Plaintiffs.

                                        CCIUNT III: F~A~7D►

$3~.     TCH sent out billing to Plaintiffs at his home following his surgery at TCH,

833.     The exact dates these medical bills were sent out are reflected its thQSe medical bills.

83~.     These mills constituted affirmative representations by TCH that tie charges related to

Pl~iz~~zffs' surgeries were ~ec~ica~ly appropriate and properly documented,

 $35.    The bills were sent with the knowledge cifTCH that in fact Plaintiff's' surgeries were not

 appropriately billed and documented and that the services z-enderec~ at TCH associated with I]r.

 l3urrani were not appropriate.

 83+6.   The bills sent ~y TCH to ~'laintiffs falsely represented that Plaintiff'' stugeries were

 appropriately indicated, pe~'orrr~ed and medically necessary in contra-indication ofthe standard

 ofcare.

 $37.    Plaintiffs relied on fibs fa~ality holding I~x. Durrani out as a surgefln and allowing him to

 perf`arm surgeries at its health care facility as assurance the facility was overseeing Dr. r7urrani,

 vauc}~ing for his surgical abilities, and fiu~ther was apprapriate~y billing Flaxz~tiffs for TCH's

 services in assa~~ation r~vith Dr. Durrani's siugeries.
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$38.    ,As a c~~arect atld ~roxirnate result ofthis reliance on the billing ofTCT~, Ptaint~ffs incurred

xr~edical bills that he rrthe~~+ise would not have incuz~'ed,

839.    TCH ~~so either congealed from Plaintiffs tJaat they knew abou# Dr. D~xrrani, including

that infuselBMF-2 andlor Puregen would be used in Plaintiffs' surgeries, flr misrepresented to

Plaintiffs the nature ofthe surgeries and the particular risks that ware involved therein.

540.    TCH°s concealments end misxepxesezrtatians regarding Infuse/BMP-2 anc3Jar Puregeri a~ad

the nature and risks flf Plainti~£s' surgeries r~rere material facts.

841.    TCH intentionally concealed and/or misrepresented said material facts with the intent to

defraud Plaint~~fs in order to induce Plaintiffs to undergo the surgerae~, and thexeby profited from

the surgeries and procedures Dr. Diurani performed an Plaintiffs at TCH.

842.    Christ Has~ital billed ~'~aintiffs, Billy Spry,for "OR ALL~GRAFTS"in the amount of

$12,393.Ob; uptin information anc~ belief, Plaintiffs believes that "012. A.~..~.C7G~AFTS" is

InfuseBMR2 or PureGen lased in Plaintiffs' ~el~ruary 6,2007 surgery.

843.    Plaintiffs were unaware that InfuselBMP-2 andJor Puregen would be used in Plain#ills'

suz-~~ries and th~re~ore, ~uvas unaware of the health z~s~Cs cifInfuseiBMP-2 or Puregen's use in

Plaintiff's' spine.

$44.    Had Plaintiffs knows before Plaintiffs' surgeries that Pt~regen would be used in

~~axn~iffs' spine and infQrmeri ofthe specific, harmfizl risl~s flo~~ving therefrom, I'Iaintiffs would

not have u~dergoiie the surgeries with ~7r, DUrrani at TCH.

~~5.    Plaintiffs are still awaiting itemized Milling, from TCH,reflecting the exact totals billed tQ

~'laintifFs fc~r the surgery performed an Plaintiffs at Christ Hospital.

8~#6.   As a direct and pr~xiniate result ofthe fraud upon Plaintiffs by TCH,Plaintiffs sustained

all damages reques#ed in the prayer,
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                 CUUNT IV:[3HIQ CQNSUMER ~AI.~S PRO'~'ECTICIN A.CT

 847.   Although the Ohio Consumer Sales Protectzan Statutes O.R.0 13~45.~1 et seq, exempts

 physicians, a transactipn betw~~n a hospital anc~ at patienticansumer is nat clearly exernp~ed.

 $~$.   T'CH's services ret~der~d to 1'Ia.intiffs constitute ~ "consumer tra7lsactitrn" as defined in

 SRC Section 1345.4 {A)and applicable law.

 841.   TC~-T emitted suppressed Arad concealed from Plaintiffs facts with the intent that Flaintift's

 rely o~z these omissions, suppressions and c~ncealrnents as set forth herein.

 $54.   TCH`s misrepresentations, and its Qrnissions, su~pressians and can~ealments offact, as

 described above, cc~nstitut~d unfair, deceptive and uncons~ianable acts aid practices in ~iolatifln

 ofa.R.0 1345.02 and T34S.43 and to Substant~~re Rules aa~d case law.

 851.   TCH was fully aware ofits actions.

852.    TCH was fully aware that Plaintiffs were induced by and retied upon ~J47est TCH's

 repxesentations at the time TCH was engaged by Plaintiffs,

 X53.   Hat}. Plaintiffs been aware fiat TCH's representations as set forth above were untrue,

 Plaintiffs would not have used the services ofDefendants.

 BSS.   TCH,through its agency and errzployees knowingly committed the unfair, deceptive

 andlar uncat~scianahle acts and practices described above.

$55.    TCH's actions were t~c~t the result of any bona ode errors.

$S6.    As a res~4t of TCH's unfair, deceptive and unconscionable acts acid pt~actices, Plaintiffs

have suffez~ed and continues to suffer damages, which include, but are not limited to the

 hollowing:

              a. loss of money paid;

              b. severe aggravation ancf incgnvenienoes;

              c. under ORC 1345.01 Plaintiffs are ezatitled tc~
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                          i.      an oz'dex requiring TCH res#ore tQ Plaintiffs all money received from

                                 Plaintiffs plus three #imes actual damages and 1 or actual l statutory

                                 damages for each vaol~tian;

                          ii.     all incidental and consequential damages incurred by P~a~~►tiffs

                         iii.     all reasonable attorneys' fees, witness fees, court cost and other fees

                                 incurred.

                                CCIUNT V:PRODUCTS L~AB~LITY

857.    At atl tiz~r~es InfuselBMP-2 and Pure~en are acid were products as defined in R,C, §

230~.71(A){12) aid applicable law.

85$.    TCH aka supplier) supplied either M~tronic's(~k~ ma~iufacturar} InfuselSMP-2 for

surgery performed b~ Dr. Durrani an Plaintiff's.

 X59.   TCH, as ~ su~aplier, failed to mazntain InfuselBMP-2 properly.

$60.    TCH did not adequately supply all components required to use either InfuseBMP-2

properly.

8bL     TCH knew or should have l~nown tie Fi]A requirements and 1`vXedt~anic's requirements

for using either InfuselBN1~-2.

 862.   TCH stored either InfiiselBMP-2 at its facility.

 853.   TCH t~rdered either InfuselSMP-2 for surgery perfoznaed by Dt~nrani.

 86~,   TCH slid not adequately warn Plaintiffs that InfitseBlVIP-2 would be used tivithoufi all

 FDA and manufactuzer required components.

 865.   TCH did not gain infartned consent from Plaintiffs ft~r the use ofInfuselBMP-2,1et aline

 wam t~fthe s~zpplying of the product widlout k'DA and manufacturer requirements.

 X66.   TCH failed to supply either Infu~eBMP-2 {aka product}in the manner in which xt was

 represented.
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867.     TCH failed to provide any warning car instruction in regard t~ InfuselHMP-2, and failed

to make sure any athez'party gave such warning yr instruction.

X68.     PX~intiffs suffered physical, financial, anal emotional harm due #o TCH's ~vialation of the

Qhio Produc#s Liability act. Plaintiffs' injures were a foreseeable r7sk.

X69.     Plaintiffs did not alter, modify or chaxxge the product, nor did Plaintiffs know that the

~raduat was being implanted wi~hQUt all required components.

$7~.     TCH l~new or should have known that the product vas extremely dangerous and should

have exercised care to provide a warning that the product v►las being ~sec1 and that the product

was being used ou#side FDA and manufacturer requi~ernents. The harm caused to ~'laintiffs by

not providing an adequate warning was foreseeable.

871.     TCH knew that the product did not conform to the representatia~a of the intended use by

the manufacturer yet permitted the product to be ir~~l~rted into Plaintiffs.

$72,     TCH,as a supplier, acted in an unconseianab~e manner in failing to supply t17e product

tivithout all FDA and manufactixr'er required cotnponen.ts.

873.     TC~,a~ a supplier, acted in ~n unconscionable manner in failing to warn ~'laintiffs ~1~at

the product was being supplied without all ~~7A and rn~nufacturer required eom~onents.

$74,     TCH's actions demonstrate they took advantage ofthe Plainti££s inability, due to

ig~~rance o£tl~e product, to understand the product Y~eing implanted without FDA and

rr~anufacturer rewired components.

$75,     TCH subs#antially benefited financially by floe use of the product as the product allowed

for Defendant tee charge x~nore for the s~ugery.

 8'~G.    ~~aintiffs suffered economic lass as defined in R,C. § 23d3.71(A)(2) and a~a~licat~le law,

 877.     Flaintiffs suffered mental and physical harm due to TCH's acts and omissions,
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878.    Plai;rtiffs suffered emotional distress due to acts and omissions of TCH and ale en#itled to

recovery as defined in R.C,§ 23{7.71{A}(?} and applicable law.

879.    TCH violated t1~e Ohio products Liability Act R.C. § 230'1.71-2307.80

880.    TCH violated R.C. ~ 2307.71(A){~}.

$S1.    TCH violated The fJhid Cansun~er Sales Practices Act R.C. § 1345,fl2-.03.

$82.    TCH provided inac~equ~.te warnings az~e defined in R.C,§ 23~7'.76(A} and a~~licable law.

                  AMANITA KOCH r~s CHILDR~~T'S HfJSPITAL CdI]N'T~:

                               CC1[7NT I: VICARI(7US LIABILITY


883.    A~ all times relevant, Defendant Dr. I?urrani was an agent, apparent agent, anctfor

 employee of C~aildren's Hospital.

 88A.   Dr. Durrani is in fact, a partial owner ar sh~rehalder of Children's Hospital.

 8$5.   Defendant fir. Durr~ni was performing within the scope ofhis age~acy, real or apparent

 with Children's Hospitat during the carp and treatment ofFlaintifFs, Amanda Koch.

 886.   Defendan# Chxldy'eYl's Hospital is re~p€~nsible for harm caused by acts of xts agents and

 app~re~it agents for conduct that was within the scope a~ agency under tk~e theory ofrespondent

 superior.

 $$7.    Defenda~lt Children's Hospital is vicariious~y liable for the acts oFDefendant I7r. Dur~rani

 alleged in this Complaint including all ofthe counts asset-ted against I]r. Durrani directly.

 $$8.    As a direct and prpximate result ofDefendant Childreaa's ~Iospital's acts and omissipns,

 Plaintiffs sustained severe and grievv~€s injures, prolonged pain and suffering, emotional

 distress, hurnilia~itir~, discom€ort, toss of enjo~mlent o£'lif~, and loss of ability to perform usual

 and customary activities and incurred substantial medical expenses and treatment.

    CQUNT II: NEGLIGENT CREDENTIALING,~UPE~tVISIUN,ANI} RETEI~II'X'ZON
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889,    As described in the Counts asserted directly against Dr. Durr~.ni, the ac#ions ofDr.

Durrani with respect to Plaintiffs, Arrxanda Koch, constitute medical ~aegligence, lack of

informed consent, Yratteiy, and fraud.

$~a.    children's Hospital negligently credentiaJed, supervised, arzd retained Dr. Durranx as a

credelrtialed phys~Gia~i, violating tk~eir bylaws and JCAHO rules by.

            a. Allowing Dr. Durrani to repeatedly violate the Children's Hvs~ital bylaws with it's full

                lmowledge ~fthe same;

            b. Failing to adequately review, look into, and otherwise investigate Dr. Durrani's

                educational background, wor~C histoxy and peer reviews whin he applied far and

                re~pptied for privileges at Childre~a's T~aspital;

            c. ignoring complaints about Dr. Duz'~ani's t~'eatn~ent ofpatients reported to it try Ghildr~z~'s

                Hospital staff, doctors, Dr. Durr~zii's pa#rents and by others;

            d. Ignoring inforzxxatian they knew or should havz ~Cno~n pert~inin~ to Dr. Durrani's

                previous privileged time at other Cincinnati area hospitals, including University Hospital,

                Deaconess Hospital, Good Samaritan Hospital and Chr~,st Hospital.

891. ~'he Safe Meciiaal Deice Act required entities such as Children's Hospital to report

serious znjuries, serious illnesses, and deaths relayed to faired medical devices to Elie FDA and the

zxa~,nufacturer; this was newer done.

89Z. As a direct and proximate result of the negligent credenti~ling, supervision, end retention

o~ Dr. I)unrani, Plaintiffs sustained all damages requested in the,prayer for retie£

                                          C4LINT III: FRAUD

893.     Children's Hospital sent c ut billin,~ to Plaintiffs at his home following his surgeries ~~

 Children's Ht~spitai.

 894.    The exact dates these medical bills were seat out are reflected in those medical bills.
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$95.    These hills constituted affirmative representations by Children's Hospital that the charges

related to Plaintiffs' surgery were medically appropriate and properly documented.

896.    Tie bills were sent with the l~aowledge of Children's Hospital that in fact Plaintiffs'

surgery were not appropriately bided and documented and that the services rendered at

CY~ildrez~'s Hospital associated with Dr. Durrani were not approp~~iate.

897.    The bills sent by Children's Hospital to Plaintiffs falsely represented that Plaintiffs'

surgery were appropriately ir~d~cated, performed and. rnectically necessary in contra-indication of

the standard of care.

8~8.    Plaintiffs relied can the facility holding Dr. Durrani out as a suxgeon and allowing hirn to

perform surgeries at its health care #'acility as assurance the facility was overseeing Dr. Durrani,

vot~ck~ing for his surgical abilities, and fiuther was appropriately billing Plaintiffs for Ci~iildren's

Hospital's services in associatic~li with I3r. ~}u~rani's surgeries.

899.    As a dixect and ~roaimate resutt ofthis reliance on the billing of Children's Hospital,

Plaintiffs incurred rnedi~al ~i~Xs that they otherwise would not have incurred.

~Oa.    Children's Hospital also either cc~z~cealed ftom P~aintiff~ facts they knew about Dr.

Dul~rani, including Chi~clren Hos~it~l misrepresenting to Plaintiffs, Amanda K.ach, the nature of

the surgery and the particular risks that were izavolved therein.

901.    Children's Hospital's cQncealm~nts, misrepresentations, and t ae natua'e and risks of

 Plainti~'fs' surgery were material facts.

 90~.   Because ofits supariar position and professional role as a medical service provider,

 Children's Hospital had a duty to disclose these material facts to Plaintiff's and a duty to refrain

 from misrepresenting such material facts to Plaintiffs.
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g0~.    Children's ~3ospital intentionally eancealed andlor misrepresented said material facts

with the int~t to defraud Plaintiffs in ordar to induce Plaintiffs to undergo the surgery, and

thereby pxofiteti from the surgeries and procedures Dr. Durrani ~erfarmed 4n Plaintiffs at

 Chrldren's Hospital,

9fl4.   Had Plaintiffs known before surgery cif the specific, harmful risks flflwing therefrom,

Plaintiffs would not have undergone the surgery with Dr. Durrani at Children's Hospital.

905.    As a direct and proximate result ofthe fraud upon Plaintiffs by Children's Hospifial,

 Plaintiffs sustained all damages requested in the pryer for relief

                           CQI3NT IV: SPQLIATIDN ~F EVIDENCE

 90b.   Children's Hospital through its agents and employees, willfully altered, destroyed,

 delayed, laid, modified andlor spoiled {"spoiled")Plaint~~s' x~c~rds, emails, billing records,

 paperwork and related evidence.

 9a7.   Ckii~cl~ren's Hospital through its agents and employees, soiled evidence with knowledge

 that there was pending or probable litigation involvz~~ Plaintiffs.

 ~0~.    Children's Hospital's conduct was designed to disr€~pt Plaintiff's' potential andlor actual

 case, ar~d did in fact and proximately cause disruption, damages and harm to Plaintiffs.

                  CCIUNT V: OHiD COl'~TSUIVIEIt SALES PRACTICES ACT

 909.    Although the Ohio Consumer'Sales Practices S#atutes O.R.0 ~345.~1 et seq. exEmpts

 physicz~ns, a transaction between a hospital and a patienticonsumer is not clea~°Iy exempted,

 910.    Children's Hospital's services rezadeXed to P~~intiffs constitute a "consumer transaction"

 as defined in {]RC ~ectiQn 1345.OI~A).

 9]X.    Children's Hospital omitted suppressed and concealed from Plaintiffs facts with the

 intent that Plaintiffs rely on these ramissia~as, suppressions and ca~cea~nae~nts as set fflrth herein.
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X12.   Children's Hospital's misrepresenta#ions, grad its omissions, suppressions and

concealments o~`£act, as described abase, constituted unfair, deceptive and unconscionable acts

and practices in ~viola~ion of~.R.0 1345.42 az~d 1345.3 and to Substantive Rules and case Iaw.

913.   Children's HQSpital was fully aware afits actions.

914.   Children's Hospital was filly aware that Plaintiffs rx~ere induced by and relied upon

Children's Hospital's representations at the time Children's Hospital was engaged by Plaintit'ts.

915.   Had Plaintiffs been aware that Children's Hospi#al's representations as set forth above

were untrue, Plaintiffs would z~Qt have used the services ofDefendants.

916.   Children's Ht~spital, through ids agency and employes knowin~Iy camrnitted the unfair,

deceptive andlar u~naonscionable acts and practices described above.

917.   Children's Hospital's actions were not tha result of atly bona fide errors.

91$.   As a result of Ghild~'e~r's Hospital's unfair, deceptive aaad uncor~scxonable acts and

practices, Plaintiffs has suffered and continues to suffer damages, which ir~clucle, but are not

limited to the following:

        d   Loss ofmaneypaid

        e. Severe aggravatiat~ and inconveniences

        f. Under D.R.C. 1345.01 Plaintiffs is entitlad ta:

                       i~v. An order requiring Children's Hospital restore to Plaintiffs all money

                            rEC~ived from ~Ia~ntiffs talus three #imes actual damages and/or

                            a~tualfstatutory damages for each violation;

                       v. All incidental and consequential damages incurred by Plaintiffs;

                       vi. All reasonable attorneys' fees, witness fees, court costs az~d o#her fees

                            incurred.
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9~ 9.    The Defendants as detaited in this en#ire Cc~tnplaint herein engaged in a criminal

enterprise through ~ pattern of con~upt activity and the collection ~f a~a unlawful debt.

        COUI~iT'VI: AGAINST'ALA DEFENDANTS O.It.C. 2923.3 ~~1GAGIPTG ~N A

        PATTERN t3F Ctl~2RU~`T` ACTIVITY'; FI~1E~;PENALTIES;FQRFEITUl~;

 REC[]RT]~S AND ~EPORTS~'~HI1t~~FARI'Y CI,AIIVIS TO P:ROPER'TY_SUBJECT TD

                                    F~ItF'EITURE State ItiCfJ


920.     Plaintiffs ~do~t and incorporate herein by reference each end every allegation in

this Complaint as detailed to support the pattern of corrupt activity including reg~xrding

BMF-2 ar~d P~ureGen.

921.     ~'u~suant to, ~.R.0 2923.32(A),

                (A)(1} ~Nc~ person employed by, ar associated with, any entexp~ise
                shall conduct or participate in, directly or indirectly, the afFairs of
                the enterprise through a pattern of corrupt activity or the collection
                of art unlawful debt.
                (2} No person, ttlrough a pattern of corrupt activity or the
                collection of an unlawful debt, shall acquire ar maintain, direetXy
                or indirectly, any interest ire, or control of, any enterprise or read
                property.
                (3} No person, who kric~wingly has received any proceeds derived,
                directly ar indarectly, from ~. pattern of corrupt activity or the
                collec#ion cr£ any unlawful debt, shall use or invest, directly ar
                indirectly, any part ofthose proceeds, or any pro~e~ds derived
                from the use Qr investment of any o~thase proceeds,in the
                 acquisition of any title to, or any right, interest, or equity in, real
                 pxaperty or in tYce establishrne~t or operation of any er~terp~ise.

                 A purchase ofsecurities on the open market with inters# to make ~.n
                 illvas#meet, ti~vitho~t intent to control oz participate in the control of
                 the issuez-, anc~ without intent to assist another to do so zs not a
                 violation af~his division, if the securities cif the issuer held after
                 the purchase by the purchaser, the men~b~rs ofthe puxcliaser's
                 ix~nmediate farni~y, and the purchaser's or the immediate family
                 members' accarnplices in any pattern of coxrupt activity ~r the
                 collection o~an unlawful debt do nr~t aggregate one per cent rr~the
                 Outstanding securities of any one class of the issuer and do not
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               confer, in law ar in fact, the pt~wer to elect one or mare ~irectars of
               the issuer.

        Q~ia Rev. Code A.nn. § 2923.32 (V~1est)

922.    Tha C}hio Revised Code goes can to state that "Person," is defined as,"(G}"Verson"

means any person, as defined in section 1.59 ofthe Revised Code, and any gavernmenta.~ officer,

employes, ar entity." ahio Rem. Code Ann. § 2 23.31 (West)

923.    West Chester Hospital, LLC (hereinafter "West Chester Hospital",) was a lzrriited liability

company authorized to transact busi~~ss and perform medical services in the State ofShia and

operate under the trade name Vr~est Chester Hospital.

42~.    UC health is the c~xporate parent, owaxer and operator of West Chester Hospital, LLC.

925.    West Chester hospital/ U~ Healt~a would be r..cansid~ed an entity and according to the

 Qk~io Revised bode definition of a person.

 92~.   The Dlaio Revised Cade also states that,

               (C}"Enterprise" includes any individual, sale proprietorship,

                partnership, limited partnership, corpara~ion, trust, union,

                government agency, or other legal en#ity, or aa~y ox~anizatic~n,

                association, or group of pers~rns associated in fact although nat a

                legal entity. "Enterprise" includes i~~zcit as well as licit e~te~prises,

 Ohio Rev. Code Ann. ~ 2 23.31 {Vest}

 327.   '~'k~~ Center for Advaricerl Spine Technnlflgies, Inc.(hereinafter"CAST"), was licensed to

 and did in fact perform medical services in the State cif Shia, and was and is a corporation

 authari~ed to ~z-~r~sact business in the State of Ohio and T~entucky.

 928.   Dr. Durrani was tae sole ownex o~'GAST and was directly associated with CAST.

 929,   CAST is an ez~tet~rise.
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930.    West Chester Hospital) UC Health suspe~aded Dr. ]~ur~ani privileges an August 6, 2010.

X31.    D~. Durrani continued to sae new clients and)or perform unraecessal'y surgeries, even

though die was under suspe~nsian including those of Flaint~£f's.

932.    West Chester HospitaU UC Health had knowledge that Dr. T)urrani was performing

surgeries while ~ncier suspension.

933.    West Chaster Hospital)i.~C Health had knowledge that D~`. DuYrani was categorizing the

unnecessary stu-geries as "emergencies," and Vilest Chester HflspitallUC Health allowed the

surgeries to continue. West Chester Hospxtall UC Health billed far these fraudulent surgeries

and aided and conspired with CAST and Dr. Dttrrani to achieve these acts.

 934,   Dr. Dur~'~.ni was ara suspensi~~ for incomplete ch~.~s, medical records and late dictatiQns

 ofhis surgeries, yet, West Chester HospitaU UC Health allowed for Dr. Durrani to perform more

 unnecessary surgeries a~nc~ then tilled Plaintiffs for those surgeries.

 935.   Dr. Durrani would see F~aintiffs at his BAST offices.

 ~3b.   Dr. Durrani would tell Plaa~tiffs that without surgery, immediately,they would suffer

 paralysis ar death. Plaintiffs wo~.ld then ~~ave the surgery.

 937.   CAST would schedule the surgery wit1~ Vest Chester HaspitalJ UC Health.

 938.    West Chester Htsspitall UC Health ~vQU1d then aliaw Dr, ~7urrani to perform,the

 unnecessary, surgery an the Plaintiffs and West Chester HospitaU ~]C Health would then bill for

 those unnecessary surgeries.

 939.    West Chester Hospitalf UC Health allowed ~'or and parti~ipa~ed in the fraudulent billing

 practices, assault due to the unr~ec~ssary surgeries, and conspired to aid CAST aid Dr. Durrani i~

 these corrupt activities.

 940.    West Chester HospitaU UC Health profited from I3r. Durraz~i's unnecessary surgeries and
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     West Chester HaspitallUC Heath billed Plaintiffs ft~r the unnecessary surgeries, even though Dr.

     L}urra.ni vvas undu~r suspension anti way not a~~awed to see new patients andJor perfoi7n surgeries.

     941.     Vilest Chester through the fraudulent billing practices and collected unlaw~'ul debt

     collection, from unnecessary sEU'geries, haci an interest in helping CAST ct~nti~ue to lure

     Plaintiffs into unnecessary sua~geries and allow the unnecessary surgeries to occur, even though

     ]7x, Dutrani was under suspension. This corrupt practice started in May 2009 thrQUgh at least

     September 2QJ~3, for the purpose of these particular Plaintiffs.

     942.     Nest Chester Hospital! UC Health, biped Plaintiffs for the unnecessary surgeries, and

     used the proceecls in the operation ofthe enterprises.

                                           PRAYER FUIt RE~,~EF

     W~IERE~'{}RE,Plaintiffreyuests and seeks justice in the farm and prc~ceclure of a juzy, verdict and

     judgment against IJefendants on all claims for fhe following cEamages:

1. Past rneclical hills;

2, Future medical bills;

3. Lost income and benefits;

4. Lost future income and benefits;

5. Less of ability tt~ earn income;

6. Past pain and suffering;

7. Future pain and suffering;

$. Pl~ntiff seeks a ~x~ding that their injuries are c~tastraphic under Ohio Rev. Code §2315.18;

9, All incidental costs and expenses incurred as a result of their injuries;

1 ~. The damages to their cxedit as a zesult of their injuries;

11. Punitzve damages;

12. Costs;
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13. A#tarneys' fees;

14. Interest;

1 S. All property loss;

Z b. All other relief to which they are entitled including D.R.C. i 345.01

l7. All relief under O.R.C. 2923.32. Based upon 1-1~ iterr~ization cif damages,the darxxages sought

    exceed the rninimuzn jurisdictional arnou~t ofthis Court and Plaintiff seeks in excess of$25,000.




                                                    Respectfully Subxnitte~l,


                                                    M~t~hew Hannmer {Q092483}
                                                    Lindsay Baese(D~913Q7}
                                                    Altartaeysfog Pdaint~ff
                                                    5247 Madison Pi~Ce
                                                    Independence, KY 41451
                                                    Phone: 513-729-1999
                                                    Fax: 513-3$1-484
                                                    xz~hatnmer _,ericdeters.com


                                                  JURY XIEMAND
      PZainti~fs make a demand far a jury u~ad~r all claim~~~~
                                                            ~ ~~
                                                     Matfhew ~iammer(0092483)      ~~
                                                     Lindsay Soese(091307)
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        ■~ ■~                                                 ~    ~
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                                            Lt3UIS~ BA~'LISS
                                          AFFIDAVIT ~F MEP:IT
                                            '~4'EST CHESTER

            I,KeEth D.~Vx~~C~y, NS.~., meter being duly s~,vorn aid cautioned states ~s foIiawa

       1. T devote at least one~hai~of my prafessianal time ~o the active ~Lirfical pnactive in my
          ~elci o~licensure, or ids ins~:u~at~an in an a~creditecl s~~c~al. I a3n an vrth~pedic
          surgeon. whose focus ~s oa sp~~.~ surgery anc~ trea~~aent refthose with s~aine issues.

      ~. I will supplement tlxis a~davz~ with another,~y a 1~tter ar by tes~imQn~y, based upon
         any infoririation p~ov~ded ~o me after T ~xECUte ~t.

      ~. My c~arrioulum ~i,t~e has been previously pravidec~ td ~pp~szng counsel in these Dr.
         T}urrani cases and ~ax~ be provided again upon request ~4x ~y review,I rely upon
            m~ eclucatiQi~, ~rai,~ing ~1nd experience.

      4. I have nat counted b~~t ~ have reviewed, over• 2~~ or mflxe Gases involving Dr.
         I7t►rrani and tla~ hospitals where h~ once lead pri~vile~es.

       5. I base rn.y p~inio~s in paxt on my revieut flf all ~e cases I b~av~ ~'~v~ewed which h~t~e
          re~eal~d siva~ilar coiYduct by Dr. Durrani and tkie hospitals where lae had privileges. T
          ha~v~ Elsa reviewed binders pxovided ley the Dete~•s Law Firm ~tn+hick~ t.~z~y provided to
          de~'ense counsel.

       6.   Y 0.'t7.1 ~Allllll~ VII~1 apj]I14~1b~.~ S~17C~&~C~ Q~ GF12'E ~C?x C~~']10, T~ent~icky and. the country
            #'ar eta orthape~liclspine s~rge~za such as I~. DLU7ra~.i,

       7. I arr~ also familiar ~cr,~~tk~ applicable standard ofi' pare, p~Iioies, vales and regulataoi~,
          medical executive cam~nittee by~ws,JCAHO requiremen~> o~ede~ti~iing,
          s~ipervisi~~, rete~~ion o~m~dical sta~'f, granting aid rejecti-cog privileges ~nci the deer
          review process fbr "Vt~est Chester H~spit~l,LLC,a~sv referred ~~~~st ~~,~t~x
          Hoapxta~ ar West Chester Medical Center and U~ Health.

       $. X knave ~~erri~r~vet~ ail relevant medical. records including radiology off'Tyr. l~urrani's
          rz~etiical treatment of Louise Bayliss arad tlxe medical treatment afLouise $ayliss at
          West Chester.

       9. I have reviewed tl~e ~t,~spons~ to summary Judgment irz the ~renc~a Shell case and
          all the e~xbits attached to it.

       lfl. The Center fear A~.vanced spine TeEhnalt~gies,~.was Dx, D1~3'~'~111'S j7I'bIC~FCY g2'~L1~7
            and he was the sale owner, dir~cfox and a#~n~x a~'C,A~T as well as an ernpinye~.
            BAST as suah is ais€~ responsible x Dx, purra~.'s negligence at~d f~o~r t~err ~aihtr~ to
            also supervise, discipline anci. r~'t, nDr, D~ani.
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      1 ~. I have also xeview~d the nursing su~.~-y prepared by leg~~ cau.~sel's off~c~ for
           Louise Bayliss. Based upon the nu~nb~r ofcases I've reviewes~ p~~taining to Dr,
           17~t~rani,legal counsel's of'f'ice knows ghat rr~~terials I nee~1 to review and provides
           rr~~ those materials. In addition, while this a££iclavit aor~tains aase specific
           i~a~`~axm~laQn; it also c~ant~ins it~'ormatio~ relevant to this case an~lar zx~~~y anellar
           most ~.ndlar aI~ the otber case. It is prepaxec~ for me by eo~uisel vv~#~ my di~ectian
           anti a~prava11~1ee all ofth~s~ stave been.

      12. B~~d upon my xevzeyv, t~.~ fallawi~ag aye the fats ~ rely upon;

      A, Louise Bayliss was a 78 yeas ot~ on the day ofsurgery by T.lr. Dtu~'ani €~n 101~f~ ~.
         Louise lead ~ee~ vexy active wsth kxe~r grandchildren on a daily basis s~n~e being
         widowed several years earlier. Lc;uise was kno~rza to wox~C in der gaxden
         regularly, Louise had been astay-at-k~orne mom and was g very i~dep~~adent
         person. After being widowed,Louise aont~nued to cl~iye ~~xs~1£to stores, attend
          ~rand~hildren°s events and vexy cap~a~le ~f talcx~g c~x~ ~f herself She was
          cc~r~aidered tv have the age aid enemy of someone about fifteen years younger
          than h~r.~ctual age.

      B. PMH:lte~uri~z~t deed vein fhrambosia, on CQUmadin tl~er~p'Y,PL despite
         Greenfield Ater, H'T'N, ~trtl~ritis, Anemia, GSA., TIAs,C-Miff; Smoket~ szzd
         BxQ~ahi~is.

       C. ~argi~al history includes App~ndec~amy and Cervical,.Anterior biscectam~.

       D. 9/7110 — L~►~ise had consulted with Br. CI~e~ 1VIita1, FCP for ge~3eralized
          weatc~ess and teas £orand to have cerv~caI stan~sis, T~oiuse stated #o Dt. Mitxil tha#
          she hid been #'all~ng a lob, was dizzy ~d urib~ aneed fr~quantly. Louise
          ~pparentl~ had a fall resulting in neck pain whioh was ~ct~.ially a t~.oracic ~r~cture
          ~Tl}, T.7r. Mital recorn~r~ended I]r. J3uxrani to S~alus~ acid her d~ghter, Sherrie.
          ~ouis~ tolerated this neck pain €'~r a p~rioc~ o~twc~ weeks pri€~x to eonsul~ing with
          Iwr. Durrani. ~~gery r~ras ccrm~rle~ed on 1414110.

       E. 1 I/16fZ ~ -- Louise had visited Dx. Mita1 fflr diai~hea, dysphagia,left shauld~r pa~~n
          secan~iaiy tQ fall, ~ny~gXa, hyperlipider~~a ~d carotid do~pler results, which. are
          not mentioned. Louisa was advised to k~a~ her INR between 2 and 3, ~3~r, Mital
          h~cl ~sc~ recommended Louise see a~iet.uologist, fir. 4ssmau~ in z~egards to the
          gene~aliz~d r~veakness and abnazmal MR.I.

       F. 31 0111 — ~o~is~ was an. inp~.tient at ~ni~t ~Tamilta~n Hospi#al for sha~tn~ss cif
          Brea#~., symptoms o£pneumonia aid conti~iued tv hive right leg wealmess, She
          was alert, at~e~.tive, appropx~ate and speech slxghtl~ slurred aJ.sa. A Neurology

                                                    2
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           co~.sult with Dr.(~ssman was obtained. ~urtller workup for unusal k~ypex`reflexia
           was ~'ecarnment~ed. V~orkup for Myasfi~lenia Cxravis and antibodies vrexe gent out.
           ~1r. Ossman statad Louise apparently had a strafe 412D1d and had been walker
           d~pen~ent since and the had ~vhita matter disease of'the brain with mild a#rophy.

      G.   Ifi ~]E#W~211 Flt}5~71~~ gC~.YY71551QC1S allC~ t~}.]8I7 S~ayS~ Louis$ rernain~cl. at home with
           the farrkiXy ~tnembe~'~ 1~eing attentive on a X4/7 basis.. ~ouiae's fain was consuziaing
           1~er Iife. Louie r~u1d not talk or eat £aad wi~l~~ut choking ~v~ch led tQ thick
           liquids, ~-I~r decreased nutrition Ied ~o her increased weakness gad inability to
           walk. Event~i~ly she became sa weafc she had tQ be lifted fiom the bed to the
           ehaar tQ b~ wheeled around, iNeedl~ss to say Louise ca~~inued to lose vvei~t
           froz~a ~ 25 Ihs tc~ 9a llas.

      ~T. ~f3d111 - Lc~~ise had a Fort Hamilton Hosp~ta~ Eft ~c~isit far generalized weakness,
          ~ ~r~ductiv~ cough with elevated vsrhite count f~ut no fever, art. elevated creat~nine
          ~.~, BUN 26, chronic[ow back pain and vTas admitted for community-acquired
          ~1i7~111I1pX~la S11C1 flCU~~ 18riS~.1I.7.s71~1C1~riC~. Fer sfln, Louise hack not been ea~iz~g oe
          dxir~dn~ as ~.~sual. ~,oui~~ was admitted for furthez mar~.agement ofthis
          ~neramania,

      T. 81191I1 - West Chester Ha~pital Eli visit for coughing,dehydration1~41urne
         deplat~c~n ~~UN 32 n~+w}, being mere withdrawn and inereas~d weakness and
         debiiitatio~. which wzll ~~quire nursing ~.a~~ place~ertt upon ~iisck~axg~.
         Ncurc~logy consult noted Z,ouise's spe~Gh ~err~ained slightly Sluzxed, she way alert
         and atte~~i've, failure to thrive and a change in mental status with possible
         cer~~ara~asc~lar accident.

       3. 91211 ~. — 'C.I'niv~rsxty Hospital - Modified Barium Swallow zevealed moderately
          severe ~rharyngeal dys~ahagia ~d in~errnit~ent aspiration with thin barium with
          cieXayec~ cough reflex.

       I~. ~~IS111 -West Chester Hospital ER visit horn ~erita~e Hill nursing home an
           o~'ygen 2Z, with rhoi~elii and ~uvheezes particularly left base, pneuxrio~ie preset
           per radiology ~ndin~. Its dt~~~~~t~cl Louise had ibeen a 3ppd smt~k~r ur~.til
           se~raral zna~ths ago and the cause of her seven ~peeeh dist~arban~e is unclear. Zt is
           also r~dted t3~at Louise had a right voea~ ~~x~ pax~y~is amd dys~ha~ia probably
           musing tie as~iratio~r pneumonia (pexk~ap~ this is from the use ~~'~VFUSE in the
           cervical ax~a, ~vk~ieh was not appr~n~ed by the FDA for the cervical area). L~ui~e
           was adrx~itt~d for several days ~d xeturned t4 the nursing borne.
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      ~, 10130!11— West ~he~s~er Hospital ER visit agar tom the nursing home ~eeause
         of hemaptysis a~saciated with low blond oxygen revel. Tkte family repattin~
         Louise e~.titag pearly despite ~.eix e££o~ts with recommended pureed diet. It is
         d~curnented Lcauise was in a depressed mood,flat a~'ect, vaoal card paralysis,
         tenderness tv palpation in the cervical ~arasprnal musculature, d~s~ha,~ia,EKCir w
         1~ISR with sacs',ernphysemat+aus changes sn Phe upper lodes, l~ealt~a-Dare aoquir~d
         pn~i~rzaanxa, ~~l~~ly aspiration related and h~pa~emic respiratc~xy f~ure. It is
         stated in tk~is ER gate fihat the vflcal cord paralysis stems fiom.a previous c~ruioa~
         ~nju~y. Louise was admitted for £~.uther risk ~tr~~ifcatit~n ma~aageme,~t,
         observation, systemic antibiotic therapy with aons~ltations to Speech Pathla~y,
         Fulrncr~alagy and Fain Mana~e~eirt

      M. 111111 i — ~.7niversity Hospital ~n.d~sct~~oy ~.epa~'t sates in the distal eSO~aha~~~s
        there was sorn~ spasm and. same narrowing at the GE junction but no ulcer~tians.
         Assessment: Bsop~Zagi~is with stricturing and gastritis,

      N'. 111311 ~. — Surallawin~ Re~rort — ~e~.nonst~ated ~apira~XOn ~t~,rith thin liquids.

       O. 1212fi111 —Wept C~~ste~ Ho~~it~l ER visit brought iii from home by 1~er span,
          Steven for decreased ~ppetxte. Steven states Louise had goi~en progr~sskv~ly
          vveak~r during the past fen days. 5teve~ was ~`equ~sting a feeding tube because of
          her decx~~sed x~#.~ke, Louisa often would not use the oxygen as rec~rnrnend+e~.
       P. T31~gT10515: '~ Nu.xsxz~g home-acquired pneumonia with sepsis,
          severe dehy~s'ation t~vith hypern~ixemia associated wit)n acute xen~.1 insuff'ici~ncy,
          failure to thx~ve
         ~Iistory cerebxal vascular accident with aspi~atztrn
       • NQn ST-ulevatic~n myocardial infar~~ion

       Q. ~oui~e was admitted fc~r FEG tube placeri~ent. Un the evening off' 12127!11,
          Louise tad an episode of pulseless ~lecfrical activity caasin~ ca~'diopulrnvnary
          arrest. She underwent A+CLS resuscitation vvitk~,cardiac axed p~xltnr~na~y ~hyChms
          retuaming but not der mental status. Louise ~r~s admitted #o the ICU with
          ve~.tzlatoz~ s~.pport and a vary po x p~agnosis. The ~arnily changed her eardia~
          states to ]~o Not Resusci#atelcamFort cax'e. The dam;ly decided to take her off life
          suppar~ end within 3Q minutes after that ~..auise ex~ixed on 12128111,

       ft, ~uppnsedly ~,ouise had a fractured Ttioxaeic 1, but no radiQ~ogy r~pQr~ availably
           to can~i~rrr~.

       ~. Dr,l~uxz-aaai's misinterpretations of ti~~ p~r~-opez'ative diagz~osts`c cannot determine
          due to the unava~Iability of written rac~iolagy reports.
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        T. Dr. Dtu7ani performed ane surgery on this client:
    104170 - Suxgexy ~a West Chester Medical Center
          PR.~QPERATIVE ~PnSTQ~ERATIVE DJAGNOSES; SAME
       r Cervical spiFial stenosis CS~C6,~6-C~
       r T~.~racic insuf~cze~icy firactu~ed ~'J.

         ~'ROCEDLTRES:
       • Ant~r~or cervical discectomy at ~5-CF,Cd-C7
       • 1~nterior cervical fusion using; autagraf~ and allog~aft CS-C6, C&-C7
        « Flacem.ent ofanteriax x~terbod~ cagy GS-GG, C6-C7
        ■ ~Lntezic~r cervical inst~unentation C~uC6, C6-C7
        * Thoracic kyphoplasty Tl

    1Vt1 ~Y[,fOl~mec~ Consent avatlabte   to c~nf~rm pt~creedures cQns~ntec~

        U, INFUSE a~ad ~oa~ ~~oact ~it~ss was used d~ari~ag su~~ery,

       'V. 1~'l~e following har~.r~are vvas implanted;      .
           1— IlVFL7SE ~o~e graft ~S D.?ml — Me~lt~Qnrc Inc ~ofam4~~
           1- Foam Bioact Vito~s Pack Sc~ — ~rtho~vi~
           1 — l~~ix Kt Bone Cem Mx K,yphx Hv-R — K.yphon Inc
           1 — Ccm Bone ~-Ii Blln Kypi~ Hv-R — Kyphnn Iris
           3 -Screw Ceav SU U'niplt 13rnm Tl — 17epuy Spine
           I —Flt Ceiv IJnipl~ Z LeY 40mm Tl — ~}epuy Spine
           1 —Cage Cery Bengal ltd 7D 7mm — Depuy Spine
           1 —Cage C~ry Bengal Std ?D 8zzaxn. — Depuy Spine

        1Ti~. Qfif-babel Use: It ~~+a~ a Smifh~R~rbznson appxoach.

        ~. T'he dparative Report was dz`cira.#ed by Dr. Dur~an.i on 21131I I ~1~~ days Iafer} and
           verified by Dr. l~urrar~i on 6121!11 (270 days latex},

        Y. Theme was no famed hardware.

        ~. Client has seen subsequent treating phy~ioians in tote Emergency Room an
           nurrr~ert~us accasior~s ~s z~ted abQVa,

         AA.      A.acarding to Louise's sr~n, Stevan, she iaad not haen out of pain since the
           day ofsurgery and on pain medication until i~he day she died. L~auise ~~,pixed on



                                                      5
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      $H.        Lau.[S~'s san, Steven, vvarites ada~.~antly that he Gaels the Duz~racii surgery
        (II~T.TSE being used in the c~r~ical area, not FAA approved} was tk~e zz~~t~al cause
         Qf his mc~th~r's demise. Steven and k~i~ ~is~~r, Sher~ri~ kt~d a great deal oftrust in
         Dr, Duz~~ni that he knew what was hest fox their mofiher. Dr I]ur~ai~x h~~. sf~,ted
         she would_recover quzc~y because axe was going tt~ do a ~.i~niazally invasive
          prncecluxe.

      CC.        Perlis they a~~e ~t~xr~ct ~~ ~ievvi~g the suxgery as the i nitial cause
         especially since she d~velaped '~QCaI ~Qrd paralysis and dysphagi~ which led to
         her ~veight Ions and genex~lized uzeakness which pra~ressively worsened ~s the
         months p~,s~eC~. 'I'b.e cnns#ant pain. ~et~uxxi~ng p~xrn rrX~di~c~.tion vvt~ich altered hea
         menu status resulted in depressit~n over tie whole si~uatioi~. Louise had st~t~~
         in her ~~,assessment Qf 1015/l 1 that she vas as~,ed if s~Ze wantad to die ar~d
         Louise xespanded yes.

      I)I~.       Steven and Sherrie states that no one ever quastianed Dr. ~}u~r~ni's
          surgery being ~ ~~.use Q£'the vocal cord pa~~tlysis and the reasa~z for the continued
          ~ai~„ No one ever laQfihered to e~X~z~a to th~rr~ what TIA"s vl+ere and what kind ~f
          darzzage ~Zey can cause. Stever and Sht~rt~e are still questir~ning why ~~ir rriather
          ~~d to experience sttck~ ~~ir~ far so many mflnths atsd ended up dying such a
          miserable dean,.

       t3, Based.upon my r~~iew,th.e foll~~ring are my opizzions based upon a reasvnab~e
           degree of medical certainty pez~t~ining to the s~e~viatxon in standard o~ cttre or
           n~gfigence,ittfa~rmed consent, bat~~y and fraud claims ~gait~,t Dr.]~urrani, CAST,
           West ~~iester a.~d UC Health which proximately cat~ad I~a~x~. to Flafntif~

           A. Deed to have ad~litio~ral surgery to repay pz~ablems created by Dr, Du~rxani

           B, Tmplanta~inn a~I'ur~gen without ~nforixz~c~ consent

           C. Implantat~o~ o~'BMP-2 v~ithout inf~rmsd consent

           I). Failed 3~ardware

           E. Failure to obtain proper infs~rmed consent far surgery

           ~. Failure to pxavide acieq~ate and tlaoraugh pre-npexative end p~a~t-operative
              ~a~~i~nt surgical education

           G. Failure to prpperty post-op monitor tha patent

           H. Failure ~-~rapet~ly ~~fforrn fallow up, pOSt-op Caxe
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         ~, Ne~i~~ent surgical teciu~iques

         J. Fa~Iure to matntaa.n ~.c~urate and carnplete sux~ic~1 records and surgical
            consent foirn~

         K. ~aiiure to disclose int~port~it health information to patient

         L, Failure to nnaintain acid coz~nplete discharge surrxmary

         Iii. FaXlu~re to sl~p~rvise Dr. L7urrani

         N. 1~1egligent pre-surgical dia~na~~s

         O. Failure to pre,~aru a tirn~ly operative report or ath~r s~edical record

         P. Billing far services ~~~ c~rnpleted

         Q. Not infarnung t ae patient anothex surgeon wzll t~~ t~aing al'1 or dart oftea
            surgery

          R. Practicing autsid~ Dx. I3urra~,i's scope ciftraining, education, experience, and
             Board oerti£'i~~.tit~~as

          S, T~~vi~tx~n i~ s#arida~~d ofcage

          ~', Failure tv ~~rfarnz ~ort~ug~i and accurate pre-op nonsurgical evaluation

          U, ~'aiture by ]7r. Durr~ni to infozm patient of addi~iona~lcha~ged procedure ar~d
             reason

          V. Failure b~ CAST to disclose adc~itionaUchanged procedure anti reason to
             pat~e~it

          W. Failure ipy Dx. ~7urxani at CAST to ~ro~eriy educate patient z~garding
             diagnosis

          X, Pz~ac~~ knowledge of passible complicatxo~ ~t~.d not acting ~aroperly upon. s~~aa~

          Y, ~'~iiure to discl~s~ p~rti~aent health. irz~armatian to aaaothex health caxe pra~vic~ex

          Z. ~raudu3~nt,z~~gligent anal reckless p~~operative work u~

          AA.     Frauflulent, negligent and r~ckl~ss si~r~ezy

           ~B.    ~~aaceu~ate,fraudulent, a~i+~lar exag~e~r~~it~r~ of diagn~sas

                                                    7
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         CC.      ~ailu~re to prflperly educate pat~~~xt regarding diagnoses

         DD.       FaiEure to attemptnog-surgical can.sex-v~tive treatme~.t

         EE.      Failure tv perform thorough and accuz'~.te pre~op n~nsuz'gxca~ eva~uatio~.

         ~'F. Failura by Dr. Durxatai ~.t UCl'W'e~t Chester ~a~pitt~l to perform acc~~rate ar~d
              complete ~rceope~'atzve tea~riing

         GG. Failure by Dr. I`}urrani at UCIWest Chester Hospital to properly educake
           patient regardazig diagnoses

         HH.       Fail~ue by Dr. DuL~ani at UC/jJ[~est Chester Haspi~tal to rt~arntair~ a~curafie
               ~r~dlor cvmpl~te medical records

         II.      Failure +~finformed consent ~y DY~. D►.urani at U~l~est Chester Ho~pitat

         JJ. F~.iltiu~e of ~[TC1V+1est ~lYester Hospital fio insure Dr, Duri~aty. anal CAST had
             obtai~.~d proper inf'o~~ned ~onsen~

         ~.~. Failura of~J~l~N'est Chaster S~o~pital fo Qb~ain proper ackalowledg~ment
            bf ct~nsent

         LL,Failuxe by Dr. Dur~ra~ai at UG1t~'est Chester I~ospita~ to disclose pertinent
            ~h~a[tri inf'at~ax~atxoz~z

          1VIM. Failure by UCIWest Chester Health to disclose additionallchange~i
             prt~cedure end ~ea~on tQ patient

          ~I,      Failuxe b~y UCI~'tl'est Chester ~~alth to supervise staff

          00. Faaluxe by '(JCf~JVest Chester 1vletlic~l staff to properly doc~ix~~z~t
            z~bnorcnalities anc~ follow up care

          PP,fan-approved hardware ~c~mbina~ions

          Q~, Dr, Du~ani made #'~[se and rn.at~rial miszepresent~.tions ofmaterial facts
            intended Ica rn~slead Louise Bayliss and canea~l~d xn~terxal facts he had a duty
            tv disclose. i.~~1~Na~f Ghes#er Health and C~iST concealed material facts they
            had a duty t4 +disclose. LQUi~e ~3ayliss vas j~sti~ied in relying on the
            rnisrepr~sentatia:n and did rely prv~irn~tely causing ha~~n tt~ Louise Bayliss.
            T,7r. T]urrani, Ct1ST, and UGIWest Ck~est~er Health intentionally mis~~d ~,ouise
            Baylis. Lo~.tise B ayliss had tk~e xig~.~ to c~xxect infot~nation,
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      1A . The testi~lon~, Facts a~1c~ e~~ibits of. Brenda Shell's Res~aonse to Mohan ft~t'
           S~unmary du~igment ~.n~ E~hi~its ~a same are a~pli~able to all the claims ~~~tinst
           Wesfi Chester• Medical ~e~ifer(WCiv~C)and [JC HealtJa for all claims, it~aludiug
           negligent xetenfio~, and c:redenti.~~ing bz,~~.~glit by PI~iE~.tiF~':

      15,       Based ~i~on my review o~`th~ deposition testimony,t1~e JCAI3D Y~equirerne~its,
            the N1EC bylaws and all the ~fr►farm~tian provided to am.e, X ~m able to adapt the
            ~ollo~vin~ opfnians relating trr ~ICM~ and UC Hea1t~ pex~t~ir~in~; t~ #lle claims
            against diem. WC1~~TC's and UC Health's ae~ivns aid inactions d~taile~l ii7 this
            affidavit pra~irnately +caused h~rrn to ~'laintiff. WCMe and U~ He~~1tYa axe bratl~
            beii~~ t~efex~encect when only ~]VCNIC is named. I bald tlae f~Ilawing opi~.ions
            relativa to WCIVIC and UC Health p~~ining to their conducf actfng through heir
            administration aid MSC, The tine period cohered is from the tune Dr.I3ua'x2~n~
            sought privileges priflr to WCMC opening in May 2D09 thraugki May 2D 13 vakzen
            ]ie na ~a~ger tad privite~es. In addition to m~ ~pinians,I set forth.facts I rely
            upgn. This xnclud~~ a~.l whzch I referenced that ~ reviewad. Tn a~i~ion to x110£
            the a1~o~e, ~ attest to the fQllawing:

                                                 ~'ACT,S

            1. According to Vest Chester's first Ex~~utzve Viee president, Caro] I~ixig, sloe
               did not e~cplore th.e "rumors" about Dr. Dl~zx-~ni's leaving Children's.

            2. Acct~rdx~g eo Loral King,the hospital tracked problem issues yet WCMC
               have fazed to produce the ir~orzna~it~n under goer xeview pxotecfi~o~.

            3, Ac~vrtling to circulating r~~xs~, ~~aet ~tnithy ~res~ts wexe ck~nged in the
               cornptiter to zx~.dicate t~.~ p~'ocec~ure Dr. Durrani performed after the procedure.

            4, Acc~~din~ to J~xet Smith, despite no one at West Chester never vsror~Cing v~it~
               Dr.I)urrani before, ~ICMC never ~hec~e~.~,~~. c~~t,

            5. Ae~ordizag to former University HQS~ita~ F'r~siden~(a U~ Heaitlx hospital),
               Brian G~ialer, hospitals face fina.~axal challenges.

            6. Accardir~.g to risk n~ana~er, I~~vid 5chr~allie, xisk management ~tr~~w Dtix~a~.i
               had issues.

             7.   A~GS5P~11]~ tQ T&CI14IO~aSt, ~'hornas Brawn, tl~.ere 'wex~ su~'~eo~s que~tianing
                  Dturani's decas~Qt~s to ~e~`arm surgery.

             8, According to nraedic~.l ata~'f director, ~'aula ~~a~wk, a policy called "stop the
                lyi~ag".teas implemented the same year end mon~ti they kicked out L}r.
                Dur~rani. This infers e parr envir~nm~~.t o£ ~c~~esty and disclosure be~ox~ this
                  ~3D~IG~.
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         9. According to Pa~l~. Hawk ~~d as the director of nnedi~al staff, money is not
            supposed to ~i~unp patient safety.

          ~. ACC01C~111~ I;fl ~t~U~~ Hc~WXC, S~]~ c'1.CI131]t5 ~}~~T P~Yf~FU 15 fOP ~105~71~'cll3 t0 ]?X{]teC'~
             ~~C~] Of.~7~T',


         X 1. Accardin~ to Paula H~.~vt~, she emits hospitals are interested iii vc~Iume,
             something L}r. Dti~rxax~z pxavxded fcsr'WCMC and UC Heaith.

         12. According to Mike T~ffexs, floe director offinance,they tracked Dr. Durrani's
            financial numbers.

         13. Accorc~n~ to Mi~Ce ~effexs, ~.e ~.dmits Dr.I]urran[ helped tl~e~z~, xn their tis~n.e o#"
             need.

          14. A~:cordiiig t~ Mi~Ce Jeffers, Dx, Dut~rani vras the highest money gez~e~atc~x.

          15. Accart~ing to Mike J~ffe~~5, h.e kneu+ I]r. Durranf }gad more thin a~►e sur~ic~.l
              suite assi~,~ed at once,

          ~f. Aceordi~g to ]N1i]ce ~effeYS, }onuses were paid to him and nfly~s based upon
              finance,

          17. Ac~s~~ ding to Dr. ~'eter Stern, he krietiv ~z. Durrani was oily "satisfactory,"
              not a world class spine surgeon as Test Chester advertised.

          18. T]~. Stern down°f deny a~,~xit~ing TJC H~~th l~u~ed fhe Q#bier way a~ Du~a~i
              b~ause of many.

          19. Accartting to ~redenti~li~~ ruanage~~, Ann Shelly, there vas plenty of"public
              ~rnowledga" ak~aut I3r. ~3urrani to checl€ before credenti~lin~.

          ~.0. According to Anil SheX}y, West Chester raliec~ on the NP~B they tcnew was
               protected by hospitals.

          2)., Dx. Erna Sci~neebe~~ger,I]r. Durr~ni's partner, vvas Qn the MEN at WCiVIC,

          ~2, ,~l~cor~lin~ to Eric Selinee~erg~r, West Chester Ecnew about Du~a~i
              ~chec~uling surgeries Iang x~aty tl~e ~iay ane~ night,

          23, According to fflrn~~x nLy~siu~; ma~iager, Elaine K.t~a, WCMC knetu al~aut D~.
              Durrani not oampleta~g ~~eco~ds.

          24. Acco~'din~ tt~ ElAizte Ktttiko, WCMC knew Dr. Du~rani would claim su3cgeries
              were e:nr~ex~e~ey when t~iey wire not.



                                                         1 f~
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         2S. A,c~arding ~a Ela~~~ K~ut~.t~o, WCMC 1€~Ze~ there vvaa an. issue with Dr.
             Au~ani not 1~~iz~g x~ the r~aam doing surgery on "his" patient.

         26. A.ccardin~ t~ Elaine ICunko, e~er~ the OR nurses kxaew WCIV,IC pctt up with
             Dr,Ij~~rc~ ~'nr rnnney.

         2~. Aecordin~ ~~ ~l~izxe I~unko, WC7VI~ tracked Df~. T~uxrani's ~nanoial nlzrnb~rs,

         28. Accordia~g to peria~erative clirectas•, LisaDavis,~ICMC knew Durrani°s
             office is supposed tc~ het consents sa V~GMC hid an obligation to male luxe
             they did.

         29. According tti dill 5tegrnai~y the Fisk manager ~~ ~1est Chester, sloe knew
             Durrani had "issues."

         30. ~i115te~n1aY1 cvnfi~xa~s Gerry Goadman's cflmplaints.

         31. Accardit~~ ~;o I~ath.~ H~.ys, ~TCMC knew ho~v Tar. Durrani used BMP-~ and
            PureCx~n.

          32. Dr. T~~n I~~~~nchett, the Lhief ofthe Orthopedic de~artinent,failed to d.o kus
             jc~h under the MEN bylaws as it related to the 5upexvision a.r~~l review of Dr.
              Durt~~ni.

          33. Acccri~ding tc~ Tyr. Tim I~r~mchek, he Ecxrew Ur. l~uz~ani was "s1oP~Y."

          34. C~.~V1I1 T65£]]I~, t~~ CEO trf W~MC,c#airris to know nflt~iing about stugery
              opexatioz~s in his hospital.

          35, K.eviii Joseph,the GEO,claims a hospital rust protect patien#s from
              tuui~~~ssary harm "a~ much as they can."

          ~~i. I~.evi~ .~osaph, the CAD,claims WC3vIC does7i't have oversight a#'suz•geans
               doing w~a~ Plaintiffcl~rns Dur.~rani was doin,~. (Tlespite what Otis bylaws
              state.)

          37. Kevin Jos~phy the CEO,denies the bcrspitai has any respansihi[ity i~'D;r,
              D~arrani did aa~ i~na~.e~ess~y ~uxgery.

          3S. Kevin ,Tosep~,the CEO,despite his finance affi~e~ tza~king it, denies any
              know~ed~e ofBLIP-2 use.

          39, ~.evin Joseph,the CLQ,denies l~zowi~g a6~ut any carnplaint~ abat~G Ur,
              Durrani.




                                                ~1
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         4~. Kevin Joseph,fihe SEC?, ~.dmits ~liey benefited financially from Dr. Dur~r~tax,
             including his own pay,

         ~ I.Mark Trtrza~ba, tk~e ~~t n3ana~er, a~lmi#~ BIVIF~~ use as used by D~•. burrani.

          42. Accardiiig to Toff Dral~a~ik,the ~eilior T~eadexship team, 3ncXuding Joseph, rnet
              weekly and reviewed numbers.

          ~,~, According td ]offDrapalik,the ~F{7 of V~CNiC kn~~v Dr. Durra~ax was a high
               volume money maker.

          44, Lesley Gilbe~'LsQn, a member' o£t~ie AiIEC of VLTCMC, ttnd an~sthesic~logist
              u,~oxki~.g with Dw~ami, had a concern about hew la g DurF~ani kept patients
              u~zder.

          A~S. Acec~rdi~a~g to ~~aatexzaJs ,s~~anager, D~~~ni~ Rabb, VJClU1C knew the volumes of
               BMP-~ being used.

          ~6. Accorci~n~ to K.a~~en Gk~affaxi, WCM~           w~v the chart documentatipn ofDr.
              Durrarii was zaat in c~~plxan,a~ ~rx~kh tiheir bylaws.

          4'l. P~txiek I3~ket', ~aursi».g ~~' at V~'~MC admits'~ICMC tracked the financial
               ~pe~'f'~xma~.~e ~►f pr. Durr~ni.

          48. AGGardzng to ~~rse,~licki "~~ott, tl~e administration of WCIVIG ~a~w £xc~~ tk~e
              outset t~f Nest Chesfier all the serious issues ~ext~xrifng to fir, Dunrat~.i,

          49. Accflrdii~g to Vicki Scott, west Chester's rzs~ mana~ex began ~o ignore
              complaints from Ms. Scat,

          ~D. Acco~'di~g to Vicki Scott,s#aff'wa~ scared to speak out.

          51. ~ecordie~g #o Vicki Scott,Patients didn't knar~~ who did the surgel~.es—Shand
              or Durrani.

          5~,.A.ccoxdi~ag to Vicki ~~ott, records vt~ere not aa~urate who was in t~.e OR at
              whit t~r~.e.

          53, t~,c~nrding to Vicki Scott, every~n~ of WCIVIC kiaew it was ab~a~zt rnone~r.

           S~. Accc~rdin~ #o ~~licki Scott, WCMC knew about Dr. D~rrani's and Test
               Chesfier's illegal use ofPureGen.

           55. A.ecoa•ding to Vicki Sct~tC, Dr. ~ur~ani was ~. behavior problem.




                                                 12
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          S&. A~co~~tling to patient repf•ese~at~,tive, Elizabeth 7~ean, WCMC tracked Der.
              Auimani's volumes from tl~e outset and tt~e CFa laved w~.at he saw,

          57. Acaarding fo Elizabeth T]ean, V~CMC knew I]r, Durrani had issues at
              Clulclren's.

          58. ~Lccorc~in.g tq E~izab~tl7 dean, WCMG l~new Dr, Durrani was per~ormin~
              ur~leoe~s~~y prooe~luxes by voluaxaes ar~d repeat,

          5~, According t~ laurs~, 5catt Rimex, VVCMC l~new Dr, Dut7'ani waited until after
              suxgex~es to flocument what procedures were planed.

          60. A~~ordin~ to Sett Rimer, pa#i~nts a# ~CMC had prooedures they chid ~~t
              con~enti t~ and WC1~IC knew it.

          fl. According to Scott ~icner, sterile fields wexe nit ~rote~t~d.

          62, t~c~arding tra Sett Rimer, WCMG knew PureGe~ ~nras being used by Dr,
              Diurani and allowed it,

          63. according to '~`k~on~as Blank, ~'u~'eGen was axa. alternative to BMl'-2, which
              ~CMC t~n~d t~ based upon x~sux~ce de~nxals o~BMP-2. In addition,Dz.
              Durca.~i operated a~ u~aetka~c~.l PAD of~lphatech called E~c~lutz~~ Medical to
              sell ~'ureGe~ to Vilest Chester,

          d4. Accardin~ to Gerry Gaodmatl, V1CMC traci~~d BMP-2 use ~Sy fir. Dur~ani;
              ~?atients did nat lrnaw wha at times performers their surgery Dr. Shanti or I]r.
              Diu~rani; electronic records had to b~ changed ~e~ Bx.~i~ani's surgery; Dr.
              Durrani az~.d. ~CMC never obtained i~a£o~ri~~ coansents; ~3r. Durrani's volume
              was ~.'warning ~,g~ off' ov~'ut~lx2afion. 4~et~ry Goodman reported all these
              caz~~ez~a.~ ~o WCIVTC and tfie~e vvas ~o potion. Gerry ~oodtYtan was told and
              ~oualutlec~ that WCM~ chid not want t4 do anything abort L~r. D~rrani because
              of money rewards.

                                   ADDIT~UIV~AL ~]PINIO:I~S

          6S. Tlae Cuter of A.d~vancec~ Spi~~e Technologies(CAST)negligently supervised
              aid retainer! Dr. D~~rrani, including by ~IIv~ang Dr, ~3uzrani to perform
              u~uieoessary pz`o~edures and surgeries; ease BIvtP-2 an.c~lar ~ureGen without
               appropriate coz~s~nt; fai3ing t~ discls~s~: Dz. ~hant~ and ot~.~xs inva~v~~.en~ in
              surgery; impr~pe~ bxl~i~ag; changi~t~ the ~~e-off and pt~st-gyp records to coincide
              when the suxgery was got the s~~el.~y disclosed; artd all other candu~t detailed
              in the dacurnents ~ reviewed.

           66. ~VGMC,UC Health and CAST'~ moti~~e fox #k~~ir acti~res and inactions
               tt~u+ards Dr. Durr~tz7i was financial gain.

                                                  I3
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         67. Thy ~v1~~, administration arcd Boards of~VCMC aid UC ~-Tealth failed. to
            `°gaverr~ the affairs of the Medical staff,,,

         b8. The IviEC, administration and Boards of'~~MC ~n~ ~f TC ~Iealth failed tea
             et~arce heir ri.~les upon Dr. Durrani as they were xequirec~ to do.

         69.`Fha MEN,adrninistratian and Boards ofWCMC ~~.d UC Hea~t~ £~.il~d tc~
            pravi~ie ov~xsigh# of Dr. Dunar~i as they were requa~et~ to dc~.

         70.'The MEC,adrninis~ta#ion and B~ar~l~ of W~MC and UC Health faded to
             properly e~Valuate Dr. Durrani.

         7~. the tJ~~ope~.ic and Surgery Departrnertts abdieatad their responsibility w~.dex
             tk~~ MEC bylaws to review, intresti~ate anc[ su~etvise fir. Durrani.

         72.'~'~e MEN,a~ministra~ian a~ad Btiartls of~ICMC and CJ'C Health famed to
            ~~rnp~rly discipline Dr. Du7~rani incl~,dix~g summary suspensions and
             ~'~Yb~~.tJ.DI~.

         7~. The MEC,ac~ninist~ation and ~~aads a~ V~CMC and UC Health failed.tv
             pxoperly tliscip~ine undex t.~~ IIfIEC bylaws asYit pertains to Ur. ~i~xxaa~.i.

         74. The MEN,admini~~ratian Find Boards of V~CMC and UC ~ea~t~a rg~rared the
            infaimatiQn ~ad~y mailable pertaining to ~}x. Aur~arzi before credentialing
             ~.nd granting him privileges.

          75. `I'lx~ ~vIEC,administration and Boards t~f V~CMC and UC I~ealtli failed to act
              on Dr. Aux~'~zai's dzst't~tive be~aviar, unprofessional behavior and clinical
              ~~~'o~rmance placing Plaintiff'~.t riak.

          75.3'he MEN,acUninistratian end Bo~~ds of WCMC end TJ~ I~ealth c~ttifed aril
             ~ppr~ved tke utuieces~ary p~rc~cedur~s ofDr. Dutrani on i~laintiff knawin~ they
              were unnecessaxy a~ac~ k~rio~ingly allowing the i~rxpxoper c~s~ a;f AMP-2 andtar
             Pt~reGen anal kt~,awing tbe~'e v as not proffer informed consent.

          77.'~'he IVIES, administration and Boards ~+£ Vt~~MC ~x~d UC He~fh Failed tp act
             an Dr. L7ur~~i's failure in medical record dooumerAt~tzon,

          78. The MEG,administratia~ aid BaaTds of'17VCMC and UC T~ealth foaled to
             require Dx. ~lurrani to £allow the rules for offlabel experimental procedures.

          79, Tk~~ MEC,administration and Boards of WCMC and UC Healt~a allowed Dx,
             I3u~rani to use undisclosed and ungz~aXx~ed sur~enns to per£c~rrn his st~gerx~s
              including Dr. ~hanti.


                                                 1~
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         S~. The MEC,administ~'~t~a~. acid hoards of~CM~ a.1id UC ~-Tealtk~ allowed D~,
             Durra~ti to do rnulti~la surgeries at once.

         81. V4xC1V~C and U'C Health navy ~re~itsed to pro~id~ as pri~vi.leg~d fh~ pear review
            in~vx~~tion from ~CMC far fir. Uurr~ni to ~ilher me or theix yawn expert.
            'Z'k~~~~efare, we hate ~o knowle~l~e t~f v+rhat action, if any, was talon against
             him, S~owe~rer, based upon the faat~ here, it is obvious ~~ey faiI~~ to t~~
             aC~14S~.


          82. based upa~ all ref the above, it's nay ~pinio~ tktat t~CM~ a nd UC He~~th ~rere
              n~gli~ent in their credentialing, sup~~-v~szng, ~iseiplining ~,nd retaining Dr.
              Durrani an staff and allowing hiir~. to obtain anc~ keep privileges a~ W~~C
              under the ~tandaa•ds 4t'Ohio as detailet~ i~a tb~ Brenda Sl~ell'S R88j74k1~8 ~
              Motit~ii for Su~unary Judgment anal this p:roxz~~tely caused harm to Fl&a~ti£~'.

          83, Tk~e facts su~pait Lotuse Saylis~'~ claim fix negligence, ba~ex~,lack of
              aonaent end fraud.

          S4, As a result of the negli~ei~.ce astd GQndu~# o~~z~, Dtu~'ani, GAST,'4~'est Chester
              aricl ~.tC Healfib, Louise Bayliss suff~re~ da~ag~s proximately caused by them,
              including the foliQwiz~.~;

              A. Fermanent disability
              B. Physical deforr~ify and scans
              G. Past, Current end Future Physical and Mental Fain and buffering
              D. Last income ~aast, prese~~ and futut~;
              ~. Lass of ~njayrnent off'life
              F`. Fast medical expenses
              G. Futu~'e med~eal expenses appr~xirr~ately in th,e amount of$SO,OUO ~c~
                  $250,OG0 depending a~ cnurs~ aftreatr~tent
              H, Aggravation of a ~r~-e~xst~ng condition
              I. Decreased ability to ~~'n income
              J. 3°~a increased xi$lc Q~ caner and fear of cancer if k~NtP-2 tivas used.

    AFFIAI~T SAYETH FURTHER'i~1{~T



                                                 KBITH D. V~LKE         M,D,


                                                 ~QTARY




                                                15
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   5~.7~SC~BED,uVi~O~tN TO AND .A~C~NC►WLET)GED before m~,a Nt~ttary Public, by

   Kith D. Wiley, M.D. on this~„cfay of1Vlarch X01~.



                                          NOTAI~.X ~'U~LZC
                                          My Ca~ssian ~xp.:

                                                       County

                                          State a£




                                           Ib
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                                        KEVd1V FIAR'I'NE~S
                                      AF~'TiIAV~T ~F MfERIT
                                         '~VE,~T CHESTER

          I,Kez~ L7. Wilkey,M.~7„ after beizxg truly sv~larn and cautioned states as follows;

       ~. ~ elevate at least one-halfof my ~xx~i~'essiaz~a~ time to the ~cfiive clin~ca~ prac~ie~ in my
          field of lic~n~ure,or ids instxu~t~~~ ire acs accredit~c~ schoal. 1 atn an orthopedic
          sl~geon ~hos~ facY~s is on spit~.e surgexy atad treatrne~t o~ these v~rith spine issues.

       ~, ~ mill su~~lerne~at this af~idavzt with gather,by a litter o~ by tesf3many, hasetf up,~n
          airy information provided ~o me after z ~~~u~.~e iti,

       3. My curricul~xrn vitae has heenpreviously pxovi~.e~.to opposing coiu~se~ i~a these Dr.
          Durrani cases oriel Gan be prQVided again uprm x~qu~st. Far my,review,I:rely upon
          my e~.uca~xa~.,traix~zz~g ar~d experience.

       4. I have not ~:ount~d. but I ~a~~ reviewed, over QUO ax moxe cases ix~volv~~g Tyr.
          Diu'rani and the haspi#als where he once had privileges,

       5. I base rn~ opinionsin part an my revrew of alI the cases I have xevierr~ed w~aic~ have
          reveaJ,e,~l. si~a~lar ec~nduct by Ur. ~urrani and ~li~ hospitals where he had pz~~leges,I
          eve also r~viewe~ binders provided by the Deters Laura k'xzm Which t~~e~ ~~~vid~d t~
          defense cvtxr~Sel.

       5. I am familiar with applicable star~d~x'd t~f e re £or Olio, T~:nfiueky and the e~untry
          for an orthopediclspine surget~n such,as ~3x. ~utxa~i,

       7, I am also faaniliar with applicable ~tanda~d of care, policies, ~`ules end re~tl~tions,
          taiedical ~ec~tav~ committee bylaws,JC1~Hd requirements;oredantialing,
          su~rervising, rete~.tx~rn t►~rn~tiical staff, granting and rejec~uzg privileges aid tke peer
          review p~roc~ss far West Chester Hospital,LLC,also referred #o as West Che~t~r
          HospitAl ox West Chester Medical Center and UC HeaJ,t,~,

       8~ I Y~av~ xevietived aI1 xelevaant medical retards including radiology of Dr. Durratai's
          medi~a~ treatment ofKevin Harta~~ss atad the m.~.ical tr~e~tme~t ofKevin Hess ~t
          West Chester,

       ~. Y have reviewed the R.~sp~nse to summary rudgment ~u t ae Brenda Shell case and
          all the ~e~iibits attached to it.

        10. 'I'~.e Center fvr Advanced Spine Technol4~i~s,Inc, was Dr. L?u~'~a~'s px~.ctice geoup
            and ~~ was ~h~ sale owner, dixec#ox and o~oer ofCAST as well as ~.e~.~loyee.
            BAST as su~.h is a.1sa responsii~le fox Dx.Dut~~t~.'s negligence aid fvx ~~.~ir failure to
             also supe~`+rise, ~scipline and retain Dr.Du~'a~i,
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       11, ~ have alsa ~revie~ved the nu~r~ing su .ary prepared by legal eaunsel's office for
           K.~VL17. Ha2'~T1~55. Based upa~ tl~e ~u~nrabex a£ o~s~s I've reviewed. perta7r~in~ to Dr,
           1~urrani, legal counsel°s of~'ice tcnaws what zazate~als I need to xe~xeiv and ~axa~vi.d~s
           me moose materials. Iii addition, while this affdavit cflz~ta~ns ease specific
           information; i~ atso contai~~s information relevant to ~.is oase a~idlar anany andlor
           most arsdla~ all the other cases. It is prepared for nc~.e by counsel with my direction
           aa~d. ~.p~roval Iike all of#hese have been.

       12. used upon ~aay review,the following are the facts I rely u~oii:

       A. Sevin Haziness was ~ 3~ year old, male, divorced, father offo~u,{one daughter
          ding at tree months old} oi~ the day of Dr,~ ~~ ~~St s~~~~ ~n sii ~~~ a.
          ~ev{n's chief complaint was excruciating pain o~ a~~ o£~'a~`ectin~ ius neck,
          ltrwer back aid le$s, The bilateral le$ rasiic~ulopathy was hurnin~, achy pain with
          pinss needles and n~.tnbness in right thigh and ~a sfa~bin~ pain info ~vs gains
          bilaterally. k3~th oFhis begs have buznin~ a~nc~ a~hin~ on the front and posterior
          asp~ts tad kais ties are numb biFaterally. Kevin d~scxibed the neck pain as
          s~ab'~ing, burning and achy sensation along wzth i~~ur~ing aching in the last triree
          ~iigi~s of his left hand ~t~~ dxop~i~►g thins as vve1l. Kevin rated his leg ~a~~. ~1~(~,
          middle back pain,9/la ~u-id neck pain 8110.

           PMH:HTN,GE~I?, r~iety,I?e~ressian, Kidney Failure as a young cY~ild, Hiatal
           Hera and Res~ess Leg syndrome,
           SURG HK:PE tubes

       B. I~evin had ~tl~ays l~ee~x ao~~v~ v~r%th hip ~.uzatzng and fishing as a young n~an. ~e
          was also active wk~~l~ z~ai~ing his t~r~e ahild~ren, k~.evin usad to wor~C ~ull,time ~r~r
          truer ~i~re years fc~r 7vI~rdock Carpara~ic~n as ~ builder of handicapped drinking
          fountains. during this employment Kevin herniated two disks in low~;r back by.
          lifting a four#a~.n base in 2~OS.

       C. 20D7 - Kevix~ was involved an aura accident rssultin~ in thoracic ~d Iutn~sar
          fracfiux~s. Ke~rin says he had unsuccess£~.1 ~ter~se physical t~ierapy, muscle
          re~ax~nts, TEN~a unit, back brace £o~ nine mo7rths and nerve 1~locks. Kevin stated
          his legs becana~ w~al~ a.~d kx~ did fa11. I~e~vin dick st~t~ tie lumbar surgery did help
          hixn to walk .gain alt~augh Tyr. Durrtan~ chid ~trt in~ar~n hint afthe etlucatianal
          as~ectslrisl~s cif using IItitFU~~ during fh~ surgeY~.

        I], 7/9110 -- Tai a 1~#ter to DY. G`UE"~t3 B. EV~I'SDI1~ PCF,Dx, Dutrani states fne ~.ad
            reviewed Kevin's aervica~, t~~oracic and lurrAbex spine x-rays. Sep details below in
            ques~on #2.

        E. 711~I1Q -- MRI Cervical S~rirae vvlc~ Contrast{a {open MIDI of Eastgate

                                                     2
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         ~indin~s; `I'l~e C2-3, C3-4,~4-5 or CS-6 show na evidence of tlisc hex`n.z~tian or
         spinal sten~osis and aneural ~'oranuna are J~tent, ~7-'~'1 and TI-2 levels are normal,
      F. TEie C6-C7 level shows a small right ~Saracen#~'al subligamen~ous disc ~►erniatic►~,
         indenting the anterior aspect oftha fihecal sac. Thy neuial foramina are pat~~t.
         (Included)

      G. 71~ 9110 -~ MRI Lu~ibar spine wlfl contrast cr Open M1~T ofEaskgate
          COTtG1l~51OI1; ~hr~nic anterior  wedge compression fractu~~ of LI
          2} ~ra~d cen~al subligam~ntaus L3-4 disc her,~ia#agn indenting the interior aspect
          of the thecal sac. 3} ~ma11 c~rttral ~ubli~a~nex3.tous L3~4 disc herni~tiat~ indenting
          the a.~tecior ~specy of t,~e ~hecar sac.

      T~. 7119110 — MRI Thar~cic Spine wla C~x~tsEst c(~r open MRT a~ Eastgate
          Conclusion: ~7iac desie~atian, concentric bulging ofthe disc ~~d a le£t-sided
          protrusia~ at the T8-9 level witk~r~ut e~xde~ce of frank e~t~usion at his level and
          ether situ d~`tho~a~cic disc herniation ar th~ra~x~ ~pjnal sf~n~sis ar thoxacic acrd
          co~ap~re~sxon.

      I, 712~f1d —Kevin k~~d sn nf~ice visit wXtlt Dr. Zeesha~i Tayeb, Pain ~a~~gement
         Speciali~fi, to be evaluated for pair co~.txal mariagesnex~t, ~t v~ras explained ~o
         Key~n regarding the Opiaxd Safety and Risl~ ,A~ssessme~t Protocol and he would
         ns~d tt~ szg~ ~ Clpioid ~LgreerneiitlCan#ract with the Clinic vvh7.ch stipulates that
         he engage in pain manageme~at modalities other than narcotics ala~ae ~fw~uch
          Kevin agreed.

          $/1 pf~.0 — In a letter to Dr.1l~icheal ~hunn,l7r. Durrani stakes Kevx~'s MRI
          showed a very large disk herniation at IMF-L5 and L3-LA~ along vvi.th si~nifi~ant
          dish degei~eraticsn and Iisthesis at bt~t~ of these 1eve1~. Also the nick MRI showed
          he had a disk h~rniatian at C6-C7.

          Dx, Dur~ani°s T~n~re~~ion:* Ltmnbar spix►al stenosis ~ssaciated with luzaal~ar
          s~ax~ri~lalistl~esis L3~~4 arxd ~4-L5.
          + ~'rogressive axed s~ve~re s~nptaans of neuz-o,~enic claudi~~tic~~.
              Back;pa~~n ~wi~Yi radicula-~ pain in bath lowet~ ~xtrerniti~s
          • Signifie~.nt £uxactaoz~a~ i~tlpainnen~
               t~nterolisthesxs o~ L3 on L4 and L4 on LS
          + Central and 1~ter~I recess ste~osis l~ilat~rally at L3-L4 and L4-LS
          • Fail,ure of cansezvativ~ #reatment for z~~ny years.
          Dr. Durra~i reco.~~aded a Ium~ar inter~~c~y fusi~tl at L3-~4 at~d L~~L5 wifih
          bilateral ~rocaminotom~ and ~osteric~x spin~.~ ir~stz'~mentation. and fusion.
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      K. 81~~I1fl — In a let~ex to r3r. Everson, Tyr, T~tyeb states Kevin continues to caznplain
         t~f ~~hing,sham,stabbing pain in the Lower a~rvical spine associated with
         numbness and tingling in his bilater~.l. upper extremities, He xated his fain at
         ]OIL Q. K'.evin an~1 I~r, Tayeb addressed ~iia moad dist~~rder ~ss~ciated with.fhe
         ~aain aid Cyzxlbalta was darted daily,

       L. ~1~110 ~ In a letter to Inc. Micheal Ck~~n., Dr. Durr~tZi states Sevin was in far a
          repeafi e~aluatit~~ ~.nc~ pxeopexatzve discussion for his u~corniii~ L3-~.4 atad L4-LS
          DLTF with ~ost~~~ior s~iuial. instzu~ne~ta~ion ax~.d fi~si~~• I~~evin was scheduled far
          #1 sur~er~ a~ 911711.

       M, 9f711~ - ~~n a lever to fir, Bverson,I3r. Tayeb States I~e~in was evaluated as a
          moder zte risk per opioid ~rotacol. Kevin is stable fln Neuratin and Cymbalta of
          w~~ek~ h~ fieels his znaod is better and his pain control is letter as weld. Ke~~
          ~oi~tinues to cafn~Iain of pain in low~z'Ltz~nb~sacial apiti~ Lion-radiating zn nature
          with intermi~Cez~t spasms fiarri time to ~irne along ~vxth lowc~ cer~ioa~ spine paid
           with nu~~n~ss and tinglxz~g in dais bil~,t~ra] upp~~ extrem,iti~s, Pain rated 1 110.
           Kevin had an Opioid Ag~~ement.

       N. Kevin stags he told Dr. Duz-~aui p~rstapea~afively th.~ ~?ait~ was ten tunes ~ar~e than
          it was bef4xe tie lumbar surge~~y~ Dr. T~~r~as~i tended to ignore that ca~aplaint of
          pain and ~ep~ fncusin,~ a~ ~.e next i~pcomita$ s~~xgery, Kevin oo~ntinued to
          cvxnplain to Dr.i~urr~ai regarding his neck pain.

       O. Kevin sags Dr. I~urrani told him if he didn't have tie neck surgery, his condition
          ~auld cause ~uinbness ar~d loss of use in his arms and eventually ~~uld.end up
          vvit.~ ~. ~~z~~re c~isaxder. T~e~+in agreed to tale second surgery being on his Week.an
           3123111.

       P. S2I2110 — Lumbar Spine tk~ree~ views cr? ~i~sium Mercy C~e~a~ant
          Im x~ essic~nTD~sc surgery from L3 tl~r~rugh L5 without e~vid~~t compli~ca#io~. Odd
          mild d~fo~xnity ot'the Ll ve~~ebral body.

        Q. 121I511.~ ~ It7 a letter to Dr. Michegl ~htu~, ~Jx. Dui~anilJamie MQOr,PAC,states
           Sevin had xet~trned far his three month post-aft visit and ~e was doing much
           fetter but captinned to have st~~ne rift thigh pain cif which he ~4r~tinued to use
           the hel~£ul pain cram. He is $till on Dilaudz~I and Pex~ocet prn a14ng with
           Vali~ain, Neurotiz~, Robin and Colace. Keen ~~.ted hip ~aib 5-7110.

        R, 12116!10 - In ~. letter to Dr. IvT~ch~al Chui3n,fir. Durrani states K.e~i~ was doing
           eery well and he ]aad ~przap~eted pk~ysical therapy ~re~~mex~.


                                                   4
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      S, 1113111 - Zn ~ fetter to Dr. Everson, Dr. Tayeb states ~.~vin way educated about
         the benefits of goiaa~ t~u•ough some cognitive ~ehar+orial therapy which is an
         ~ngQit~g prt~cess that d es tirn.e.

      T. ~1171~ ~ - Zn a lett~x to Dr. Micheal Churn,Dr. Dt~'rani states T~evin was ~n far a
         repeat evaluation aid preaper~tive discussion ~f his upcorm~~g one 1e~e1 ACI~~'•

      U. 416111 ~ ~n a letter to I~r. Micheal ~hunn,Dr. Durrani stags T~evin had returned
         for kris fwa wee~C ~QStaperat~~e evalt~ati~n v£ a C6-C7 AC~3~ done an 3123111
         i~.dxcating that ~e was very sti~'~ and restricted in Ynation. Dr. Dtur~tti st~~es
         Kevin's headaches, awn and n~cl~ pair. axe gazae but his main cvm.plaint was
         having same inteesca~ular pain and stz#3fne~s with diff'icult3T s~e~ping. H~
         continues #orate his pairs ~e~el fairly high.

       V. SIB/1l. — Tn a letCex #o Dx. ~]~u~ra~ni from Frederi~~ A. Oliver,PT,states ~S.ev~a
          continues to complain of significant cervical pain a~~d restrictions in his cervical
          xange of matxbn especial~.y to tie xight~ I~e~vin rating his ~aain 9~1~11~. FercQCet
          reduces the intensity of his paa~x a~o~g ~ri.t~. tu:t~iz~g his knead ar doing side ben.~is to
          tie right. The PT ~laz~ vas to work on improving his upper baciy strength azxd
          tole~'ance to activitias. The ~tec~tcnent s~~vu~d lasfi for $weeks including
          ~kierapeutic e~e~cises, #.lte~apeutie activities, ma.7auaX ~k~erapy te~hnic~ucs,
          ~eurotnusaular reeducatxa~ a~.d m.odalities to ~d.dresg Kevin's paaz~.

       ~1'. 5122f~ 1-- ~ervica~, S~xne 2-3 Views @ Ni~r~y Clern7ant
            ~zx~px~ssio~: Status post cervical fusion ~t the C6-71eve1. Na acute bvmy
           a~narrnality ~r k~axdware c~rnplieatio~a xtlenti.~ed. Nn si~i~ca~at de~nerative
           ~lriange elsewhere within th ~ ~e~~uicat spire.

       ~, 7/7/11 - In a fetter tp Dr. IVlicheal C~7►~n, Dr. l~ux~z~ai states Kevin 1~ad retuened
          fc~r his three rna~th past-ova evaluation of a C~~C'~ A~D~'but he Baas stir h~aviaag
          neck pain. I]r. Du~rani inft~z~~1 Sevin ~x~ ~vauld hake ts~ be under the auspices o£
          a pain.rnana~e~.e~t physician in order t+a r~oeive hxs p~i~.rnedi~atiozas. In tl~e
          meantime,si~~~ he only completed tine session ~ftherapy he needed to ga baGl~
          to physical therapy for stxen~hening and utxli~e a TENS ~.if.

        Y. 8!L b111 - Tn a le#tea~ to ~Jr. Everson, T)r.'1'ayeb states Sevin had been in for an
           ~~alua~ian which indicated his ar~.~► pain was mast consistent with damage tv the
            cervioal z~exv~ roots az~d its c~istri~aution. '~~e k~xstory aid ph~szc~.l ~.am provide
            inc~nsister~t ~inding~. To res~aly~ this issue T.3r. Tayeb sug~~sted T~evin:
            • Undergo a selective nerve rcaot block Ioolcing £or concordance between.
                anesthesia and pain relief, If t~.e pain is completely relieved on.two o~easians
                by anesthetizing a specific d~z~rnatame,tl~e~ Elie d~a~.wsis is reached ~i#h 8S°/u
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            certainity. A second E~Z for at~diti~ve e~f~cts, and a RF pro~ed~~re maybe
            inc~iGated i£#he sterozd pxoves effective lout is short lived.
          • Increase Percacet 5132Smg from BID t4 QIl7, Rc~B discussed
          • Myafascial Pain —treat above ~~~st
          s Mood dlo secaz~d~'y 'tt~ pair — ~agnitiv~ 1~ehav4rial therapy, increase
            ~~~aalta to 60mg QT~,1~&~ discussed. RTC T mo~atka

      ~. ~1~31X 1— 7n a tester tQ Dr. Everson, Dr. Tayeb states Kevin was still complaining
         oflbw back and Ieg pain along with peck pain radiating ixa~a his bilateral upper
         e~tretsiities with shootir~~, stabbing ~aius and i~urnbness and t~ng~ing on #fie lei
         side worse than the right xatin,~ it as 9110. After discuasio~ MS-Cahn was added
         along wilt rests ice, heat and znaditatinn is giving him a ~5-30% relze~'of die pain.

       AA,      9/28J11 ~ In a letter to Dr. E'~verson, Dr.'Tayeb statt~.:s Kevin stopped taking
         the MS-Contin dui to ~.e zaausea it caused. Kevin says his tnQO~i leas i~een going
         dawt~iill so a~i ~SRT was added.

       BB,         1~i7111 ~ Tn a letter to Dr, Everson,Dr. T~y~b states ~.evin was started on.
          an~tber opioid w~.xcka ~rr~~de ~,~m so ~aau~~ous he stopped #alffng it and continued
          wii;~ tk►~ ine, heat,rest and m~ditati~n. ~e raked hEs pain 711 ~.

       CC.        i~I21l1 I - I~ a letter to Dr, E~~rsvn,fix. T~yeb s~at~s Kevin cantznues to
          cozxaplain of lo~v back a~.d deg pain and neck and arm pain. The Dur~gesia P~tc~a
          enabled k~xxn to sXeep beer and his basic can~rol ofhis pain is bitter cvntrvlled as
          well.

       DD.        17.II8111 - Tn a letter to Dr. Everson, Dr. Tayeb states ~.evin's chief'
         complaint was pastexiax neck,low baci~, right upper extremity and right lower
         extrern~ity pain rating his p~.in SI]0 today. Kevin°s 1un~~actin~ apioid medication
         was slightly increased.

       EE.11Y I/12 - T~ a let~ex to Dr. Everson, Dr. Tay~b states Kevin oarnplains of
          significant amount of~nsterolateral pain iza hzs right lower ext~ex~nxty rating his
          pain as IQl~(}. K~~v%r~ rnisse~si liis LS-51 transifoxaax~~ual~e~idtu~l st~rdid i~aj~a~G~~a~
          so i~ ~~s ~re~checluled, There was na e~v~dence of a.ny abe~7ant dzug taking
           beha~~iors.

       FF.218I12 - In a lever tv Dr.Everson,Dr. Tayeb states ~evxxa ca~.tinued to con~~rlain
          p~aclxi~~x, settisbing, shooting and ~it~gling pain rating it r~s a 1 D110. D,r. Tayeb
          ~du~ate~. Kevin regarding fih~ `FENS unit or surgery but Kevin indicated ~e ~ifl
           not want anther sue i~al ~arQCedure. C1~r, Tayeb explained that if Kevin doesn't

                                                     C.
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          try a~aything ~1~~ they world gat be able to help hint'fram ~. rnadical rnanag~ement
          ~~~,ndpaint. At fhis point ~.e~in was anly getting about X 0°/o relief of hip fain
          from t17e opioi~ m.ed.icatiaz~ pratacol.

      (J~r,       31I4/12 - In a letter to Jar. Eveisq~, Dr. Tayeb states I~evi~ is com~lai~ti~g
          a~'a ~ign9fi~ant amount of pain going down the antez'Q1at~r~I ~specf ofhis right
          l~w~r axtr~mity for Which he wanfs to try tQ d~ a Transfaramiria~ epidural sfieroxd
          injeGtio~.. Kevin rates tl~s p~.in IQ11~.

       HIS.      3129112 - In a letter to I)r, Micheal C~xuru~t, Dr. Durrani s#a~tes Kevin was
          complaining Q~p~n i~ t1~~ Iawer back wi#h raciic~lar pain goi~,~ dnwn the :right
          lover ex~.~emxty, numbness and p~estk~.~sias in t~~ ri~~,t 1~g.

       II. ~I10~12 — MRI Lumbar Spine wlo Contrast ~a open MRI cif~astgate — 1'rascan
       J1. ~ozzclusian: Postsur~iGa1 changes at the ~3-4 and T.,~}-S levels as described, At the
           operated ~.is~ I~vels,~~1d nanowitag of the floor aftk~e foratninal en~xance
         ~ilatexally, moi~ p~nmin~nt at L4-S where ~f~i~trr~ent ofthe L4 nerve raat~ is a.Xso
         noted. 2~ L5 — ~ Y shallow buJ,ging disc, naf eompressi~~, ~} Chronic ante~iar
         wedge fracture of L,1.                  (included)
       ~K.       512112 - In a ~etler to Dr. Everson,Dr,`~'ay~b states I~ev~n had just load ~
         1VIRI ordered by T~z~. Durt-ani and his pa[n tzaanagernent would rerraait~ unc~aa~.~ed.
         Kevin rated his nick, arm,~~c~ and Ieg pair as 1~11Q,

       LL,5I6J12 - In a letter to Dr. Everson,Dr. Tayeb states Kevin felt tie epidural steroid
          injectian. at L4-L5 p~e~ty much h#1 #fie spv~ dead on. Kevin continued to rate his
          pair 1011 .

       Mme,       101~3I12 - In a le~~ to Dr. Everson, Dr. Tay~b states Kev~~. had not been
          seen for several months but he ~v~s still cornpl~ining ~~'t~eck, arrn, love book and
          Ieg pain as aching, st~.bbi~ig, shooting a~.d Tingling and ruing it as 10IT~.

       NN.        1 ~f15!12 — MRI Lumber S~iile w/o Cfln#rast ~a Pr4~oa~,imaging Eastgate

       O0,        Conclusion; Status post ~LIF and posterior shrine fiasian L3-4 anal L4-5
         utilizing solztary intetbod~ cage and ~Snsteriar s,~ine fusion without de~~ute
         bric~g~.ng bane identified. No carri~~~essive discop~.tk~y. No cen~r~I canal ste~tasis,
         higk~ grade fc~raminal steno~is or ne~rv~ r~Qt Gampr~ssion. 2)ATo compressive
         dzsca~athy ~ephalac~ ar caudal to tha £~sion.

       PP.3} ~z~ comparison. is nca~de vai~Fi p:revi~us written report ~t1,d ymages dated.
          ~I1Q112,these findings are similar,

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       QQ.        1If1Sl~2 MRZ C~rvic~.l Spiny ~vlo Contrast r~ ~ro~c~ta Ttnaging~ast~ate
                  Cazaciusion: Status ~~st anterior ce;rvieal dis~eatomy and fusion C6-7
                  wit~ut defnite bridging bone. N~ campr~ssiv~ t~..iscopa~hy. rl'a cord
                  cQrnpxession or ~~n~saX ~~nal stenosis. No ~'vxazr~inal
                  ~tenosis, 2~ No com~r~ssive discopathy caphalad ~r caudal to the fusion.
                  3)Forazni~al narra~ving as detailed,
                  4)'t~Il~en cflrn~arisan is ~ad~ with previ4~s ~vri~ten report and images
                  dated 7119f1.0, the patient has underdone the afore~nen~ioned surgeLy at
                  Cb-7. Foramin~.t narro~vin~ is increased in cons~ictuty on the current
                  ~xarnination.

       17R..         121~11~ - In ~ letter t~ Dr.. Everson,Dr. Tayeb states S~evin's ~ia~nc~ses
            rern~.in as ~~z~ical deg~nei~ative disk disease az~d carvioal radiculopathy alan~
            with ~umbax degenerative dis1~ disease and Iu~n6ar radiculopathy. Pxior
           interventional procedu~~es gave K~r~~, mvxe relief on his Iumbar pain, Kevin was
            not c«r~entl~ taking any paa~. medication.

       SS.It vYas recarnrnen.ded ~i~t Kevin dad xepeat i~ag~ng study done an his cervical
          spine tivhich showed postopexati~e cha,~ges ~vit~ foramina[ narrowing Hated.
          ~~aflex end iv~~~~c were added daily, he was to sleep i~ ~ s~~t collar, st~tt c~r~
          p1~y,~xcatl tlaex~py and undergo a psyche evaluation. If Kevin has daze ~I of this at
          the next visit Dr T~.ye~ vvoul~. revisit star~~g h.x~ an pr~scripti~e medicines and
          possibly daing fufure i~`erver~tiona~ injections.

       `I"I'.         l/Z/13 - I~ ~ ~e ~h tc► I}r. Eeersan, fir. Tayeb1~3i11 Haney 1'+2D stated
             Kevin's t~ru~ scxe~z~ vsras negative and he had been placed into our opioz~. protocol
             with r~~ ab~z~ant dreg taking behaviors. Due #~ financial reasons Kevin was
              unable to complete the physical therapy or consider interventional procedures at
             this time. Dr. Tayeb felt I~e~in's ~aain was being u~ade~treated end he added
              Oxycodone 5!325 zz~g TID, which was cane pill I~~s than he Gvas taking three
              months pi~iax,

       W,        1113f13 - ~~ a let~~er to I~r. Everson, L?r. T~.y~blDr. H~2~,y ~tati~d ~evi~ was
        cu~x~ntly iza pk~ysiea~ therapy and aqua therapy for his cervical and Iwa~.bar DDD,
        faoat,joint arthropathy and radicula~a.~.y ~.n~. widespread. spandylosis. I~evin is
        5~1-~4%pain relief since Pezcacet vas added to the ~~a~iex and Mobzc aX~ng
        ~nrith tie tl~era~ies. He was scY~eduled for a ~~rvz~a~ epidural in~ec~ian. Still he
        had Sao abex'rat~t dzug taking behaviors and his scripts were refilled for another
         month.



                                                  8
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      V~.       2127113 w Tri a letter to Dr, ~v~~'so~, Dr. Ta~eblDr Haney stated Kevin had
        a good response from the cez~v~ca1 epidural. Ctu~entl~ laic hips an~i legs ~~e
        bofiheiing him. tote mast and cpnsidering his prescxxpti~e report is fine, they
        increased Kevin's Pexcocet tb ?.51325rng TID for one month, Dr. Haney also
         Q~dered a TENS unit and scheduled a lumbar epidural injection.

       WW.       3127!13 — - Tn a I~~ter to ar. Evers+an, X7r. Tayebl~x Haney s~afed K,evx~
         vvas doing petty well vltt'tently wif~t 4D-5~°/o subjective improvement in ~aa~.n and
         function. Kevin's prescriptive report was fine and nfl evid~~ce a~ abe~`~` .t drug
         ta~ci~~ behaviors. Sevin was soil a~rai~irig ap~raval far the TENS nnit.

      ~.        41261 3 -- Fn ~ let#~x ~n I~~~. Everson, Dr. T~yebinr Haney stated Kevin
       continued t+~ have bath u~~aper and lower extremity ~adicul~.r ~Sain. The epi~ilual
       injections had notzeeabXe ~~nef~t ~~ad ~.~va~a is doing weXX ~us~'exrtly. Tr~2ado~e
        had. been ~~ded to aid in lus s1e~p but he ~nntinues to a~'aken every 2~3 houz's
        tl~rr~ughout Elie night so~.e was ~x~~~ a ~rescrip#~or~ far Arnbien [},5 prig(15 tablets?
           ~d ~7~ t1S~fI 33J~f~1~Iy'C~ll't)Tl~;Yl tll~ 11I~1t5 Yid 1S ~1~VI17~ ~7~   ~$ C11~S~U1~ S~C~~Jlt1~,

           A TEAS unit approval is stitl in the process.

       YY,        zfi is debatably whether #1 and #2 suxgexies we~e~ zxtedxcaZZy ~.~~ess~ry a~
           the time they were perfQrrued end perhaps the actuat surgeries has cau~~d the
           patient the amount o£ pain ha has been ir► siz~~e then.

       ~Z,        l~r. Durra~rii's misint~~pratation o~the pre-operative diagnostic:
          7181~4 — Thoxa~ic and Ceevic~. spine 2-~ Views @~vli1~'ard Me~ica~ Imaging
          Imgressian: Cervical — Limited,cervical s~jne with narm~l height and alignment
          froze C2 tl~uraugh C5. Tntexvertebral disc spaces are unrenzarka~Ie.
          Imgressian:'Thoracic ~- Unremarkable thoracic spitae
          Z~pxessiraz~: Lumbar -~ ~x~d degen.~xative changes ofthe t~.a:racolurrjbar spine
          ~vit~h no sign7.£icant ~hangc ~ronl the pz7ar study of 111~21Q8. Remote corx~px~ssian
          defor~ni~ies ofZ1 and T12.

           7191IQ — Tn a lever to Llr. C~trti~ B. ~'VUT5C1T1~ gC~,Dr. Durrani Mates he had
           revxe~avad Kevin's cervical, t~7t~rc~CiC a~~ ~uxz7b~` 5pirie x-rays. The ce~~c~l x-ray
           showed a discrepancy i~ ~1ie atl~nttidens interval, 1rnm are one side versus 4
           oz~ tic other side Mang with several levels of what appears to 6e dish t~~gene~atia~
           rn tie cervical spin. Kevin was t~ obtain MIZTs of his cervical, t~axacxe a~r~d
           ~uml~a~ spine ~nci re~.u~n, u1 ~~.e ~nontl~.

       ,AAA.         Dr. Durran~ recommended surgery can the second office visit.

        BBB.         I~r. T~ucxani per~or:~ned two su~~erxes on this client:

                                                           e
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                #1 Surgery'— 91181 0 r(~ west Cheste~~ Medical ~ente~
                       PREdAE1~ATIVE & ~C~ST~~'E~tA.TTV~ ~3IACr`NOSES: SAME
                   * Degeri~rative Lumbax disk.~lise~.se L3-I~ azrd I.=4-L5
                   • Degenerative S~xz~~l ~teno~i~ T~3-L~ and Lil-L5

                     FRt~CEDURES:
                   • Direct Lateral Lumbar Interbotly fiasioz~ L3-L4 and L4-LS using
                     Autograftt a~C1 Allogra£t
                   • Placement 4ftl3e lateral interbvdy cage L3-L4 and ~..4-L5
                   ~ Postexic~x spiral ins~t•um~n~a~ic~n L3-I~4 a~;d L4-LS
                     Posterior spiral fuszo~ using Autogr~~ a.~.d A1lograft L3-L4 and
                     L4-L5

                 The .~nfat~naed Carases~t does nat ailing AutogrufC or~ ~Illograftfv~L3~L4 and
                .L4~L5.

                #2 Surgery — 3 23111 @West C~.ester Medical Center
                       PR~OPER4TIVE & PflSTOPEkATIVE 1~TAG1'+I{~S~S: SAME
                   • I3egenarafiVe Ce~`vi,C~.X spinal stenosis, CS-~6 end C6-C7
                    r Ceiv~cal Disk H~~niati~n. ~b-C7
                   • ~ervio~] Spxn~l ~tenosis ~6-C7

                        PI~bCEDURES:
                    +   Anterior ~ervioal disc~ctamy CC-C7
                    +   .A.nt~rror Cervical Fusion using Auto and. A.11agz~afC, CG-C7
                    *   FXacsznent of an~rzor interbady cage C6-~'7
                    w   k~Iaeement of anterior cervical. instruinenfat~on C6-C7

                The ~nfoy~ne~' Consent does not state Aa~togt~aft arxc~.,~[dlvgtAaf~ L3~L4 and
                L~4-~S,

       CCC.     #1 and #2 Surgeries INFUSE ,vas used,

       17DI~.   `~'he following ~,~rdwaxe was irnpla,~~ed:
                #1 Surgery - ~ I --- Fa~~ Bivact Vitos~ Pack 10cc
                    • 1 ~- Infuse Set Bone Cr~~ft Sm — Me~trnni~
                    • 1— ~0 x 44 Capstans ~L - Ivledt~onic
                    • 1 -12~ 44 Capstone — L — Medtrani~
                     r 4 —Sat Screw ~1Cx4 Int Hey — Medtronic
                    • I —Screw Cann M~ CDH.S.5 Leg 6.S x ~45 — NZedtranic
                     0 3 — Scx~w C~rtn MA CDH S.S Leg 6.S x 50 — Medtronzo

                                               1~
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                             2—Rod Pre-He~.t MS 5.5 x 7Smm TI

                     #2 Surgery - ~ II~1~US~ Bane Graft X~ ~NI ~.7~~1 ~ Medtronic
                        • 1— Vitas 1.2 ml — Urthovita
                         s 1 — Iznplaz~.t Zero-1' 14mm Laxdotic -- Synthes
                         • 4 — 3.{] mm TI Screws - Synfhes

      EEE.           Ofd'Label Uss:
                     #~1— Su~gezy was a BLIF appxoach.
                     #2 — surgery was a amitla~~tabinson approach.

      FF~.           operative deport Dictatiar~s:
                     ~"1 Su~~gery Operative R~pa~rt was dictated by I~r. Ati~ T~urraxai an 1113110
                      X47 days Later) and ~r~rz~cd r~~ 1111211 d {56 days latee),

                     #2 surgery Qperative Report way diGtat~d by Zlr. A.~ir~ Dt~zx'ar~.z on S/3fl1~ 1
                     (58 days later) and ~veri~'zed on 611t]!11 {79 days Iater).

       GGG,          No fiaiied haxdwar~.

       H~IH.          Client has seen Fain Management Specialists,I}r. ~eeskia~z Tayeb and ~]r.
              Bi11 Haney.

       iII.          ~evit~ aocording to d4c►.unentati~n cant~~ues to have more fain th~t~ he had
              before the #1 surgery. Kevin, ct~ntinues to z~eetl oonsfant r~pioid tl~~r~py which is
              well supervised.

       J~J.          I{evin says after tie cervxa~.I surgery he experienced nQedles in his neck
              la~~ bone spurs and $ecreas~cl xange of mfltion ~d new he is not able tc~ drive
              anymore, H~ bias to sleep in his recliner, his loss of intirriaa~ wit1~ his ~.nance',
              migr~inas and num~nass in 1~is arms and hands. As cloGUxr~~rtted ~y the 3~ai~
              '~~reGialr'sts, Sevin has adhered to fiha ~l~ioid Protvcnl and continues to ~~~d
              rnedicatio~.since the date of~th,e fist surgery. T~~~in is ~~ot able to touch his tees
              avd got able to twist his body of aril kind.

       KKK.      ,A,ccnrding to a psychala~YC~I evaluation a~`1z/2i1~~ by D~r,1V~i~heal T.
         Farrell that Kevin. is on Soci~.l security Disability. He spez~ds'104/a of his day
         pitting in his'r~~~iner,'helps with leis ya~u~g children acid Borne householt~ chores,
         His finance' Qfseven years does the driving,lie no koz~ge~ is able to dish rnr hunt ar
         engage aa~ recreational activities, His social life revolves around Isis £arnily artd
         attending chEU~ch weekly, Kevin has not been able to ward,since the MVA in
         2007.

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       13. used upon my ~•e~iew,the fallc~wii~~ axe my opinions based upon a reasonable
           degree of medical ce~inty pertaining to t~.~~deviatian in standard flfcage ar
           negligence, i-nfor~ned caz~sent, bat~e~ty and fraud a~airn~ against Dr. D~taratii, CAST,
           We,~t Chester Arad UC ~ea1#h vvhiela proximately caused hat~t~ #o Plaintiff

           A. i~teed to have additio~aa~ suxgezy to repair ~rvl~~ems created b~ Di, Durrar~i

           B, ~xt~pist~tation ofPuregen ~~ithout informed consent

           C. Itn~lantatifln Qf AMP-Z without it~'or~m.ed consent

           D. Failed hardGVare

           E, Faz~~~re to obtain proper informed consenfi for surgery

           F, Failure to provide adequate and thorough pre-apera~ive and past-operative
              ptttient surgical education

           G. Failure to prap~xly post-op monitor the patient

           H. Failure to properly perform follAw up,Pd5t-i)j3 CaS~

           I. Negli~errt surgical techniga~s

           J. ~aiiure to rt~~intai~ aacura,te a~rl complete surgical re~c~rds and surgical
              c~ns~~t forms

           K. Fail~xre to disclose unpo~tant health in~oxxnatio~.to patient

           L. ~'~il~ure to ~naax~axai~ end com~rlete discY~arge sumrn.ary

            M. ~'ailur~ to supez~v~se Dr. DliTi'~.T71

           N. Negligent pie-surgical diagnosis

           Q. ~`aalure to pr~p~.re a timer operative report nr other rnedxeal record

           P. Billing for services z~ot e~arnpleted

            ~. ~+]ot ir~fc~rming the patient a,~c~ther. s~geon will be doing all ox pa.~ ofthe
               su~g~ry

            R, Practi~iz~g outside Dr. Durxa~'s scope of trainingy u°C~UCB,flQI1~ experience, and
                BD&T't~ GP~1~C~~10~5




                                                        ~~
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          S. Deviatifln in standard. ofcare

          T. Failure to peY~~axm thorough ~~ accurate pre-ap nansu~gical e~ah~.tian

          C). F~~lur~ 6y ~7r. Durrani to i~z~p~7m p~tren~t ~f~.d~litiQnallcliang~d procedure anal
              reasa~.

          V. ~~,i~ur~ by CAST ~q disclose ac~dition~llcY~angc.~l prace~.u~re end reasa~ to
             pa#ient

          ~]V. F~,il~re by Dr. D~zrr~n~ at CA,S'~ to pxQpe~ly eduea~te ~a~t~et~~ xeg~rding
               diagnosis

          X. prior knowledge ref ~t~ssit~le com~lic~tior~ antl na~r acting properly upn~~ same

          ~. i~~il~u:e t~ disol~se ~ertinen~ health iriforr~aatian t~ another health carp prn~+ider

          ~. Fraud~.Ierit, negligent €~ttid r~cl~le~s ~rre~op~r~.tiv~ work up

          Ali.    FiautXu~~nt, n~glig~nt and rackIess surgery

          BB.     I~ac~urates fraudulent, ancll~r exaggeratia~a ~f di~,gnases

          ~G.     Failure to properly educate patient regarding dia~taose~

          DD.     Failure to attempt non-sl.~x~i~a1 conservative treatment

          EE,     k'aal~.re to perfvzxza t1~~rough and ~.ccurate pre-ap no~surgica3 eval~a~zo:~

          FF.F~iiure ley Dr. Durrani at UC/'~Vest Chester Hospital to perform accrxt~~te grid
             ctaTxlpXete pTeppe~ra~i'V~ ti~~GI1f27g

          GG. ~'aiture by Dr. Durrani at LTC/Vest ~hest~r Ho~pitaf to ~~operly educate
            ~ratient regarding c~iagnases

          HH.    Failuxe ~y Ilr. I~urtaazi at UC1Vt~est ~l~ester Hospital to maintain accurate
            an~lor complete xr~ec~ica~ recoxds

          II.     Failure ofinformed consent by Dr. Uurrani at UCl~7egt C~.e~~ex Hospital

          JJ~ failure of UCf~~st ~hest~r T~ospit~ tc~ i~st~r~ pr. Durrani and C.A.ST had ,
              obtained proper informed canse~it

          KK, ~'ailur~ ofUCl[~est Chester ~Iaspital to obtain pr~rp~r acknae~aledg~rn~i~t
            ofcQ~se~t



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              LL.Failcue by Dr. ~taxzani at UC/West ~hes#er Hospital ~o disclose pertinent
                 health inf'arm~.tion

              MM. Faitu~~ by UC/~uVest ~heste~ Heald to diselnse additxonal(~kzaz~~ed
                ~ocedure ~d mason to patient

          IAN.       ~'ax~ur~ by U'Cl~Nast Cl7~st~r L-~eal~h to supervise staff

              OQa     ~aihue by UC(West Ches#er ~edic~l sta~ta properly document
                 ~b;~or.~na[itz~s aid ~o11o~r up carp

          PP.Non-approved h~'d~t~e etrmbin~titrns

              ~Q. Dr. D~rani xzxade false ~.nd material rniseepresentations of ma~~rza~ facts
                intended tv mxsl~eatl Kevin Hartriess end GQncexled material facts he dad a duty
                to disc~t~se. UCIV►re~t C~ESter Health and CAST canceai~d materiel facts they
                had a duty to disalos~. Sevin Hartt~ess wasjustified in relying a~ the
                misrepresetit~tifln axac~ did rely proximately causing harm to Kevin I~axt~a.ess.
                Dr.I]urra~i, CAST,artd UC1West Chester Healfi~i intentiar~ally xnislec~ Kevin
                I~a~ness. Kevin Hartnesskzad the r€ght tq ~arr~ct ii7foiznatioti.

       1 ~. Thy testimony, facts and eYllibits o£~r~nda SIieil's ftes~onse to N.~o~ign :~Fc~r
            ~E1'i11I11&fy Judgment and ~;~hibits to sa~~~ az~; appIica~le to ~Il the claims ~g~i~st
            West Chester Medical Centex ~WCNIC)az~~ UC ~~ealth far X11 claims,including
            n~~igent r~tentiori and credentia[in~ l~roug~t ~y ~"~aintiff,

       l S.        B~se~ upon. m.y ~•~ie~ of the cisposition testinlany,the 3CA~~ xequ.ix~et~aents,
              t1~e MEC bylaws and all t~~ infarrnaYir~n provided to me, I am abbe tc~ ~.dopt the
              f~llavving apinio~~ r~i~tin~ to W~M~ and ~JC ~ea~th pe~~tair~in~ to the claims
              against them. WGMC's and UC Health's ~~ti~~as and. rtna~etioa7s det~ilec~ in this
              ~f~tiavit praximt~tely caused harrr~ to plaintiff. WCM~ and UC Health are both
              b~in~ t~ef~ren~ed ~v~en only ~C1VIC is n~.n.ecl. I hold tie £oil wing opinions
              x•el~~i~v~ to WCIVIC az~d ~.TC Health pertaining to their conduvt a~t~~g tln~ough their
              adrninistratian and NTEC, Tae time pexiod ebvcred is from the time Dr. D ai~,~
              sought privileges prior to WC11~C ope~niz~g in M~.y 2 49 through May 20 .3 't~~~n
              he no longer had privileges, In. addition to my opiniozas, I sEt Earth facts 3 rely
              upon. This ir~clud~s ala which I re~ere~iced that I reviewed. In addition tQ all of
              the al~~ve, ~ ~kt~s~ to tk~e ~c~~~~~ving:

                                                 FACTS

              1. A~oot~ding ~a ~hles~ Chester's first Executive Vice Fre~ident, Carol King,she
                 did. not explore the "tumors" about Dr. I~ui~ar~i's laving Children's.

              2. According ~ Carol Kind,~1~e hospital tracked pro~ler~ zssue~ yet W~~iC
                 h~.ve failed tc~ produce the ~~nfnrmatic~n under peer review protection,

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         3. According to circulating ~utse, Janet Smith, presets were e~~ngeti in the
            co~~uter to indica#e the pracedt~e Dr. Durr~ni performed aver the procedure.

         4. According to Janet Smit~Z, despite no one at Nest Chester never worki~.g 'vtrith
            Dr. ~urrat~i before, WCMC ~+~ver ~l~ecl~e~. him out.

         S. Aeccsrcix~.~ tc~ Former ~Jniversit~ ~]['~spifial Pre~ad~t~t(a UC'Health hospital),
            ~ri~n ~ibl~r, h,os~it~ls face fz~an~.ia1 challenges,

         6. t~ccordiixg to risk masta~er, T.~~vid ~ch~allie, iis~ rnanageme~t knew Durrani
            had issues.

         7'. ~ccarc~ing to za~iolagist, 'Thanr►as Brown,t.Ytere were surgea~ts [~ues~inriii7g
             Durrani"s decisions to perforrzz s~~rgex'y.

         8. .r~c;cc~iding ~o medical staff dixectax, ~'aula Hawk, a policy called "sto~r tie
            lying" was implemented th.e same yeax and zz~.~~~li they kicked art Dr.
            Dui~ani, This infers a poox enviro~ent of hazsesiy aEnd disclt~sc~xe be~`ore this
            policy.

          ~. Accgrding to Paula I~a~vk at~d as tie director o~met~%~a1 staff, rnon~y is not
             supposed to tnun~a ~atiant safety.

          I0. According to P~.i~~a Harult, shy admits peer review is fay 1~aspital~ to prafiect
              each Qther,

          11.1~.ccordin~ to ~'aula Hawk, she ~.dmits h.~spitals ~t'e interested in volurtae,
              something Dr. Durraz~i prt~vid~cl ft~~ WCMC azzd UC T~ealth.

          12. According to Mike Jeffera, the director off~n~nce, they tracked D~. Dui7a~ii's
              financial numbers.

          13.,Aca~rding to Mike Jeffers, tae admits I~r. Dui~rani helped them in their tirr~e o£
             ~e~d,

          14, According to Mike ~'effe~s, Dr. Dturani was the lushest money generator.

           ~S. Accaxc#i~g to Mike Jeffers, ~~ ~n~w l~r, Du~'ani ~a~ more than one surgical
               suite assxgn~d at arise.

          l 5. According to mike J'eff~xs, bonuses were paid to hun and others based u~at~
               ~ina~7ces.

           17. ~icca~~di~g to Dr,Peter ~ten~, he knev~r Dr, Dt~rrani was only "s~tisf~ctary,"
               not a world cuss spine surgeon as Nest Chester adve~i.secl.

                                                  1S
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         18. Dr. Stem dtsesn't deny admitting ~J'C Hea1t~.~aoke~ tk~e ath~r way o~ Dus:r~~.i
             because a~a~a~ney.

         19. Accc~rdin~; to ~redentialing n~atxa~;er, Amy 51~~11y, there was p~snty of"puhlia
             kn+av,Tledge" about l~r. Du~.~ani to check before credentialing,

         ~Q. Accordicig to l~xui She11y, West ~~e~ter relied an the NPDB they knew was
             p~~otected 1~y hr~spitals.

         21.I~r. Eric Scl~~~b~~`~~x,Dr, Dzaxxc~i's partner, was o~ the MEC at V~ICM~,

         2~. l~ecarding to ~xic Sc1a~~eeber~er, V~T~st Ches#,er ~ae~ a~auti Durrani
             sck~e~lulin.~ surgeries long into tt~~ day and night

         ~3. ~cearding to former nursing mat~agcr, Elaine K~n~.o,~TCMC kn~~v ~botx# Dr.
             ]~l~rra~n.X ~.~t campletin~ reeards.

         24, According to ~T~~in~ ~'.unkQ, WCNIC knetiv Dr, Du~rxani vvoul~ c[ai~xx surge~~es
             were emex~ency whin they ~vvar~ nat.

         2S. Accarci~~~ to EZaira.e Ku~k~, ~CNIC ~ev~ ~1aer~ was a~n issue with I~r.
             I~ur~ani ~.ot being in the xc~~r~ ~orta~ suxg~ry on "his" ~a#.i~nt.

         2~. Accardi~ng to Elaisie Kur~lf~, even the C}R r~u~ses Irnew ~CMC put up with
             Dr. Durrani far money.

          ~~, t~ccarcting to El~.in~ Ktti~ko, ~VCMC tracked ~►x, I)urrar~i's financial numbers.

         28, According tv pef~io~eratiite dire~ta~', Lisa Dais,WCMC kne'W Dut~r~ii's
             off`~ce is supposed to get aQnsenfs so WCMC had ail obligation. to make st~'e
              t~i~~+ did.

          29, Accflrdiiig fo Jill St~~n~~, the risk ma~.g~r at West +C~tester, she knew
              Durrani had "issues."

          3D. Jili ~tegi~~sr~ confi~.~is Gerry Goadrnan's cornpl~it~ts.

          3f. A~coz~~ling tQ Kathy Plays,''~JCi1~SC knew ~,ow Dr. D~,ur~ni ~ase~i BMP~~ and
             Pur~Gen.

          3~. Dr, Tire ~rezanaliek, the C~a~e£t+£t~e C1i~apedic deparirnent,failed to da leis
             dab under the MEC bylaws ~s it related to the supervision and xevi~w ofZ7x.
              T~urr~ni.

          33, Acc~rdir~g to ~3r. Tiny ~r~rnche~€, h~ l~ew L3r. Durrani was "sloppy."

                                                    is
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          34, Kevin dnseph,the CEQ of17V'C1V~C, ~laxrns to know nothing about suxge~~y
              o~eratxa~is in leis hospital.

          3S. K'.evin JQ~~ph,tie CEO,alai ahaspital ~.ust protest patients fiom
              u~necessa~y~~"as much a5 they can."

          36. Kevin JoS~pin, the CECJ, claims jR~'CM~ do~g~'t have aversig~.t of surgeons
              dai~g what Pl~.~ntiff cla~~ Dunr~.ni ,vas doing. (Despite w~n~t his bylaws
              stake.)

          37, Kevin Joseph,the CE{],denies tl~e hospital has qty responsibxlxty ifDr.
              I7~rrani did ~n unnecessary su~'~ery.

          3S. Kevin Joseph, the CEO,t~espxt~ his finance office tracking i~, de~aies airy
              ~~wle~.~a ofI3MP-2 use.

          39. K.ev~~~ dos~ph,the CEQ,~e~.xes lfitc~wing about a~iy complaints about Dr.
              Du~irat~i,

          40. Kevin Jas~~h,the CEQ,admits they ~~z~efited fiiia~ioially froze Dr. Durraru,
              iz~cludii~g ~iis awn pay.

        „. 41. Mark Tratnba, floe t~R manager, admits $MP-2 use as used by Dr. T}urrani.

           42, ~.c~ording ~v Jef£I~rapalik., the Senior Lea€iershi~ team, including Jnsep~, net
               weekly aa~d reviewed number.

           43. Accorditi~; t~ Jeff ~rap~lik, tie CFQ Qf WCiv1~ knew Z7r, ~Du~rani was a high
               vo~urr~e money maker.

           4~, Lesley £ril~crtson, a xnemb~r ofthe MEC of WCMCe ~~ ~es$he5[0'~Q~16t
               wcsrkir~~ with Durrani,k~ac~ a co~.ce~x~. ~l~out how long Durrani ~~pt ~atiants
               under,

           45. A.GCaTd117g ttl It~~.~~ti~S tlta11c1ge2', Dennis Rabb, V~C~vI~ knew t~ia volc~sr~.es of
               AMP-~ being used,

           46, ~ocarding to I~ere~ Gh~,ff~ri, WCMC knew the chart da~~nentatir~n ofl~r.
               T~urr~.ni was nab in com~Xxance i~vith th~ax bylaw.

           A~7. ~'atkick Baker,zsursing VP at WCM~ admits'VVCIVIC trao~~d the financial
                perfai~naa~ce of Dr. Dunnani.

           48..A000rding to nurse, Vicki Scott, the administration of WCMC ka~.etiv from the
              outset of'~trest Ch~~t~r all tla~ serious issues p~~taini~g t~ Dr.I~urrani.

                                                    17
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                                                                                  to ignore
         ~-9. Acoordin~ to'Vicki Scott, Walt Chester"s risk managex b~g~~
              cQmplain~s from Ms. 5ct~tt,

         S~, Acc~t~din~ to Vicki Scan,sta£~Fwas scared to speak gut.
                                                                                            °SIl£i,l'~t1
         51, Accaiding to Vicki Scott, patients didn'f.~OW Wr10 C~lC~ ~I7.~ SLli'~CT1~S-~-
             OT ~U~.7'~Ltlt.


         52. Accaxdit~g to Vicki ~cr~tt, records were nit aG~►.~sate wha r~vas in tie QR a#
              +hat time.

          53. Aocordir~g to ~licki ~catt, everyone at ~~MC ~Cn~w it was ahnut money,

          SA~. Acoordi~tg to '4~xcki Scot,~CM~ l~~ew about D~. Dur~'t~~3i's and Virest
               Ghest~r's itlegal use ~fPure~~n.

          55. A.cG~rding ~a Vicki S~otC, Dr, I)urra~i eras a behavior prflhl~m.

          56. ,A.~c~rdit~„ to patient x~pres~ntative, Elizabeth dean, ~1CM~ tacacked Dx.
              I?utrani's volumes from the auts~t and the C~`~ lave. what he saw,

          57. ,Accordil~~;to ~1i2~.b~tlz De~~~, WCiMG 1sxLew Dx, Du~at~i had zssu~s at
              Children's.
                                                                                          ming
          58. ~;c~azc~ing to Eliz~~~eth Sean, VV'CMG lc~~.evv Dx. Durc&ni was perfor
              unnecessary praceelures by ~oltmies aid xe~e~ts.

           S~. ACCCII'C~II?~ 'L[717,11YS~, Scott Riin~r, WCN1C krt~~v Dr. Durrani waitet~ until after
               surgeries to dc,~ume~t what procedures ~,vere planned,
                                                                                       not
           ~0,.~~ca~t~ing ~n ~catt Riz~ner, pa~Xents at ~~MC had ~roce~lure~ they ciid
              consent to and WCM~ knew it.

           61. Aecordii7g to Sc4~ Rime•,steri~~ fields waxe r~aC px'otected.

           6~. According to Scott Rimer, ~1VCMC ~rnev~r PureG~n was being used by TT~r.
               Durxani and allowed it.

           d3. AccUrc~ing tv Thomas Bla~ak, Puxe~en.'was an alternative to B1VIP-2, which
                                                                                            Dr.
               ~NGMC turr~e~. fi~ based npt~n in~suxax~.ce denials ofBMP2. In addxtic~n,
               Durz~ani operated an. unethical. ~'flD a~Alphate~h   call~ci Evoluti axa M~ical .to
               sell ~'ure~en to West C~.~ster.
                                                                                     Dur~ani;
            54. Acc~~rding fio Gerry Goaclman, WGMC teae~ed BMP-2 use by pz•.
                patients did not lrnow ~uho at times pe~~arr n~d their surgery Ur, Shand ~r Dr.


                                                    1$
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             Durrani; e~e~ct~'vuic records had to ~e changec~ after Dr. Duxrani's su~rg~ry; Dr.
             DUrrani axac~ V~7CMC ~aever c~btaine~l info~~rnac~ consents; Dr. Darrani's vc~Xuxn~
             was a wa~nin~ sz~n a£ov~rutiliza~ian. rxer~ry ~.xoodm~n reported all t1~e~e
             concerns to WCIVIC and tllare was ~o act~an. Gerry ~QOdman was told and
             cts~~luded that CIVIC did not wart tv do a~`iyt~ing about 17r. Durrani k~ecause
             ofmoney rewards.

                                  Al3Di'I'It)l~I~AI, ~FINI~I~S

          G5. The ~eriter of Advanced Spizae Tec~nolagies ~GA~T} negli~etitly supervised
              sand retaa~~d Tit. Du7rani,incXi~ding by allowing Dr.Dur~ar~i ~o perform
              unnece~ssr~y procedures and surgeries; use BMP-2 andlar P~,u'eGien without
              a~prap~'iat~ consent; wiling to disclose I3r. Shantz a~cl o~er~ involvement in
              surgery; im~ro~~ bz~lin.g; ganging the pre-op ~d post~op xecort~s to coincide
              whezz the sua~gery was gat the surgery disclQS~d; amc3 aI~ other cc+ndtzct de-t~led
              in the docztments Z reviewed.

          b6, W~:MC,[.TC Health anc~ ~AST's ,r~atAVe ~'ar their actions anc~ inacti~~s
              towards Dr. Duc~ran{ was ~xi~ancaal gain.

          67. The MEC,aclrninisfration atr.~. Roads of~l'C1vIC and UC Health failed to
             "govern the affairs ofthe 1V~edzcal Staff"

          68. The MEN,admintstratian and $oards of WCMC and UC Health wiled t4
              enfor~~ their n~e~ upnn Dr.I3~rrani as they were required to d~,

          69. T~Ce MEN,~dm~liistration and Boards t~£ ~C1VIC end UC H~~th filed to
              pxovxd~ oversight of Dr. Durx~x as they r~~~~~ ~equir~d to da,

          7~1, The MEN,administration ~uzd I3aards of t~IClIfIC and UC Health failed to
               properly evaluate Dr. Durr~ni.

          7I.T~ Ozthopedic az~d Surgery Departments abdinated t~.~ir ;responsibility under
              the MEC bylaws to 7~evi~~w, i~i~estigat~ and supervise I7~•, Durrani,

          72. The Iti/l~+Ca administ~atidn end ~aaxds o£ WC~C a~~d UC Healtk~ ~'~i~ed to
              properly d~s~Xpline Dr. Durrazai it~cludiaa~ s►.unmary s~aspensiax~s end
              re~o~ativx~,

          73. The NFEC,ac~nir~ist~ation and Bflasds n~ ~CMC and UC Health failed to
              p~op~rly discipline under the NL~+~ byla~+s a~ it pertains to ]fir. ~tu~ani.

          74. The MSC,administration and hoards ofWCM~ and ~lC Health ignored the
              information xeadily availalal~ pertaining tQ Dr. Du~rani before cxedentx~ling
              and granting k~im privi[eg~s.



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         '75, The IVIEC, a~dminis~~ation anal Boards of WCMC and UC Healxh failed to act
              on Ar, Durrani's disrupt~~e behavior, u~.~arof~ssioxial t~ehaviar and clinical
              performance placing T'lai~.t~~'at risk.

         7b,The 1VIEC,      i~istx~tivn and Boards of WCMC ~d UC Health certified a.n,d
            approved tote Lu~nec~ssary procedures ofL~r. l~~uxar~x a~.Pl~inti£~lcz~vwin~ they
            were unnecessary end lc~riawin~ly allowing f~i~ improper use ofBMP-2 a;~~t~r
            PureGen at~d ktaowing thez~ vas ~o~t proper informed Gons~nt.

         77, The IvI~C, adnvnistratian and ~laards of WCMC and UC Health failed ~o act
             Qn ~~'. Au~xat~i's failure in znedica~ record do~umentatian.

         7$, `I'h~ MEC,adminis#ration ~d Boa7'c~s of WCMC and TJ~ Heap failed to
             require Dr. Durra~-ci ~o f~lln~w the ides for ~f#'label experimental proeedt~res.

         7g. The SEC,administration ~d Boards o~WCMC and U~ Health aliawed Ih.
             Durrani to use u~dis~losed and unqualified surgeons to parform his surgeries
             including Dr. Shand.

         8Q. The MEC,admi~is~r~ian and hoards of WCMC and UC Healfil~ a~la~ved IIY~.
             U~.arrani to dQ zxzultiple sLUgeries at once.

         81.1~CMC and UC Healfih h~v~ refused tQ pr~vitie as priaile~ed tine pae~ review
            i~fo~n~tic~x~ from WCMC fir ~3r. Durr~ni to eider me or t,~ei~ nwn expert.
            Ther~f~~e, w~ h~.ve n.o ~ntc~~vl~dg~ +~f~rhat action, ifax~y, was taken agauist
            hi~~. Hor~rever, based u~an.fka,~ £a~t~ here,it is abviou~s they failed to Cake
            action.

          82. used upr~n all ofthe above, it's ~iy c~piniarr th~.t V~~MC and.UC Health were
              n~gligen~ in their ~edentiali~g, supervising, disciplining and r~tainin~ Dr.
              Du~xaaa~i an st~£f ~. ~~~t~wi~.g him to obtain and k~ap privileges at ~NCMC
              under the standarr+~s ~f C~h~a as detailed in the Sxenda Shell's Response to
              ~VIotion for Suzncna~y Judgment and this proximately caused harm to PX~i~tiff,

          $3. The foots ~uppor~ T~e~in Hartness's claim for negligence, battery,lack ~f
              consent and ~r~ud.

          Sal. As a result off`the neglige~ice azad conduct ofDr. Durra~.i, CAST,'UV~st Claes~er
               and UC IIsalth, Kevin ~a~tness su~f'ered damages p~4ximately caused by
               tlxem, including the following:

              A. Permanent disat~ility
              ~, Physical defor~x~y ar~~. scars
              C. Fast, Cur~e~at ~n~. Future Yh~sica~ and Mental Pain,and Sl~ffering
              1~, Lost inco~ae past, present and futuxe
              E. Loss o#'enjt~yment o~life
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                 F. Past zaaec#icai expenses
                 fir. Futuxe medical ex~e~ases approximately i~. tie amount of$Sfl,OQO t~
                      $~SO,OQO de~e~adi~~ on course Qf treatme~.t
                 ~. Aggravation off'~ axe-existing c~n~lition
                  F. Decreased ft~ility to earn income
                  J. 3°~0 increased risk of cancar a~.d dear of cancer ~f'BVIF-Z was used.

   AFFTAN~'S1~YE'~-T ~LI~.'~HEF.NQT



                                                    KEITfT ~.'~7diLKEY M.D.


                                                    N~TA~RY


    SUS~C~~~D,~W(~RN TfJ AI~TLI A~K~IQWLED~rED before me,a Notary T'l~blic, by

    Keitkz I~, Wilkey, NL.D, ors this _,, . _day of        ,201.5,



                                                     NOT     ~ ~'UBLIC
              ANGELA PQIN5£~1'                       My Commissivn~~p.: aC7~ ~' r~~'~6
          ~Eotary F~tbl~e - ~iatary Seaf
               Stale of Mlssnurf
     C~mmEysfonod for St, Cn~rlas Caun#y
    ~Y~ff~~issi~n~rrpl~es:July i8.26'F5
       ~'~mmissiun Number.11133613
                                                     Mate of /~ I~SS~jt,f-i{




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                                     CAR~LYN ~~UNG
                                     AFFIDAVIT OF MERIT
                                        VV~~~' CHE~~'1~~.

           X, I{eith D.Wzlk~y, IVI.D., aver being duly sworn end cau~i~~et~ states a~ follows:

       1, I devote at Xeast one-half of niy prof~~sional ~irn.e to the ~ctiva clinical practice in my
          field oflic~nsure, or its xnatru~tio~i[a ~n accredited schot~l. I am an artht~p~dic
          surgeaa whose focus xs on spine su.~gery alid ire~i~iient of~lZnse wifih s~aine issues,

       2. I will supplement this af~fi~.avit with another, by a Ie~er or lay testimon~r, based upan
           acYy information pro~idec~ to me a£~er T execute it.

       3, My currEeulurn vitae has 1~een pxev~ausly provided to opposing cat.~tsel iz~ these Dr.
          I} ~.ni cases as~d cart ~e provxd~,again upfln request. Far my ie~~~w,I rely upon
          my education,traits end ~pexx~nce.

       ~. X have not counted butI 1~ave reviewed, over ~0 or mare ease. ra~va4vi:~g I~r. J~urrani
           and the hospitals where ~e on~~ had prijrilege5.

       S. I base my opinions in part o~ ~-y'x~view of al[ fihe cases I haue re~i~~t~+ed w~ieh have
          ~eve~led sinular conduct ley Dr, D~rraz~i end t~t~ hospitals uvhere 1~e dad priv~~e~es.

       ~. I art f~.miliar wi.~h applicable standard a~    ~ ~'c~r Ohio, T~entuak~ and the ~a~.aa~.~ry
           for ~.n axk~aopeclielspine surgeon such as I~r. D~uxarzi.

       7. I am also familiar wFtk~ applicable standard of pare, pt~~iczes, rules and r~~ulatictns,
          ~nedic~l executive car~m.it#ee by~a~vs,rCAHO requi~erner~t~, areti~ntiali~g,
          supervising, retention c~frne~ic~l ~~~', granting and. rejecting priwil.eges aa~d tie peer
          review proc~s~ for West Chester Hos]~ita], ~..~.C, also xe~etmed to as West C1~ester
          Haspz~~ or Nest G~esterMedical Center ~t~c# UC ~ea~t~,

       $. I have ~re~iewed alb r~leva~t medical regards includ.~n~ xad%olo~y of Dx. Durrani's
          me~daCal treatme~lt ofCara~yk~. Hta~rsong ~d the medical treatment ofCara~yza
          Hursong at West Chestez.

       9. Z have xeviewed the Response to Summary Judgme~~.t ire the Breda Shell case and
          all the e~l~ibif~ ~ttacl~ed 'to it.

        10. Thu Centex for Advanced Spi~ze `deck zzvlagies, Inc. was fir. Durrani's prs~c~xce group
            and he was ~e sale owner, clixector and a#~icei ofCAST a~ well as an ernplv~e~,
            Ct~ST as such is also res~o~asible for Dx, Dtu7ani's Negligence and fax them failure to
            also supervise, discipline and ietain Dr. Durrani,

        11. I have ~~sc~ revievred the nursing suinrnary prepared by Iegal counsel's affrce for
            Carolyn Hursv~g, Based upon the ~~ber ofcases Y've reviewed pertaining #o Dr.
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          I3~irrani, legal counsel's office ktiaw~ w~aat nlat~rials ~ xteec~ to re~vie~w ~a~zd ~~~rovides
          me those materials. In addition, while t~s affidavit c~~.tai~s case ~peaific
          infoz~n.a~.QZa; it also contains in~ormatit~rt rele~ar~ to f~.is case azzdlvx many andlor         —
          inast ancllbr X11 the other cases. It is p~'e~ared £or me b~ cc>ur~sel with my d~reetion
          ~,t~.d appx~~a1 lFke all ~~'these have been.

       X 2. Based itpvn my revi+e~w, #k~~ fo~~owing are films facts I rely upon:

      ,A.. Caro~y~1 ~T~.usong was a ~5 yew ~~d, n~ar~ied, mathLr Qffour adult children and
           ~andma~her of ~.1 and greaC grandma v£ 9. Carolyn xs r~t~w retixed from fu11-tsme
           secretarial warl€ and spends a couple of~nanths in the w~rter in Florida. Ca~o1y~
           had always ~e~n ~n. aotive perso~i even after r~€sing four ~hil~ren and is quit
           it~~vt~lved with X11 those grandchildren, She attands ~k~.~ ~ratad~k~ildrens acti~i~.es
           vary f'reque~ti~+ vt~~en she is ~xt town. Carolyn even rode hex bike while in Florida
           until she l~~d the fall. Carolyn had tripped over a. fc~y at~d ~eII resulting in need
           pairn about 6-S months pz~ior fia seesng an orthapedast. based o~ this complaint
           Gara~~n was referred tt~ Dr, Du~~~~ by l~r. Emnie~t Etoper,PCP.

      B. PMH:Faroxysm.al Atx~al Fibrillatianl~`lutter, on Coumadin therapy, Atrial
         Tachycardia, Chronic DOEa C~~,HDL, Car~iornyapath.~, H`I~, ~tl►ritis, rr~~~d
         QS,A,, A,t~dison's Disease, 5h~ngles, GERI~s and Breast Cancex with
         Chemotherapy.


       C, S~aa:gioal HX; Her~7iarraphy~ C~IOl~CyS~E~fOII7.~, Cardiac Cath, Lt~rip~ctomylF~reas~,
          El}~ovv sur~ezy, Left ~x~.~e ~nn,eniscus re~~ir, ~owe1 C}bstructxan with Resec~.an.


       D. ~arolyr~ says l~r Durrani told hey and her ~n~sl~and t~a~"he could ~.k.~ k~e~ as
          gd~d as nova°'. They had a lot of with and tru~~C in Dr. Durtani #fat he lsx~.ew wk~at
          ~e wfts doing. Carolyn and ~C~r husbancE say that Dr, Du~axz~ n~vex told t.~e~n
          about using a►~y kind of cementation, ~rlac~ng a cage ~~ ~.sira~ auto/allograft_. Mr.
          ~ursa~zg says 17r. Durrani never rally explained to them aba~at any k~ard~vare or
          TNFU~E until she h~.d tote seoon~ surgel~ and then he mentioned he had to
          remove the old hardware.


       E. 9l9I1 D - At t~~ time ofthe l~r. Durex first office v'~szt, Carolyn was cc~try.~laining
          off' neck p~irt, headaches, intersca~ular pain a.~.d xadicuIar pain go~~g down right
          arm and vas mxgr~ting #o the ~e~ as well. Pex br. Durrani's ~,ate~ Carolyn atso
          had nurnbne~s and paresthesias in the C6 and C7 ~.is~zbuti~~a. ~t is at this visit Ur.
          Buirani states he reviewed her MRS end determined she seeded ~5-Cd, Chi-C7
          ACDF, See details a~rac~ia~agy Coaxipariso~ below in question ##~..

                                                      2
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      F. 10!61]0 — In a letter to Dr. RQ~er,Dr. I~urrani states Cars~ly~ is no~v S/P- C4-05,
         G5-Cb, C6,C'7 ACDF da~a~ on, ~O1~I]~, St~t~s der xadicular pain is gone, her pain
         scare ';n~as 3/1[7, daes have i7ght sha~lder pain, weakxzess x~ der a~t'ms and a sore
         ~hraat. ~nly~i way ~e:~ni~etl to fraud tQ F1Qi~ida ~vitl~in a week of suege~`y
         weazir~g a so£~ ~o1~ax. ~arnlyrt had plaruled to go to Florida for several weeks ~~.d
         r~turr► for an office visif and tl~e Christmas holidays thin ~re~u~ to Florida,
         Ac~arding to Dr, Du~rani's letter she was to do ~Shysicai t~ierapy vvhi~e in Flc~rx~~.
         far streng~.ez~ing, stretching and gating her ras~g~ o£ z~otzan ba~~., Carolyn s~.ys
         Dr, I~urrani never ardared any ~ahysica~ t~ierapy ~`or her while she ~r~s in k'~o~Xd~.
         because he had told her she didn't need it. Tyr. Dt~rraaai hid given her a re~11 t~or
         the VicQdin and a Medrol dc~~epalc. She was to re€urn in 3 months.


       G. 1 1211 d — D~ Cervxeal Spina 2~-3 views @ I+~excy Fairfield


       H. Fiti.__~d~~~s: The ~.nte~iQr aspect of the date is just pasfiez~ior to the trachea. Its
           pasitia~. v,~a~.ld suggest that it rn~y ~e dis~laaing ate ~sapha~us,(question - ~s the
           p~tzent having a.ny dyspkaagia},


           There axe rnEtallic devices seen withzn ~~e rzaus~uX~.ftaxe of awerlying the deft
           shotalder region possibly some type s~~~~.#nulatian device. (included)


           Inzpreasion: A cervical fusign ha.s been perf~rz~sn~d~ 'Z`~~a pi~t~ ~pp~ars to tae
           dispiac~d. '~"he screws k~~.v~ backed taut o£~.e vertebral b~die~ at C7,~6 and ~5.
           Wi~tk fihis Impx~s~ic~n it tends to made one wo~~er if pr, Durrani really lot~k~cci a~
           fihe film and i~~ official result by ~lx. Itt~ioert ~.ove aid i£ he did> Why ~ot~lt~ he
           allow this patient to go ~'larzt~~ ~r an extended p~xiod of t~t~e acid noC repair ttie
           loose screws acid plate before 7 11111,


       K_ 1.~1141~~ — In a letter to Dr. Roper, Dx. Dcirrani ~k~tes Carolyn's heada~ha5 aye all
          gQtie, ov~ra[X ~ignment was excellent but the l~wex scxews in the p~at~ a~ G7 had
          bac~~d aunt ~, littl~it, She w~.s not having az~y swallowing problems ~t that time.
          ~~ralyn was to retuz~a in May


       L. 5119111 — In a letter to Tar. doper, Dr. Dux~rani states tha# Caratyr~ lead spent
          several ano~ths in ~'lc~rida aid she 'uvas having lower peck peon an. k~oth the right
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          end lei side. Forward flexion of~~a~ neck and laoki.~tg t~ the right teas also
          paulfiil. ACT Scan of tier Cervical Spine was Ordered,


       M. 5(~l/11 ~ C'T ~ezvical Spine ~ Marcy Fairfield. Impression, The a~terigr
          fixation plate that extends from C5 ~o C7 appears to be displaced arit~xiaxly, z~aost
          pranaun~e,d at fhe inferior aspects oafthe fusion, at tube ~71et~e~. 'fie screws
          a~~ea~r to have backed out somewhat phis appearance bow~ver dais not appear
          significantly changed whey compared tp the recent x~ray [~f 12/x/10. {inelut~e~}


      N. 6121 1 -- In a letter to Br. Roper, maw b months s~.n.c~ Dz'. 3~~.~ra.~i was aware t1~e
         screws were l~ose~zng, Dr. 17urrani states Caxolyz~ load developed signifcant disk
         deger~erat~an a~ C'~-Tl wlxich he s~.id was below the fission. I7r. ~u~rani also
         no#es tie distaff sct~w in Che platy had also come lotise and was int~rdisca~ a~ this
         ~aoint. His zec~rnmend~,tia~n was to da a ~6-T1 ACDF a~nc~ Revision of tk~.e
         instrutnentafi~an from ~4-T1. Caraly~ vas also complunin~ ofr~dicular pain
         s~aoting down her left Isg. A~, h~1Ri oft1~~ Iurnbar spine was 4rc~ered, #~ ~~t'gery
         was scheduled far 711 I/1 ~,


       O. 7/11/ 1— ~n the Qparative Report I~r, D~ar~r~i stags unfartunate~y the p~r~v~ou~
          screws load became significantly loose and the pate ~.ad fast its ~~.uchas~ in the
          C7 vertebral body and appe~xe~! to k~~ve backed out. Thy screws at C7-'I'1 tad
          rnigrat~d into the disk space between C7-TI and was causing severe stenasi~ and
          disk degene~~.rian.


       F. This is the 1~ardwa.xe Dr. Durra~~i casually mentionefl to Carolyn aid her husband.
          that he had removed during the second surgery.


       q. 61~ 711 ~ — MRI L~trnb~.r Spine wa Cflntrast ~,7a Meroy F~irfteld. Inci~r~ssian, Mi1~
          d~velQping central spinal stennsis at L4yLS as a xesul~ o£ degene~~.t~ve ~.nd
          ciiscogenic gauges present at this level. Mild degenerat~r~~ ~zs~ogezzie reaction at
          L2-L~,L3-L4-, and L5-S1 as described in findings.


       R. 61301I 1— In a le~tez to Dr. Roper, fir. Durrani states the hfIRI of the lumbar sp~i~~
          ~h~wed largo dish herniation at the L4-L5 1eve~ aausir~g severe bilateral fora~ninal
          stcnasis. Car~olyrr also has I~~g~aa~ative 5pandyZolis~esi~ grade 1 at L,4-5.



                                                 4
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       5, ~~bl~n says after fine #2 s~'ge~ty Dr. Durr~i dicl order physical, the~'&py ~f whick~
          she completed 25 sessions over a 14 week period. Her last v~sxt with Dr. ~urrani
          was ort 101111E 1 az~d was released,


       T. #1 Surgery is debatable whether i~ needed to be dane at #hat time. #2 ~uegei°~ r.~vas
          d~£tnitety needed due to the loosen screws but ~t tva~ 7 months ~rox~a, Y~ie time of
          diseovety i~, vf~ice note dated I2114/14 iixitzl 7fl 1111 before the~t loosened screws
          were repaired.


       U. Dr. Dux~-ani's mi~interpretatio~ ~f the pre-aper~~ive dia~~ostic:
          71$110 MRI Cel~uical SP w/o Co~►t~rast a~ Mercy Hospital F~i~fielt~
          Fins~in s; IV~ild ret~'olistb.esis a~ CS an C~. Froba~le hemangiam~~.-- C'7 verEebral
          body.
          At G4-~5 and C7-T1 levels,there is no significant disc ~ulg~ canal stenosis or
          neural ~aiaminal ~~rrawir~,
          At ~5-C61e~e1 there are ~od~rately severe diseoge~ic hypertropkaic changes
          which result in moderate ca~1 st~nosis, The canal i~ narrowed t~ '7m.zn.

           Itnpress~fln: Changes are peen ~t the CS- ~6 level re~ultitig moderate ~~a~
           stenosis centrally in severe right-sided neural for~mival narrowing. [in~~~rded)

           91911a - In a letter t~ Dr. Roper, Dr, D~anx Mates he reviewed Cs~nlyn's MRI
           ~fxick~ sk~trw~d ~ severe disk degeneration at C~~C6 and C6~C7, At ~5-~6 she has
           a disk hern~atiox~ causing effa~~~ent o£##~~ spinal ooxd arad thecal sac itself and
           causing Keay si~ni~€c~t spinal s~anosis at that level, Dx, D pi's impression of
           Carolyn's status was se~rex~ cervical spiny sten+osis C5-CG & C6-C7, herrxaiation as
           mentioned pre~iottsly and biXat~cal ar~.d for~~za~z~~k stenasis at CS-C6 mid C6-C7.

       V. Der. ~~xx~~~x z-ec~~umen~ surgery on the first office visit.

       'V~'. I)r. I~~rrani perfar~anec~ two surgeries an this client;
             #~1- Su~~ezy - I(1I1110~ rr ~Ve~ Chester i~Tedical Centar

                PREOPERATIVE & PD~'TUPERAT~YE DIAG~QSE~: SAME
              ■ Degenerative Dis~C dzsease C4~C~, CS-C6, C6-C7
              • T]e~en~r~tive S~ina1 Sten~sis C4-05, C5~C6, Chi-C7

                FR~CEDURES;
              • Anterior cervical I~iscectaxny C4-05, CS-C6, C6-~7
              f A,rite~'io~ Cervical ~'usian using Auto~ra~t and Allflgraf~, C~-05, C5-C6,
                C6-C7
                Placement of tlnterior Int~rbady Cages, C4-CS,CS-G~, C~-C6
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              * ~'Iacement of Anterior C~e~vical ins~uzzez~tat~o~a, +C4-CS, C~-fib, C6-C7
          .~nfarmed Consent do~~ not mention use o,f'1~Ft~~'~,Auto or ~irlo,g~aft,

          #2 -- Surgery - 7/11/11 car West Ch~ste~r N~edical Center
                  PREUP]ERA'~TVE PO~TUPE~tATTVE D~A.GNUS~                              SAME
              ■   Cervical Spinal Stenasis, ~7-~'J.
                  Cervical Degenerative Disk Disease, ~7-Tl
              ~ Cervical ~p~ntlylosis, C7~T1
             • L~os~ Hardware fiorr~ ~4 t4 C7

                     FR(lCEDURES:
               • FZemoval of p~evzc~us inst~~m~ntafia~i frr~~, C`A to ~7
                * Anterior Cervical Discec~nmy C?-T1
               • Arataxiq~' Ge~rvioal ~Yision usir~ Auto and A,llo~ra£~, ~7-T~
                     Place~nen~ of An#eriar Inferbar~y Cage, G7~T1
                     Anterior Cervical Instrumentation, C7-T1 {M~cl~roni~ P~~atxge)
          Irtfo~med Cans~ent stcr~es C7-7'I.~CDF, revi~~ian instr~umentatior~, tt does not state
           ~'erraovad ofprevious fnstr~e~nentcr~ian C4 to C7 Qr t1~e usage afINF~TSE, ~4~to grad
          .,~1rog~•c~ft,

       X. B1~'r2 was used in #1 and #2 ~urgezies.

       Y. The foZln~wing hardwaa~e was i~~lan~~cl:
          #~ - '~ I — INFUSE Bp~e Cn~t ~ SNP 1.4 ml — Medtronic Inc. Sofamor
              •   ~. — ~4&zt7t BXbA.Ct ~1'~455 PB.C~: J~CC — (~1'~1(JVk~&
               0 3 — ~~'C~'VERT CRA~IR~TN — Med~xonic Inc Sofarnor
              • 1— PLT Ant Cery ~ep~ir 55rnm T1— Medtronic Inc Sai'aaxaQx
                   3 — S~xew SD 3.5 ~i 13m~n - Medt~~c~nic Inc Sofa~dx
               * 4 — Screw SD 4X13rnm ~ M~[~'~'QX~G Z17tG ~"4~aIT10i'
               ~ 2 — PTN Prefixat~c~n Zephir - Iv~ed~ra~aic ~r~c Sofamor
          OpeYaiive Report ir~c~accrtes thet•e 1ve~~ th~e~ cages played bit ora tl~e Impta~t Ong
          ii Fs t~otspecafi~d,

          #2 - ~` 1— Vitoss i.2rn1— OFth~vita
              • 1 - IN~`CJ~SE done Gxa~            ~M 0,7rn7 — Medtronic Inc Safamoi
              • I - Iu~plant St~,nda~one 16~14X7m.~za - Medtronic Ins So~ax~vx
              • 1 —Screw ~A ~~15mm - Medtronic Inc Sofarnt~r
          Ir~fax~naed Canse~tt does not rnetatxort Rerja~val ofi~tst~umes~tt~tion ~rn~y ~evisaon or
          ~asingAasta arrc~~4lingtaf~.

       Z. U~£Label Use: It was aSmith-Robinson apprflack~ ~`or bat~x #1 and #2 surgeries,
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      AA.       #1 t7perative Report vva~ ~xa~ated by Dr,~urrani gn 2ll~Jl i {135 days
        layer} end vexi~ed by Dr. Durrar~i a~ 2/I~/11 413 days ~a#er}.

      BB.        #~ Operative Repc~~t ~v~s dxc~~.ted h~ Dr. Uui~'ani on 7!11111 and verif~~d
         by Tex. Duxza~ai on 81 111(24 days later}.

      C~,             Tha fvllawing consisted ~~~'a~i~ed hardw~~e: #1 S~.ugery — t7perative
             ~t~part #2 it is stated the screws in C~ bady tivere completely loose anc~ had
             actually migrated iota tlae C7&'~I disk space. Ifi also stated the screws from the
             C4 anal C5 vertebral bc~d~es were also xe~tr-~ved ~la~g ~+ith the entire ~1ate, {~6 is
             not mentioned}.

      I}D.       Carolyn saw Dr. Cohen at ~Che Mayfield clinic fn which this suxgeon said
         `there was nathi~g else he could coo fQr hex and everything loafed fine t~ lurri".

      EE.            Carolyn says der acti~i~#ies were 1e~s after the Ux. Dunraz~z surgexy. She
             feels these surgeries has affected the quality of hex life and fh.~ s~a~ su£~'e~rs with.
             necle pain,limited neck mabilit~ az~d headaches on a daily basis. ~arol~n gays her
             papa score 3f10 is ~.o bettex t~aaan. Xt was before tlae sur~erie~ ~.nd some days its
             worst.

       FF.           Carolyn says leer headaches have never gvn~ sway. ~~ ~,o#~ce nv~ of
             12f14I10 Dr. Duzx~ni states hex k~eadac~ae~ arE co~aple~ely gone. In that same
             note, Durrani also mentions that Caxolyxz is not having and+ s~rat~vwx~g ~~•ahlems
             when acl~ua~~y she has had since then but never connected t~.~ two, Caroly~a ats~
             states that she has seek an BN`Y' doctor for her earaches which seem to be getting
             worst lately. The ENT physician told hez~ the earaches were fr~arn too many neck
             suc~e~ies. Carolyn says she never thongi~t to till ~iirn about her dysphagia with
             same faod~ ~i[~e bread au~d niea~

       CrG.       Caralyn's limi~atic~ns are:
          Walking —was generally nafi a problem but recently she's had knee surgezy acid
          now uses a cane.
          Sit~in~— i~ a ~rablem #here days because hex ~.ead feels very laeauy a~ftex about 3~
          rninut~s ~~vifi,~.a~t s4rne lend ~f support.
          Standin —again after ab~u.t 30 minutes she needs to sit dovan and support her
          he~.d and ~e~k.
          ~,aya~.g ~l~w~ — sloe i~ a~b~e ~ turn to the ri~at and left as 1o7ig as shy has a neck
          support pillow.
           51ee in --she needs ~. sleep medication to get to sleep then slue awakens ~~ery 3
           hours die to the fain and drscaznfnrt.

                                                     F
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          Liftin l~rnit —etas ~.ot a problem befox~ the surgery but ~o~'~ she is Iiinited to less
          than 5 lb~ ~d is not able to ~i~ the gtan~t6abies onto her Zap.
          Househ ~d chores —shy is able to Ifla~ the dishwasher bxie~y, not able to tolerate        —
          nu~r►itig the vacuum or carry any laundry baskets, She is a6I~ to fold the clothes,
          Grocery shopping is accom~ali~h~d with the assistance of her hl~sband and the
          elecf~i~ cart. When groce7y slaapping she Ends she ~~s to turn ~.er whale upper
          hotly to look for ikems because t~~ the limited mobility of her neck,
          Ability to drive m she is able beat would anty da so in the ease of a~. ~me:rgency
          bea~.tise o~ the Iack a~mobzlit~ in her neck and the ta~~fic she wat~Id eneountex.
          the does man~g~ the Io~.~ car trips #o F1c~rida by u~ilizitig a n.ec~ support pillow
          along ~~ith rraany ~requ~nt stgpa usually a~aut every two hours.
          Fl~xian — of hex ~.eck is limited but Caroly~i statas hea.' neck clicks mosf of trce
          tune upe~n rn,ovemE~~. She can only bind her neck for~rrard a lisle.
          ~~Ifcarp —she ~~~riences trn~lir~g and ~veakxaess ~~ ~xar arms, does rna~2age to do
          her town her, dz~ss harself anc~ shaver alone,

       TRH.      ~aro~y~ states she is never without neck p~x~ std headaches bn a daily
          basis.

       13. Base. upon my re~riew,the following ire my opiXai.QZ~s based upon a reascmable
           degree a£ rz~edxcal certainty pertaixxing to the de~iat~~z~ ~t~ sta.ndard of care ar
           negligence3 i~nf'ormed consent,l~atcery and feaud claims agazr~~t Dr. Durr~.ni, CAST,
           west Chester aaad UC Health wlzicl~ prc~~nately ca~a~ed ha~zr~ to PlaintifF:

           A. deed ko ~at~e at~t~itional surgery ~o repaix problems crated by D~. ~►~~~~

           B.. Irnplanta~ic~n ofFuregan ~+ithout znfortxked consent

           C~ In~.p~~zatatzan o~BMI~-2 without ynf~rmed con~~~at

           D. Failed harc~wa.~'e

           E. Failure to obtain proffer informed consent for surgery

           F, ~ail.ure to provide adeq~~ate and tht~r~rugh ~re-ope~ati~e ~d pt~st-o~~rative
              ~aatient surgical education

           ~. Failuxe tc~ properly host-ap rnanit~r the patient

           H. F~ziur~ to propexly perform folla~v up, post-op care

           I. ~ieglige~t s~xgi~a~ techniques

           J, ~ailute tv m~i~tain accurate a.~nd cam~lete surgical records and. surgical
              consent fot-ms
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          K.. Failure to dxsclos~ irnp~rta~xt health infa~rtna~vn t~ patient

          L. Failuz'e to maintain and com~alate discharge surnrnaiy

          M. Failure to s~~pervise Dr. D~rr~.~x

          I~'. 3Jeglig~nt pre-su~gica~f diagrnasis

          O. Paiiure to ~r~paxe a timely operative report ox other medical r~card

          P. Billing ~'ar se~'vi~es nflt cc~mple#ed

          Q. dot it~or~~z~g the patient another surgct~n will be doing a1X o~~ pert ofthe
             surgery

          1~. Prac#icing outside I7r. 17u~rani's s~ape aftr~ining, et~u~atic~n, experience, and
              Saard ce~rti~ications

          ~. Deviatib~.in standard cad care

          T. Failure to perfornn thorough and accurate ~re-v~ non~~trgicaX evaluation

          U, Failure ~iy Dr, Du~rx~tai tc~ inform patient of ~di~iona~lchatY~;ed pro~e~~~z~ ~.nd
             reason

          V. Failure by CAST to cEisclose ac~c~itionaUchanged pro~edur~ and reason t~
             patient

          W. Failure by T~s. Durrani at CAST to properly educate pati~~.t re~axc~ing
             diagnQSis

          X. Prior kt1nwledge of possible ec~mplication ~r~.d riot acting properly upon same

          Y. Fail~a~~ to disclose pextirielxE health inforrna~ion to anc~t~er health carp pravxder

          Z, ~'taudu~ent, negligent anc~ reckless px~-op~x~txve work up

          .A.A.   Fraudulent, negligent and reckless surgery

          BB.     Inaccurate,fraudulent, andlor exaggeration of diagrios~s

          CC.     Faiiux~ to properly e~.u~ate pa#:tent re~~r~~r~ diagnoses

          Dl~.     Failure to attempt non-surgie~.l ca~ser~vative fxeatrr~ent

          EE.     Failure to perform tharou~h ~d acezu ate pre-op nonsurgical e~aluat~an
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           F~'.failure by Dr. Dur~'ani at UC1West Chester Hospital to perform t~ccurate ~.~.d
               cam.~lete ~reaperati~ve teao~az~.g                                                     —

           GG,      F~i~~re by Dx. Durrani at UCl~est Chester Hospital to propexly ed~.cate
                 patxe~.t ~reg~rding diagnoses

           HH. Failure by D~. Du~~rani a# C7C1'Ut~est Chester I~[aspital to mainta~r~ accurate
             andlor coznpl.~te medical records

           Tl.      Failure of infolmec~ consent by Dr. Dl1CC~I11 at ~IG`IW~St Clle5t8T ~bSX77l'~~~

           JJ. Failure ofUCtt~I~st Chester Hos~itai to ius~.u~e Dr. Durrani and CAST ~aad
               obtained proper informed consent

           KK. Failu:re crf UCIWest Chester I~os~aital to obtain ~ra~er acfcn~wledg~ment
             ofconsent

           LL.F~~lure by fir. Duz~rani a~ T.TCIWest Chester Hospital to dzs~lose par~inen~
              health. infartnatian

           MM. ~`ailure by U~I~e$t Chester Health fic~ disa~ose additionallchanged
             pt~aoed►~re and reason to patient

           NCI'.     Failure by U~l~esi Chester Heal#h t~ supervise staff

           OO. Failure by UCIWest Chester Nledic~Z ~~a~#'to pxap~~y docu~ne~~t
             ~bnoxn~aiitiss and follotiv up care

           PP,Mon-a~apra'ved hau~.waa:e con~.binati~~s

           QQ.Dr, Dur~ani made false aid. material ~isrepx~s~z~tatic~~s c~iF acr~ate~i~l £acts
              ~nt~nded to ~axslead Carolyn T~urson~ and. ~~nceale~l m~t~ria~ faet~ he had a
              duty to dts~Ivse. UG(~+Vest Ch~sfer Healt~'i and CAST con~~al~d material facts
              ~-iey hack a duty to disclose. Carolyn I~~~rsong vyas justified ire relying a~ tie
              rnisre~aresentatson and did reEy pxo~i~tnately causing la~rnri to Carolyn
              Hurson,~. Dx. Dui~rani, CASTg and UC/Nest Chestex HeaIt11 intentionally
              rnis~ed C~roIyn Hu~rsor~g, Carolyn Hursong had the right to correct
              in~£ornaatz~~,

        14. Tire testirl~~~~y, Pacts anc~ exhibits of~renda ~b~ell's R~sp~nse tv MotiQn far
            ae~n~m~ry Jt~dgmeri~ and Exhibi#s to sane are applicable to all tkr~ claims against
            West Chester 1Vleciical ~ent~r (VirCMC)anti ESC Hea1Ch.far all claims, ~nelu~ti~~
            negli~ex~t retec~tian and cr~d~ntialii~g bro~giit IYy Plaintiff.



                                                   10
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       1~.       Base upon my review off' the de~ositian #cstirntrst~J, the JCAH~3 regESire~e~ts,
             the MEC byla~rs anc~ alI the irift~r~nation provided to rn~, I ~ni able to adopt the
             fa1lQ~vii~~ opiniotzs relating to GCMG azzd `UC deal#h pertaining #c+ tkt~ al~ims
             ag~f~tst t~~.e~n, VstGMC's and UC Health's actions anti u~actiazis ~.etail~d in tl3is
             affidavit p~a~zsnately caused harm to Plaxnti~: WC~t~IC a~ic~ UC H~alt1~. ire both.
             beiaag referexaced w~1en ~n1y ~CMC i~ ~~un~c1. I hold tY~.e,follo'w~ng opinions
             relative tv WCIvIC arici CJ~C Health pe~ta,ining to their conduct acti~ag through #heir
             administx~.t~on and 1VI~C. The time period cc~~veF~ed is from the dime ]fir. D~~'a~ni
             sought privileges prior try WCMC operain~ in May 20n9 tough Iv1ay 2~I3 whin
             he no Ionger ~~d pz7~rileges. In add~t~on to nny apinians, I set forth facts I rely
             span. This includes all which I re~iexen~sd Chit I ravie~ved. I~ addition tv all of
             the above, Y atkest fi~ the ~'a~Powing;

                                                FA,~'~'S

             i. According to West Chester's ~xs# Executive dice ~iresident, Csra1 I~in.~ she
                did not e~plc~r~ the "rumors" about D~. l~urrar~i°s leaving ~l~ald~en's.

             2, A.ccordir~g to ~~.rol King,the htrspi~al. tacked probleza~i issues yet WC~C
                have failecE to pxaduce the i:ta#'Q~tza~ion undei pier review p~otectinn,

             3. A.ccarding try circulating nurse, J~n.et Smith,presets ~rrere changed in tote
                ~oznputer to indicate the ~racedure Dr. Durrani pe~fvrmed Fifter the procedure,

             4. According to Janet Smit~a, despite no one a~ Vi~est Chester never warkin~ wi#Yt
                Dr. Duz~ani bef+~~e,'UVCM~ never c~ieck~d hina out.

             5. According to farmer Uni~re~~sity hospital President ~a U~ ~Iealth l~c~spi~~l,),
                Brian Gibler, hospitals face financial challenges.

             6. ~Lr~ardin~ to risk rcianag~x,.David 5eht~vaElie, risk management knew T)urrani
                ~~d issues.

             7, Ae~arding t~ radi.alvgist, Thoina.s Browa~, th~xa wire ~urgeans quesfiic~ning
                ~urrani'~ decisions tv perFortn stugery.

             $. Acca~'ding to txae~ical staff d~rectar., ~'atxl~ Hawk,a policy celled "stop the
                lying" was imp~~manted the same yea.~r end ~rnont~ ths~y kicked out Dr,
                ~urrani. This infers a poor enviror~rn~nt of honest and disclosure before this
                policy.

             9. Ae~vrding to Paula Hawk and as the director of medical ~t~ff, money is not
                supposed to trump ~~tie~t safety.

             16. Acceding to Paula ~Iawlc, she admits peex xeview is far hospitals t~ protect
                 each o~i~r,


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         11. A.~~carding t4 Pau1a l~a~k, she a~[rnzts hospitals are interested X~a volume,
             something Ilr. Dt~rrani prvv~de~ fir WC~VIC aid U~ ~Iealth.

         12. t~ecordit~~; tb Mike Jeffers, t ae director offinance,th~:y tracked Dr. Durrani's
             financial cumbers.

         13..~lccQ~d~x~g to Mike 3ef#crs, he admifis Dx. Durrani helped thazn in their tirn~e ~f
             need.

          14, AGCardiz~g to Mike J~~ff~rs, Dr, L~ran•ax~i was the highest rno~ey g~~aexatar.

          ~ 5. According to Mike Jeffers, he knew Pr, U~~rrani had morn than one surgical
               suite assigned at once.

          1G. According to Mike ~'effers, bt~nuses wire laid to hint anti ot~xers based upa~~
             finances.

          17. A,~c~edil~g to Dx. Pe#er Ster~~, he knew Dr. T~ur~.~ani was only °`satisfactory,"
              not a world cuss spine surg~vn as Vest Chester adve~'tised,

          ~$. Llr. Sf.~rn doe~~.'t d~n~ adm€tong U~ He~1t~.lacked t~i~ other way on Dur~~t~i
              because of mcaney,

          19. Accc►rc~ii~~ tv credenti~iing n~~na~~r, At~n Shelly, there was plenty a#'"public
              kx~o~alecige" abut Dr, Duxxani to check before cxedentialing.

          20. Acco~c~ing to Arun 51~►e115~, West Chester relied o~i the Nk'I7~ they knew was
             ~]T~t~Ct~f~ ~7y Y145~1t~5.


          21, Dr. ~z'ic Schr►_eeb~rg~~,, I~r. Durrani's partner, was an the MEN at WCMC.

          22. Aacard~~g to Eric Schneeberger, ~t~V~st Chester knew a~aout D~uranr
              sched~tli~.g surgeries long into fhe day aid night.

          ~3. According ~o f~rrner nur~in~ manager, Elaine Kunko, W~MC kta.~w about fir.
              T~~trrani not completing r~ect~rds.

          24. ~ecard~x~g to Maine ~un1~a, ~1VCMC kr►evt~ L}r. Uurrani would claim sur~;eri~s
              were etnerge~cy when they were not.

          25. Accat"t~[il~, ~0 EIc'i111~ KEItIICb, ~ICNI~ ka.evv them was an issue vaith Dr.
              Durrani not ~ein~ in the xaam doing su~gezy an "his" patient,

          ~5. R4~~ording to Elai~ie ~.unlcc~, even the bR nurses knew'txJC1VIC but up v~rith
              ~1x. ~11rI'Rtli ~4T ~TIQflE~.



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         27. ~cec~rdizzg to Elaine I~unko, ~rVC~VI~ tracked Dr. Durrani's ~n~ncz~.l ntunbers.

         ZS, Acct~rt~i~g to ~ez`io~3eratir~e direc~c~r, Lisa Davis, WCI'vIC knew Di~'ani's
             o#'£~ce is supposed to get consents so ~VCMC had an t~bligaiion to mate sut'e
             they dfd.

          29. Accot~ding to Jill ~te~rn~n, tie risk manager at West Chester,she knew
              D~aa~~ni had "issues,"

          3+d. Jill Ste~;rrian cQn£~zns Gerry G~od~nan.'s complaints.

          3I.According to K~t~y Hays, W~M~ knew kxow Tyr. Durrani used BIv~~-2 azad
             PureGan.

          32. Lei. ~'ian Kien~chak, the thiefofthe gr~th~~edic de~artYne~t, Failed to d4 his
             jpb un.d~r the MEC bylaws as it related to the supervzsxon aid xeview Qf Ar.
              Dru'~rani.

          33. t~,~c~xt~ing tc~ Dr,'Xiizl I4reinch~k, he knew Dr. Durrani vas "~loppY."

          34. I~~vin Tosepl~, the CE{.~ ~f't~V'CMC, clams fio Icriaw nothing abcaut surgery
              operations in, kris hospital.

          35. Kevin 3osaph, the CEO,o~ai~rz~ a hospital zr~usti protect patients from
              unne~eas~ty hat7n "as xn~ch as fey ~a~.°'

          35. ~.~~~x1 ~o~ept~, the CEO,claims WCIVMC doesn't have nv~~rsigla~ o£ surgeons
              doing what Plaintiffclaims l~urraari was doing. ~Des~rite what bus bylaws
              state.}

          37. Kevili Sc~sepli, the CEO,denies ~;e hospital lxa~ any responsibility if L]r.
              Durrani did are unnecessary surgery.

          3S. Kevin Joseph,the CED,despite his ~"inartGe of#ice tracking it, denies any
              kn~wledga ofBMP-2 use.

          ~9. Kevitl Jt~seph, ale CECi, denies knovc~ing about any cozn~larnts about Dr.
              L~«rani.

          4Q. Kevin dc~~eph,tie CEC3, admits thep l~e~~~ted ~~.an~i~l~~ from Dr. Durxanx,
              in.o~udir~g his ovvxa pay.

          A 1. Ma~~k Tromha,the QR manag~t, admits B1vIJP-2 use as used by Dr. Durrani.




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          42. According tQ Jeff Dra~rali3~, the Senior L~ad~rship team, including ,~oseph, reset
              weekly and reviewed iiurnbers.

          43. Accoixlin~ tia J~fi'Drapali~., t~ce C~`+D of~ICMC lcnetiv Dr. Durrani was a high
              ~olutrke money maker,

          4~, L~sl~y Gil.~ertson, a member cif tie 1VIEC a£ WGMC,and anes~esifll~gist
              urorking ~~i~h Durrani, had a concertr. about ~nw lang Dus~'ani kepi patients
             under.

          45, ~lccQiding to materials manager, Cfer~nis ~.abb, W~~C lcner~ t~ye ac~ltunes of
             ~iMP-2 being used.

          45. AG~~rc~ing to Karen +Gt~a~'ari, ViiC1l~C knew the cl~az~ tiacumentat~on of`br.
             ]7u~ra.~i was not it: corn~liance with their bylaws.

          47, P~~~iek Baker, nu~rsii~g VP at WCMC admits'~CMC trac~Ce~.the financial
              per~ox~ance ofDr. Dut~rani,

          ~4$, .A.~~or~~ing to nurse, Vicki SGOtt, t~3e atirninis~ratian ~f W~NfC knew from the
               outset of West Chaster all the s~rzous issues pertaining to Dr. Dc~t~ani.

          49. Acc~orclin~ to V~clri Scott, West Chester's risk rna~~g~~r began to ignore
              complaints frazn Ma. Soatt.

          50. ~CCOTC1kXl~ 1.d ~J1C1Sl ~C4Y~, staff vas scared to speak put.

          S 1. Acaa~'CIETI~ ~0 VIC~k SCDtt, patients didn't know v~+ho did the su~eri~s—S}iatiti
               ter Duzr~.~a.

          S~. Accarc~€lag 1:a ~Tiek~ Scott, xacords were not acauxate who tivas in#he bI~ ~t
              what time.

          53. Accarciing to Vi~]~i Scot, everyone at WCMC ~Sriew it way a6~~t zx~c~~~~~

          54. According to Vicki Scott,'VL~'CMC knew about Dr,Dut~'ani.'s axxd West
              Chesee~~'~ illegal use ofP~ueGen,

          55..Accn~ding to Vicki Scott, Dr. D~.t~t~~ni was a beh~.vinr prablerri.

          56. According t~ patient ~`~~rese~ta~i~e, Elizabet~~ Dear,'WCMC ~r~c~e~. Dr,
              Durrani's volumes froTn the oufset acid the C~'a loved what he saw,

          S7. Aoeording tv Elizab~Ch T~e~n, ~VCMC mew Dr. ~ut~ani had issues at
              Children's.



                                                 1~
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         S8. Acaardii~g tQ Elizabeth TT:~ean, GCMG knew Dr. Durrani way perf4i~rning
             uz~xa~c~ssary procedures by volumes end repeats

         59. Acoflrding to n'tarsc', Scott Rimer,~CMC knew }7r, L.lurrani waited until a~ke~
             surgeries t~ dc~cu~e~t what pracadures were planned.

         &0. Accoxd~~g to ~co~k F',~mer, patients afi WCNIC had procedures they did nat
             conse~.t to and Vs~CMC knew it.

         61. AcGOi~ding to Scott Rimier, sterile fields ~rv~t'e not protected.

         62. Accardin~ to Scatf Rimer, WCMC knew P~.treGen w~ k~eing used ~iy Dr.
             Durrani and allowed xt,

         ~3. Accortl~ng to Thomas B1~.~k, Fu~re~en was aaa alternative to BMP-~, wl~ic~
             V+~CMG turned to based upon insura~xce denials ofB~'-2. ~ ac~ditior~, Dr.
             D~rrani operated ~ unet~ica~ PC}~7 o~Al~hatecka ~al~ed ~valution Medico[ t4
             se11 PureCran to W~~t G~ie~terc.

         ~4. Accardfng to Gei'~y G~odrn~~,~Y~IvIC tracked BMP-2 ~~e by Dr. Durrani;
             ~a~iez~#s did era# 1~naw who a~ times p~x£~xmed fherr surgery Dr. Shanti o~ Dr.
             Dw7~tu; elect~on~c records had ~Q be ck~sngad afteY~ Dr. Z7►u~ani's su1~~ry; ~]~,
             I}uz~'~'ii end ~4VCMG never obtazn~d info~7n~d consents? I7r. Dut~rani's ~valuirx~
             was a. warning sign of ovezutilization. ~er~~,7 Gooc~nan re~orCec~ X11 these
             concerns to ~ICMC and thane was no ac~c~n. Gerry Gflodrnan was told and
             cc~nclud~d that'WGMC did nflt want to da anything about ]fix. DurrAni because
             of money rewards,

                                  A~tDITIQ AL FINiQ~IS

          ~5. Tt~e Center ~f Advanced Sine T~~hnol~gie~ {~AS'T} ne~ligentl3~ supeY-visecl
              and retained ]fir. Durrani, including by alla~ving Dr.Durrani to perform
              u~a.~~essary prooeduxes ,d ~t~'ger~~s; use $N~'-~ ~ndlox ~'ureCen without
              appropx~~te consent;failing tt~ disc~vse Dr. ~hanti and others involvement in
              su~ge~ry; improper billing; changing ~e ~r~o~ ar~d post-ap records to coi~ncXd~e
              wk~en tY~e surgery was nt~~ the surgery disclaseda and all other ~crnduct detailed
              in the ~lacumetits Z xeviewe~i.

          6b. W'GMC,UC I~ealtl~ end GAST's motive fc~►• ~h~ix ~ct~o~ts ~z~d ~~ac~ons
              to~,vaa~ds 1~r. ~urr~~i was ~inai~cial gain.

          67'. The MEC,administration and Boards ofWCM~ and UC Health Failed to
              "cavern ~1te a~'fairs ofthe Medicat Staff64

          b8, Tlxa MEC,adsriinisi~a~ian and ~~ar+~s of WC~VIC still L7~ H~a1t~i failed tQ
              ~nfoxGe their r~~le~ l~pon ~~. Z]ur~i as t1~.ey were required to ~o.

                                                 15
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                       ~iirn, ~~wever,based npon ~e facts ~Z~re, it is alaviaus they failed to tale
                       actip~n,

                   82. based upon all ofthe abQVe, it'$ rn~ apinia~ that'~'VCMC and U'C Health wex~
                       ~egli~e~.t ire their credentialirlg, su~~rv~skng, disciplining ~.rd retaining Dr,
                       L7urraxu on s~afF~nd allowing ]zirr~ tc~ o~i~ain and ke.~~ pxi~ilege~ ~ V~C1V~C
                       ~u~der the standards of Qhio as detailed i~ tie Brenda Shell's R.espanse to
                       1'v~~tion ~Qr Sluxvriary J'udgrne~at and this prnxixnately cause,ha:~'m to Plaintiff:

                   83. The facts support Carol~~a H~arsQng's maim for negligence, ~attary, lack of
                       ~onse~at and fraud.

                   $4. As a result afth.~ negligence ar~d ~a~.duot ~~~r. Dttxrani, CAST, Nest Chester
                       ~xxd U~ Health, C~.ralyn Hurson~ suff~'~d dafmag~s pr~xin~ately caused b~
                       them,including ~h~ fa~Iflwing:

                        A. Permanent dis~~ility
                        ~. Physical d~foty and scars
                        ~. Past, C7xt~ent aa~~ Future Physi~~l and Me~afal ~~xn and Si~fferi7~g
                        D. Lost inc~rn~ past, present and future
                        E. Loss of enjo~rnent reflife
                        k', Past medical expe~as~s
                        G, k'u~ur~ mer~ical expetxs~s ~pproxiTnately in the aanount of$5~,ODU to
                            $25D,000 dependin,~ ari colurse oftreat~~ent
                        H, Aggravation ofapry-existing conditi~r~
                        I. I~e~xeased ability to earn incaxne
                        .T. 3% inCr~aS~d risk ofcancer and fear v~~an.G~r if$1VIP-Z was u5e~..

       AFFYANT SAYETI~ FU~.~lt NQT



                                                           KEITH D. WIL             Y,N1.D.


                                                                Q~ TORY


       SU~SCR~BED,SWt~RN TD ,A.I~ ~1~I~iO~EDGED befarame, a;Nata~y ~'ublic, ~y

       Keith D.'~L~ilkey, TVI.D, an tbis~day of                           r,2014.



           ANG~LA~~ 5E
       Notary Pubilc -Nita    sea►                          hT~T       1~U'BLIC
            Mate of Missau~                                 N1y ~orn~riissian Exp,: ~~.       ~ ,~~1 ,~
  Cpmmissiar~sd far St. Charles Cauniy
 ICY ~+ammfsslfln Ex~iros: ,lull 1~, X075
    Cammfssivn ~~-:n~~ae#:11i 33613
               -         ~                                 17
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                                           ~'~~l~L~~~ County

                                      Sfi~te of     SG~~~~1




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                                        SARAH JUERG~NS
                                      .A~+'F~I~AVIT QI+'ME~.1[T
                                          BEST ~][~ESTER

          ~, ~ei~ T3. WilJ~ey,3v1.I1., after be~zag duly sworn and cautioned states as follows:

      1, I devote at least one-halfo£try prof~asional tune to the active alin~cal ~raotace in my
         fi~i~ of li~en~t~re, or its instr~cfion in an aceredite~ 5c~o~1. I a~n apt ort~o~edic
         sur'gean ~rvhose focus is on spine surgezy end Treatment o~'thase wifh spine iss~.tes.

      Z. ~ w~~~ slkpplemer~t phis affidavit with anpther,lay a lever ox ~y testirnany? based upo~ri
         ~,y i~fc~rmatian pravi~ed to rrte after X execute it.

      '~. My currict~iutt~~ vitae has been. pre~ously provided #o opgasing ~t~uz~se~ i~. tlaes~ D~.
          Dt~ani cases a~ld can be provided ~gein upon zequest, For my review,I r~I~r upon
          my educeion,lxaining and ex~aerien~e.

       4. ~ have not ~atu~ted but I haue reviewed,over 200 or more cases involving Dr,
          Ihuratu and ~-ie hospitals where h~ ance had privi~~g~s.

       5. Y base my opinions in pad pan my review ofalb t~~ cases I have xevi,evr~d w~aXCk~ eve
          revealed similar conduct by Dr. I)urrani axed the hospifals wk~~x~ ~.e  p~ivxleges, I
          have also reviewed binders provided. by the Deters Law ~iz~za whick~ they prflvided to
           de#'e~se counsel.

       5. I ate,familiar with applicable standard of pare for ~hi~,I~~ntucky and the cou~n,txy
          £o~ ~n artl~a~edaclspine sur~;eoza such as Dr. Dut~ani.

       7. I a.rr~ also fa~ni~iar with applic~.61e standard 4f carp, p~lieies, rul~~ and.rsgula~ons,
          medical executive committee bylaws,JC,A~HQ re€~uirernents, ered~t~ali~g,
          supezvisizag, ~~t~z~~io~; o~~aa~cl.xcal sfi~f', gr~taking and rejecfin~ priviteges ~e~t~ the peer
          r~vie~v praceas far ~e~t Chester Has~ital, LLC,also referred to as 'vilest Chester
          Has~ital.or West Chestex Medical Center anc~ CJC Healt~t.

       8. I have reviewed all rele~+ant medio~.l x~co:rds including xadioingy ofDr. Duzx'ani's
          me~.ical tre~.trn~~.~ c~~ Sarah Jxze~g~~s and the rnedxcai ~rea~e~t o£ Saraki Juergens at
          West Ck~e.~ter.

       9. I have reviewed die Response io summary Jnd~xzz~~t in the Brenda Shell ease and
          ail the exhibits attaoh~d t~ it.

        ~ p. The Center for Advanced Spine Teckuzal~gies, Inc. was Dr. I3~,rrani's practice group
             and he was ate sole owner,d~rectox aaad. officer of CAST as will as an employee,
             CAST as suc~z is also xe~po~sible fir D~~. Durrani's neg~ige~ac~ end four tk~.eix faulut'e to
             also supervise, discipXine aid ref~in Dr. Du~rani.
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       11, ~l k~~.ve also xevi~vv~d the.nursing sun~r~a~ry p~eparad by legal counsel's office £o~
           Sarah Ju~rg~~as. Based ugon tie n ber c~~ cases I've revi~~ve~l pei~aini~g to Dr,
           Durrani, legal coiu~sel's of~ic~ knows what mat~r~als ~ need.~ xevzew anal provides
           rye those materials. Tn ad~.i~ion, while this affid~~'if contains ~as~ sp~eific
           information; it also c4z~taitxs iatforma~ia~r~ relevant to this cage andlar many ~nt~lar
           mist andlor all the other uses. rt is pre~par~d for rxre try counsel witk~ my direction
           and approval Tike a~~ v~fhese have been.

       l~. Based upon my xeview,the foliawing a~:e the facts ~ rely ~~~n.:

       A.. ivledicalJst~cial history: ~ara~ J~ergens is a raw b9 yaar Qld singxe ~auaasxa~
           female. She was disablEd prior to seeing Dr. A«xr~nx. SY~e denies alcohol,
           tabae~a, or illicit drug abu$e, Her prior medical history includes hype r~sion,
           aaronary artery disease, art~thxXtis, degenerative disk ~ise2~se, GEIt~7, dysthymia,
           tach~rcardia, hearC murmur, ~'e~aa1 insuffciency ,incontinence, d~~pressxta~,
           abnormal EKG. Hex pest suxgieal history inaluc[as chole~~stect4rny'$9, Iei~
           nephrectomy far nanfi~nc~ior~al ~i~n~y'~6,tonsillectomy, bilateral hip
           replacen~ents'0~ and'~6, ~rrhyl~mia'07, Allergies to Codeine ~.nd latex.

       B. This case ixivalvas three medically ~t~az~e~~ssary surgeries th~~ involt+e grossly
          negligent suzgical techtiic~ues, nvn-ca~.sensua~ i~se of xhB~P-2 in two,separate
          st~rge~ies, nc~r~-approved hardware ~ornbinafio~s, ~ai~~'e tt~ maintain accur~.te and
          complete surgical re~o~ds, faiJ.t~'e tt~ perform aec~arate a~.d ou~nplete pxeaperative
          teaching, failure to maintain eo~nplete and accurate offia0 procedure c~~sezat
          forms, p~.in and suffering due to grossly negIig~nt surgical Techniques,failure t~►
          #a~.~ly assess, diagnose ar~d treat failed h~rdvlare in second surgery, failuxe to
          contin~aus~y evaluate and xeevaluate the gat~~nt for impending fai[~d hardware
          past aperati~vel~+, It is c ur stance tk~t the Dr.l7urra~i and the CAST facility
          deviated Tram st~.dards of ca~`e Qn rr~ultiple ~e~iurrences.

       C. Ire 1987, Ms. l~iargens was involved in ~ motor bike acc~der~t ~ritih signi~icarit
          vertebral disk disease and 1~ac1~ pral~le~i~. It healed initially, lout #hen developed
          flare ups off' pain and symptazx~~.

       T). On D6f18110,1VIs. Juergens carnpleted a C-~pxne M~tI ordered by Dr.l~urrani,
           The results revealed disc desicca~i~n at CA~-5 end CS-6 cvit]a b~level disc thituvng,
           bar~~ike mixed prot~i.szon at C4~5, alrnos~ abutting the cord and broad mz~e~
           pr~txusion at C~-b with rnerderate ventral thecal sac effacarrtent,multiX~ve1
           tuaci~~tte ~x~laropatk~y r~vith ^varying d~.gx~~s of nel~ral foraminal ~tennsis,
           cc~~aic~ered severe at C4-5 and mod~x~.t.~ ~t CS-~, left pzeforarnin~l dzso herniation
           at CG-7 im~res~ing an t ie exiting nerve root,

        E. AIs~, on Q6/1X110, Ms. ~u~rgens ct~mpleted a1.i MST o~tla~ L-spine arder~ti by Dr.
            l~urrani. It xevealed asymmetry in the sa~ittal and a~ia~ sc~.nning planes,
            asstsciated with probable scolios~s, mult~]evel disc desiccation, multifeve~ spina].
            ste~.as~s,:tazultifac~oriai at each ~e~vel, neural foraminal sten4sis at multiple level.

                                                    2
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      F. Ac~.ciitional~y on 0~118I1 ~, Ms.ltzergens completed a scoliosis survey x-ray, as
         ~rela a~ C-sine x-rays, ard~reti by Dr. l~urtani. Tha scoliasis sur~~y revealed an
          ~- shaped scolioszs ofthe thor~colu3nba~ spine with right ~QC~~exity curvature of
          the lower thoracic spire centeied at appro~z~a~ely~ T1Q, with Cobb an~la ~~'23.5
          degrees, mo~exate left convexity curvature t~f Chi Iwnb&r s~rx~e centered ~t L3,
           with Cobb angle of A~~.2 degt~ees. Degenerative d~sa tk~inniug is ~~esez~t at
           multiple levels. ~'~`o~ta1 ^view oft~.e chest shows ~b~~rate cardioz~egaly,
           alignment ofthe thora~i~ spine. The C-spine ~c-~a,ys revealed alignment ofthe
           cervical vertebrae is an~.tgmioa~ with interspa~e zaa~~~ing at~-5 and
           aste~phytic s~u:r~r~~ag pxednmirza~in~ at C4~5 aid C~-G,~i'~ST{7IIS~h~S15 Q~ ~7 pV01'
           T1 is rneasu~~ed at 7~a~, ~~d is prot~ir~e~atXy degen~xative in nature, ncr fracture or
           prevert~6ta1 soft ~z~~ue swelix~.g ~s evide~at,

       G. Uri X6/2411 fl, mss. Juergen had an. initial ca~.sul~~,~i~n with Dr. T3urrani. In Mxs.
          Juergexys's i~axtxa~ CAST paperwork,she st8~tes hey 'reason for the visit was,"My
          back hurts axad gay ~~~ J.~~ is nu~xxi~. I ~av~ a ~i~c~iecl ~~ez-ve in my hack. I CAI~T'T
          STAND U~ ST~.~GHT." N~~'s. Ju.ergea~ ~.lso stags,`°Wallcing a~~rava#es my pain
          t ie v~orst, I ~.~~. dots of epidural. shots that helped the pain, but not the nu~n~rness.
          The last ane was ira ~uXv 2~0?, I had p~ysicai therapy in 1987."

       H, Dr,Durc'atii Mates,"The ~.-rays sk~av~ She has a 45 degree lumbar scoliflsis and a
          3Q degree thoracic scoliosi~, She has over I6cm oftr~szcal irnbalar~ee on the
          sagGttal'view. Literally, het ~dantaid is t'ar away ~rorxz the saor~m. The MRT was
          seen today which shows se~v~r~ Iurnbar stenosis in X11 ofthe lumbar segments with
          severe ca~~a1 and foraminal stenasis. Most v£#.~~ stenc~sis ~s foxam.ina~,though,
          My reaamm,enda#ion is to do a two stake su~ge~y. Stage 1 will be a direct lumbar
          in~erhody fusion ~~m L~-~, L~-3, ~.3-4, L4-S. stage 2 will invQ~ve ~osteriQt~
          spiria.I i~st~ruzn~ntatic►n and fusion f~c~m T~ to S1 with iurnbar interb~dy ~iision. ~t
          LS-S 1, We will have her sche~.ulzd."

       I. [}n [}9!07110, Ms. Juerg~ns attended anothexpre-gyp fraX[~w up with Dr. Durrani.
          Dr.Durrani and 1V:~s. Su~~~en~ sxgt~.~ s blank generic informed. consentform for
          surgical procedures. Ms,Tu~t~ge~s is rated to have sighed he~~ narna in the area
          fog v~hia~.the surgical procedure should be ~vrittez~, This is a blatant violation of
          stat~c~~urd~ a~ caxe, and a ~'~.udulent e~acument.

        J. On 09JI3I10 at West Chester I~ospit~~, Mrs, 3u~~ge~s hats hex £~xst ~u~rgexy
           completed by Zlx. ~wrrani. Dr.I7~rrrani lists procedut~es performed a~"L~~3, L3-
           4, ~,4~5 fatera~l xnterbvdy £usian with insertion of a~ interbody cage and use of
           aYl~graft a,nd BMA'." S~~ was disalaarged af~erwaxds to a skilled nursing facz~lity
           fir a £ew weeks,{~ll8 f4 TIl(]~]I~1~ 155U05.

        K. Dn 10!14110, Ms. Juergeyzs attended another pxe-~~ f4ltow up with Dr. Durra~i,
           Dr,Ifurr~ni at~d ~VIs. Ju~ergens signed a bian~ generic infnimed consent farm far
           sut~gical procedures. Ms,]uer~ens xs noted to have szgned der name in t ae area
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          f'o~' which the surgical prc~cedt~re ~I~ould he wri~fer~. Tk~i~ is a blatant vialatia~ of
          standards of care, and ~ frau~lulent document.

      L. CDri I0f271~0 at West Chest,~r T~-Ia~pit~l, Ms. ~uerge~xs ha~i her second sut~ge:r~+
         cam~leted. bar Dr. I]uz~ran.i. Dx,Durrani lists pxocet~ures p~rfonne~l as "Sta~~ 2
         scoliosis ca~raction, T~,D-~aX pflstezioz'instr~ame~ated spinal fission, T.5-SI vial
         ~t~rnb2ur intexbady fusion, ~t~sert~ar~ p~interbody cage, LS~SI., Allogiaft, local
         au~?gt'a~t, ~~ AMP use." Within hotiu•s of st~rgsry, Ms. Tuergens was gent t~ ICU,
         due try fizxdings of pos~op~rat~ve paroxysmal supraven~ric~.lar tachycardia. A past-
         op nurse do~ument~d at 19:10}"Patient assessment changing. Pt h~c~ multiple
         episodes o~ SVT vs Sinus Taah. ~Iernatoma noted up~rer b~~k, more blood noted
         on dressing."

       M.(]n 10I~9110, a ship nurse do~ume~ted,"Patient clo pin 8II ~ iz~ LLL and back
         pain. Says leg pain shoo#s dawn outside of leg all fhe way ~ hey ankle, the
         screaz~s ~tid cries aftter movement of any kind. Gait is ~anste~dy and hutLChed,and
         shy sa~rns to dealt LI,E a~►d lefr f~+ot turns Tightly outward."

      N. On 1~/2'~110, the occupational therapist dactunented during der session,"Very
         tearful about pain, and feaz~£~xl voicing that something isn.'t rig~,t, Continues t~
         kaa~re a lot a~'lef~ lowex extremity pain and vQ~ces that she thinks sria has a blood
         clot. 't)'nable to even 6~ar weight on right lowez'extxe:mity clue to pain on lei.
         C]'nabl~ to stand erect.

       O. Dn Y 013011 Da ~h~ ~rcaupatio~al therapist ~Iac~.me~ted during her sessinn,"voicing
          fh~t hex 1~£t ~~g ~.d back are k fling her. CJnable to bear full weight through left
          lower exfrez~aity. Patient moaning and screarnin~ in pain.

       P. Qn 10/3 11 q,a floor nurse documented,"Patient c/a l.~g pain. Patient feels like
          leg axamping an her even. when she is szttiz~~ still. the open screams in fain."

       Q. Qn lOf3 XI~U,tote c~ccup~tional therapist docu~i~ntee~ curing her session, °`~oici~►g
          that her left lag zs killing her and crying nut.

       R. Also an 1~/3~IIQ, An T~-spine ~'I' wt~s ot~tait~ed. It revealed,"The lei sided
          padicle screw ~.t L5 does not ex#eizd into the vertebral body. The tip is in the
          june~ivn v£ t17e p~~iele with.the vertebral body. The L3 p~c~ic~e ~cr~w on the left
          and on the right appears well positioned. Thy pedic~e screw vz~ t~~ right at L2
          courses slang the lateral wall pfthepedicle aid. ~at~ral aspect afthe vertebral
          body. The tip ofthe screw appears tQ ex~enc~ 6eyQnd tf~e eo~fex. The T12 sc~'e~vv
          o~the left only extends sligfn~ly into the retear body. Tie p~diole screw of t ie
          right extends welt into ~h~ verEebral body'. Thy T1Q peciicle ~p~eaxs veil
          positioned. Dis~ectonaxes aY'e identified at L2-L3,L3-4, end L4-5.




                                                   4
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      S. Qn 11/4110, the ac~upational therapist dacurc~ntecl during li~~ session, "Verb,
         pai~ifuI and very tearfi~l. Told zz~e t~aat the fain scares der. ~airt is s~ver~,
         hunched and unable to achieve £u11 upright posture,

      T. Un 1 tl43I1~ af'dVest C~est~r Hospital, M~. Juer~ens has der third slug~r~t
         completed b~ Dr. Dutratu. Dr. Durrani lists pxocedures performed as "Revision
         and relnse~tion o~L2,L3,L5,and S ~ pediele scre~ts on ~~ left".

      LJ. 4n 11115110, Mrs. rU~~'~~~'15 ~'G~~il~~.17~t' fIT9t p45t-D~7 fU~OW L1~1 WltI7 D]', Aurrani.
          Dr.~urrani rel~a~~t~ fez'~'ir~m skilled living care to hamea axed t~ can#~nu~
          physical end occupational thezapy. He blgo ordered a sGOliosis ~-gay.

      V, ~Dn ~J2111111, Mrs. ruergens caampleted her scoiiosi~ x-ray, which revealed mild
         tl~oraoolumbax ~coliosis.

       ~J. +~~ 42 15111, Mrs. ~uergens atte~d~d a past-op follar~v up with Dr. Durranz. Dr.
           I~UI78ill 5~ftt~3~ {zA~tempts ~r~ rrxatce her stand ~trai~lat were tnet with xesi.s~~ce. She
           fell an January l0th, and si~ae~ thin she his naticet~ a decline in her ~unc~ion. She
           at th'r s point is having a. haxd time standing up s#ara~g~t. Shy i~ staiadx~g in a
           forward £~ex~d, leaning pasture. ~-rays seen tc~d~y show overall al~gnxn~x~t in the
           frontal plane is good. Sad tCa[ pane,sloe is ~e~ng significantly f~ax~v~rd but all
           scr~v~~ and hardwire hook tv be intact at this pt~~fi. My r~co~nex~d~tion is to
           s#a.~t aquatic therapy, ~ really went her t4 push ~ersePf in ther~~y,"

       x. O~. Q3/31I11, 1V,~~rs, Sue~rgens attended apest-op ~allaw up ~.~►poi~ttnent with Dr.
          Durrani. He re~~m~nenci~d for her to start track in ~h~s~~~l therapy, aid to use a
          cane at dome,

       Y. [fin ~31D1lI2, Mrs, Jue~ens attended her ane +ear follow up appoint~aa~~t ~rlth br.
          Durran~. 3~x. ~7urr~ Mates,"teas doing well u~t~l C~istm~,s when she ~~11, aid
          has had ~~in shooting around her ri~i ~ag~. Sha describes a ~radxeulax ~airi in the
          T12 distxxbutia~. ~Iy recommendation is far her to ~~t a C"~ soon ofdie thoracx~
          ar~d lu~ncxl~~r spine with. sagit~al re~ons#ruction. My feeling is that she is having a
           T11-12 radieulopath}r o~ the right side,"

       Z. Qn 03119112, Mfrs. 3uergen~ completed bath CT scans. The L-Sine CT revealed
          nc~ ~~idence a£ acute bony abnoz~a~it~ or evidence of~et~icuXa~ screw ar postex~ar
          rail disruption, Thy T-Spine ~T rey~~.led na new or~iopedic issues,

        AA.       Dn ~312~112, Mrs Juergens attended hex follow up appointment with I3r.
          ~7u~rani, whoz~ agreed wi#h the radi~~ogy reading. H~ rec~mmendec~ ~e £o~aminal
          injeotipn on eh~ rig~at side ~fi the Tg-70,'I'3.0~11, T11-12 di~t~ibu~ion, pain cr~a~n,
          and medication for susp~ct~d ~`sensflry ~,~uropathy in the T11,T ~0 ~listri~utir~d'.

        BB.         Dr. Dur~ani's diagnoses ea~~lated with said r~,dialagy,
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       C~.        Dr. Dufrrar~i recommended a tt~+o stage surgery at Mrs, Juergen°s initial
          a~ffce visit ors 45124!10.

      ]]~1.         Tyr. Durrttni pex~'~r~m~~ three sue~eries on this client.

       ~E,T~te following 1~ardwarE was i~apl~r~.~~d:

            surgery #1 (g9l15I14}
            Nl~dtronie Infuse ae~ Bone Grft MI]into 1-spiaie
            Qn~ dr~hovita Foam BiQ~et ~itoss 1'a~l~ 14~c into 1-pine
            T~vo ~edtxo~ic Clydesdale YO x 45mm iota 1-pine
            ane Medtroz~~c Clydesdale $ x 45mm into 1-spine

            51~rgery #2(1~127110~
            Qne ~[edtronic Infi~se het Bane Graft SM into 1-spine
            CJri~: 4~thovita ~i~ss lace intro 1-spine
            bne Tr~nsl ~.od S~+zt~e 3D A~ 4 x 1~ x 45mrn into 1-spine
            One Trarisl iaLif Universal Plug into 1-s~in~
            One Trans! ,A-~ialif ~tat~ilization ~yste~n in~ta 1-spine
            Twelve Depuy Spine 6.0 x ~5 Vi~ae~r Sazaw into thora.~icll~unbax spine
            Testa l~epuy Spine viper rod 34~m.r~ into thora~icll~~z~nbar spine
            T~,velve De~auy Spine Sit SCR SCI.T_ntu IVlacha~aiszn '~`1 ~tv tlaoe~.cicllumbar
    amine

              s~~~~~ ~3 ti iio~il~~
            '~'kaxee Depuy Spine SG~-PA ~~L?~3~'Vipe~ 7 x 50mm 7I into l~nbar spine
            One Depuy Spine SCR F1~ CAI~TN ~i~e~ 7.S x SOmm TI into lumbar spine
            Four T~epuy Spi~.e Seti 8~R SGL Ix~ar Mechanism TI in~a lurr~bar spine

        FF.Tn~'armatian from Dr. T~urrar~x's QR.xeport i~adicates that rhBNIP-2 ~~s used
           d~ri.~tg the first two of Ms..Fuer,~~n's thr~~ stugeries, According to the PMA
           ~ubtnitt~+d by Medt~o~aie to the ~'l~A, I~t~u.se was in#ended foz` a single level
           ~nterioz lum~ax int~rbady fusion sin~Ie performed with alI th~res carnponents in a
           spe~ifia SPINAL re~io~i. Tha t~.'~~ ~camponents that the In#'~se device oonsists ~f
           are 1.} ,A metallic spinal fusib~t cage (the L'~'-Cage}, ~,.) Tk~~ bone draft substitute,
           which consists of ligtiii~ r~BMP-~, and 3.) A.spongy carrier ~r ~caffald for the
           protein that resides i~z tine fusion cage. Wieh ~Yie ex~eptio~ oftwa non-spinal uses
           nc~t Y'elevant liexe, the k'DA leas oat a~p~oved any other use ofInfuse,includitag tk~e
           ~n~ei~tian of$MF into Ms. Juergen's ~raeic spine, m~~ltip(e luin6ar ~eve~a, and
           unapproved k~a~+~~vare c~rnbinations b~ l~r. ~u~rani, ~?r. Durrani irr~pler~z~ented
           ~3M~' iota a level ofthe pion FDA ~ppcoved thoracic spire, as well as multiple
            levels of tkae lumbar spine. '~'kx~ use of rh$NI~"-2 without the expressed or written
            consent andlar knowledge o£ Ms. Juerget~s in bqt~ 5u~'$eries is ~ v'iolation of
            standa~~s Qf care, as we11 a~ a vialatiaz~ oftk~e ir~anner in which AMP could be
            user!, iti aGCOrdanc~ wi#k~ the FDA.



                                                     C+~
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      GG.         operative Rep~~t T)ic~atio~s:

                  Smrgery #1 (041I5110}
                  Dictated an 09/16!10
                  ~`~Dr. D~•ar~i is iistsd as the prim.a.~y surgeon,, anc~ was in the DR fvr ~~er
                  twa haur~, yet Dr. Shat~ti did fhe dietataan for Dr. Durraa~i.

                  Suxge~ #2(1Q12711 p}
                  I7ictatec~ on 10/28/14
                  ~"~ Dr. Duxxaaai ~s ~zst~ ~~ ~1~ pTiinary surgeon, and ~va~ in the 4R fQr over
                  two hours, yet Dx, Sk~~~ti chid the dictation fir Dr. ~urratu.

                  Siu~eery #3(11103110}
                  Dictated on 111£}~1~0
                  '~ ~` D~. Shand is listed ~ tie primary surgeon, aid was in the QR fQr
                  newly tvvo hcrur~, while Dr. Durrarv. was lis~e~i as being in the tJR fox only
                  23 minutes,

      HH,         Ms. Suerg~ns is to $e ~`a~lov~tecl by Dr. Tabler at the 1VIay~"ield Clinic.

       II, The Following cansi~ted offailed hardwire: After hey second surgery on
           10125110,she h to ga back to surgery vn 1110311 Q because of severe pain a~ac~
           I~i~ leg ra~iieulopathy. Dr, 5ha~iti states in his 1110311 Q OR dictation,"A C,AT
           scan afthe L~spin~ was ~btaitZed. `mere is evidence that the S~, the LS and L3
           pellicle scxews were rnig,~~ating dorsally and LS pellicle screw was irritafir~g, has
           migrated doxsa~.ly to the p~in~ that it w~~ act~aliy enuring the Ft~raar~e~ and
           causir~ x~.tlicular ~npingennent. Tie ~~ screw and L5 screw were visualized az~d
           they ~vvere clearly loose. Tla~ set screws were thin removed aaxd in a proximal
           extension there was cle~~' evidence ofthe I~ and ~2 pedi~le screws were also
           sar~ewhat dorsally migrated. At that ~oiunt,.we remave~ the set screws ~px the L~
           and L3 pellicle screws as well,'y

       ~T. Mrs.7uexgens feels Dr. Durrani viol~Ced her ~trt.~st by using BMA'w~tla~ut her
           consent and knowledge. She is in cans~ant pain.

       13. Based upon my revie~r, tie fc llowuig are my opnanions based upon a reasonable
           degree of medical csztainxy pertaining to the deviation in standard ofca~~e or
           negligence, i~f'ormed cc~risent, battery and ~'ir~ud claims against Dr, D~ani,CA.~T,
           West Chester and T.TC Health which paaxirnately caused harm to Plaintif#:

            A. Need to k~av~ additional surg~'~ to repair problems created by Dr. Drur~nr

            B. ~rnplantativn a€ Puregen without inforn~.ed consent

            C, Itnpla~itatio~ of BN,[~'-2 without inforrn~d oansen~


                                                   7
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         D. Famed hardware

         E. ~'ailuxe to obtain proffer infarrned et~ns~nt fnr surgery

         F. Failure to provide adequate and fh~rou~h pz~e-~a~~rati~ve and past-operative
            patient su~g~ca1 education

         G. k'az~ure to properly post-op ~.onit€~r tlxe patx~~t

         H. Failure to ~roperl~ perform follow up, pest-ap cage

         I. Negligent surgical techniques

         J'. Failure to zn~intain acc~~te and complete su~rgieal records and surgical
             consen# forms

         ~. ~'ailtue to ~isclas~ irnpart~nt health in~c~~r~a~i~rt7 to patient

          L. ~'ai.lure fa maintain and complete dis~haxge s~ur~mary

          M. F~li~r~ ~o supec~+ise Dr. Dur~ra~i

          N. I'~~gligenfipre-sur~i~a~ dx~gaasis

          ~. ~`~,iXu~`e to ~re~ar~ a ~.mel~ c~~erative report cox other m~diaal r~eard

          ~+. Billing for se~•vi.~es not completed

          Q. Nat informz~g the patient anothar s~ugeon will ~e dfling a1I tar part of#.fie
             surgez~

          R. Px~.Gt~ci~g outside Dr. Dui~ra~i's scope a~'trainir.~;, education, ex~aeri~ence, end
             ~~ard certifications

          S, Deviation in st~ndarci ~fcare

          T. Failuxe to ~aerforna t~.pic~ugh acid ac~i~xate ~rre-op nonsurgiea! e~aluatian

          U. failure by Dr. D~.u~'~ni to infarnn ~~tient o~ ac~ditioual/oha~iged ~roced}are and
             reason

          V. Faih~re by C.A~T to disclose additionallchanged prac~dure aid z~;asan tc~
             patient

          '~. Failuxe ksy Dr. D~ani at CAST to properly educate patient reg~rdxng
              ~iagnosi$
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         X, Prio~~ lc~~awled~e oFpass~ble com~licativn an.t[ nvt ~~ti~ig prt~pe~`~y upan same

          Y. F~i~+~:re tt~ disclose pertinent l~ealtl~ infarma~ion to another health care px~vi~er

          Z. Frau~ule~t, megligerat ar~d reckless ire-operative ~,voxk ~p

          AA.     Fraudulent, negligent and ~ea~less surge~~y

          BB.     Inaecurate, fraudulent, aid/or ez~a~~eratia~ of diagiads~s

          CC.     Failure to properly educate patient regarding diagnose

          TAD.     Failure tc~ atten3ptaon-surgical co~.ser~t~.tive treatment

          EE.     Failure to ~erfo~n.th~ro~ugh and ~cou:rate pre-op nonsurgical evaluation

          FF,F~ilut`e by Dr. Dturaau at CJ'CIW~st Chester Has~ital to perform accurate and
             e~tn~lete preo~ae~~ti~va tea~hin~

          GG, Fairuie by Dx. Dl.u~rani at ~.TCIWest Chester Hc~spita~ to pr~pe~l~ educate
            patient regarding diagnoses

          HH.    F~luz~e by fir. Du~ani at C3CI~Vest Chester I~ospital tti ~aaaintai~ accurate
            and/flr corr~plete medical recar~.s

          7I.     Failure ~f infoz~n~d consent by Dr. Dtu7r~x~[ 2~t U~IWest Chester Hosp~t~.[

           J~. Failure off' UCJWast Chester Hospital to insure Dx. Durrani and CAST had
               obiaaned pro~e~~ informed cotls~n~

           KK. Failure Qf [7CI~►~est Chester Hospstal to obtain proper acknvwJ.er~g~m~t
             of consent

           L~.Failu~e b~ I~r. i~ur~ani at LTCI'Wesf Chester Hos~a~tal to disclas~ perti~.ent
              health ii~fazmation

           MM. Failure by UC/W~st Chester Health to dis~l~se additx~z~aUchanged
             pra~ceciux~ end xe~~can to patien#.

           nTN.    Fax~ure icy UCI~Yest Chester ~ea~th to supervise staff

           0~, Failure by UCI~'est Chester Medical. staff to prop~rIy dacume~t
             ab~.orrnalities end f411ovv u~r cue

           PP,Nan-approved hardware combinations

                                                   ~7
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          Q~. Dr. Dt~tani made false and ~natezia~ rnisr~presentations o~ ~~.terial fats
            intended to nnislead Sarah ~uergens and congealed material fats he ~aatl a duty
            to disclose. UCIWest Chester Health and CA~`~ concealed mat~ri~l facts they
            ~iad a duty t4 disclose. Sarah Juetgens wa~,justafied in relying on fhe
            rnisrepresen~tion and did rely proximately causing harm.fo ~arak~ Ju~rgens.
             Dr. Duz~ani, CAST,and UCfWesi,Chester ~-Iealth intentionally misled Sarah
             Ju~r~ens. Sara~a Juergens had the xight to correct it~~arination.

       14. The #estinlony, fac#s az~d ex.[ai6~ts o~ 13rer~d~ She11's Response to Motion ~c~r
           Suanar►ary J'udg~nent ~~ ~;x~iibzts tc~ sarn~ ~.re applicable to all the ol~.ir,~.s against
           West C;h~ster Medaosi Center (WC~VIC} ~~1~ UG Health £csr ill claims, inclut~in~
           itegixget~t ~~tenlio~x a~.d creden~ialing btoktgh.t by Plaintiff:

       15,       Based ltpoi~ my xeviejv of tk~,~ deposition testin~a~y,the.~GAHO requz~~tnents,
             t~~~ MEC bylaws end ~~~ tl~e in#'or~nsafio~a ~r4~~ided to rne, Y ~m able to adapt the
             fa~.awing api~ioi~s xelating to WCIV~C tt~~d UG Health. p~rkAini~~g to the claims
             against then. ~CMC's acid UC ~~e~Ith's actir~ns ar~d ii~actians detailed ire this
             af~davi# proximately caused harm to F1Aintif~ WCMC and UC Health aie ~aotl~
             being referenced when o~1y W~~IC is named, I hnld the fol~aw~ng opinions
             relative to WCM~ and UC Health per~ainin.g to their conduct acting t~~raugl~ fiheir
             adxninistratst~n and 1~EC. Tie Mme period covered is foam the time Dr. Durrani
             saugbt privileges prinx #a WCMC apaning in May ZD49 ~raugl~ May X013 when
              he ~a lange~ had pz'ivxleges, Tn additiart to my apinians,I set ~a~~h facts I rely
             upon. '~"hi~ in~.ludes a71 which I r~f~renaed that I re~zewed. In addi~aon tQ all o~
             the above,I attest tca the fallowing:

                                                 FACTS

             1, According to West Chester's ~"irst Executive Vice 'resident, Ga~'c~X King, she
                did not e~pXox~ the "rumors" abut Dr. ~rarxanr's Ie~.~ing C~ild~rez~"s.

             2. .~.cc~xt~ing to Carat King, the hospi#al tracked p~oblern issues yet WCMC
                1~ave failed to produce the information under peer review pro~Ge~tion,

             3. Acct~xding to cxxcula~g nurse, Janet Smith, presets wire ~k~ ed in the
                computer to indicate the procedure I3r. Durrani ~er£ormed afte7.~ the proc~dura.

             4. A.n~o~'t~ing to Janet Smith, despite na 4ne at Wept Chester never wvrl~i~~ ^t~i~i
                fir. r]urrani be~csre, W~MC never checked h~xx~. out,

              5. Acoording t4 ~'ni~.e~~ University Hospital P►~esident ~a C7C ~-~ealth l~t~spital),
                 Brian Gibl~r,~.~spxtals face financial ch~llec~ges.

              6. Accot~ditag #o risk m~nage~, L}avid S~hwall€e, risk m.aaaagement ktzew Dl~rrani
                 had issues.

                                                     lQ
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        7. Acc~rclln~ to radiologist, T1~amas BroKTn, there urere surg~oz~s questir~nin~
           Durrani's decisions to p~z~'axna surgery,

         ~, Accorclin~;to medit;a~ staff d~'~~tpr, Paula Hawk,a policy called "stop th.e
            lying,y was itr►~lemented tka~ sae ~~ar a~zd mt~ztth they ki~k~c~ out Dr.
            Dut~ar3i. Tkris infers a pear envixor~ment of honesty and disclosure bet'are this
            paXicy.

         9, .According t~ Pau~~.Hawk anal as the dir~ctar of~edieal staff,zn~n~~ is not
            supposed tv tx~xmp patieni safaty.

         10. Accordi.n~ to ~'aula Ha~n~k, she admits pier revi.er~ is for ~os~itals to pro~eck
             each othex,

         I1. Aecordit~~ ~a P'aula II~,~~~1~, she admits ho~pztals are interested to volume,
             somethir~ Dr, Durlani ~rt~~vided far WCMC and LJ~ I~ealth.

         1Z. According tc~ IVIi1ce Tefr~er~, the dxreetor offinance, they fraGlc~d Dr, pu~ani's
             financial ~urnbers.

         I3. Accnrdin~ to Mike ,Teff~rs, he admits Dr. Durrani ~e~{aed fi}~etnin their ~iz~ne o~
             need.

         14, Aco~rdin~ to Mike Teffers, Dr. Dlyrrani was tk~e k~ighestmoney generator.

          15. Accardin~ tc~ NIi~C~ Jeffers, he knew Dr, Dur~a~u hart mire than one surgical
              sure assigned at once.

          15. A.ccor.~iz~~ to tvlik~ Jeffe,z~, bonuses were laid to lair~a and aehers based u~an
              finances.

          17. Accardin~ to 7Dr. ~'ete~~ St~rri, lie ~rZetvv I~~. Durrani was a~.l.~ °`satisfactory,"
              nat a world class spine s~rg~o:~ as West Chestax advertised.

          1$. I~r. St~xn ~.oesn.'t r~eny admitting UC H.ealt~~. soaked the other way a~ I]urrani
              because ofrnan~y.

          1 ~, Accaf•ding #a Gredentiali~ig z~~anager, Anti ~hel[y,there was pX~nty of"public
               knowleci~~" about Dr, Uurra~ai to check before cred~nti~ir~g,

          20. Accard~r~~ tQ Ann St~~lly, jhlest.Chester relied on the NPDB they knew was
              protected ~y hos~ritalg,

          21. D.r. Eric SchYiaebergez•, Dr. T)urrani'~ paa~.ez, vvas on the MEC at VdCMC.


                                                    11
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         22. Aaaording to Eric Schneebeiger, ~7J'est ~heste~r knew abaut I~t~~ani
             scheduling surgeries Iax~g into t ie day aaad ~igl~t.

          ~.3. Aecardii~g to farmer ~iu~sing z~~at~ager; Maine I~.unko, WC1V1C knew about Dx.
               Du~rani ant ca~plet~n~ records.

          Z~. Accort~iz~g tb Maine Kunko, VirC3t~C kn~v Dr, Dvrr~i wQUld claim surgeries
              were ~tnergency when.they were not.

          25. According to ~l~ine Kiu~~Ca, t~Cll~~' knew there w$~ an issue wi'tkt D~.
              Dnrrani nc~# being in tlae rtaam dozng surgery vn "his'° patient.

          26. Ac~orciixt~ Co ~laule I~:unko, ~~e~ the dR nurses ktte~ WCIvI~ put up with
              Dr. Durrara~ ~'Qr money.

          ~.7. ~ccai~tin~ to ~lain~ ~u~t~ca, WCMC tracked Dr. Durrani's financial riurnbe~s.

          28. Accardirtg to periop~~~.~i~e dire tar, Lisa Davis, ~L'MC l~ew D~~~rani's
              office as supposed to ~e~ aonsen~s so ~VC~C h~ an abligatio~a r~ rnarce sure
              they did.

          2~. Ar,~c~rding ~o Jill Ste~ma~n, #die risk rnan~ger at Vilest Chester, she knew
              ~urra~i had "issues:'

          3~. Jil1 "~te~inaxi confirms Gerry ~~~dxxtst~'s complaints.

          31. A.cco~~ding to Kathy Says, V+TCMC knew how pr. Durrani used BMP~2 a~.t~
              ~'u~'eCr~n,

           32, I~r. Tim I~ren~che~C, t,~ie Chiefofthe ~~t~aper~ic department,~~x~~~ ip C~4 X115
              job unc~e~~ the NIEC bylaws as it related tt~ the supervision az~.d review a~17r.
              Durr~.ni.

           3~.,A.ccarding to ~lr. `~'zn1 ~reYnch~~,h~ 1€n~w Dr. D~.zraiai eras "s1o~PY•'>

           34,I~evii~ ~'oseph, tl~e CLb of'~~MC,claims to knovs~ natlun~ about surgery
              operations in his hospital

           35. Kevin Tase~~, fhe CEQ,claims a hospit~ zn~st pxotect patfents from
               unnecessary haxn~ "as much as ~ie3~ cam,"

           36. I~evul Joseph, the CEO,claims WCM~ doesn't have oversight ~~'surgeons
               doing what ~'lain~.ff'~laims Durraaai ~~s doing, (Despite what his by'taws
               state.)




                                                  1~
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         3~. Levitz Joseph,the CEO,denies the hvspita~ k~~s ar~y responsibility z~ Dr.
             Dut~ani did ate. unnecessary su~.~~er~.

         38. Kevin Taseph, t}za Cab,despite kris finance office tracking it, denies any
             kr~owleclge of alt~P~2 use.

         39. Kevi~t ]~s~ph,the ~'.ED, ~eni~s knowing abouf ar~y complaints ataout Dr.
             burrani.

          4t1. Kevin Taseph,the ~E~,admits they be~.~fited ~inanciaZXy from Dx~, Durrani,
               including his o~vn ~~~.

          ~l. N~ar~ T~•amba, the OR manager, admits B3VIF~2 tt~e as used by Dr. Dunrani.

          4~. Accort~ing tQ .Teff:Rrapaliie,the Seniox Leadership tearn, incl~tl~ng ~osaph, rnet
              vv~ekly and reviev~ed numbers.

          43. According tc~ Jeff'Drapalik,the ~~Q of~CM~ knew Ur. Durr~uaz was a high
              volt~rne money maker,

          44,Lesley Gilber~sUn, a rnemb~r of ~kr.e MEC of~'V~NI~, end an~sthesiol~gist
             working wi~lr Durrani, hats a concern about how long Uu~r~u~i kept patie~its
             uudax.

          4~. A~corciing to matexials ~an~ger, Dennis ~.a~~, WCM~ knev~r the valurnes o£
              BNIP~~ b~ir~ used.

          ~6. Acac~rcling to Karin G~~ff~i, WCMC knevt~' tEie chart document~tivn of Dr.
              Durrani was nQt in campliaxace with. than bylaw.

          47. l~a~ick Baez, nuisi~ VP ~t W~.MC admzts ~GIvdC tracked fihe financial
              performaz~.ce ofDr. Dt~rrani,

          4~. Accarc~ling to nurse, Vicl~x Scott, the admin€stratian of WC~I~SC krie~tr~ from tale
              outset a£ Wes# Chester all the ser~iaus issues pertaining to fir. Dui7ani.

           49. Accozding to Viclti ~c4tt,'Wept Chestex'~ ~'is~ manager began to ignore
               c~zx►plaints ~azn Ms. Scott.

           50. Aoabrdii~g to Vicki Scott, staff'was scared to spea3t out.

           S 1. Acco~din~ to V~ieki Scott, ~aatients didn't know wk~o did the s~.t~ge~.es--Shanti
                or Dunarii.

           S2, According to 'Vicki Scott, records were n,c~t ~ecurate whc~ ways in the CSR at
               what tame.

                                                  ~.3
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          53. Accorc#ing to Vicki Scott, ever~ane at V~CIv1C ~~~,v it was about money.

          5A~. Accord~ig to Vicki Scott, ~CM~ ~nevv about Dx. Dut~ani's and ~`J'est
               ~hes~er's ille,~al use cif Pure~en.

          55. According tc~ Vicki. Scott, Dx. Durrani was a ~ehavinr pra~l.~~a.

          S6. Accorclin~ tt~ pati~~zt repxese~tati~ve, E1i~abet~a J3eaai, WCMC tracl~eci pr.
              Dut^~rani's volumes from the outset and t,~.e CFO laved what he s~.tiv.

          57. Aeoardang to Elizabeth Dean, ~lC~~` knew Dr.Duz~rani load issues at
              Children's.

          58. According fio Elizabeth Dean, ~1CMC knew Dx, Dt~t7eni ~trrgs performing
              unnecessary procedures by volumes and repeats,

          59.t~ceording to nurse, ~cot~ Rimer,WCZvIC lc~~~v Dr.Du~zani waited until after
             surgeries is docl~ment what pr~ceduxes wexe }~~ ed.

          60. Accardin~ tv Scott l~iiner, pati~~ats ~.t WCMC lead procedures they did not
             consent to and WCTvIC knew xt.

          51. Accacda~a,g ~o ~cntt ~i~a~er, sterile Melds were riot protected.

          52. ~,~c~►r~in~ its 5~ott I.itn~r, ~4~GMC l~taew PureGen was being used by Dx.
              Durrani and a~lawe~l it.

          63. ~ccoidi~ig to Thomas Black, PuxeGe~ was a.~ alte~nat~~e t€~ BlUSF~2, which
              ~CMC turned to based upon insuxano~ denials of ~1VIl~-~. I~ a~ldition, ~7r.
              Uurrani o~aer~ted an unethical PC}D of Alphatech called Evolution IVledical to
              se11 PuxeGen to Vest Chaster.

          ~4. According to Gerry Gaodm~n,~VCMC tr~.eked B11~IF"-2 use 6y I~r. Dnrrani;
              pa~.ents did nflt know who at tinges per~om~ed their surgery Dr, Sha~.ti ar Dr.
              Durrani; e~ectrc~nic records had.#o die cl angel after Dr, Durrani's surgery; Dr.
              Durr~ni ~.ttd WC~C never Qbtait~ed infor~iet~ consents; L?r. Durra~i's vo1 ,e
              was a'~v~r~.x~g sign o~ a~erutiliza~ion, ~~;r~'y Gfladrri~n repazted. ~I these
              conee~ns to ~CMC and there was na .acx~an, Gerry Gvodt~~~a was ~o~d and
              c~riclude~ that't~J'CMG did not want to do anything about U~. Du~r~i }~ecau~~
              of money ~~eu~ards,

                                   AD~IZTI~NAY, Ol~~N~UN~

          6~. The Center of A.d~va~c~d Spine Technalc~~ies OAST} negligently super~is~d
              and retained T~~'. Dur~~~.ui, including by allt~w~n~ Dr. Durrani #o perfn~

                                                 14
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            iinnec~ssary procedures and surgeries; use BM~~2 andlox PureC7en without
             appropriate ca~nsent; faring to dis~Iose Dr, S~a~iti and others invalvenaent in
             surgery;impxop~r billing; changing the dare-ap and po~t~op records to coincide
             w~.e~ the surgery ~rv~s k~at the surgery disclosed; and alt other conduct detailed
             in the dacu~nenfs ~ r~view~d.

         ~~. WCMG,U~ Health and GATT's in~~live ~flr thertc ~cttons anc!ivacti4ns
            towards Dr. L7~u~ani was financial gain.

         C~7. Tl~e 1VIEC, ac~inisfratioz~ aid. Boars of WCMC and UC Health failed to
             "govern the affairs ofthe Medical Stiff.,,

         G8. Thy MEC,ad~inistratx4~ and ~aarc~s of WCMC ~r~d UC HeaJtl~ Failed to
             erifs~rce their rules ~z~on Dx. Durra~ii as they were requxa~~tl to do.

         ~9, Tha       C,ad~iinis~rat~or~ and B~ar~s of VtICM~ and IJC Health £ailed to
             prc~vi~.e oversight of D~. Durres as they were required to ego.

         70, The MEC,administration and Bflards a~f W~MC ar~d UC Healtk~ failed to
             properly+ evaluate Dr. Dur~a~ii.

         71. T ie Drt~iapedic and surgery T]epart~nents ~,l~dicated their r~sponsibi~.ty ~uldex
             die 1l~EC bylaws to review, invest~g~f.~ fl.n.d supervise I3r. Du7rani.

         72. Tk~e MEC,administration and Boards o£~VCMC old UC Healt~i failed to
             prt~perly ciisci~line Dr. Duzr~i xnoluding summary su5peiiszons mid
             xe~+ocation.

         73. The 1VIEC,aclnunistr~,tion and Boards a#'~JVCMC end LJC Hearth wiled to
             properly discipline under the MBC bylaws as ~t p~rt~ins tv Dr. I~ui~ani.

         74. The MEG,adrninist~~tion and Boards c~~ WCMC and UC Health ignored ~k~e
             infoennatx+~~a xeadily mailable pertaining to fir. Durra~i before credentxalir~g
             ar~d granting him privileges.

         7S. T13e MEC,administrations a~.d Bvaxds of WCMC anc~ UC He~].t~i. wiled tc~ aet
            o~ Dr. Aurrani's di~rupti~v~ bek~avior, unpro~essivnal iaehavior az~.d olinical
             perfnrtx~ance placa~.g ~Eaintiffa~ risk.

          76. T1n~ MEG,ac€ministra~ian and Boards o£ Vi~CMC and UC He~ltl~ oerti~ied and
              approved the ur~ecessaay procedures ~~Ilr, Aurrani on Pl~i~n~~f lrnowtng they
              wexe unnecessary and knowingly allowing the imgropex use ofB1VIF-2 andlQr
              ~w~eGen acid ~n~wing there was got proper infarrr~ed ca~.sent.

          77.'~`lle M.~C,administration and ~aarr~s of VitCMC quid UC T~ealth failed tt~ apt
             on Dr. ~}urrani's failure t~ xzaedical record doous~e~ltation,

                                                15
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         78. The Iv1~C, at~ministratzota ~~a.d Boards of WCI~IC acid UC health failed to
             regtair~ Dr. Dunrani tv fallow the rules fir off'laloel ex~eximen#al procedtues.

         79.'~'ha MEN,administraiioz~ ~d Bs~ards of ~L~'~M~ ftnci UC Hee~lth allowed I3~.
            Durrani to ttse undisclosed Azad unqualified s~tr~eons tea perf`arni his surgeries
            including I~r. Shand.

         80. The MEC,adininistra~ian and Boards of VIC~C and UC kIea~~i Mowed Dr.
             D~.trani tp cicr multiple s~tt~;;~~i~s at a~.ce.

         8J.. ~VGNZC at~d UC Health have refused ~o pz'avide ~s ~z~ileged tie peer review
              info~ma~a~ frt~~n tiVCMC £ar I~r. T~c~rrani '~ either me or ~h~ir own expert.
             'I`herefore, w~ ~~ave no knowledge of what a~tiaz~, if a~iy, was taken against
             him. F-~a~v~ver, has~d up~~.the facts here,i~ is obvious they failed to take
             action.

          82. ~asect upon ~1 o~tlae above,it's my api~ion fiat VVCIVIC aid UC Health. ~,+ez~
              negli~en.#. in ~theiz' ct'ede~tialing, super~iszx~g, di~czplining and retaining Dx,
              Durrani an st~'~and, allowing him to abtaln Azad keep privileges at WCMC
              ~u~der the st~a~.daxds of Ohio as cietai~ed ire the Brenda Shell's Response ~o
              Matia~x for Summ~rry.Tudgment and. phis pxQxirx~ate~y paused harm ~ ~'~~i~ntif£

          83. T~.~ facts su~par~ Sarah luergens's Maim for negligence, battery, Xacl~ cif
              ct~n.s~nt end fraud.

          $4. As a result of~e negl1,~ence ~n~ oonduct oFDr.]7urr~xa~, CA,~T, West Chester
              end UC Health, Sarah Juerg~ns sut'fered da.m.~ges proximately e~used by
              them, inoluding the following:

              A. Pe~x~~nent ~lisalaility
              B. Physical deFom~ity and scars
              C, Pasf, current and Fut~ue Physxc~l and Meaata~ Pais.aid Suffering
              I~. host income ~aast, ~~eseiit anc~ fut~~re
              E. ~r~ss of enjc►~+~,~nt of life
              ~'. Past medical expenses
              Gr. Future rnatiic~l cxpensss ~pp~o~irnately in the amat~nt of$~~,aaD to
                  $25~,OD0 depending az~ course pf ~:ea~tnent
              ~I. Agg~avgt~c~n ofagre-existing conditzan
              ~. Decreased a}~ilify fo ea r► income
              J. 3°!o increased risk ofcancer end f~:ar off' cancer if ~~VIP-2 was used.

    .~F~TANT SAYET~I FURTI-~~F~ Nt~T
                                                                   M



                                                    16
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                                                           KEITH D. VEflLKE~', Nf.I~.


                                                           N~TAR~


   SUBSCRIBED,5~0~1 Tt~ ANTS AC~2VdWL~DCED bafare me,a I~atary Public, by
                                                            ,~~1y
   Keith. D.Wilkey, M.D. on tfu~                 ~(A   day v~    ,201 S.



                                                            N~TA Y FI~BLIC
                                                                                        ~~
                                                            My Co~.aaz~issian ~x~,; '    ~~3)J~

                  A~G~LA 4t}l~iS£~1'
              Nola~}r FubI1C - ~ta~i!Seal
                   Stata o~(Nlssnun
         Comrnisslonsd fos St. ~harEes Cour+ty
         PAy C4mmisslnn Enplreg: Jury 18, 2~i$
            Gnmmissloit Hurthei:11133~13




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Sip 27 2~~3 ~a11PM            HP LASERJE7 FRk                                                                                  p.4


                                                                                          ~~t~"4tl ~~l~


                                               Afff"idavit of Merit
                                                                          .~:     t       r+7~   1`7. ~ .,



     ~, Andrew Gt~I3ier, M.~3.,after being drily swum a~td cautioned'slate as~ fo~lawx;
     ~,     I have re~ri~wed a ll rel~vax~t medi~~l ~ec+~rds reasonably av~~~a61~ ab~G-~ LLinda
     Kallm~eyer-Ward c+~nce~niizg tha allega~ivns ofmcdical negligence::.::::;, ~,: ^f~?.::; _._
     2.     Tam familiar with fhe apglicabl~ standard ofcare.              --
     3.      B$s~d upon my review reftY~is r~cord> my education, my training,            ~xp~rience, it is my
                                                                                                            Dr.
     belief, ka a reasonable degree tr#' medical probability th~.t ~thc care provided by the Defendants
     Durrstii„ CAST, west Chester Haspi't~t aid t3C Huth was negligent and this negligence ~aus~d
                                                                                                  sy faiEure #a
     injury tee Lima T~.allz~~~yerVV~rd rxdra, negligent surgery; negli~~s►t sur~;ica] te~l~nic}~~
                                                                                                   of
     maintain accurate $nd cc~mp~ete ~targical records; negligent selection ar~d imp]~titatio~.
     ~rdware; failure ~to obwin proper ir~f~+rmed ccynsent to use,and the use csfunappr       oved
     a1la~ra~tth~rtiwar~ ccrrnb~ation; faifuxe tc~ o~atain ~rop~r inforn~~ consent to lase, and the use
                                                                                                            of
     BMIf~2 in~ cer~+ical sp1n~; f~~Iu~ t+~ a~t~in proper in€onned ~vnsent to use,.aiid the use a~
     BMI''a2 wi~utthe metal LT Cage; ~aiSure to obtain prap~rr ixa~ornteti~ consent to use, and tie use
     ofBMP-2in multiple levels during the same surgery;failure to obtain prap~r informed cransent
     to use, ar~d the use of AMP-~ in the game patient on rare than ane occasion; =arc and substa.~dard
     recflrdkeeping; Failure t~► supervise Dr. Uurrani; negligent ire and post~stargic~ diagr~dsis;
     znzprope~ dvc~mentation; healtri cars fraud; battery; negligent treatrne~t; r~egiigent surgery; and
     snet~ical neg~ig~ance.
      A~.      I devote a~ least ane-half o~ my pro~'essi4nai time to the acti~re clis~icaLprr~Giic~ in ~y
      field flf ~icensure, ar to its instru~kitrn in an accredited school.
      5.       My cw~iculuen vitae is attache.                                                       -
                                                                                                   _ _.~
                                                                                                           ~..
      F~,3RTHER AFFIANT SAYETH NAUGHT.                                                              - _-ti
                                                                                                       _                   ~, --
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                                                                         +er~v Collier,                       'ti,~. w ~    _~'
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                            /Y~.S    ~ ~f;    ~ +q        ~                                                  ~ -`:~~^~ ,
      STATE ~]~'
      ~vc.r~r~ of                             ~
                                             ~'~ ~                                                                  .. -

                   SUBSCRIBED,SWURN T~? ~41YD ~1.~KN~WL~DGED,More me, ~ No~ry
                                             ~ t~
      Public,~y Andrew ~oll~er, M.D. can tea      day cif ~ ~~13.
                                                                                                 ._.


                                                                                                              Notary ~blic
                                                              My Comm. Exp                                 :~ ~ ~    ~- +~
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N1ay, 9. 2a1~ 10;11AM         OA Rdmin                                                                ~l0.1~37     F. ~0




                                             KA~'E~'~rC KAU~~IVYArit
                                             Ak`~IpA`V'YT OF M~~f7~
                                         ''VVCST C~J[ESTI~~ HOSFY'T'AAY1

               I, Y~1th ~7, Wilkey, M,~7., after h~in~ dull ~'~`tr~~ end ca~~ic~n~d states :ts ~t~l~ows:

            I. Y devote ~t Ieast ~ne~halF of my pxafessiona~ t[~n~ to the active clirz[~~1 practi~~ in m~
                ~{f1C~ t~~~YC~11S171'~r O7.' ~~S instruct[o~,in ~~ ~ccredite[~ schflol.   ~ a~ta an oi~tht~~~d~c
                suzgeot~ +hose fnc~us is on sp~a~ styrg~l~ aid ~aa~.Ym~n~ oft~iose with spgne ~ss~t~$,

            2. ~'w~~~ s~pplemet~t t~~ affida~it'~lt~h anoth~t', by ~ le€ter oj' by testim~n~', b~se~i up~~,
                any ir~forinatiozl p10'Yi{~2d to me ~~0r Y ~xeout~ i~.

            3, Mycuzxaculurn ~[taa has been pi~'~Ya~s~~ p~'o~ti~e~d to oppps~ng counsel in these Dr.
               D~z~ani cases ~~n~ pan be pra~vide~ again upon ~equast. ~~r n~.~+ x~vi~w,T rely upan
                m~ edU~atiai~, ti-~ining end e~:p~ri~nCe,

            4. Y ha~'e not counted bt~t 1 h~Va reviewed, ~~v~ Std nr anbie cases inv'ol'ving r7r. I7~,~c~ni
               and t ie hos~~t~ls where he o~~~ hid p~i~~leges~

            5. T $ase ~►zy opinions ire ~~ on my're~+i~~v ofalI fhe uses T k~a~v~ ~e'~i~wed wfiic~ ~~cv~
               re~eaIet~ similar avn~tuot ~y' T7r. ~lu~x~ani and t~h~ hospitals where hs dad privil~ge~

            ~. X ~sn farnili~r'~n~ith appfic~ble s~~rtd~`d ofc~~~ for bhio,Ke~fu~~~ and tf~e caut~tzy
               for ~~i pi'~'hctpedic/spino surgao~ sltch as 1~~. A'~r~ani,

            7. I am ~I~~ f~niliar t~vi~h applfca~le ~t~n~~r~ ofcare, ~o3lcies, i~rles end regulatrans,
               ~`ied~aa~ e~ecu~ive eammi~ee bylaws, 3'C~~O requi~errten~s, credenti~l.iz~g,
               su~~rv7sin~, ~~t~ntiar~ ofrnedi~~! staff, ~zanCittg anal re}eating pri~iteges ~u~d ~~e deer
                r~~'~~'W p~'ocess ftt~" V~~~~ Chest~ar H05pIt~~, LLB, ~~~o .r~~ei~red tt~ ~s't~'est Chest~~
                ~Tospital nr'~!'eat Gh.es~er Iv~edica~ ~ez~ter and "UG Health,

            S, ~ h~va ~eview~ed ail r~l$vant medi~~~ records inc~udi:~~ r~diol~~}+ afDr. Dgtrar~x's
                med4cal t~~eatmenY of K'.atslyn T~auffinan and tha fnedical tre~~ment ~fi ~atel~r~
                ~au~'ri~~Ci at'W~st CheSt~r~

            ~, I ha~v~ ~~aviewed ~ha Ite~panse ~a ~ummaky ~~dgm~~it in the ~R~'enda Shell G~s~ atad
               alt t~~e e~ch.~bxts attached to it.

            1 b. ~'he Cenier ~'or t~dvanaed Sp~n~ fiechno~oglvs, Inc. was ~3r, Y?urran~'s practice grogp
                 and ~e was the ~ol~ owner, direa~or anal ~f~i cex ofCAST as well as 2~n employee,
                CAST as such zs a~~o res~nnsi~le for T~~, D~~ra~a~'s n~~li~ence end for ~h~ir f~~e to
                also ~uper~vis~, di~~~p~in8 and retain Dr. Durrani,

            11. I have ~~so x~view'e~ tt~e nu~~sing susnm~y ~xe~ared by Ie~al cot~n~sePs nffioe f~~
                ~atelyn Ka~ffrn~n. used upon the numbel~ ofcans I'~c+e:~~v~ewed pert~inin~ ~a I?r,
   Case: 1:16-cv-00594-SJD Doc #: 1-3 Filed: 05/31/16 Page: 209 of 307 PAGEID #: 232

May. ~. X014 1d:11A~+1       aA Admin                                                           No. 7~~7        P, 11




                                                                                                    ~5,ravit~e~
                ~7t~rrani, ~~g~~ co'unsel's o~~4 ktzo~vS whaC tn~teLialS Y need tts re~~er~v anC~
                me tht~s~ m~teri~is. I~~ a~ldifi~an, while tf~is affidavit contain s case spec~~i a

                                                                                            many aneilox
                infartn~tion; rt ~fsa contains information relevant to this c~sa andlo~r
                                                                   far me by ca~tns~ l ~Vifih xny c~ize~tios~
                mas# anc~lar aft tEze athe~~ c~s~s. Xt a~ p~epar~d
                and app~a~a~ fake ail a~~kr.~se h~'ve been,

             i2. ~~ed ~pori my rre~ui~w, the follvvv~ng art tie Bets Y a~e~y' ~u~on:
                                                                                    ~r Spine,
                 A,. Qn l 1/26120~~ ~atelyn I~auffinan ~a~ ~n ~iRx t~f the ~ur~a.~a
                                                                                          the sight
                 B. At L5-S 1, sm~1x xrgS~~. p~~ac~i~tra~ diS~ ~x°oCt~r~sian, contact4r~g
                    traversing S 1 ne~-~e x°aot.
                                                                                     ~~st. Recommend
                 C, A 3.~ cm rnas at ri~~~t adnexa lilcel~ x~preser~~s ~ ~~ItiouI~r
                    cXY~~i~al a~~~xelat4an, and ultrasound ~~~zu pezforrned  i~x ~-3 rr~ensttt~~l ~yc~1~s
                    to ct~nfirm resolt~Ci~n, as Glinic~ll~ lndia~~~d.
                                                                                                  rx~~asw~e~
                 Y3. It 1s stated ~r► the o~e~ative t~eport that s~a~ k~~s f~fl~~ co~s~rv~t~~$
                                                                        ~.au#'~ 'in~nproca~c~e e~'with the
                     aad t~ecid~d to praaeed with ~~.u';~eiy', ~.V~'iss
                                                                         judgm  er~  that sh~wc~' alc~
                     proc~~u~~~ b~s~d upon fix.~umar~i's clinxc~l
                     e~antu~lly b~~~~ne dxs~bled.
                                                                                           ure not
                 ~. Gons~rvati~+e ~n~~surs were not e~.l~austet~, thus making this proc~~d
                    ~.ecii+call~ ne~~ss~ry.

                 F. Iv~iss K.~ttffm~.n hid a proffer ~~ate~pretati~n afthc l~seopera~i~uv diagno
                                                                                                sis,
                    C~n~rme~1 by ~v~Rl performed an Q~i12S1241U.
                                                                                          surgery. Dr.
                 t~~ wring tk~~ first Office visit patient ~'as tdld that shy needed
                                                                                fallo~v i~ig day, but ~'as
                     ~Ju~:ani ~ttetnp4et~ to ~Gf~~c~le the ~arbc~t~~are £or the
                     t►nable ~u~ to hip s~hed~xl~ ~eu~g book~c~~ S'c~ Dr. Du~.x~tai the      surgez~ y ~r~5
                                                                                                   aa.~nt
                     ~x~~nt, as 1~is rned~cal opinion sugg~ste~ that shy ~wau~d have pe~:~zaa
                                                        UaII~ cause  her to b~Corn. e u~na~Ie  to walk'~r ith
                     nerv'~ ~amsge that could ~v'er~C
                     1~~r right I~~.
                                                                                         y vas
                 ~. Qt~~ procedure v~~s psx~axrs~ed: On ~122120I~ ohs Pollo~viz~g ~urg~r
                                                                                           This
                    pey~~~'me~: Right Sided ~~m~ai~ 5~ S~cr~l~ $ndospapic Disceat~cray.
                      ~roca~tit0 was Conver~e~ tp ~n open p~{~Ge           r~ ~ er '~~ e ~ tempts to doC~
                      the darts orit~ the ~5-S 1 disc.
                                                                              ~~, Thy o~erati~ve
                 I. Tate: pr, ~arranf did r at ver~or
                    t~.ctat~aa~ f~epoi~ is signed 6~ De. ~a~i Shand M.~. ~n ~ ~l~~I~~XO~

                  ,~, BAT'-2 Wks not used during the s~r~er~'.
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flay, ~, ~b14 l4. i2AP~       OA Rdmi n                                                           No. 7537        P. ~2




                ~., No h~rdwaK~e rrr~s implarsted,

                ~,, The operative repor# was dictated on 09!2312410.

                M, Thea'e was no failed h~~dware.

                  . The patient ~~s r~+~t seen a sub~eq~.ea~t trefltiX~g dacto~~,
                                                                                                    a~ &
                 Cl. As a ~~es~11t Qf the pxpceduxe perfarrn~d, Miss ~a~z~''ra~ ka~~ retu~~ned
                                                                                           Gdld  Withouf i
                     p~~i~nt t~ Ci~ex~.n,at~ Pa~z~ M~r~a~emenC, Miss l~al3f~'m.~n w~~
                                                                                         21 y~~r oac~
                     this proe~cl~~e she ~'ould eventually become disabled, Asa
                                                           t~USt upon T~t,1~7t~r~~r~~ to s•~~urn her to
                     patient ~111iss ~~uffman placed #a~x~
                      no~:m~al st~ta of [ire with~Ufi beck }~~in~

                 ~', Shy GP1~ttnt~~S to exp~f~i~~~~ p~i~3<

                                                                                  upt~n ~ z'~asot~abl~
             13. ~~sec~ upon my ~t~view, Clue ~ollo'~zng are my apd~nia~s based
                                                                                                or
                 d~g~ee a~niedic~7 certarn~y peri~ining to ~~e deviation is~ st~ntia~'d ofc~:re
                                                                    cl~irns against D~:, T~~    i, CAST,
                 ~eglfgenae, informed cc~nse~it, G~ttexy ~.nd ~r~~d
                 '[~i~e~t Chester and ~C He~lt'h wlalch proximately caused harm to P]~intiff:

                 A. U~z~a~essar~ suZ elyy'(~), hl'um~~r ofsurgeries              ~    ,~t~n~her
                    unneceas~x~'~~

                 ~~   N~$C~ ~0 ~IQV~ ~dt~1B1D]lr~~ SU]'gE]'~ tQ Pep~i~' p~ablen
                                                                                zs ci~estec~ ~~ Dx, S~~ar~'~~.y

                 C. ~rnplanf~t~nn o£Pi~r~gen't~itftout ir~fflimed ca~senC

                 I]~ ImpXantati~~ of~MP-2 w~itho'~t ~nformec~ cnns~cat

                 ~, ~`aiE~d hai~v~'are

                 F, ~'~ilure to obtain proper i~~~~rmed cansant ~c~r surgery
                                                                                          operative
                 Q, ~'~~lure tb provide adequate ~rtc1 Ehvrt~u~h pro-oper~ti've anc~ pQS~-
                    .~atier~t sEyrgicaE edt~c~tfan

                 H. ~aflure t~ ~ropexly post-gyp rnoniCar tl~e patent

                  T. Failta~~e to pro~erl~ p~rfaxm foflaw up, pas~~p Gr~'~

                  J. ~e~igent surgi~~~ techniques

                  ~.~ ~ail~tr~ to maintain ~cct►rate ~.nd aoz~plEta sUt~ica~ records
                                                                                             and ~urgbcat
                      aon~e,~t farms
   Case: 1:16-cv-00594-SJD Doc #: 1-3 Filed: 05/31/16 Page: 211 of 307 PAGEID #: 234

~1av~ 9~ 2414 I4.12AP~      ~A Admin                                                           ~o, 737       P. ~3




                                                                 rm~tiori to    p~tlent
                ~. ~ail~re to dis~~ose xtnport.~nt ~iealt~t ~nfa
                                                           di~~h~xge s~mmaeY
                M. F~~lur~ ~o maintain ~n.d cam.~l~re

                ~I. ~a~lt~ra ~fl supe~~'4s~ ~a. ~~sn~~ni

                a, Negligent ire-surgical diagnosis
                                                               repprt ar ot~aea~ rm,ediCal reco rd
                P. Fai1t~~'e to p~epa~-e a timely op~x'ttti~'e

                [. Billing for ser~vic~& not eompl~Yed
                                                                          b~    dtiing ati ar pa~-~ n~'the
                 ~. loot i~afo~•ming the patient a~.~ihe~' surgeon ~,vfll
                     surgery
                                                           e o£tt       aining, ~c~ueatluz~, eXperi~n~e, and
                 S, PxacGicing out~ida ~r~ T3u~xani's scop
                    ~oaxd cert~~catians

                 T, deviation in st.~7adard Q~ aare
                                                                       pre~ap npnsur~ioal e~valuat4on
                 U. 'FAil~trc tc~ parfarm thorough ~ttd a~~ur~fiQ

                 'V. ~'~i~ure bar Dr, I)t~xeani t~ ll~~ai~m ~ati
                                                                ~nt o~ additianallch~nged p~acedure rind
                      xeas4n
                                                                   ~llChanged p~oc~c~~►re and ~e~son ~r~
                  ~JL}'. ~ailtue her ~A~? to d#sclase ~dditton
                         patient
                                                                     erly edt~Cat~ p~tien~ ~'s~a~'ding
                  ~. F~{Yuze by Dr. ~ury~ani at CA,~~' Cc~ prop
                     diagnosis
                                                        licatidr~       and not acting pxnpeil~ ~~on same
                  `S~. Pxio~ kno~led~e ~£poe~~~t~ Connp
                                                              ~~afo~x~atiQn t~ ~np'f~t h~~lth c~rc provides
                  ~, Failure to c~isol4s~ pertinent ~e~Ith
                                                                               ti~e worl~ up
                  ,A~,A,   Fraudulent, negligent ar~cl recl~~ess praopara
                                                                         ~~X
                   1~~.    ~raudu~ent, negUgent ~z~.d ~eckl~ss surg~
                                                                                   iagnos~~
                   ~C,     ~~aae~u~~~te, ~'~~udulent, az~dlQr ~~ag~c~a~.on o~'d
                                                                       z~    ~os~~
                   ~iA,    F~ilurc Co prb~exly aduo~t~ p~#ivnt tegardtt di~g
                                                             a4nse~'v~ti~~ Cre~tYnen~
                   E~,     ~~t~~1re tq a~temp'C ~f4n-~~x~c~l
                                                                            pry-o~+noas~rg~cal e~val~tation
                   ~'~,    ~'ai(ure Y~ perform Ch4r~t~gka and aco~r~te

                                                            0
   Case: 1:16-cv-00594-SJD Doc #: 1-3 Filed: 05/31/16 Page: 212 of 307 PAGEID #: 235

May, 9. 2414 1~,12AM             OR Rdmi~                                                      No. 7537        P, 14




               aC3. F~Ll~tre ~y Dr. D'~~~1'ani at C1C1W~St Chester H49pttal t~ p~~~0a~i aCCUrae~
                  end ~fltr~~lete preop~rati`ve ~e~chiti~

              ~~. ~a~iure by ~}r. 7~urrani at UC1VV'est Chest~~~ ~osp~cal to ~~operly educate
                patien~reg~rd°€ng di~gnbses

               IT.          ~'ailur~ b~ ~~, burz~ani at UCI'L~'es~ Ck~este~ hospital to z~ainta~~ ~ccura~e
                       ~ndl~ai~ ~~mplete m~dicai recoa~c~s

               ,~a~,        F~iltt~a of informed ~aza~enti by Dr. buirani ~t L~~fW~est Chest~z ~-Tospi~~S

               I~~. failure c~~ U~I'VV'est Chester ~aspit~.l tc~ i~sur~ Dr, Du~~i and C~.51~' had,
                  abt~i~~t1 pzoper in~'orrnet~ c4~set~~

               ~~. Failure of UC(Vl►'est Chester Hpspit~~ to abf~ira groper ~cknowied~ement
                  Qf consent

                  Mme, F~i~r~~'~ b~ Dr, r}rarrani ~~ U~1'QV~est Chester ~aspit~l to ~iis~2c~se pertfncnt
                         he~lti~rnform~~iQn

               NN. F~i1u~•e by UCIW9st Chester'~e~Lth tt~ dzSCZf~S+eadditiont~l/Cha'~~~d
                 ~iocedur~ ar~d re~sot~ to patient

               00.           Fai1►~xe by '(rClVltesC Chestor TIe~lth tv supervise sC~ff

                  P~'.        ~~il~i•e b~ UCI`We~t Chester Medie~~ st~t~~to properly dac~rnent
                         ~bnorrn~~it~c~~ ~~ad folEor~' up carp

               (~Q, 1~1o~~appro'~ed hardware cbmb~n~tions

                  ~2..       Da. Durrani made ~'~ilse end znateti~l misre~a~~esent~ttpns of.rz~~C~ri~l facts
                         intended ~~ rnisie~d ~atel~n Kauffman and easzc~~led material fac~~ h~ Sad a
                         duty to discfa~e, ~Cl'~1'est Cher#er ~-Teaith arat3 ~A~'~ conae~~~d materiel facts
                         th~~ had ~ dtfty tt~ t~isc~~r5~. ~~~efsm Y~auf~mara 'wasjt~stifiec[ lz~ relying on the
                         misx•~~resentation ~n~ did rely pro~~r~~teiy c~4~sFng harm tb I~telyn S~auffirl~~
                       . Fps. T_lueranz, CAST, end ~~'CI~i1~st Ch~ste~~ I~e.~l[h intc~ntinna~ly misled
                       ~at~lyn Katixffman , K~t~l~tt ~aUffm~.n hid tho ~i~ht tp p4~~r~+ct infotm~tfori.

            X 4. The te$~iz~~t~y, facts ~ai~ exltfbids o~ l3c~ut~~ ~h~ll's ,Response to Mot#oil for
                 Summary ~udgmeaa~ end ~xhib~~~ ~o same ire ~~iplic~t~le fo ~1~ the claims ag~it~st
                 West Ch~st~r~h'e~~cal Cente~~(VJ'~M~} and UC I~eatttt far all ctaims, including
                 n~~ligent x~tention ~u~t~ es~de~itialing br~►~ght by ~'lait~tiff.

            ~~,       ~~sed u~an t`nSF re~via~~ of the d~posttioa~ fe~tfmQny, tf~e J'C~HO ~~egt~ir~lne~ts,
                  the MEC bylaws ~~Yd ~.~~ khe iufa~m&Fran ~t~ovic~ed to me, ~ am ~#~~~ to adopt the
   Case: 1:16-cv-00594-SJD Doc #: 1-3 Filed: 05/31/16 Page: 213 of 307 PAGEID #: 236

May. 9. Z41~4~ 10.~2AM       OA Admin                                                     No. 7537       P. ~~




               ~olipwictg opinions relatin,~ to VJCMC aid ETC Ii~~1~h ~ertatning to the Claims
               agairt~t t~~ern, G'CMG's end IJ~ Heal#~°s actions end 9na~ti~ns detailed in phis
               aftic~avit pro~c~zxsa~e~y caused ,farm to Plaintiff, '4'V'Glvi~ and ~C ~e~th ale bath
               ~ain~ Y~e£erenc~~'S~k~ei~ t~nly'4U'CMC as n~met~~ Z hold the ~allv'ov'~ng opinions
               ~el~#ive tt~'V~CMC and ETC ~#e~~tt~ pe'ifiainin~ to tl~~~r C~~d~ct acting throU~;h their
               aclmir~isxrat~on and MEG. Tips tzrne peaiot~ caver~d is ~`iam tie t~m.e D~. D~~rr~~i
               sQ~tgt~t p~•i~~l~ges pxio~ ~o ~W'C~C opening in 1V~~y 2449 ~hrdugf~ Iv~ay 2QI3 when
               h~ nt~ lortge~ hid privileges. In a~di#ion to my a~~nYOns, T Set f+ar~th fa~t~ ~ rely
               u~aan, This inclttdeS ~l~ wf~~~~ X ~•eferen~~d that T ~~aviewed, In addition ~ti alI ~~'
               fhb ~~hoVey Y attest to the foltp~win~;



                I, Acca~di~z~ to W~3t C~a~ster's fi~sC E~e~utive `Vice President, C~~'o~ Thing, sha
                   did ~aot e~plare ~h~ "run7ot's" about Di, DUrc&r~~'s leaving Chilt~r~z~'s,

                ~, A~c~rd~z~g to Carol ding, the ~os~ital tracked problem ~~sues yet WGMC
                   h~~'e f~il~d to p~vdu~e t~~ information t~zade~ peen re~te'~V pxatac~ion.

               3. AccQZdin~ to cix~ulatia~~ nurse, Sanet Smith, pres8t8 'uver~ cha►~~ed iri t~i~
                  ~nmpt~~ei to indicate the proaedt~r-~ Ar, ~Ju~~rani ~ec~~rn~ed af~~r the pra~~dttra~

               A~, Aocoz~ding to ~'ane~ Sn~►ith, despite na one at `t~'est Cheste~~ never wanking W~t~i
                   br, T3~rrani before, WG~~ never checked hire nut.

               S. Ac~ns~d~ng to forrnex• Uni~'~rsit~ ~osFyital President ~a UC ~ie~lth hc~spital~,
                  Brim Gibt~, ~OSpi~al5 '~OC~ ~li7a~EG~&I ~~l~~~e~~'@S.

               6. A~cai'din~ to eisk n~~t7a~vr, ~l~vid Sahvtralli~, rts~ man~ge~ne~t ~~w bu~a~ani
                   hid 9ssues,

               7. Acca~~ding to ~~adialQgrst, Thomas Bro'~n, thane w~i~e ~u~g~ons qusstio~~n~g
                  Du~~'~n[=~ decisions to per~vrrn su~~ely.

               3. A~eQ~~t~in~ tp medical staff ~ire~tor, P~ul~. ~aw~t,a po1i~~' c2~11ed "stogy the
                  lying"vas irr~pl~rt}~nted t~~ same ~'e~~ ~~.+d mn~n~~,they IC~c~ced Qut I3~°.
                  D~x~ar~i. This infers ~ p~ac Bnvxxo~nmenC ~fl~anesty and ~isc~a~u~e before this
                   ~aliay~

               ~. According to Paula ~'~w~C ~a~d ~s the dfr~ctaz~ n~'~a~dical staff, rn.atn~y is not
                   sup~aosed to hump patient ~afet~,

               ~0. A.ccordiz~g t~ ~'~ula ~1awk, she ~dm~ts pee;• revie'vv as for k~~spit~~s xd protect
                   etch other.




                                                       D
   Case: 1:16-cv-00594-SJD Doc #: 1-3 Filed: 05/31/16 Page: 214 of 307 PAGEID #: 237

day. 9, 20f4 10,12AM       OA Admin                                                         No. 7537      P. 1b




               i 1. AccardYn~ to Pula hawk,she ~dm~t~ ~QSpitals are interested in r~olt~me,
     -              son~ethtng ~a. Dt~t~ranz p~ovid~d for ~'CMC and UC E~ea~tf~.

               ~~. A.ccording to Nike ,~~~ffeis, the di~'6CtbI` q~~~i~IriC~, ~h.ey trst;I~~d T?r, ~7uRx~ni's
                   fin~t~c~al numbe~~~,

               1~. ACCOrding to lVtike 7~~~~~r~, ~~ at~m.~ts D~. purra~i hetp~c~ them i~n theirttnie off`
                   need.

               14. A.cc~E~ding to Mike J~f~~s~s, ~7~. Darren! was the l~ighe~~ ~a~n~~ gene~atar,

               ~,~. Accord~~z~ #o ~i1ee ~'e#~eF~s, ate l~aew I7r, ~urx~ni ~at~ rnoze C#tan one ~urgi~~1
                    suite assigned ~~ ~il~e,

               ~ 6. t~c~ot~din~ ~o 11~fr`ke Jet~~rs, ~~r~us~s were }paid to him anti ot~exs ~~sed upon
                   fin~nce~.

               ~ 7. AGc~t~dir~~ t~ D~~. Peter Stein, he ~n~e~r br. ~}}unani ~v~s o~1y "s~ti~~~Cti~rY,"
                    nofi a'WOr~c~ c1~ss Spine Sq~'~~on ~s Nest ~h~stiez adV'~x~ised.

               1$, Dr. Stern do~s~i't deny adtrNitti~g ~l'C ~~~l~h ]C~t~k~~ the otihex w~.y ern D~r<<~ni
                   because ofmoney,

               l9. A~coi~ding to credeiltiali~.g maraa~e~, Ann Slrelly, them was ~rlent~ n~'"pt~btio
                   knativledg~°' ~bc~~ut D~, D~~-~a~nl to cheek be~oa~a cr~d~r~~i~1{ng.

              ~U. A.G~ordin~ la Ann S~~elly, '4~Vest ~hest~r relied ~n the ~~'DB they knew was
                  pi~t~Cte~ ~►y ~QSp~t~ls~

              ~L. fir, Eric. SGhnee'bar~~r, U~. ~q~x°a~ii'~ p~r~nsc, was an the ~~C at WC1V~~~

              22, AaGare~ing tea Eric ~c~nneeberger, '►Vest Ck~eat~~ knew about 7~urk~anf
                  sch~dt~ling surgeries long iota tie cta~' ~n~ night.

              23. ~.CCardir~g to ~'oa'~~~r~ nursing n~~n~ggr, ~I~1ne L'~~~nl€o,'~irCMC knew abet T)r,
                  Dt~rra~i riot corn~~e~~ing re~oxds.

              24~ Aocording t~ Maine K.unko, VLr~l'viC k~le'Vv SJ~, L~U~z•ani ~v'~+aX~ claim sttrgerie~
                   were ernergen~~'cYvl~en that were aaot,

              Z5. Accorciit~g to EXaR~ae Kt~n~Ca,''~i~'CMC I~ne'~v there was ~n issue wiCh br,
                  T3ur~ani not beln~ in the room do~t~~ s~rg~ry nn "his" partient.

              25. Accardin~ t~ E1~i~~e Kunko,~~'er~ tie 1~~. nuz~s~s knew Vr1CIV1C put ~p ~~th
                  Dt~, Duri`~ni for mane,
   Case: 1:16-cv-00594-SJD Doc #: 1-3 Filed: 05/31/16 Page: 215 of 307 PAGEID #: 238
                                                                                                         ................. .
~iay, 9. 201 1~,~~+4M       QA Admin                                                         ~lo~ 7531    P. ]7




               ~7, Accord{ng to ~E~3n~ ~.unk~„'[7,~CMC tracked ~?r, Dur~~ami's ~inancia[ numbers.

               2$, ~.ccardy7lg to periopex`~live c~i~'~ciQr, ~,Y~a l~a~is, ~+VC~~ ~{~tGW ~llITFi[3]°$
                   bf'~Ge is ~lip~c~setC to get consents so '4'~~~C hid an obli~a~io~ tp ma]ce sine
                   they did.

               29. A~c~ai`dlll~ ~0 JI~I St~~1712111~ the risk masiage~' a#'V4~'sst Chester, she lrnew
                   Du~i•~ni had "issues,”

               30, J'ilI St~gtnan confirms C~e~•ty Clt~pdman's compla9n~s.

               31, According t~ f~athy ~TayS, WGMC knew how ~7r, D~rr~ni used BMA-2 anti
                   ~uxeGen,

               32, br, ~'in~ ~ren-~~h~~, the C#~~e~of C~~ Oy~thapedie t~~~ak`txn.~~t, failed tb ~o tais
                  jQ~ under t.~i~ Sv~~C bylaws as it ~~~~ated to the si1~a~~vi~imn ar~d rew~ow afDr.
                   ~ur~~ani.

               33..~~eo~'ding to br, `C7ina TC~~er~n,c7~e1~, he lc~ew Tyr, buRx~ni ~'AS ``s~o~~Y."

               34, C~evir~ Joseph, the G~~ af'V~'C~Cp Cl~xr~~.~ kb 1~r~p~ ~uthxt~~ ~boU~ SUrg6r~~
                   ~p~~'atians in his has~it~l.

               35. ~Ce'~in J'osep~i, the GE(~, clairn~ ~ h~spYtaI must pro~~ct p~tie~zts from
                   t~nnecessa~~ #arm ``as much as they`pan,"

               36. Kevin Jassp3}, the ~~0,ciairxas WCM~ t~~es~'fi have over~iglat ofsurgeons
                   c~~ifl~ what Plaii~tif~c3aim~ burranr` was doing. (besp~ta what his b~r~aws
                  sfa~e.)

               37, ~~vlsl ,~oS~~hr the CEO,denies the haspi~at Y~€~s and raspQns~bil~~'y i~~1r,
                   Durt`~lil CII.~ X11 lltlt]BC~SSaty Sl1T~E1'~~

               3$.Sevin Jb~eph, the GAO, despite hip ~nsn~e affica t~~acking ~f, denies any
                  ~nQwledge ofBMP-~ use.

              39. ~.av1n rosepEa, the CEO,denies knowing abouf'at~~ cornplai~ts ~bt~'ut D~~,


              ~0, C~evin Joseph, the ~~Uy ~d~»xts ~e~r b~nefted ~fn~~ci~li~+ ~iQm ~?r, ~7uirani,
                  inCaud~r~g his awry pay.

              41, N~a7•k `n:an~.~~, th8 C3T.t m~nage~, ~dn~its ~M~'-2 use as used icy ~7r. T]uz~c~ni.

              42. According tc~,~effD~~a~alik, she Senf~r ~eadershipteann, i~nc~udfng ~'t~~sph, met
                  we~kl~+ and re~~~rarad ~a~mbers,
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               ~~, A.ccording to .~eff ni~a~alik, the CFG o~F'WC11~SC knew I~r. Dt~~~s~i was ~ ~i~h
                  ~ol~tm~~ znone~+ m~ker~.

               4~. T~~sley Gifbea~t~on, ~ member Q~t~a~ 11~EC c~Y WC1v~G, a~t~ anes~hesio~agisfi
                   wt~rking with Du~2ani, had a concsr~i a~~ut hew fang D~r~~ni kept ~atier~t~
                   under.

              ~S, Accarda`n~ to in~t~ri~l~ mar~~g~t, l`~er~nrs l~abb, WCNxC ~Cn.~w the vn~un~a~s t~~
                  BMA-2 beiz~~ used,

              4~. A~cart~ii~g ~a [~~ren Crh~f~ri,'L~U'CMC €~Ye~ tl~~ c~'iart documei~tatio~~ gf~7r,
                  ~1,i1'1'at]Y WAS ?lU~ 111 CQCL]j~1Y~11C0 '4~l~ti ~~]CIl byI~WS.


              ~7. P~triok F~a~,~r, nuising'VP at WCMC adxnits'~V~MC hacked tFie ~n~~ci~~
                  perfaz~manae of Dr, pt~rrani~

              4$, ~Llccarding to ~~urs~, Vicki S~ati, the ~dz~~X~trstr~tian off' WC~f~ ~Cn~w from the
                  a~f~et a£'~"est Chester all the sexz~us issues p~~tainin~ t~ Dr,'~urca~i,

              Q9, Aceordin~ t~ Viaki Saatt,'W'est ~~Zastex~'s risk mant~~~~ began to ignore
                  Gt~m.~tain#s fir~~n 7vls. Scats.

              50. A~ca~~ding to Vicki Scot#, staff w~ scared fQ spew€ opt,

              51. According to Vice ~catt, patients didn't l~now'~lh~ ~I~ tie suxger3es—Sh~nt~
                  ot• ~?ur~~~i.

              S2. According to '~icki Scats, r~c~rds ~exe not accurate ~nrh~ was in the 0~ at
                  W~,af lime,

              S3. According to Vicki Se~oiC, s`veryone at''t~VCtvIC kxce~ ~t was a'~aut money.

              5~1. A~~ordtn~ to '~ick1 Scott,'V~CM~C kn~~r a~at~t Dr. Du,rani's end VV'est
                   Ch~~ter's illegal use ~fPureCxen,

              SS. Ace~i'din~; t~ 'V'~cki Scoit,fir. D~~`t~~ni r~v~s a behavior pz~obl~rn,

              5~, Aac~~~din~ to p~ttxen~ reprasai~trative, Ell~~beth ]lean,`VLrCIV.~~ tr~~~d br.
                 ~3urrani's valum~~ 'ram the t~utset az~d the CFQ ~~'v~d what he sgwV',

              S7. According to Eliza6ei~j~ Dean, V►r~N1~ ~tt~~w ~7r. I3~rz~ani had issues ~~
                  Chil~re~'s,

              58. ~.cco~~ding to Elizabeth dean,'W'CN~C lcne~v Dr. ~ur~ani way per~'oxaning
                  Unnecessa~i~ procedures 6y ~o[~rries anc~ repeats.
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              5~. Accor~i4ng to nurse, Scatt ~ime~, ~'CIv~C l~ne~~ br. b~~nan~'crt~'aited until after
                  surge~i~s to doet~in~nt whit proc~du~'es were planned.

              ~0, Acca~•din~ to Scott 12im~~', ~ati~nts ~t WGM~ hid proc~dur~s tt~ay d$d not
                  c~~sent to and WCs~C kt~.e~r it.

              ~ l. AGC~rdin~ tb Sett ,k~i~x~er, st~xile ~~lds were not ~ratected,

              d~. ~4.ccazding to Scott ~tini~z,'S~'G~~C i~ne~c+ ~'t#t'~C'r~en was being ~tseC~ by ~z,
                  ~uzraz~~ and alla~sred it.

              b3. A~co~•ding to Thamas ~~a~kt, ~'uxe~~n was an alta~nativa to Blvt~"-~, whleh
                 'WC~C burned to based t~pa~ insurance denials ofBI~iP-2. In a~r~itxarY,fir.
                 ~7u~~'~ni operated ~n ~net~icat FOD of A~phat~~h ~aX~ed k~vaIution ll~edicai to
                 sell ~ure~ren t~'VV'~st C'fi$stsr.

              ~4~ According to Gera'Got~dm~n, VVCMC tracked BIV~I'~2 use b~+ Da~. D~riani;
                  p~ti~nts chid oat know wri~ at Mmes p~r~c~amed Cheer surgery 17~•, ~~iaxk#i or T~~~,
                  D'u~•rani; ~~eC#T4~iG leCAl~~s hid to be changed a~fte~ br~ Y3urrat~z's surgery; T?~,
                  L~uzxani and'4~'C7VIC xlever o~tai~et~ ~n~~xmed ~on~enx~; bra burr~~i'~ ~o~~me
                  eves a warning sign o~ ~^v~xu~il~z~t~ar~, ge~y ~o~~man xe~pozfiet~ III these
                  cazacerns to ~'J`C11~1C and tfiera r~~v~s ~o &~Ctzon, Grerty ~aodm~n was told ~r~d
                  c~ncluo~e~ tk~~t ~C~V1~ did noY ~van~ Ca ~c~ ~r~~thiz~g abet Dr.Iat~rr~na beca~s~
                  O~mor~ey re't~aads.

                                       AD~I~'~QN~L aFI11~I~N5

             6S. Tlae ~e~~fer d.fiA~~~na~c1 Spire Teohnologies ~CA,ST) xa~~ligen~~y super~isec~
                 end retained nr. L~u~zani, including by aC~n~~c7irig Dr. ~111'Tatl~ ~Q ~7b1~~`arna
                 unrtec~ssax'y prac~tiurt~s grid sur~erles; use ~~~-2 ancllot ~'ureCr~n wiGhoU~
                 appro~f~iat~ aor~senf;'~~~~i~lg Cd C~iBG~os~ Dr, ~hanti and ethers in~rol~remen~ bra
                 st~xg~r~+'; im~r~per bil~izi~; cfi~n~ing the pre-op and post-op records to corn~id~
                 when the surgery way not tea aurg~~y dYSalase~; anc! all other oo~clu~t detailed
                 in fhe dacurnents T ~•eviewed.

             ~6. ~VV'G1~C, ~C health ~~d CASr'~ m€~tive for tl~~ir act~ans end ~nactiori~
                 tt~WaxC~S bt'. ~l1tr&hi 1~~5 ~t~~nCi~l g~ii~.

             6~. The 1v~~C, aim€n~stxa~lan a~ia~ ~~ards of VV'CMG and CSC ~ea[th ~Fai3ed to
                "~a'ver~ the affa4r~ of the M~diaal ~ta:~"

             S$, The MSC,administr~tian anc~ Baaz~ds 4~''UV'C17VIC and ~'C health ~ai]ed tQ
                 en~`or~e thafr a~~ale5 ~p~n p~, burr~ni ~s they wire f~cquiza~ to da.

             6S. The MEC, ad~~in~stx~~3on anc~ Boards of WC1V1C ar~~ UC He~lt~ f~x~ec~ to

                                                     1~
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                     provide. aversigi~t ~~br. ~~rrran~ as they ~rere required to ~a

                 70. T~i~ MEC,~drzainistration end ~oeids of'WCIVIC anc! C3C ~-lealth failed to
                     propex~l}~ e~varuaty Dr.l~~rrani,

                 7L.'T`h~ Orthopedic grad Sur~,~~y ~1~p~'t~Gm~nts al~d~c~tad ~h~[r responsi~ili~y ~nd~r
                     t'~e 1V]~G ~~Yaw~ t~ review, in'~estigate aid s~rpet~ise Dr. ~u~~ani.

                 72. Tk~e MEG, admanistcation atad ~oaxd~ ~f'U4rCM[~ and CMG ~fe~l#h fa~l~d to
                     praparly ~kSCIj)~ine T)1~. T]ur~'1YiS iCiCIL1C~1t1~ 5lltxiItl~ly SLiS~?G'i1SIf]ri5 ~T1iCfi
                     P~VOCa~IOri.


                 7.~, T~~~ MSC,adm~ni~trati~n and Bda~•ds a£ 1~CNZC ancf UC He~ith wiled to
                      pro~erl~'tiis~ip~zn~ u~n~ei the MEC bylaws ~s ~t p~rtai~as to ~7~', ~7ur~r~tir.

                 '~4. Thy MSC, adm~r~i~tratly~ and hoards off'~VCMC and UC He~3~h ignaxe~ tk~~
                      tnfc~rm~tion re~dil~ ~~r~~lab~e pei~talning ~o Dr. bun'a►ai E~efore cradentia~in~
                      end gr~z~t~n~ him pri~il~~es.

                 ~5. T~aa ]V~~~, ~dmi~isti°~t~on end Hc~~rds of VV'CNiC end U~ Health failed to act
                     on ~~•. Durr~ni's disrEaptive beS~avio~•, unprofessional 6~ha~vio~~ ~~ad clfr~i~~~
                     pe~form~nce planing ~larnt~if a~ risk€,

                '1~, The MEC,admin~stt~atlon ~nc~ Bp~ids a~'W~MC and Ll~ ~e~~th Cer~i~ed and
                     a~px'4ver~ t~~e unn~G~~sax~ px'~C~cittres of Dx. ~ura-a~~i ~n P~air~~i~`l.no~+ring that
                     were urcri~ce~s~ry end ~or'vin~l~ ~llb'uv'ing ~h~ improper use of ~~~'-2 andlo~:
                    Pu~'a~r~r~ and kaiowiflg #hers was acct proper informed can~ent.

                 77. The MBC,~drninisEra~ion and goar~s of`V4~~7viC ar~~ ~.~'~ Stealth failed to act
                     ari Dr, bl~~'ra~i'S f~ilt~r~ in rn~dic~~ t'ea~rd clac~mentstian,

                78. Thy N1EC, ~dminrstration ~ri~ $oa~ds o~''V4~C1V1C ~t~d CJC ~e~lth tailed fo
                    zec~ui~~e Tyr, T~urrani to ~'o11a~~+ the ~-~~Ies fot~ a~~~bel ~~peiim~n#~i p~ocedux~s.

                79, T~t~ IV~LUC, adrninist~atlan aMd hoards of'Vt~'CMC grid T~~ ~ea~th ~l~owcd Dz~,
                    Dt~r~ani to use undi,sclased and unt~uall~~cE suc,~ea~s t4 perform 1~1s sur~ei'ie~
                    including ~~. Shantz.

                $(~,'the ~vI~G, ~dr~~inistration ~ai~ Baard~ of WCMC anti L]C health allowed D~.
                    1~7ui`re~Zi to da multapie sux~garies a~ p~ae.

                81,"4V~~~C ~~d ~C]'C 1-~e~lth h~'~e r~~sed ~o ~~o~'id~ ~s pri`vil~g~d the peen review
                   information frat7a WC1VlC for 1~~~. ]~uxrani to tither ma ar t~ieir own s:tpart,
                   Tha~~~fa~•e, w~ h~~ve na kno't~vle~.ge c~~''t~vhsC ao~fbn, Y~ar~~, wras taken against
                   ~lrn, ~owe~er, bayed upon the fats here, it xs ~brriaus they failed to t~lce
                   action.

                                                           1~
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                       82, based ttpoz~ a~I ofthe ~.bove,[t's tt7~ opinion that'I~~~C aid C1G I^~ealth 'W~le
                           n~gl~gent:n il~efr Gr~tlentt~ling, supar~vts3n~, discipl~~,9ng ~~ ~raCa~n~ng L~r,
                            AtziY°ani on sta~E~ a~1~i a(l~~in~ him to o'bta~,n and kee~a pri~vileg~s a~ ~V'~MC
                            ~nde~'the standards of Qk~ic~ ~s d~taiteti its tk~e ~xenda ~"ttell's Respo~s~ ~o
                            1Vlotian fox Su~t,t~~t'y Judgment at~t~ Whig proximately caused harm to Plaint~~'~:

                       ~~, The f~otS 9~p~p0lt ~~tt8~~t1 S~ttil~f~7~~7i.'B G1~~tk~. ~0~' ri~g~ig~~CBi hatter, lack of
                            ~c~i~s~a~~ ~n~ fraud.

                       84. As a i'esu~t v£t~~ ne~~iges~ce at~d conduct of br, burrani, CAS's,'W'est ~hestc~r
                           az~d TIC Health, K~telyn I~.~~ffm~n s'uffe~ed damages pro~imatel~'caused b~
                           them, ir~eI~ding t~~ £ollowin~:

                            A. ~e~:ma~e~t ~t~~abiiity
                           $~ ~'h~siGa1 defoz~mit~ snd scars
                           C. Past, C~~~t•~nt end 1~t~Eur~ Fh~slcal end Mental Pa[n and Su~~'~rin~
                           D. Loft ~ncame past, pa~ese~t ~~ad future
                           ~. Loss of er~j~yms~t t~~i~t'e
                           ~', fast medie~r e~peras~~
                           G, F~tr~r~ rnedic~l expen~as ~pproxirnateIy in the an~~ttn~ a~'$
                           T~', Aggravation a~'~ p~~-existing condition
                           7. ~lec~•eased ~bilyty to aar`n income
                           r. 3°~a 1n~t~~seC~ i~~st~ t~~C~no~t end f~~r ofC~z~CBx if$MT'-2 [~va5 Us~d~

           AFFIANT SAYE~'H ~~Tt~T~ET~.N'Om



                                                                     ~T A. V►~!L       Y~ 1t~,p,




           SUB~CR~BED,S WC~R~I'TO Al~'.1] ACT~!(~'VL~LEI7GEl~ l~~for~ me,~ ~at~~~~ Pt~b~x~, ~~

          ~~it~ 1~~ '~'I1~a~, M,i7, on phis~_ d~.y of~~'                   p14.



                                                                N~OTA        ~'CCJT~~,~C
       Notary~ pubC ~NiarySOa!                                  N1'y ~q~i]t~YS~~ori ~x~},:     !       ~L~~
            51atC Oi Miseauti
  Cammissfoned fars~, Charles Caen
 fly C4mrnlssian F~iree;Juiy 1A, 2a 6                           ~~,~p~.('~ ~b~~~
    Comndssto» N~~nbar: 91133519                                -       •. -    Y



                                                              1~
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Nay, 9~ 2414 14.1~Ai~   ~A Admin                                        Ida, 7537   P, 22




                                             S~a~Ee of Y~~t_.~S~U.•Y,




                                        13
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                              rnt ~r~~ cotr~T vas ea~~rrortPLEas
                                         CIVIL DIV~SSIDl~i

 AMAi~DA.KvCH
                                                                   Case No. C~ 2013 di 21~0

                                                                   JZ3DGE GUCKEN]3ERGBR
                Plaiunt~fa,
 v.

 ABI7~AK~iit A7I'XQ DURRAN~,NI.D.,
 et al.


                lle~endants.                                                   -_ _---
                                       l~ItIT~CE OF FILING




        Now cones the ~'Iaintiff, pursuaxzzt ~a CR 1 D(L)}(2}, and respectfiilIy subm~t~ ~hz ~.t~ached

 A~'~davif of Merits of Key#h D. t~li~ke~a ~,U. in support of Plaintx~'~'~ Gompl~int against all

 D~fenciants.


                                                       Respectfully subrnii~ed,

                                                              ~                                  f
                                                       ~t      ante ~. Co~I~ns ~8~945}
                                                            ~~7 Madison Pike
                                                      Independence,KY Q~1051
                                                      Ph:{859)3b3-1900
                                                      ~`a: (8~9~ X63-1~~4
                                                      ~G4111HS{L~x, ~~f.Ci~G~~FS.cam
                                                      Counselfay P"l~atnt~~s

                                 CER'~'~~'~CATE aF SER'VICE

        I h eby cerkify t1~a~ this N€~tice vas filed with the Butter County Clerk of Co~uts on
A~.~gust~2014 and an eleateo~ic copy vas sen ~a- 1 cQU~se1 ofrecor


                                                      St/         'e Ca~Iins
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                                                              ,~~.pJA K~~~3'~
                                                           ~' ACTT Off+'T~liiT
                                                            ~'~~.t ~HYI,ID~EI~i'S

                                X, ~.e~th D.Wi~tfcey, N.C,D., aver being duly sworn.end cauti~z~~d. states as ~'o~Iows:

                            1. I devote at least one-half afmypza~essional #.zme to'tbe active clini.ca~ practice in r~€sy
                               field ofli.cex~sux~, or its insfruc~ian in azz accredited school. I am an arthapedi.c
                               s~axgean whose ~'acus xs o~.spine surges and treatmetrxt o~'tllose with spu~.e issues,

                            ~. I will su~l~en#this af~.davit ~vvzfJa at~a~ier, by a letter ar by testimony, based u~an
                               any information ~~ovzded t~ me after X acute it.

                            3. My curXicu~um vitae'has been prevaot~sl~provided to nppc~~ing counsel in these ~3r.
                               I~urrani caws a~ad c~ be pxavidcd again upon request. Fox my review,I ray ~poz~
                               ~y education,tra~riing and e~.~ea~iezace.

                            4, I have not ~ounfe.~. bt~~. X ktave xev~~v~~a, aver Sti ar mare cases ia~~~lving 1~r. I7urras~i
                               and the ~usp~t~s where he once had.privileges.

                            5, I base m~ opir~ons in part on my revi~v of a11. the cases I 1~~ve reviewed which have
                               revealed silnia.~ conduct by Dz. Duz~~ani and tote hospitals where ha hid pri~leges.

                            b, Tare familiar with applicable standard ofcarp far t~hio, Kent~.cky anr~ tie country
                               for an ort~apeda.clspine surgeon ~.z~h as I3r, Du~rani.

                            7. I axx~. also familiar with a~r~a~ical~le sfandard afcare,pQlic~es, xu7es antirelations,
                               m~ica~ e~ect~txve coz~azttee byXaws, JCAHO requfrem~nts, are~ent~aXin~,
_ ......_, ., _ .,..,....    ._.~~~it~.g,~c~t~.~~.~fr~,edic~:~'f;'~ttngasz~'r~j~bxp~.vi~~a~xd-~e-~~er                           .
                               review prac~~s far ~ir,.cirinati,Claildi~en's Has~ital..

                            ~. I ~.ave reviewed a1.1 r~levan~ medical rec~zcl~ includita~ radiology a£~r. Dturax~i's
                               xraedical. treatrn~nt ofAmanda Koc~~ and the medical trea~n~nt of Amanda mooch at
                               Children's.

                            9. 'die ~entez~ fQr.Advanced Spine Technologies, ~i~. was Dr, Dt~rar~i's prac#a~e ~ro~p
                               and he vas the sole o~vr~er, tlixactar and c~~tcer ofCASE'~s well as an employee_
                               CAST as such is also responsible £rn:D~. r7~rrani's ne~ig~n.ce and for their faa~ure to
                               also supervise, discip]in~ rind retai~a Dr.. D~rr~ni.

                            10. ~ k~av~ also ~`eviewetl.~nursing suzxzmary prepared by aegal ca~.~nsel's a~fice fax
                                Amanda.~aoh, ~asecl upon the nuzz~,~e~r of cases F've r~uiewe~. pert~initl~ to Dr.
                                Thuraaaz, legal caun~e~'s a£f'xce ~t~~s what materials X need ~o z-e~riew and. pro~~des
                                rn.e tb,~se materials, Tn adc3~~an, while this af~i.davi~ contains cage s~ec~fi~c
          Case: 1:16-cv-00594-SJD Doc #: 1-3 Filed: 05/31/16 Page: 223 of 307 PAGEID #: 246




                                                                                              case andlar many an,dlax
                              information; i~ also contains i~'afarrziatian re~ev~.nt to this
                                                                                              coutasel vv~ith any direct~Qn
                              most a~.dlor all the other cases. It is pr~paxed fax me by
                              anal ~pprava~ like all ofthese have been.
                                                                                           rely upon:
                          11. Based upon 7my ~evie~ra,tie foliowi~g are the facts I
                                                                                      played 24 year Qld sizigle zriather
                          A. Medicalfspcia] hisfozy: Amanda Kac~a is a nn~v u~en~
                                                                               i~.icit drug abuse,but admits to %to 1
                             with twa chiidrezx, rJ~s. Koch d~ui.es alco12o10~
                                                                               l~istar y ~ncJ.udes a~iexz}ia, urinary tx'act
                             pack peer day tobacco abuse, I3er prior medical
                                                                            x    anal  miscar riage x 1. He;'past
                             in~ectzons, as~zz~.a, kidney stones, childbirth 2,
                                                                                    Disord  er, Bipolar Disorder. Prior
                             psy~hiatzic history includes Obsessi~a-Co~~uisxve
                             surgical history includes DEC '1Q, chalecyste    otomy  ,

                                                                                   y surge~es that include grgssly ~.egli~eut
                          ~, T~iis case involves th~'ee zn~~ical3.y w~necessar
                                                                                         complete surgieaI records, faiZuze to
                             surgical techniques, failure to x~xain#out aca~uate and
                                                                                            ~aiiux~ ta~~rodcice signed hos~it~l
                             perform accurate ar~d cflm~Iete ~xeop~atf~re t~aG~x~ng,
                                                                                        ain corrs~~Iete and acc~ate surgECa1
                             surgical consents fox two surgeries, failure to maint
                                                                                       ire operative c~rork up,inaccurate,
                             aa~sent dorms, fra~xclulent, negligent and reckless
                                                                                          tQ properly educate p~atie~t regarding
                             ~raudulen~, ~ndlor ~ag~era~zan of diagnoses, ~ai.Iure
                                                                                             posfA~erative zest~ctiaz~,
                             diagnoses, failure to proper137 educate patient regartisng
                                                                                      inaccurate diagnoses ~d ean}ae~lisbed
                             inte~~.fional indiction of e~aiaQnal distress due to
                                                                                        and crnnplete m~di.cal z~card. I~ is
                             gnedxoal statements, f~,z~ur~ to xr~airrtain axe. accurate
                                                                                         rds of care an mulCiple occr.~~nces.
                             our sta~.ce f~xat the Dr. Durrani deviated from staz~a
                                                                               , orclexed by T?r. Fsyad A3~aj. '~'be ~-
                           ~. an 11113/07, Ms.KQah completed scfl~iosis x-rays
                              ra~+s x•evealed nc~xmal t~vo vzews ofthe spine.
                                                                                  Gonsulfatz4n with Dr,Dturaa~i, ~7r. Duixavi
                                D: (3n Z 1!13107, Ms.i{.och attended ~u ir;ztial
                                     dictates,"Sines September, tk~is ~4 year   old is ka~~vitag progressively increasing back pair,
                                                                                                    toes, especi.a~ly tXie IaWer part
                                     ~rhich sba~~s all tie way dawn Lo her left deg iota Jaen ief~                                      _ ..
                                                                sig~zzi~cI~r~ge~t~u wo~s~-SJa~-has..be~.-i,~a phygical..~h~ra~y,. ...
-- -   ~ - - - - - ° .. - .-- - - -- of~1'i~~dz~.~~e,'~i~~~is-                       aza~. uzaFar~u~,ately eoxata~aues ~a be very
                                     3~as done ~h~sical therapy far ~aany ~zont~,
                                                                                      w~.iich was Exam 4cta6er,which ~ss~ntia3ly
                                     symptozr~fic. The MRT r~ras revxewerl..today,
                                                                                           i~on, C].i~i~a~.y, she has aX1 o£the signs
                                     does not show a ~ignif'iCant arnaunt of disc he~nia
                                                                                     musk agave tal~en Mace a#~er tie MRI teas
                                     of an L5-S 1 disk hernia~ian, ~v~aich X believe
                                                                                               "
                                     tal~en abouttwo mon~bs ago, RepeatL-Sine M~tI.
                                                                                  hex back~ainbegan iz~ Sept~mbex'07. Dr.
                           ~. Q£note, lVts, ~.och and her pro#her agree thAt
                                                                                     for "~►axay rnfl~hs", yet hex paixi began in
                              }7uixa.~i states she J as been its physical #~ra~y
                                                                              nber.    At the ~os~, sloe could have load
                              SeptemE~er and he was seeing her in Nave~
                              appxaximately ezgh~ ~~eeks oftherapy.       There    is ~o  dacwne~tation of her len~x,
                               rompliaxioe, and effee~iveness a£pxer   ti.nus thera   py. Pape~-worE~ £tTl~d out by mss. T~och
                                                                     Dr.I7uxrar ~i. does  nit reflect ~revio~.s t}aera~ay. Dr.
                               and ~amzly at the u~i.tial visit with
                                                                             caps ofthis MftI zs disclosed. Ms.K.ach has
                              D~trra~. refers to an October MCI,but no
                                                                              T~ospital, and an Octabe~~ 2QQ7 MRI was not
                               3aad a~I raciiols~gy completed at Chilelren's
                               located.
                                                                            e and T~Spine MRIs,ordered by Dr. D            at~i.
                            F. Qn 1 ~I14147, Ms,Koch completed. L-Spin
                                                                                 cifthe thoracic and ivax~bar spine,
                               ~'lae ~Xays revealed a z~pria~al noncontrast ~I
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                                                                                                                     dictates,
                        G. ~3n 11115107. Ms.I~ooh attended a follow up visit with TJz. T]urrani. IJr. Durrani
                                                                                                             pragress   ~d in
                           `°She xeports radiating l~ru book paizi since su uez'of20fl7. '"his pain has
                                                                                                            '~`he   ~ai~, has
                           nature, and tt~e pain has been resistant to rneclicatzan and p~aysicai therapp.
                           ~xQgressed and now acct~.is constantly in'rhe bao~ and inferrni~Cently down      the   left leg
                                                                                                                 MRI vas
                           into the toes, Patzant describes this fain as a laurr~.ng sensaf~on in rupture. An
                                                                                                        adjacent    nerve
                           s~avae~ed atuT. showed a Ief~ faraini.nal disk~ert~iat~a~ conxpxesszng the
                                                                                                   ~`orana~xi a, with  the
                           xoat. ~'~oceed with a selective nezve black oft3~.e leis LS-S f neural
                                                                                                       a~e~  Ehe   epiduxal
                           atit~tngt fat bus may alle~iat~ der poin. If she continues to knave pain.
                           steroid a~~ectian shy well call c ur o~"ice £qr furC~er evaluation, posszble surreal
                             1~7.'~2SV~ri$14~5.>y

                                                                                                                   vastly
                        H'. O~note, Dr. ~hzirani's i~xterpretativns ofTY~s he arder~ci in]davemb~ are
                                                                                            begi~a~i  ng cif hsr pain to sumuxez-
                            di£ferezlt then t7ae r~adiolagisti br. ~7utran.~. moved np the
                                                                                      r~artecl  .  lam. T3u~aui   s#ace s that
                            o~2f107, x~a~er than Septem.~rer 24d7fiat Res, ~aeh
                            a~.edica~.an and physical #~erapy knave been ineffecti    ve.  The   only  xn~dicat  sons reported
                                                                                                                               ly
                            dry Ms.~oek~ and fanniky for pain control were over fie counter anaigesi~s, As previous
                            discussed, the t~~rapy regimen also need fiu-th~r        clazi~ic~. t~tm before   deeming
                            ineff'ect~'v~.

                        ~, C7n 71/271 7,ilrts. Kash attended a fallow up visit wit. Dr. 7]uxraui, 3]r. Durraxu dictates,
                                                                                                                      pa#~~,
                           "the was i~i~ially seen,approxi~aa-~ely iwo t~ee~CS ago far fihe p~rsistetnt radiaula
                           a~.d. was re#'~rced to the Clnist Hospital   for a s~eraid  injectzoi~ at ~e ~  -5 fact.   The
                                                                                                                      She
                           pataen~ undez'went the ~zjection, bowevex, fhi.s failed to improve ber ~yaa.~tams.
                           ret~unas today with  eta persiste~ .t pairs down  tl~e Ieft Xeg, and describe s a weaknes  s aver the
                           lower extre~nit~=. An LAIRS ti~as reviewed and slaowe~ a~ L4-5 Ieft fvrami~aal         disc
                                                                                                                     wzt1~
                           herniation corr~pressi~g the adjacexat nerve root, fihe family wishes to proceed
                                                                                                             der suave  she leas
                           micxadiske~tomy an f,~e Ieft at ~4-5. ~'e believe Phis surgery will. help
                           fa~.ed ath~r conservative t.~eatment attempts, and the pain        has  progress ed, ate.now
                           interferes ~vitb der ev~tyday ~. g where sloe is na longer able to a~lbulate."
                                                                                                                   Dr. Du7:rani states,
- --.   .. _ _ _   ... _.. J,.. dr~.12105107,,Ms. K.flch a~tend~d a foJ.~aw up visit ~~i,tlt ~]r. Thurani.                                   _   - - --
                                °'An ~VI:RS was ante again reviewed frart~ Clctobex      , and  does   show   a  ~lei~`L~ Sfcira3ni~a1 ~ .
                                dzsl~herai.aticrn i~zxp~.ngi.ng on ~e nerve   root exiting  this  region.   We    believe  that her
                                syniptpms ara f.~e result o~'this   dark  hamiati  on seen   on  the left  at L4-5  ,  Because  her pain
                                                                   eans~rrva ~.ve tz~eat~ez~ t, wlai~   inc~xded    narcotic xnedica~ io~
                                h.as progressed and sha failed
                                                              fa~nily't ~auld wzskx to proceed    ~vi~th a Ie£c I.~4-5 ~e~cutan  eous
                                and spinal i.~jecticx~s,'~,~e
                                ~ni.crodi~kecto~xty."
                                                                                                                    he hixx~self
                         K, C}fnote,Dr. Duzxa~i is refer~nn.cing an u~n,own N.[k2I fror~a Qctober, which
                            stated at t11e inifi~~ visit didnot sh4vv a si~,mi~.~xn.# axxtount o~ ciiso hexniafio Dr, ~lurrani.
                                                                                                                   z~.
                            failed to xe~er~nae the N'avember ~~Spin~ and T-Spic~,e MRIs          k~e r~rderad,   ~v~ah were ail
                            normal. Dr. Th~x~canz refe~'ences failed narcotic ~~dicati      on  and spinal   inj e4tion  therapies.
                                                                                 o~narcof  ac  medic~.~ ion  in his  nafes,  and she
                            Dr. X7urrani did not dictat$ any starting oxd~rs
                                                                                got  enaugl~.  doaur~ea ata#ion   of agg~ressi  v~
                            was given only one spinal ixijectia~, Thez~e is
                                                                              zntervent i.cm, besides  tY~e ab~vi.ous  rac~.ialag y
                            canse~-vative treat~ne~s ~Go ~rarrant surgical
                            results.
                                                                                                                           ed by
                          L. ~n ~21Z01~7, at C~nc~inr~a~i Cb~tldre~'~ Hospital,IV.~s.lKoch 3~a~i surgery com~Xst
                                                          hospital. surgi.eal eanse~.~ listed the pracedur as to  be perforr~a cl
                             I3r, ~111"YR7.lX. The signed
                                                       ~xi.d Five Micror~s  c~ct~zny , Spinal  Monifori ng".  'L7r_ I7uxrani Iis~s
                             as `°Lumbar Spine Fouz•
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                                                                            The tJR dictation was dicta              ted
                     praced~xes per~ornnecl as"L4-5 faran~inal diskectomy".
                     Q~.12f221D7.
                                                                      al, ~ couldn't really ws,]]~ ar~d I was in so
                 1YI. M~. K.ach states, `i~Vh~ I cue into #fie hospit
                                                                              was and is uz~~searable"
                      much pain. At~ex he pexfort~ed tlae sur~er3', the paan
                                                                          L-Spine x-rays, ordered by Dr. St~v~a
                 ~']. Can 12110107, N.Cs. Koch cot~ple~ed pastapea'ativ~
                                                                                 , there does appear td be t~ilunial
                      Gammon. Tb.e x-rays ret~eale~. on ~.e frontal radiograph
                                                                         appears narnaai az~ the lateral st~zd~'. S aft
                      ~i~lenix~g o£the~-5 disc space. ~-Iowever, this
                                                                                radiogt'aphic abnarn~.ali.Gy cifflze
                      tissue defect is seen avarlyit~g the L5 regi.an. No acute
                      I,-Spine status post S.~-5 misoradiseectoru~y.
                                                                         withLance Bolin, F~.-G to Ur. Durrani.
                 0. On(}117~1U8,Ms. T{.Q~. atte~.ded. a postop visit
                                                                                fallen whfle playing arbun~ 'with
                    Mt:, ~3olsn dictates,"She was noted z~eently to have
                                                                                   g sc~xpe pain ~ss~es wig his. She
                    sozx~e frie~.ds, hit~ir~ her baclt on a bed~,ost, and. hav~.
                                                                                that  noth~g was Gov ita.-valved since
                    statas that slae is getting bett.~r, butaus~ making sure
                                                                                     ling in. har l,owex ~trexnit~es. Does
                    skte j~xst had surgery. the dex►.ies and ntumbness or fiat~.g
                                                                              .  Ex~      of her beak shows it to just
                    nat appear to be in any ~d of acute distress faday
                                                                            a~i the incis   ion. ~-~~ys were not drnae
                    have a uery n~ld s'~ve~ling at the sugexior partio~
                                                                                    to her back. Continue thara~ay,
                    today. I feel s}~~ is ge~Ging better fiom j~.sC a oontusio~.
                                                                           thera  py,  and ~iad thez~ da a lithe e~ttxa E-
                    rest, and ice. I have talked to Robin in physical
                                                                                'It is to be nateclthat Dr.Ihux'~i
                                                                      suY~J.kiug:
                    5tim or ultrasound to hekp ~~vifh soz~.e o~ the
                    clid Hat sign off.oxa this Hate.
                                                                   ays, ordered.by Dr. ~3um~i, The xrays
                 P. ~n 431251 8, lUZs. Kaeh eoz~Iletied L-pine x-r
                    reve~~ed ~ressian a~ignn~ent x~maxus narzxia~.
                                                                      l ~astap visit wif.~ Dr,Durrani. Dr,Durrani
                  Q. On D3125108, Ms,Koch attended a £o ur montL
                                                                               whatsoever. ~ She f~llo~vec~ fi~C
                      stakes,"She is doing very wed., and daz~Yitig attY pain
                                                                           xt0'W. S~ asks fox' ~ S1~lille T$NS u~li~,
                      course afpliyszcal thera~Y, W~iG~I Caxl ~7~ 5t0~7ped
                                                                           ~aedu~e atone yr past ap maz-1~.°'
_ ~.   - -         -- ar3.d vue wi3]._giveh~r.~px~sc~ption for that. R.e~c
                                                                   Koch vs~as com~li~ant for her physical t3~ra~y
                  R. Qfemote, Dr, Durt~uzi states above t~Cat Nom.
                                                                    visits.
                     treatment, and could cease pby~iG~l.t~erap~r
                                                                          me ~regnaxtt.
                  8. Tn, ~~rproximatel,~ 3ux~.e 2QC19,IvXs. ~a~b.beca
                                                                 child.
                  T. In Maxch 20Q9,Ms.teach gave bird ~o her Est
                                                                         fa~lc~w up visit ~vzth Dr. Dkuraz~.i. ~]r. ~uxz~ani
                  C.J', 4n 4b11.6~i~9, Ms.~oc~ ~~ended a one ~eax
                                                                                ery, a ~aregna~cy, ~regi~anc~ and
                        dictates," Sloe was doi~ag well ur~tii she had a deliv
                                                                      it worse. Infant is tl~'ee xz~o sold, az~d no
                        deI~very aggravated hack pai2t, and made
                                                                         the ltrwer ~ac~C ghat radi.~.tes dati~vn.to her r~gh#
                        zrnprove~~rtt in 1~ack pair. She has pain ire
                                                                       has been giving out an hsr xecezztly, and f~is is
                        leg, alltie way dawn to her toes. Her leg
                                                                              leg ~.tunl~ness and pair.. ''his is all
                        casing a significant amount ofissues, the has
                                                                        previous ~pidur~s, pain.xnedica~ions, and
                        predornurian~Iy i~. tl~e 1e~t l.eg. the has dad
                                                                                       .s~~. dfs~ eight at both ~-5 €tn[~
                       p~.ysi  cal therapy, nth nor xelief. 7'~.~ x-rays IoW d~xe~
                       ~5-S1 disk space. ~+li1J. order M1~S."
                                                                     rals, pa~xt medications, and ~hy~ical tk~erap~y
                   jl. Ofnote,Dr.IJurrani again r~ferenoes epidu               ive after Ms. Kac}~'s surgery
                       as i~-~effective. Physical #hezapy proved to lie effect
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                                                                                      there is s~iil uo available
                            accordzng to Dr. D~.rrani's awn dicta~ian on ~31~51Q8.
                                                                               in Dr. Duxz'a ni's dzcfataos~s, A1sc~, only
                            dacttrnentafian regazding pain xtae~.~ca~.pns used
                            one epidural zn,~ectionha.db~ez~ tried at thatpoint.
                                                                                      vrder~cci by ~7r. Duxxani. `~kte~
                        ~l. inn 071~T 109, his. Koc~Z comple~eci a.~ L-Spiny IvTRT,
                            revealed postoperative defect ~xew siz~.ce the prior  study,  fat signal intensity ~xlls ~e
                                                                                                   L5 ~,e~rve root zs i~ildl~
                            majority ofthe defect. Deep to the lamtneetazr~y defect, tb.e left
                                                                                                 darsal aspect of tkle L~-5
                            et~.arge~. 'Thez-a is subtle hype~nx~nse T2 signal in Y~~ 1~w~
                                                                                                       surgery. Question age
                            disk, ~v}~ich may represent aza arrxauiar tear or be related to the privy
                                                                                                d prior ~cradiscectam.~.
                            related indetert~rzate L4~5 annular tear versus a~angas relafe to
                                                                              ardez'e          cl by Z7r. Du~-rani. Thy ~RX
                        X, On 07IC1~.(09, Ms. K.ack~crnnpleted a C-Spine MAt,
                           xevealed a ~a~na1 exam.
                                                                                      Dr. Durrani. ~3r. 3~urrani dictated,
                        Y. O~ Q7/~7/09, Ms,I{.oc~ aitanded a fb1lo~~r up visit tivafh
                                                                                           Spine1~S shows e~aellent
                           "~Spi~e T+~ shows a mild dish hez~.i.ata~~ at C3-~. Tike
                                                                                       despite ~aa~ing a
                           r~aults. rose o~'the disk still remains hydraeed at IA-5,
                                                                                         I~er symptoms are
                           miorodiskeof~~y done. Ithink ave~all she is doing great.
                           ~ignafcan~y resnlvcd. one year fa~Iow up to be s~hed~~ler3..,,
                                                                                      C-S~ai~e axe markedly            contrasted
                         Z. Cl£note, ~7x. Dut~ani'~ i~texpretation a~'fhe L-Spine and
                            to the radiology read.
                                                                                                          Dumani. Dz. Durr~ni
                         ~:A.        On 041~3811d, Ms.mooch attended a £ollo~ up visit ~vitY~ Dr.
                                                                              d  the ~tI,sc~ Gve starte d her an ~hysxcal
                             states,"Her i.~suranae un~'oxtw~ate~y dewe
                             therapy razzd Z wild see he7r ba.c~ ia~. six ~vee~s .°'

                                                                                                    Dr. Dt ani. T)r. I3urrani
                     8~3.           Gn. BSIx.31~.0, Ms.Koch attended a follow up ~risit with
                                                                                          y aid is n.o ba#ter. Her ~aa~n is in
                         dictated,"She dEC~ about ezghf weeks of ghysx~~l therap
                                                                                              tion at this point, ~iaving failed
                         tJae lQ~vez ~ac~t, rad~a#es to ~.~r lower leg. My xecomanez~da
          _    _.                                               ts~_~e~_an L-S-~~e--- Tv~S."
--   - - - .... '- - .. eans~rvatit~~-trea~met~t, sbe ~~~ds
                                                                                                 ~i.~ t weeks of pl~ysical
                     C~.           C}f Hate, ~'. Duz~azzi statiect that ~iZs. Koc1~ oomplet~d
                                                                                               and  {15!131~0. D~'. I]tu~ani's
                          ~laexapy between,the day ~e prescribed thex~py on 04118/J.0
                                                                                      a~ad   accura te, as z7.gl~t weeds of
                          deet~ ng p~ysi.cal ~hera~y ineffeci~ve xs mis~ading                            's time.
                                                                                      less than a ~anth
                          pl~ysic~l Therapy could not have been completed i~a
                                                                                                              by ~3r. Durrani. The
                          Dl~.          O7~ a51211~4, Ms.Knc~ ~ampl.~e~.an S,-Spine Mft~, ordered
                                                                             y ~}-5  wa.tha ut recurr ent disc  lxezx~iation.
                              MRT revealed status ~osf left lamine~tox~,                                 r        &.nc! mild Facet
                                                                      nt with  leis ~axac ~ntr~  annula    rea~.t
                              Shallow ct~ncentric disc displacetn.e
                                                                                               without nerve root carn~ression_
                              at~t~rrap~~.y results in mild inferior ~ar~,r.~inax narraw~g
                                                                                                           p~t~y r~iidly narrows
                              L3-4 s~~allQw broad-based disc displacciment wit~i mild facet arthro
                                                                                           ssion.
                              the inf'e~iorr neural foramina ~vifl~out nerve root compre
                                                                                            postoperatively. Dr.
                          EE,          ~f nape, the Mitt is sowing a left F~-S la~ineatomy
                                                                                 the Mach's sighe d azi infpr~nad
                             Durrari dictated in his ~pera~ing Raom notes, and
                              canse~~f, far a rs~icrodisoecto~my an.121~'711Q.
                                                                                                            Durratr~i, Dr. Durz~ani
                          F~.           On C~5127I10, Sys, ~oGh attended a follavu ug visit with Dr.
                                                                            #hat foram  ina at the  L4-S   on  the left side to zone
                                ~actate~.,"We got a~i MRX ~vhich shows                                            ily tk~e Facet
                                                                                    ent sCe~.os is £rfls~ ~rina~r
                                ~, and zone 3 is pzetty tight, grad she leas recurr
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               hypertrophy at That bevel. My recommendation at t.~ais point for der, having failed
                                                                                         ~my an the left
               can.sezvativetreatment, as to da a Zumbar heznilamin~ctosny and dis~aotc
               side at LA-5.,°
                                                                                                   c3
         GG,         Ozi 49!24114 at UC West C~esEez~ ~ospifia1,11'I(s, I~ac~ had surgexy com~lete
            ~y ~Jx. Zlurranz. No sibed hos~itaJ. surgical consent  produce  d by U~ W'est Chester
                                                                                              ,
            Ht~s~i~. "I7r.'D ani Iists procedures performed as "Lumbar lami~zectomy S~-5
            lum~iar d.iskeetomyL.4-5, laf~ sided".

         Ham,       Ms. Koch sfiates, "W~ea~ I wettt in £ar s~€~~ery, my Legs w~xe alx~as~ co~plete~y
                                                                                                 waJl~irag
             nwnb, Yazd ~ was in a tat ofpair.. Aboutfree days aver surgery, wla~a~ Y staz~~d
                                                    and maze.   XC was to tb.e point  to where Y would  fa.]J.
             mare, my Xegs started giving o~.t mars
             because they would ~i.~e out,nc~t mentia~ ing the pain fat  I was  in,>'

         XI.               Qn 10/ 411 D, Vas. Koch tttt~nded I~er two week Bost-operative visit with Dx.
                                                                                                      She t~=as doing
               Thy~a~ii, Dr. Uu~anrt dictates, "Prior to surgezy, sP~e only}gad left leg pain,
                                                                                                  doing zrn~ch
               phenomenal ita ~.e bos~ita~. the comes in today stating that now she is
               woz~se. Sbe now has     pair   radaatirt g dot~ln. both legs. She has been  lii'[~~ her baby girl,
                                                                                                  No   v she is
               wbo wei~is a~~ra atel~ ~5 pa ds. SJ~e b.as been o~a.si~g after hez_
               ~avinrg an exac~rr~ation o~hcr syr~~toms mow in bot3a legs. She is rating           der  pain a 717.0
                                                                                          At~az~.d~► does  have
               in,legs, and a Sll ~ i~ f7a.e back. Wound looks great a# .his paint.
                                                                                            and  ar~.ather Meclrol
               e~str~a~ne pazn.with ~lexiau. B act brace to be worts., start Neturo~tin
                                                                                         weeks.   She is  gaiug to
               Taase}~ak. ~ tatd A~ancla try try and take zf easy in.tie next few
               o~.11 ms zf this Jeg fain persists, and at that point we wi]I     get ~ Xtunbar MRI,   i£pain
                                                                                                             ".
               persists and is unrelezzting. ~ pain.subsides, we will see her bac~Cin tlxree znanths
                                                                                                   daughter
         JJ. iJt'Hate, Dr. Ui.~rraxai re#'erences Yv.~s. loch lifting anal eazrng fas ~.e~ toddler
                                                           i filed to properly ectuca4~  mss. Koch   and her
                mediately after surgery. Tar. D~,~r„
             £~.mily since 11~s. ~.oah was stxJ.l a   nr~inar) pre and postoper at~vel~  shout  the lif~iug
             restrictions after s~.rg~ry.
                                                                                                         ant. ~"he - - -- - - -   --
         ~~.         fin 1llOSl~ 0,1Y.ts.I~,ocb. completed a~a L-Spine M1t~, ordered ~~ Dr.Din
                                                                                                       nt leftward
            MRT re~e~le~ "~4-51e£t 1~amiri~atomy. Shallo~r pratr:adin$ disc znora pramin~
                                                                                      a~y        mild   narrowi ng
            with p~.tnct~iate-sized 1e#~ paracer,.~tral aza~~zlax rent. Fact art~-op wztlx
                                                                                           cvmprass io~a.  'The
            ofthe inferior ~ortic~n ofthe ~ox~x~ ~ilatera~ty t~~itl~gut ~.e~v~ root
                                                                                                     Phe
            protruding doer abuts tha desceztding left L5 nerve z~oot. Interval char~~e ~xrith
                                                                                repxeaean ts a stErl7e seraz~a;
            pxesence off'fluid at the laminectomy site. TlYis mod likely
            how~er, confirast-en~zanced imaging i~s reco ended             to exclude  ail a~se~ess.

          LL,           C?n 111J.b/Ia, lVXs. KQCh attended a follow up visit wi.tb,Dr, T7urxani. Dz. Du~rani
             dictates,`°the is cs~mplaiuing a~ coxnpl~tely diffsrant pain now which starts frazn the
                                                                                                                 go
             r~idfhozaeic at ~a 1~~e1 oft h.er t~ra s#rap Ievcl, radiates down, anct then both kzer legs
                                                   chid not laaU~ ~e£Qre. Sha   paints  toward  the ~nid~hciz ~cic
             nib. This is a yew ~Sain. ~e
                                                                                                         of L4-S
              axea as tk~e site ofpain, with ~aix~ radiating .own both begs. The previous site
              Ianainectom~ as    al~solut~ ly fixi.e,  'the L-Spine   MK7.'is ~vithiz~ ~.ormal rauge,~   'his is
                                      pain  than.   what  she had  be£are s~xgery.    My  f~e#.ing is that shy has
              cornplete~y different
              soma ~hc~ra~i~ dzskherrai~tiion, which is cr~usia~g spin. uc~rcl cavapxes       sian,  '~-Spix~eNA~S
              urge~.tly ordered,"

          1+~M.          ~fn~fe, the T~Spine MRI has Hat b~e~.disclosed..


                                                              C~
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                                                                                                                 D~uraru
                1~1W,         fin. ].1123114, Ives. Koch a~tanded a £olIaw up vzsif wifih I}x, Duaxani. Dz~.
                                                                                                              hex  L-
                     sates,"T-Spine Tv~RT was ess~tialiy within normal range, As I stat,~d before,
                                                                                                s lamiz~e ctorny   she had
                     S~iue MRS was complekely normal lash tine ot~e~ tkian the previou
                                                                                                     l tY~erapy , and  we
                     dor►e. My recomzxiendafi~on. ~t this pt~i~t for I~er is to start her in physica
                     will t~-e~valrxate her in about ~iree months".
                                                                                                                 T3urrani
                Off.         On 10f25J1f, Ms.Koch attended,a ~`~llow up ~risit with I7z~, D Uzi.. Dr.
                                                                                                s~.icrad  is~Cectn zny.
                    states,"S~e is almost about ane year nov~r sfiatus post le£t sided T.~}-S
                                                                                        was  not   able  to involve    in.
                    C7~o~tt~nately, diva weeks after surgery, she gat pregnant and
                                                                                    ining  of a dot 4f  bacJ~  pain..  The
                    and ~'eha~r ac#avit~as whataaever. Today s~i~ is still catnpla
                                                                                           slae is very   tender  in  fhe
                    deg pain seems to have signifioan~y iux~-,r~v~d, Can yarn today,
                                                                                                      piny sha~sv
                    back. ~1~. mo~ian offi,~e bao~ is pain~ttl and xestri.cted. X-ra~~s of~eL-s
                                                                           side at fihe L~4-S lev~1.   '~'kiere i~ s~o
                    evide~~e a~prevacsus ~.envi~arnin.ectamy on.the left
                    u~viden~e of ip.stabiJity. My recammendafiaz~ at this point    £~r  her is to  start on pl~~sical
                                                                           awl  ;e~  enrolle d ~cvi~i our  paw
                    therapy. Z fllso askod her td see our pain. physician
                    service.°'

                 FP.            N1s. Koch states,"I vent to see Dr. ~u~ani agai~'~ecaus~ the pain was
                                                                                                       xam.. I had.
                       ur►~aeazable. He and Dr. Tayeb started the injections, which ~ load na relied'f
                       kept tellin.g'~hem tlaaC and tib.ey still wanted me to continu e getting f~em."

                                                                                                         n, gzven
                 QQ.        C1n. 0~1121~2, Ms. K.ac~,con~}~lete~ a ri~at L5-S1 epidural steroidinjecti.a
                    by Dr. Tayeb. Ms.Koch reports not much retie£.
                                                                                                l s#eraid
                 RPM.Can 4121(1 112, 3.V1s. Koch completed a zxght L5-SI tr~nsfbrarninal epidura
                     injec~zc~n, gzven by Dr. Tayeb. Ms.I~och r~orts 50°lo reliefof   pain.

                                                                                    iujection, gives by Tyr.
                 SS. Can ~3I01/12,11~s. Koch oc~m~leted a right LS epidural steroid
                     Tayefa. mss. I~.o~h repox~s 1~at much re?aef.
                                                                                             given by          fir. Tayeh.. - -
.. ~. ~.   ..   _ TT:On-03f2611~,-~/Is,K.acl~ cam~ateted ~.le#~ saraGailia~j~in~.injectia~ .                                       - -... _
                     Ma. Mach repar~s 75°Jo relief of pain..
                                                                                                        by Dr,,
                 W.         On(l4/13112, Ms.~.nch.oompletad a rig~,t saci~oilsacjoist injection, give~z
                  '~'ayeb, lVls. T.4.peh deports 7S% relie£of pain.
                                                                                                                 The
                 'VV,         On 0~/~511 ~, N1s. I~.ac~ co~aapleted an IrS~ine MRI,ordered ley Dr. Tayeb,
                                                                                                    ge  site  ar
                    MRIzevealed L~4-S le£t hernilaxnzneotoxay, shadow disc bulge wig.curetta
                                                                                                      ~t oz neu~ra~ly
                     a~►nulax tent abutting dura~ say and deft ~Z ~.~rva root, Negafrve for dainix~ax
                                                                                       ancz   ofdiscs ins tt~el~az~.ge~
                     compressive disc herniation.thraugbout lu-mbar spi~.e, Ap~ear
                                                                               cp~~ect~ on at L4~51e~C
                    fmm.November 2~1~ MRI, Previously depicted f~uifl
                                                                                               ly
                     ~amiz~e~tomy rife has res4rbed in the amagusg interval; is nod ~urrant present.

                  ~VW',         ~7n.OS129112, Ms. ~.och attended a fol~.o,v up vzszt ~ithDr. purrazu. 77x. ~furrani
                                                                                                    sided he~iila~aainec~amy
                      c~,ictates,"A,nnanda is here far xepeat e~aluati~n. She hae~ the leis
                      cane about two yeazs ,age. She was         doing   well, and~rio   r tt~ that shy  kid a~othe~r
                      iam.~uectamy done ice. 2(J~7 as   vaell..  S}~e zs new  havisag   pain   ~n the right side in the right
                                                   di£ferez- it tkaan what  she  w'as having     pre~p~r atzv~.y   on tie left
                      lower extr~~ty, ~'t~rich is
                                                     ot~  ~aitt   physici an, b,as gotten   multigl  c, nnultiple  ins ecCzons.
                      side. She has been seen by
                                              getting much    beer.      The L-Spin   e IvIRI   was  reviewe  d todaX,   tivhich
                      Dees xtot seem to tae                                                                                  al
                                               mineCt omy   axe  the Ieft side. There    ~s d~knite  ly  bilatera l foraxn~n
                      shows a prior hemila
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                                                                                                        to be ma~•~
             stenasas ~t tf~e L~-5, bath on the right ~,nd left, Eaut ~lear~y the ~.gY~t ot~e seems
                                                                 a ~a~tnai nal itxJ ectzon at tha T.~4-5 ~n the
             symptamatie at this pai~.t. T abn ~oixab to get
                                                    diary of pai.n., to sse how   much   tha  pain  goes  away, If
             rigk~t side, anfl r told hex'ta beep a
                                                                                           ls in the past, t1~en X
             ~~.e pain does ga away, t~rhich shy bias already fried multiple epidura
             think sha ~vould be a car~.dzdate for iulx~~ar  hemiJ.a  tni~ect oiny,  ~'axam  invto~y an tie right
             side at the L4~5,ifthat 1e~re,1 zs proven front   tie  inj ect~ons ,"

                                                                                          ri, given. b~
         YX.       ~n ~~IQ7112, Ms.I~oc~i completed a ~e~ L4-S epidural steroid ir~jeotio
            Dr.'~ayeb. Ms, Ko~~a reports not much relief
                                                                                    ionby ultrasaus~d
         YY,       C}~ 0518112, Ms.~ocl~ completed a trochaz~.teric buz-sa i~njecfa
            g~idanes, gt.~r~n. by IJr. Taye~,
                                                                                        , Dr.I]~rrani dictates,
         ZZ.4n 06IJ.~112,1V~s. ~o~h attended.a follow up visit witl3 Dr. b1~ra~i
            "At tI~►is pai~.~E, she got a ~'ozam~xlal uzrection and unfortunately, did  nod get azzy relieffrom
                                                                                       bier.   She still has ve1'~
            #~c~ i~tjec~ion., I~Taw s1~e is to tie point the legs a3-e buckling uncles
                                                                                e~ttr'~n ity at this ~aFnt.
            sz      cant zadicular pain that is goj_ug down the right Io'~1ex
                                                                                     rig,~~  sided lumbar disc
            Pfeasa z~ota, the priaz pair vas os~. ~tlae ~e~ side, 'I7~e N]~ maws
            her~iafaon of 5~4-5. At this point, my reanmmencla~on is         to do a ltur-~bax
                                                                                        side at tbeL4-5."
            h.~rnil.anv~ectamy, foraminotamy,and d~aom~resaiasa onthe t~g~t
                                                                                                Gantrast to f~ae
         AAA,..      Q~note,}fir. Diurani's in~.te~p~etatian ofthe IrSpine MRX'is a stark
                                                              i3i5C ~i~I31i &t1~Il. ~ti. L4- S.
             radialagy xead,]Cegardi7~g a Tzght Sided 1.Umb~T
                                                                                    n. by uit~asound
         BBB.      On Q6f2S112, Ms. Koch cflnapleted a #roc hante~-~c bursa zujec~io
            guidanca, givenb~Dr. Tayeb.
                                                                                                    i Dr. Uurra~
          CCC.          ~.t~S1I4112, NMs. Koch attended a foU.ow up visit u+i~la ~3r. DuYran
                                                                                           It alt~~nates be~ieen
             dictates,"Sloe i.s ha.~ing significa~at Ieft sided radicularp~in again.
                                                                                           d.  S~urg~zy to k~e
             trier left anc~.right; today+ ~t was the Ieft float zoos by faz ~nai~e involve

                                                                                                        ira more
          DDT}.     ]1~s, Koch states,"Then I)r. D~xt-rani ordared ar~athez sL~trgerS', and I am
             ~~in npw t3~en I have ever been ix~ my Xi~f'e.'}
                                                                                       Ure        ~ farm
          Ems.       4femote, a generic CAST genexa~tecl u~fitoxmed surgical larocect ~onsen.
                                                              or s~rgie~ lpzoced ure filled iza was found in
             sighed by Ms.I~aeh's stepfather with na date
                                                     illegal procedu re has beea~.~'s~und in several o~ae~c
             Ms. K~~h'~ iroe~ical papen~rar~C. Thais
             p~~iea~s we are representing,
                                                                                                   y
          OFF.       fin. 0813.7112 ~.t U~ Nest Chester k~o§pital, IV~~. ~fnc~ ~aad s~.~.rger
                                           z. Na   signed  hospita l surgical consen t praduuc edi~yUC 'lnlest
             cotnpte~~d by Dr. Durr~►u
                                                                                as "Liurab ar
             Chester I~lospital. "Dx.D~rani fists procedures pes#'oxrx~ed
             hemilaminectox  r~y L.~€-5, bilatera l, 3umbar. ~orami.  ~aa~omy L4,~, bilateral,lumbaz' lateral
                                                                                       res~ian,right side
             recess deoampressio~a~-5,bilateral, 3um~ar #.a~eral recess deaamp
             using Baxazao"
                                                                                          e of the
           G-GG.     Cif note, Lx. burr ,'s ~}81~7112 OR dict.~.t~on is anflther exampl
                                                                             such ae ~a~.~nes Brown
              copy and paste laan~nectomy x~poz-~s fo~sad i~ similar Gs.ses,


                                                             8
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                                                                                                 sa~xze
                      ~'~, Lisa ~omgo, ~esszca Hastiu~gs, Dorotl~.y Rase, and David Smith. Exact
                      sec~uer~ce of'sentences, wordage, and adjectives.

                 HRH,      ~.ddi~iazzatly, Dz. Durra~ also did nat inform Ms.Kash that tae was ~.
                   ~.avic~ at fl~.e Ba~ano ~axocetl~e, f~.at ~.Dtuxani had only recently bean t~ai~.e~.
                   on the procedu~~, and mat die ~a.d ~.afi perFcrrm.~rrl ~v~z~ many oftlia proeeduzes ~rri~
                   Ta-~'~ex. Dr, S~un-ani also did not zn£orm Ms. Kvoh tha@ Bax.aaza ~'epre~~~ta~i~es
                   wcauld Tie p~~senf during fhe surgexy to abserva t1~e s~gery.
                                                                                                          I~r.
                 I~. C3n 08/28/x.2, Ms. ~ac~.a~ter~ded hey ini~ia~. post ap visit with Dr, Durrant.
                                                                             ara.
                     Durrani statute, °`the is now tiro weeks sfatus post L4-5          Xumbar  fara~nn  inota~y
                     end deco~nnpressian, "~J~e is doing vezy well. 'T~e 1e£E leg ~s cc~m~letely'recovexed;
                    the right leg rs sh~~vin~ a Iit~le bit Q~'~aaraes~a.eszas still, but is definitely bet#er
                     tha,~. p~eo~. Beg€.~h~sicat fherap~."
                                                                                                             '~aye1~. Dx,
                  3I7, On ~Olf 8112, Ms,~~.QCh ~tYeraded a pair ~anag~nent aintrn.ent with Dr.
                                                                             ~urt'ani   an ~78I1'111 2, which xes~tted an
                       Tayeb divtate~,"She chid have surgery ~itb.Ar.
                       her left Ieg feetiaa$ slightly better, but fez'right deg  Feeling   much,  raauch  worse tk~n rFr~at it
                                                                            pain   at this port  as a  sharp, shooting ,
                       previously ~a.d 1~eeax. She describes her overall
                       tingling, as~c~ tl~obbi~g painfat she    rates  at a ~I1 tl."

                  KKK.       Of nofe, Ms.I~oGh's posh-ape~ative sy.~aptarzxs are s~~ilar to ~riofiher
                                                                                                 D~ri~g a
                    ~aatien~ of T7z. Dur~r~.i's that ~axaaao was used an,n~.n~ Jason Ramer.
                    ]sec. 23,2411 s~tr~ery, l~r. Dut~.'a~ni zxnpr~~~]y and negligen tly shaaxed o~'too
                      ~vuch of3ason Ra~ner's ~crert~b~'ae t~si~.g the new+ I3axano Io-Flex systez~, ~Qrever
                      corx~promising t~~ struci~ra~ i.~tegr~t~ of ;faso~►'s lumbar spine.
                                                                                                              vaith T]x.
                    LLB..        4n Jan. 3, 2U~ 1 Trion reported for his ~"~xst post-operative office visit
._ .   ....    _. _ _. _. Dur-r~i ~t~A-~'~'.—Sas4r~c cl_ba~e~~ waS~.orsE~zd,..7asouh~,~,~~',_diffcrent—Laka_anr~.    ._ - - ..._ ._ _ ....._
                          had new symptonaolog~ and     uaw  had radiatin g  pa%n izxto 12i51eft leg, which ~~ had  n~ve~
                          had before Dz'. Dtuxani's surgaxy. Despite ~ai.s, Durxani doournented that 7ason `,vas
                          pxagressing ar~.d was "doing well ~t this point."
                                                                                                 consul#ati.on show
                  ~. 'Fhe irvtial :Ts ordered by Dz. Durrani at Ms.Iioch's init~ia~,
                                                                                               an L-Spitae~an
                   a normal tbarara~ and ~u~bar spine, Tb e ~~st aianormal xadioio~y is
                   b'~lO~ f09,~~TBR br. Zhu-rani operated cra &er. The Lek a~zadiol         ag~~ resulf~ and
                                                                                s raaedi~a llyu~eoe  ssary.
                   rr,ix,;~~i conservative treat~aent dees~n alb thrsc surgerie

                   NiVN.        Dr.]7unaxai disGUSSed tie ~aossibility of xaesding suxgery at the second office visit
                       an ~ 11151(77.
                                                                                                                      logs,
                   QUO.         Na hardwaz-e implanted in. any of the t~u~~e surgeries, according to implant

                   ~"~'~.        No rlaB1VIP-2 or Puregen usage ire arty oft1~e three ~.rg~ries, accoz~ditag to i~xiplant
                        logs,

                   QQQ.      Initial surgery cnmplefed on12l1.41~7, and f.~e QR report was dictated ~n
                      12122107. Sec~~d surgery completed on 09l~4I10, and the {JR report was dickated on


                                                                      9
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             111{}311x, ~'hird surgexy completed on D8/~711~,and the RJR report was dictated an
             08120112,

         RRR.         Ms. Kach is axe the process oflt~o~g fox anaf~aear doctor.

         SSS.         Ms. ~~.och statas, °`I don't hartl~y sleep. I'm ~uckyi#'T aP~t ~,WD ~7Ai1I'S 4~~J~8C6~U.a
            sleep without my legs throbbing axfd. gazng numb,not including the pain t1~at ~ am.ira.. 7
            went ~n college far phl.ebotaz~y, and cou~.dn't gush because t was clra~ring blood an
            someone,then went to turn to put the neeci~e in.the tube, aid den rn~ legs went numb,
            az~d made me drop to the floor, So my instruafor advised me to go ho~zae and came bae~
            tivhe~.zt was fixed, which it hasn't laeen. Z am a Xnother oftwo, and can't per~azx~. basic
            tk~ings wifib my kids because o~the pain i~a my back and legs. I wish I wouldz~'~ have ka$d
            arty ofmoose surgeries, car injectioz~s. I feel dike xt kias sued my Life. I can't do tie things
            atber ~reople my age caz~ do, and it is not fazr}~eoause he vas su~~ased ~o f~ zt, and.z~~w
            it's wnzsa      . ever."

         1 ~, Based up~r~ trip review, fi~.e ~ollawing ase my o~ri~i4ns bayed upon.a ~casanal~~e
              degree csfn~~c~icad certt~inty pertaitu.~ag to the det~tatian in standard off'care ax
              negligence,infarm~d co~san~,1~a~az~r ~d fra~~d claims against T~z, Durrani and
              Ci~xci~~na~i Children's Haspi.tai wla~ch ~sro~nately caused Iaartm to P~ain~.£~:

             A. Uz~nacessa~y surgery~s). Niunber.~ a~surgaries- T`kr~e, Number
                uruclecessary

             B. Need #o have add~.~ionaI surgery ~a repair ~SOblerns creafed by Dr. T~t~ra~i

             C. Implantation ofBMP-2 witha~t i~'arn~ec~. consent



             ~. Failura to al~tain ~rn~~r informed consent ~'ar surgery

             ~, ~ax~~xra ~:a pravkde adec~t~ate anal ~io~augh pre-op~rafive and past-operative
                pafient s~.rgic~ educatiaza

              Cr. Failure to properly pos#~op monitor fhe ~p~fient

             ~. F~x~ure to ~zo~aerly pe~~'arrn. ~allaw up, past-off ~ar~

              ~. Negligent surgical t~~~.iques

              r. Faz~ure to maintains acu~arate anal complete s~ar~,~.cai records and surgical
                 consent forms

              K. ~ailuze to dzsclose im~rorta~.t healtf~ infoz~a~~an to patient

              T,. ~'ailuze ~o rnaa~fiain a~.d ~ornpl~te disch~ge stun~.a~y

                                                         ~C
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            M, Failure to supe~`uise fir. ~urz'~ni

            N~. Negligent prersurgical dzagmosis

            Q. Failt~xe to ~re~are a timely apez~~ve report or ot~~er medical xec~rd

            p. Billing for services ~a# cnm~l~tec~

            Q. Not infa~-rning the patient azaother s~ugec~n will ~e ~ozng aZ~ ar dart a~fihe
               s~g~ry

            R.   ~~'~,G~LGltlg Ol1~S1C~~ Imo'. Durrani's scope o#'training, e~.~catio~., expez~ence, aid.
                 Board cez~i~COatio~s .

            S. Devia~ian i~. stax~da~d. of c~:re

            T. Fa~J.uxe to pez~'arm tl~aro~gh an,d accYurate ire-off nons~u•~cal ev~ua~ioz~

            ~.T. Fzalure by Dr. Durra~i t~ inform patient ~f additionallc~ang~d pxoceclure and
                 reason

            V, T~ailur~ k~~ CAST to c1~sc~ose additioz~all~hax~ged procedure and reason to
               pad ant

            W. ~`ailuse by Dx. Du.rrani at CAST ~o pxape~~y educate patient zegardiz~g
               diagnasrs
                                                                                                -- - - ...
            X. Prig knt~wle~g~ ~f posszble ab~.pZiaationand ~ot~ac~~,pzoperlyu;~ausa~~~ - - -..

            ~'. Fail~xe to dzsc~~se p~xtin~nt heath infarn~a.~a~ to anath~ heal#h care pra~vider

            ~. Fraudr~le~at, ~e~li~en~ a~ad xecl~.ess pre-operative work up

            AA..     ~`r~ndulent, neglig~z~t and r~ck.Iess s~r~~ry

            B~.      ~n.aaGUrate, fraudu~~~f, a~dlor exaggaxatio~z ofdza~nas~s

             CC;     ~'a~1u~•e to pr~pex~y educate patient xegaxdizig dzag~ioses

             Dl~.    1~ailuz~e to attempt non-surgical cozxsaruative ~re~tnr~ent

             E~.     ~aalure to perfoxxx~ tliaraugh az~d aoauxatepr~a~:r~.oz~sargscal evaluation

             ~'F.~ailtar~ ~y ]7r, Dzu~ca~i. at GCS tq perfarrn accurate aa~~ ~oz~nplete ~reopera~ive
                 teachiz~g

                                                       ~.1
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                             GCir, ~'aalure by'1]~, Uuz~za~i a.~ CCS~ to properly ed~.cate paf~cnt xegarding
                                 dz~gnas~s
                                                                                                                      Ee
                             H~. Failu€Ze by Dr. Dunan~ ai: CCH to maintain accurateand/or co~nple
                               ~nedica~ xecords

                             ~.         lFailure Qf in.~'o~neci cor~se~t bar fir. I~.~rrarti at C~H

                             7~. Failure ofCCHr to insure Ilx. Durrani ar~d CAST had obtained groper
                                 infa~med ca~isent

                              KK.       Failut'e ofCCH t€> t~b~,in proper a~knav~rledg~men.~ ofconsent

                              LL.Failure by Dr. D~rarai. at CCH to disease pez€ine~t heatth ix~fazx~aatian
                                                                                                                           to
                              MM. ~~ilure by CCH to disolt~se additionallc~anged ~ro~edure arzd reason
                                pafient

                              NN.       Fax~ure by CGH to supervise st~~

                              ~O. F~alure by C~H stafftQ ~ro~erly doccament abno~rrali~.es and follow u~
                                caza

                              P~`.Non-ap~~oved hardware cflm~sinatians
                                                                                                               zal facts
                                  ~C~. ~7r. D~arrani made ~a~se a~.d ~nateri.al misrepresezatatio~s c~fmate~
                                                                           ax~.d con~~al.~d material facts h~ I~ad a_duty
_ ... _ _ .. - -.. - - -... _ „ .. _ _~n~ended to mis~.ead Amanda ~,oah                                               _... - - -- - - - - --. -- -
                                      ~a disclas~,~CCH and ~A~'I'   coz~oeal ett-~rtate~ial £actsfey~i,ada~~1~y.tt~
                                      disclase. Amanda ~acb. was jus~i~ed ire rely~g az~. t1~.ezx~isre~r~s~z~ta~ion and
                                      did x~ly pxo~i~natiely easing harm ~a .A,saaanda ~oGh. Dr.I3ut~ani ar~.d CGS!
                                      int~zzti~naily misled ~ananda Kach..Ama~x~.a I~.ae~a had the tight to correct
                                      i~ortxaa~ian.

                          ~ 3.       Haled upon my ~e~criew oft ae deposif~on te5tinzany, the rCA~7C]requirements,
                                 the N.~~C bylaws and ail the anf'c~.~sat~on ~a~i~e~ tQ me,I am able to adopt tk~e
                                 £ollow~ing minions relaying to CC~I pertainixig to the claims again~fi h~iem. C H's
                                 a~~ions ~racl ina~ci~ons detailed in ti~is affida~vi~ proximately caused ~as~ ~o
                                                                                                                         t ie
                                 Plaa~tiff CCH are batl-~ bai~.g ~refere~.ced whey. only CC~iis named. i hoXd
                                                                           ~~~ait~i ~xg to their oonduGt   acting t~iraugl l
                                 £al~o~i~g apzniaz~s r~lativa to CCH
                                                                                          cav~-ed  is franrz die ~.m~ Dx.
                                 the ad~ainistr~tion aid NTEC. The ~itn~ ~e~.o~
                                 Dt~ra.cxi jaine~. Chil~~z~z's Ho~pit~1 tu2til he lef~by Janu~aty 1, 209. ~ ac~~lz~on
                                                                                                                            ced
                                 tv ~y api~o~as, I set fo~~tla facts ~ rely upon.''his incI~udes all which X referen
                                 tb.~t ~ revzevved. T~ adt~~.on to ail of the above,I attest to tk~e fo~lo~xring;



                                                                           12
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                  1. C H's motive for their ~ctzo~s arld inactit~ns totivards T?r. ~}~z~rani vra~
                     financial $ain.

                 2. The MEC,administration anel Boards of CCH ~~ilec~ to "govez~ i~he af£aits of
                    fih~ N~e~cli.c~ Staff'."

                 ~. Tae SV~EC, admi~i.si~atzoz~ and Boards of CC~S faded to enforce t~aei~• rules
                    upon Dr.]Qt~~.~i as they were requzred to do,

                 4. The MSC,admi~istratior~ an.~. Bvarc~s of CCH fair f~ provide t~~ea~sight o£
                    ~]x. Durra~zi as they 4vere rec~uir~ to da.

                 5. T}xe MEC,admrriistratzonend Baards of CCI~ fazed to properly evaluate L7r,
                    Durrani.

                 6. Tk~e O opedic aid ~~arger~ ~ap~nezaxs abdicated their ze~por~sibility under
                    the MSG b~rlaws tQ review, inves~.ga~e and supervise Dr. Duzrar~i.

                  7. The MEC,adminis~rr~tian auc~ Boards of CCH failed to pxopez~ly discz~~in.e Dr.
                     Dutrani including ~u~n~n~ry suspez~sio~as mad revocation.

                  ~. Thy MSC,admi~istratian and Boards of CCH faiXed to pro~aerly disciplxz~e
                     undez tl~.e N1~'i~'~yla~rs as it pez~ai~as to I~r.~~uxrazai..

                     9. The M:EC,ad~ninis~rafi.ox~ grad hoards Q~'CCH i~tao~ecl the ianfaruiatian readily
                         a~vaixa~le perra~ing tQ Dr. ~]uzrttni befaxe creden~ialang and granting h~ri
                        pri~.I~ges,
                                                     _ .
                                                                                               IJ~,~?t~tr~i's~ . _ ...._ .... _ ..... .
 _ . ~ . ~ .~ ...- " 10. The~C,administration aril ~3oaictsof~C~failed to pct c~~i
                         disri.3.p~.~v~ bei~avxvr, unpro~'essi~nal~ b~~viar ar~d cli~,ical pex£orrnan~e placzng
                         ~~~,intif~at ri~lc.

                   ~ 1. Tkz~ MSC, adtnix~istration anal Boar~.s o#'C~H cer~ifed. ar~d approved the
                        ur~necessazy pxocedures ofDr. Durrani on 1'Iaa~itif~'l~.p~ they were
                        unne~~ssary ata.d k~a~u~gi~ a~lowi~~ the improper t~se ofShy-~ andlar
                        Pure~en and knowing tl~eze eras not ~rxo~er informed consent.

                   Y2. The MSC,admit~ist~atian and Boards o~CCH failed to ac#, ~~.I}x. Dunrani's
                       ~a,~ure z~. xneclica~ zacozd c~ocum~tatia~.,

                   ~ 3. T~.e MSC,ac~minist~atiar~ az~.d Boards of C~H ~`ail~d ~a req~~e D~. Du~a~i to
                        fo~aw tk~e rules foz off ~~bel ex~erirnental procedures.

                   1 ~. The MEC,admv~zs~afion anal Boards o~`C~H a11o~~ed T~-, Durrani to use
                        uiadisc~c~secl and unqualified surgeons ~o perform his sur~~~ies including
                        ~ellaws and intez~s.

                                                               13
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               ~5. Tie MFC,administra~ian az~d Baards ofGCH allowed ~lr. Durrani to d~
                   multiple s~rg~7es at once,

               16. CCH have refizsed to proVZde as p~ivileg~d ~e peer review infarmatioza from
                   CGH far Dr. D~azai to ezther rn.e oz`~ha~ awn expert. 'I'h~refaze, wa ha~'e na
                  l~no~v~~ge of w1~a~ ac~ia~,if any, was taken against h3rn. Ho~rever, based
                   upon die facts hez'e, it is obvious #hey failed to tape ~ctia~..

               17. Based upon a~i o~'the above,id's my cspisv.azi that CCI~ were ~zeglzg~a.t u7 f.~ieix
                   ~redenfializag, st~~~rvi.~ing, disciplining aid zetar"Wing I~r. J~~u't'ani on s#off a~.d
                   allowing hirri to o~t~n ~t7.d deep privileges of NCH under the s~arzdards of
                   Ohio std tY~.s p~'o~zx.~a~e~y cawed harm ~v ~'lai~tzff.

               18. 'T'~e~ facts support A~cx~ax~da Kacl~'s claim ~'pr rieg~zge~,ce, batter,lack a~'
                   consez~~ ~.ad gaud.

               19. As a zesult oftie axe Bence and conduct ofDr. Durr~.ni and G~1~ Ana~~da
                   Koch su~f`ered danaage5 praxizna~e~.y aaus~d by ~ezn, zacltrdi~tg the fol~a~rir~g;

                         A. Permanent disability
                         B. Physical d~~os~~i~~ a~.~. scars
                         C. fast, G~irrent and ~`uh~re P~ys~cal and 1~,Zenta~ Fain a~.d S~.fferir~g
                         ~7. ~,ost incfl~e past, present and ~ttture
                         E: Lass o~'~njayment ~f lz~e
                         F. Past medical expenses
                         G, Fu~re medic~~ expanses approxzrx~ately in the amouz~.t~ of$SD,40~ to
                                                      course aft~ea#a~ent .._ _.. _.. _ ... _. _
      - - - ._. _._ .__.-~.$250,490 de~end~za.g o~
                             ~.~~'a~AtiQn  o~`~ pie-existing cciii~.'ition -_ .
                         T. decreased abzlit~ to earn znc~nae
                         7, 3q/q increased risk of cancer anr~ Fear o~ cancer ifBIMI'~2 was used,

      AFF~AN':[' SAYETH ~URTT~Ei~ N{~T




                                                         ~Tt~TA~.~'


       SUBBCItTE~~,S,S~V'C}RN TD AND ACK.~O~rVLEDCYE~ before me,a Nata~ry ~'ublic,by

      I~ertri ]~.'t~i~ey, M.D.can ~hzs ~~_ day of~20~~.


                                                        14
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                                                                 ~    ~~

                                              1~SC?TAR UBLI~
                                              My Corn~a~ssio~.Bxp.:

                                             ~~y, ~ .   ,~~~County
                                                              ~                     -
                                                             ,:
                                               State of~{,~~~`
              RNGELR POINS~TT
          i~o~a~y Puhlie - Natary~ Seal
               Seate of PdI~55oRfi
     ~o~rmfssienatl tar b't Gha~~es Gnun~y
     My Cammissfwr £xplres:Jt~fy 18,2415
       Comml~slon Numhar:l i 1338€3




                                              15
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pct 24 ~~18 ~;35PM                  WP LR~ERJ~~ SAX                                                              ~S < 2




                                                  4~7Y1# 4f ~4'~~7t~~


                                                 sworn anc~ c~ut~oned date as follows:
   I, Andre~r dallier, ~.D.,after being c
            ~ have xe~riewet~ a}l re~eva~.i m
                                                   recordsr~a~o~abl~ available about A.rz~.ancial~.o~ch
   1.
   conc~min~ t~.e all~ga~i~ns ~f3nedical
                                                                 e,
   2.       Sam familiar w~t~. the appL~cal standard a~c~r
                                                                 ~#an, xay tra~nangy and e:~gerience,it is m~
   3.       B$s~d x~pon my ~~~rz~w ~f t~Fr2s retard, ~y ed~.vaa
                       nab~~ degree afm~d'~ ,a~ pro6~bility that the
                                                                       o~ra pravidad try tyre I~ef~ndants D~.
                  e
   belief, to a xeasc~
                                                    al, ~hestes 7-~aspital'and UC ~eatt~t. was negligent
   U~arrani, CAST, ~innGinna~i Chitdren" Hospit
                                                           ,Enter €~Iia, negligent surgery; medicBelly
   and this ne$~ig~zce caused injury to mand~ K~ct~
                                                            ~aa.~rare to anaintain acc~trat~ acct eomp3ete
        ece~sar~r sw:g~ry;z~egli~ent surgi rl techniques;
                                                               ~c~f       ar~;fai.Iur~ to obtain proper
   surgical ~eca~xds; neg~g~n~ selection fd implantation h~~tr~
   illfouXled CartSeT~~C tp use, and f.~e u5e f
                                               ~agproved allag~af'rlhaxdware con2b~n.ati'an; fail.~tre to
                                                      use of~3~~'~2 i~ a child.; fai~Ur~ta +abtaizi ~rzapex
    vbtaiEt pr~aper ~orcned ccrosent tQ gas anr~ the
                                                                                      h s~n~ s~urgcxy;
                                                           m.~Itip~e 1.ev~Is c~imng the
   ~ir~'o~neci. consent fo use, and the use c ~BMP-2 on                                             an the
   f~.iiuze tp obt2Ein prope r ~n£armed ca ~tfv use, and. the use ofBMF-~ muttipl~ Hems
                                                         pre anc~ posf opezativa rnedicatiati ed~aation and
   same ~g~#ient; ~ai~ure to proaide adeq~ t~ Icarnplete
   ,Monitoring; ~a:itur~ #v obtain pr~rper    kxmFxi consent to use, ~.ud ~e use ofBMP-2 i~ the ce~ca~
                                                               s; medical ~ecvrct fraudsiwpmper t~se of
   spine; neg~ag~nt use Q£"cut and past „ aperatiye repa~i
                                                                 ~ecord~eepin~, failu~e~ta supervise fir.
   the Ba~caao decompression s~s~em; a; at~c~ substanc{ard
                                                                                                     ~i'aud;
   D $~i; negligent pre ~nc1   n pos# suz c I diagrtasis;irnpraper c3ocurnentatian; health pare
                                                             medzcal neglig ence.
   battery;negligent treatment; ~t+~gle,~ i sur~e~y; and
   4_      I d~rote a~ feast Qne-half of  5  pz~of~s siorxal time to ~i~ active clini~eal p~aoi~Ga in my
   field Qf licer~su~e, ~r to its inst~    ~x a~ acr,~edited schos~l.
   S.      My currcculunrz ~ita~ is


   F~7RTHCR ~~€+iA,NT SAYETH ~1A,~I~G~T.




    STATE t7~'
    COUI~T`~Y t~F

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                S~IJBS~CR~BF~I, S C?RI~T TQ .A~P+TD t~.CHI~I~WL~UGE~I, 3~ef~re one, ~ ~Ia#ar
   Public,6y Andrew Copier, IvI.~. o the ~'~~` day cif 4C~~ 2~I3.


   s C'i3hEMt1NW~LL~!CND PF_I+J~ISYLYAP![f~
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                                                             M~ Comm.Exp         11~1~~((~~l~.                 .lo
           ~~Y ~~hi8~,~hHp.Ca~~tty
    !~Iy+ Currnrtea~an t+fa~+ember 1, X41 B
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                                      R~l~d'I1V~0 NYETi'TBA
                                     AFFIDAT►'~"~' UF'1VIERIT
                                        1~rEST CI~IIES'I'~R

          T, Keith L~. ~GVilkey, M.D.,after berg duly sworn and cautianecl states as follows:

       1. I t~~vate at 1eas~ one-half o~ my professional time to the active c~i~ival px~~~~~ i~ r~~+
          field ~flicensure, or its inst~ct~an in an accredited sehool, I ~.~ axthop~dic
          su.~~ean whose faaus is fln spina surgexy and ~re~tment a~£1:1~ose vv~th spine issues.

       2. ~ ~vi11 supplement this affidavit with another, by a letker or by ~esdim,gny, based upon
           any ir~rs~na#ian provided try m.e after I ~xecut~ it.

       3, My ~,~zriu~uXwri vitae has been previously ~o~ti~ed to apposi~.~ cnnutzsel in these ~7r.
          ~ut~ani caws and sari be pr~avided .gain upon request ~'ar nny re~riew, I rely upon
          my edu~a#iar~,training aid experience.

       4. ~ liana not counted but I have revievred,t~ver 2~f~ or more cases invnl~~~g Dr.
          ]~urr~ni and t~ hospitals where he once had privileges.

       ~. I bass my opinions in part on my review of all tt~e ~~ses T have ~re~~ewed which ~~~~
          r~'vealed similar conduct by fir. D~~ni aid the hvspita(s where he had ps~~vil~ge~. I
          k~a've also reviewed binders prp~ided ~y tk~e Deters Lew Firm rfa~ichttzey provided to
          defense c~us~sel.

       5. 1 am familiar with app~~cable standard.of care fc~r Ohio,Kentucky azad fihe cfluritry
          for an gzrtlaapedi~lsp~e surgeon such as Dr. L~urrani.

        7. Tam.also f~ili~r with applicable st~dard afcare,policies, rules and regulations,
           rn~dical axecuti~ue cornxnittee byla~v~,.~CAHC~ requix~tnez~ts, ax~denti~Js~,
           supervising,xeteutio~ cif medi~~l staff, grating end r~je~ting pz7ivileges atxd floe pear
           review process far West Chester Hospxtial, LLC,~sc~ rePu~red to as West C ter
           Hospital or Nest C~iester Medioal ~er~ter and.UC T~ealt]x.

        8. T have reviewed all relevant medical records inc~udit~g radiology t~~I7r. Dlum~ni's
           medical treatment Q£~~vimbo 7~rly~rnb~ aid the medical treatment ofRuvirnbo
           1~yemba at Vl~est C~,este~r.

        4. I ~v~ r~v~~'wed floe Response to Summary Judg-tnez~t ~t~, the Brenda Shell ease and
           all the ~kX%bits ~'~ac~ied to it.

        1~, Thy Center for Advanced Spine Technoio~ies, ins. vas Dr. ~ut~xani's practice group
            ~.nd he vas the sole owner,dimWctvr and o£ftcer of CAST ~s vve~~ as an errxpxaye~.
            CAST as such is also xespvnsib~e £ax ]~~'. Durrani's negligence and far Cheat faalur~ to
            also supervise, dis~ipXine end :~r~tairi Dr. I~urranz.
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                                                                                                  far
        1 ~. Y h~,~~ als~s x~viewed the nursing surta~r~ary prepared by legal ca►~tsel's office
                                                                            reviewe d peY~taira ing to Dr,
             Ruvaxz~bo Nyernba, Based upon the nurn~er ~fcases I've
                                                                                         and  pravXde   s
             I~~uz~ani,legal counsel's af~ice knows whax m~.te~alsI need to review
             e~l~ thaw rrxaterials. ~n addition, while phis a~d~vit contains case spaciftc
             i.n~armation; it also contains inf'orma#~on relevar~~ to fhis case andlor many azad/ar
             ~.ost a~clfor all floe other cases. It is ~r~pared forma by counsel withm~ direciiva~
             amci ap~azovallik~ a~I crfr f~iese ha~re been.

        12. Based Upon my revi~vv, ~Yie £olf~wing are tYt.~ ~~ets I rely upon:
                                                                                            Dr.
        A. Ruvirnb~ M.I~tyer~ba w~,s almost 14 year odd,f~ma~e,single o~. k~ie day of the
           Du~'ani Surger}t ~n 911511 , Ruvimbo had been recommended t~ sse T7r. Durraz3~
                                                                                          t1~is
           by the elerne~ltary schr~o~ purse. Ru~virnbo was not k~a~ing any min zssu~s at
           time.

        B. 1~NIH: Uthex than the scu~iosis, R.t~vim~a was relatively healthy.
           ~U~t.~r ~:~i t Breast re~onstrucfifln and L~~ breast reduc~.ion,

         C. Ruvinzbo says at first Dr. Durra~~i wanted ~o witch leer growth and #k~e cuzvature
            but then as s~atY as sloe turned sixteen then it was as if were urgent. Ruvunbo says
            hex hack gain continued ~vit~ same d~,~ys ~voxse than others espacially with.rainy
            crr ^verb ~Qld vaeath~~. fain score 3-~11Q.

                                                                                                use
         D. Ruvirnbv stakes I]r. Duxirani did not educate hex flr her mother regarding the
            II~IkU~E in patie~xts under ~.1 y~axs c~~ age or #hat it shtruld nof. be used ui the
                                                                                           to
            thoracic axes as well. I]r. Dur~arii assured ~~►ez~ ~iuvimb~ would r~furn hey
            usuaY ~Gtivx~.~s within 3 weeks. When Ruvimba r~tur~ed to the af~ce           after three
            r~aanths and still in pun,ilae caffice staff int'orxned her s~,e w~uXd  always b~  in posh
            after a hack surgery, Ruvimi~t~ states ~.o ox~,e told ~.er that pry-o~exatz~+ely.

         E. Ru~+imht~ sgys fihat slie had stiarted tt~ dance ~ littl,e der the sZ;rgery and Ile.
            T~ut~ani kzad requested f,~at she partieipat~ rn a CAST Catx~mercial demonstrating
            ha~v well she has dons atad in return they would give her a scholarship for calleg~.
            Dr. Dtkrrazu assured ~uvimba and hex znQthex ghat his ~uaneial manager would
                                                                                          and n~itl~er
            draw u~ the pa~erwark. R~~imba stags the p~perworl~ never at-~'iv~d
            did ~Yie scholarship despite all the letters and c~nt~ct her mother tried.

          F. ~tuvimbo ccan.~iued her schooling axed she is haw ajunior studying Fashion
             Design at Kent State University and ~vc~z`~ting dart-~i~ne at an Outlet S~vre,

          G. 3111f~8 -- ~cvli Limited 1-2 V @Cincinnati Cl~ldren's Hospital
             ~'inding~mpression: there is dext~vsc~alivss ~a£the #,~o~acic spine. ~l~en measured
             from T4to T12,the angle measux~~ 22 degrees. 'I'i~ere i~ a le~oscQliosis ofth~

                                                         2
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                                                                                          degrees.
          th~raoQlurnbar spine. when. measured fro T11 —L4~ angle measures 27
          There is a pelvio tFXt zvifh the z'igi~t iliac wing Smm higk~er than the left. ~X0
                                                                                                LIl~I~S

          are c]eat' acid there is a n.anohstruct~d bowel g~ pattern   . [>~x the latexal  image
          there is s~xaigk~teniri~ crf the tharaeia kypha~is aid lun~bar ltr~rdc~sis. tnclude~)
                                                                                        Al€~ert
       H. 3111108 — In a C~ncir~r~ati ~~aildre~.'s Ha~pital Clinic note dictated by Dr,
                                                                                         t~.at
          ~~aaveiu~e, R.uvimba was a 13 year 5 month a1d healthy fe~.ale. ~-Ie z~ote~
                                                                                    ~~     ~
          brace treat7ment at th~i~ time was x~~ longer ~n option eves ~haugh she ~tt~l
                                                                                   surgical
          Risser g~cad~ ~, Dz. Ch.ave~rae states Ru~irnba ways approao~iing ~kh~
                                                                                          o~ ~e~'
          indica~ian cut-off and he wanted to observe her closely for the progression
          scolids~~ fix anflt~aer six mcar~ths. ~fthere shat.~d be progression he would
                                                                                         by r3r.
          ~e~ormrne~d surgery. Riwmbo had. no restrictions. 'his note was signed
           Durrani,

                                                                                     Dt~. ~7urrani
       I. 714108 ~ Tn a Cinci~na,~i C1~i~c~x~z~'s Hcaspxta~ ~Xinic nota ~i.ctated by
                                                                                           degree
          who documented rtuvirnbo th~xacic curve wvas abouk 35 degree ~d a 30
                                                                                         .
          Iumb~.~r curve with no complaints of pain. She is to return. i~ sip meths

       ,~. 9123108 -- ~aQli Lin~yted 1~2 ~ @Cincinnati Chilcl~en's Hos~rtal
                                                                                   spine fxQin
           Findingslim~ressi4n: Thexe is s 29 degr~as dexfira c~aavature of tie
           sup~riQr endplate €~f'Y'A ~o tlts superior endpla te Qf T12. There is a 33 degrees
                                                               e      1       h the supexior
           cu~`vatur~ of~e spine from f,~e inferior endp3at of T~ throug
           en~.plate of~.4. (Secluded}

        K.. 11I2410~ ~— Diagnostic Scoliasis Survey r(x~ West C~~~ter It edical Ceuter
            ~Fi~din~sllr~a,~~ressic~n: AP and Lateral views ofthe thoracolumbar spine
                                                                                             degree
            demonstrate a dextros~oli~sis o~the thoracic s~i~ie afapprr~xirnat~ly 32
                                                        T5 throug  h the  supex~o r ~n~lgla te of T12.
            ~easu~~d ~~am ~e su~erkar e~zdplate of
                                                              lutz~:bar spine ~of approx imatel  y 33
            Asst~ciated cvxn~aaz~a~ory lev~sco~.osis ofthe
                                                                             h the  superio r endplat e
            degree rneasurad from t ie super~ar ex~d,~Iata of T~ ].2 throug
            of L4. Vertebral i~~di~s are normal i~ app~arar~ce. t~clutied~
                                                                                  d by Dr.
         ~. 1112410 - — In ~ Cincinnati Children's Hospital C~iz~ic note dictate
                                                                                           was
            Durraszi that R~vimba had rretuxt~ed asyrnpton~atie a~.d his r~oornm~~.dativn
                                                                               Durr~u states the
            for her tta cazltinue following u~ and retuxn in six mc~~nths. Dr.
            x-r~y~ taken tk~at day showed a 30 ti~gree fk~Qi~acic curve and a 37 degree
            ~Qraa~alumbar ourve with a Riser grade 4 at this lima.

         M. X125/14 -- ~c~liosis Survey Six Views Q'V4'e~t Chestar Medie~.l Cente;~
                                                                                           is is
            Itnnreasia~: iVZ,od~rat~ thara~aluza~bar sooliosiu~ presant. Thoz~acic scalias
                                                                               r endplat e  offi5 to
            pr~serit, concave towaxds the left. Measuri~.g frorr~ the supexio
            the superior e~dpl~te of T~, Baas dine pre~vi~uslp, this gives angle of ~2   degree
            simil~.r to previous study.

                                                       3
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                                                                                     T12 to the
       ]~T. ~coli~sis a~ tlae lumbar spire measured from th.~ superior end plate t~f
                                                                                            31
            superior ~~d date of L~ as .one previously gives an angle of appr~xirnately
                                                                                ~tricrr study of
            degree unc~.a~age~. Moderate tharac~lumba~ sc~liosis is ~imi~art~
           ~I~~ember 2~~9. (Incl~zcled

       {~. 5!25110 - -- Tn a Cincinnati Childxen's Hospital Cl~s~ic note dictated by Ur.
           ]~urrani states R~.vix~bo's scoliosis had $oven, vvarse and der cwuva#L~res had
           xnc~eased tc~ 4C} degrees thc~raeza aid lumbar with. a Esser grade 3. It was during
           this visit that Iar. Durrani load recarx~me~d~d doing a poster~ar spinal
           inst~'umentatioz~ and stabilizat~~n a~th~ Scc~liagis deformity,

       P. 91 110 - — In a ~incitu~at~ Children's I~ospit~l Clinic note dictated by Dr. l~u~~.t,i
          stated R.uvimbo was there for apre-op discussion caf hey t~pcam.x~g poste~xor
            spinal ir~stz'uuxxientation az~~. Fusio:~, She was to be scheduiled.

                                                                                        Bays,
        Q. 11 20110 -- Physical Ther~~y Discharge Summary vuas dicta~et~ by Paul
           ~T,1VIH5 who stated this was Ruvimf~o's last PT visit, Paul states Rnvirrxbo had
           a~asolutely no lower +ext~r~tnit~y ~~mptoms or thoracic pain, Ruvimba had been
           reporting periodic spasms in her Se£~ scapular ase~► and upon exam she hid
           exagg~rcated Ieft scapt~ar gra#~actiar~ corn~ared to the cigl~t Fat~ll~ad s~hQwn
           Ruvim'bQ the pr~rne Slac~Cburn, wxex~is~s performed on a w~ighi beech. Sloe vas
           able to ado ten repeti~iar~s bong vvi~h the stabilization exercise with the mare~iing,
                                                                                       ing to
            the was disch~'ged ^with a k~t~me exercise program t~oc~si~g o~i oantim~
           incr~~~~ hit' ~li~ 5~T~~Y1 aIl{~. ~].~I' S~A~111~.aT ~OIl~.

         k~. 121Y61~4 — Diagnvstia Scalic~sis ~ttxvey @ t~l'est Chestex I~edica~ Center
                                                                                        L].
             Itnnression. * 5ta~us host posterior ~horaco[umba~ fusion €ram. T4laugh
             witk~out evicie~ce ofh~dware cnrnplica~ion,
                     Unchanged mild de~~roscoliosks of tie thoracic spine vv~th mild
                     levoscQliosis ofthe u~~r lumbar spine.
                • Pectus e~cavatt~m.        ~In~h~ded}

                                                                                           mentation
         5. 12116!1 Q --17r. Durrani dictates Ruvimbo was sIp ~ MIS paste~io~r ~~a~t~u~
            spia~al fusion atz~. that sloe was doing very well and ha~rd~y faking any pain
            medication. IJr. Durrani statas the x~rays taken showed excellezit correction flfthe
                                                                                         was the last
            t~eforrrn.ity arxc~ the l~nbar curve ftself was almQSf pretty s#xaight, This
            l~urrani note in the file.

          T. $~~9/11— CT Ltunbar Spins, ~`I' Tbo~~~cic Spine wlo Contrast and CT-3D
             Rendering on Modality ~ W~~t Chester Medical Centex
             Thoracic CT Itxa~xe~sian: *status post pQSt~rior fusion from T4 to Lt levels.
             Mild d~xtrvs~aliosis ofthe thoracic opine.
                                                       4
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          Tie T4 screws course medial to tla~ T4 pellicles and ma~erately encroach on the
          xzght end deft la~era}. aspects o£ tie spinal canal, The left TS pedicl~ scre~r courses
          along the inferiflr aspect o~the left T5 pellicle and mildly er~.eroaclzes can the
          superior aspect ofLeft T~ foxaxr~en.
                  (In~tudet~)                                ,

       U, Lu~ibar ~p~ne ~T ~ Fatie~t ~s slp thoracolu~a~b~:r fusifln. There is mild
          levoscalt~~is of the lumbax ~pi~ie. ~`usion extends infez~iorly to ~1ie ~,1 Level,
          Ha~dwar~ at the T1Z-L1 level appears intact ~.nd goes not appear to encroach an
          the central canal ar~~e~ua1 foramen.
          Im~r~s~ion: l~Jli~d levoscolivsis ofluaxxba~ spine.
          (Included)

       ~. CT-~D Tendering o~ Mc~da.~ity —
          Fir~d~gs/Impr~ssio~; *dial CT was performed thrvugk~ the thoracic a~a.d ltunbar
          spine. ~agitf~ a~~ caranal ~e~or~sctiflns vver~ olttain~, 3D re~o~as'c~uctions
          were also obtained. Them is milts dextroscoliosxs a~the #haracic spite and mild
          ~e^voscc~lia~is c~£the h~nbar spiu~.
              • The patient is sl~a fuaxa~n from the T4-L1 I~vels. Posterior xods ace
                   t~fixed by txa~spediaulax' screws a the T4, T5,T8,T9, T'14, T~.2 and Y,1
                   levels. The l~a~dware apgears intact. Them ~s na e~ide~ce of Ioas~ing.
               s Tl2t T4 screws course rr~edi~l tt~ the T4 pellicles asi~l rnaderately encroach
                   Qnthe right and left lateral aspects ofthe spinal canal. The xs~t T5 pellicle
                   screw milc~y encroaches on the sup~~~or aspect c~~the left T5 £aramen,
                                          (Ina~ud~d}

        V1, It is appaxe~.t~ that this sk~rgery was medically n.e~essary but ~,ot for J7r. Durrani to
            use BMP2IIL~F'U~E on. thr5 patient who was untle~~ age for this INFU'~E usa,~;e and
            utilizing it in an ar.~ea v~k~ere it had not been ~'bA appro~ett was vv~Qng,

        ~. Drc. Durrani's ~isinterpx~#ation o~ the pre-operative diagnostic:
           1 ~1241(~9 I)r. Durrani misquQt~s the results of the ~-rays taken ~i~t day, x-rays
           staffing the curvature r~vas then ~~ and. 33 degrees anal Ear. Durra~i stated the
           curvaftues were 3~ ar~ck 37 degree ~ncl she vas a Risser gratl~ 4. This Ttisse~ grade
           decrease in the fallowiixrg months per I~r. ~u~rar~t.

            Ruvrnnb~ had bee~z ~ patient offir. T)urrani's at Cinaiau~ati children's ~,QSpi~~l and
            had been followed.£~r several years prior to the initial surgery.

         Y. Dr. l]urranx per~arrned aii~ surgery nn this client:
             9115/10 ~-- Si~gery (a West Chester ~Vledica~ Cents:
                     PREDPERA.TI~E & P(~~TOPEIZAT'IVE DIAGI`+1(3SES:
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                 * Adoles~e~t Idiopathic Sealiosis
                   PRaCEDURES:
                   Posterior Spinal Instn~menta~ian usin;pedicle screws £z'r~~a T4-L~
                 • Posfexior S~ir~al.fusion using auto & allagraft ~'A~-L3.

           Them is na Test Clnestar NIedzcal Center's Tnformetl Cc~n~se~tt at~ailabxe ~z~ this file
           and no Radiologist availal~Ie duric~g the siu.'~ery.

       Z. BMP-2 was used during surgery.

       A.A,       TI~e fallowing hard.w~~~'aVas ~mp~a~ated:
          1 — I1~IFC~'SE het Bone ~rr~ft LG -- M~dtro~xc
       • 1 ~-bone Crxa~ Sub Vitc~ss 25 x 240 x ~4 — D~ht~fx
       • 1~ -- b.~ ~c 46 Viper Screws — Depuy Spine
       • 4 — 6.0 x 3S Viper Screw —Dewy Spine
       0 3 — Ti#annum.Rod S.S T3xarnetez — ~epuy Spine
       + ~4 —Viper Sit Serevvs — L)epuy spine

       SB.            Tt ~t+~ "o~~=la~iel'° and prone position.

       ~~.         Thee Ope~t~~ve R~part was ~iatat~d by fir. ~lurt~a~i on 1113116(d7 days
          l~.t~r) end it w~ verified an 11/12/14 ~5$ days later).

        DI3.         Ruvirxz~ba did have a right breast z~cazas~xuat~o~ fc~r a develapxzie~,t~.l
           d~£~az-~~.xty with ~i~suc~ion fat injac~ions. Later +~n s~xe had a reduction ui the left
           breast ~a equalize der breasts. ~ot~ procedures ~ver~ done by Dr. Ann
           Schvventker, Plastic Surgeon in 2013 at Cincinnati ~k~i~dren's ~aspital.

        EE.      Ru~virr~bo states she is Ia~.~ing rnor~ pain t~i~n be£are ~uxgezy in fact sloe was
           not having away pain at all before the surgery.

        ~'F.             Ruvimba stars she use to ride a bide mr~.~ wing which is dzfCcu~t
               because her duxatio~ has deceased. Ruvimbo sags har low 1~ack pain canti~.u~s
               ~ur►til today ar~d same days a.re worse khan others esp~eially the sharp pain iz~ ~i~
               right upper back ant! her lower back aches all fihe t~n~ae, the rates her pain 41J.Q all
               the time. S1ie has ~► er lit~if~tzons as a xesnit crf tie surgery:
               V~all~in~ --- v+~as easier before the surgery ~~d now after about 1 ho~tc' she begins tv
               feel disct~rr~fa~.
               Sim- was got a problem in school until af~~r the Di~rrani surgery and z~aw she
               carp only about ~.dour ar two and then her bae~C pain increases.
               ~t~din~ —fir about 1-Z hours, li~~ in the sholapxng mall, tl~~~ der back increases.

                                                       C~
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                                                                     ~~llo~ ~uzder hea~ head is the
          ~,ayi~~ c3o'~rn and sleeping an her stc~m.ach wittk~o~tt a
                                                                               ut any kind of
          only aornfart~ble positi+~n that alltiws her to fall asleep ~ritho
          medication,
                                                                         har s~.a~p was quite
          Sleeping- was interrupted at least 1-2 times a night and
          restless most nigh#s.
                                                                         r items like a lnea~ry
          LX g limit— is done cautiously especially with heade
           la~.tindry faasket.
                                                                              awhile she wi~X rest
           Household chars -- she is able to do t~c~st of therm but after
           ~e~.adic2~11y.
                                                                        rides of which she leas #o
           A,b~e to d~.ve —she i~ able to driva bud not on long cox
           het out grad stretch at least ~~ve~y 2 hours.
                                                                             seem to tri~gar night
           Fle~i~n —she ~~nd~ r~o~C~ng down,and just leaning f~rwa~d
                                                                    tie her shoes and able to bend
           sided pai.z~ in her back. She is ~l~Xe to pit dean and
                                                                anything heavy.
           over aid p~cku~ sorne~,#ng off the ~lo~r bud not
                                                                        or couch is mare
       GG,       I~u~r~mbo fords that sitting an a softer type of chair
         corn~c~rtabl~ fog I~er fihan a harder suxface one.

                                                                          c~uit~ un~.e~~stat~d why
        TRH.       I~t.uvimba seems t~ be a posxtave person and does got
                                                                   s k~e sorner~vhat in pain
           Dr. Durrani did vyh~t he ci~ti ~n.Qwing shy w~u1d alway
            ap~ar~lat~y for ~e xest a~~er Life.

                                                                      ~ns based upon a reasona~l~
        13, Sased upon my xeview,the foll~vt~z~,g a~'e ~y ~p~iu
                                                                     ti~n in standard of carp or
            degree of medical flet'tainty pez~tair~ing to the ~le~i~
                                                                         s ~gait~st Dx. Il~n'ran.i, CA~'~,
            negligence, infoi~nne~ cansen~, baftezy end fraud claim
                                                                 y caused h2~rm try P1a3nCi~
            West Chester and[3~ k~eal~ vv~ich praxamatel
                                                                       e~ns created by Dx, Du~~ani
            A. l~teed tc~ have adda~innal s~t.~rgex~ to repair prabl

            B, Implantation o~ Pt~segen without infarrned ~~~sent
                                                               nt
             C. Ixnp~anta~ion of BMP-~ v~ithout infoz ed conse

             D. Faiked hardware
                                                                       ry
             L. Failure tQ ~btai,n pr~~er ixafo;med consent ft~r surge
                                                                     ive and past-operative
             F. failure tv prvvi~de adequate anc!thorough pre-operat
                patient surgic~f eduction

              Cr. Failure to ~ro~arl~ post-op m,t~nitor the patient

              H. ~~.ilur~ to properly perfoxm fvll~va u~p, post•~p care

              I. Negligent surgical techniques

                                                         7
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          J. Faillure to ~rza~~ntai~ accurate end complete su~~io€i1 retards and suxgical
             con~an~ firms

         K. F~i~uxe tQ disclose in~.~o~tant health infarmat~on to patient

          L, F~iluxe to ma~nfi~ir~ ~z~d complete diseharge sl~mmary

          Iv.~, ~'ail~re tQ supervise l~r. Durra~i

          N, Negligent pre-sur~xcal. diagnosis

          O. Failure to prepare ~ t~rnely opei~atEVe repsazt ar other medic~.l record.

          ~'. filling far services ~.ot completed

          (~. Nat infr~rnaing #h~ pa~.ent ~no~er ~urgeo~. will be doing all ~i ~~t oft,~e
              sur~e~'y

          k~, Practicing outside D~~. Durratit's scope of ~~~i~n~~gt 2{~L1Cr`Z$lfl~~ experience, acid
              Bard ce~.-tificatio~s

          ~. Li~v~~ion in stan~.ard of c~xe

          T. ~'azlu~~e to perf'arm thorough and aocuxate pre-a~ nonsurgical evaluatrnn

          U. Fail~iu~e by fix. Durrani ~Q inform ~atz~nt of a~.ditiona~lchanged p~rt~c~dur~ ~~d
             reason

          V. failure by BAST tt~ r~iaclose additiana.Ilchan~ed procedure ac~c~ reason to
             pa~ier~t

           txl. failure by ~7r. Ihu~aiai at CAST to pr~perXy educate patient regar~.ing
                diagnosis

           X. Pri~rr ~zzawledu~ ~r£possz~bl~ com~pliaa~ion and nab a~ti~.g properly upAn same

           Y. Failure to disalase per~xt~ent ~ealfki i~'ors~,atian to anafher health care pra~vider

           Z. Fraudulent, negligent and reckXess ps~aperative waar~ ~.p

           A.A.,   Fraudulent, n~g~igent an~.d reckless surgei~y

           ~B.     Tna~cur~te, Fraudulent, andlor exaggeration ca~diagnas~s

           CG.     ~`ailure to pxo~erly educate patient regaxdir~g diagna~es

                                                     8
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          DD.     Fai4ui~e to attempt non-suxgraal aonse~vative ~'eattnent

          EE.     Failure to perfo~n thoxo~~~ mad ~~c►~rate pre-op nonsurgical eva~u~ti~n

          F~.Failure by Dr. Burrani a# UCI~+Iest ~h~s~er Hospi#al to ~er~or~rz~ accurate and
             cornplefie preoperative teaching

          ~rG. Faal►are 6y Dr.l7urr~.ni at UCfWest Chester Haspita[ to properly educate
             patient regarding diagrz~ses

          HH.   Failure by l~r. D~urrani at UCfWest Chester Hospital to maintain ac~u~~te
            ~cUar complete ~edica~ reoords

          II.     Railure ofinft~rmed consent ley Dx. Dttrrani at V~l~t~G'est Che,~te:r Hospital

          1J. Faihtre ofLTLl~Vest CheSt~r Hospital to ~nstiure Dr, Du~rani and CAST had
              obtained proper informed ~t~~asez~.t

          K~. Failure of UC1West Chester Hospital to obtain proper acki~owledgern~x~t
            ~fconsent

          ZL.Failtue by Dr. ~~~rrani at ~7Cl~ast Cheater Haspit~l. to disclose pertinent
              health i:rtfarmatiQn

          It~1V~. Failure by i.~ClWest Ch~tex Heal#h to disclose ~ddztzaz~al/changed
               procedure anti reason to ~aai~ent

           N1~.    Failure by UCIWe~t Chester Health to superaise stmt'

           D~. ~aiXure by UCIWest Chester Me~i~al staffto properly dQOUna~nt
             abnormalities ~~d fallow up care

           PP.I~Io~-approved hardware coznbinatirans

           QQ. T)r. I~un'ar►i nrzade false and material misa~epresental~az~s of material foots
             intended to mislead Ruvirn~a Nyemba end cc~nc~aled zr~.at~rial facts he lead a
             duty t~ discl~s~, UCIW~st Chester Healfili a;nd CAST ca~ce~.led maternal facts
             they had a duty to disclose. ~.u~im.~ra I~Iyemba was ~us~ified in relying on
             fh~ nusrep~~sen~at~o~ and dxd rely proxiriaa~ely causi~ag harm to Rtitvirnbo
             N'y~~a~ra, ~}~, l~urr2wni., GA.S~', aid UC~IWest Cl~estex Heath int~t~~xially
             rnxs~ed Ru~vicnl~cr Nyemba. R.uvirnba Itilyemba hack.the rigk~t to cc~~~c~
             information.

        14. Thy ~estiinc~ny, feats tad exl~ibits o~ Bt~enda ~hell'S Response to Nrotion far
            Stna3mary Yudgment aid ~x.lzibits to sasrye are ap~lic~bl~ la all the claims agai~^~st
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             West ~h.e~#e~~ Mecii~al Ce~te~~ tWCMC}ai~ci UG H~~lth for ali claims, it7clucling
             i1~~ligcnt retea~t~oi~ aid uredentialinb broubht b~ Plaintiff,

        5,        13~s~d u~a~1 my review of the de~~rsiti~n tssfimany,the JCAHO xequ.ir~men~s,
             the MEC bylaws an,d all the infox~-~at~an p~ovicled to nee, I am a}~1e tti dap# the
             :Et~llawing ~pinians relating to WCMC arad UC Hea~k~~ der#a.xning tQ the claiz~~s
             again,~t ilx~m. WGMC's anc~ UC Health's actian~ and inactio~~s t~eiaileci in this
             a£#~d~vit p~o;~irnately caused httr~n to Plaintiff. VdCi~tIIC a~~d UC Heaitl~ are hcrth
             bex~n~ re~ere:nced ~uvhen only ~~CM~ is n~ned, I hoad the following opinions
             relative tQ WCMC and UC Health pez~tainin~ to theax ct~~idt~ci ac~.ng ~lv'oug~. their
              adrt~inistx~.tian and MEC. The time period covered ~s fiom tie time Dr, Durrani
             sought grivile~es prig to WCMC op~niz~g in May 20Q9 ~hra~gn May 2QI3 when
              he no Iongex k~~d przvileg~s. Tn addition to my opinions, I set forth facts I ~e1y
              upon. 'S'his inelud~s ~I1 which T referenced that I Y•e~iswe~, Tn additioxa to all of
              the above,I alfest to the ~'o~lowin~.

                                                 k'ACT~

             1, Aco~rs~ing to'S~e~t Chester's first E~.ecutiv~ Vise President, carol Kind,she
                dial zlat explore the "rumors" about D~'~ ~tn~'ani's ]saving Children's.

             ~, According fo Caxal King, the hosprt~.[ tr~ck~d problem issues yet WCM~
                have failed to ~xodu~ the information under peer review ~arotecti~n.,

             3. Ac~arding to cirGUlatir~g nut~se,~'anet Smith, pz'e.~ets wire changed in the
                c4rnputer to indicate the gracedure Dr. burra~i perfarrraed ~ft~r the procediue.

             4. Aecoxdx~~ to Janet Smith, despite no one at West Ch~st~r never working vrx~l
                  Dr. Durrani be~'ore,'4VCMC never checked him out.

              S, Accflrding to farmer University Hospi~at Pres~de~af(a UC Health haspi#alb,
                 Brun Giblet, haspital~ fa~~ £~n~.rioial challenges.

              6. According to risk i~.an~~e~, David ~~hwallie,risk tnanagerz~~aat kt~ev~,~ 17u~raxai
                 hid issues.

              7. According tc~ r~c3i~logist, Tha3nas Brown, ~hexe wet'e sux'gec~ns questioning
                 Durrani's d~cssinns to pexform surgery.

              $. Accoxding ~a medicat staff dir~ctar, ~'ar,Yl~ hawk,a ~alicy GalXed "stogy the
                 lying'> was implemented the sarx~e ~~ar and n3o~t1~ they k~.eket~ out Dr.
                 Iluxra~~. This in#'errs a poflr en~vi~a~.rn~nt of honesty anc~ disclosure befaxe this
                 p~lx~y,

              ~. Aceor~ling to Faula Haw1~ end a~ the directnx a~r~,edic~l staff, money xs ~noC
                 supposed to trump patient safety.

                                                     10
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          ~ 0. A~or~i~a~;to Pat~3~ Hawk,~lx~ adrrzits peer review is far hospitals tc~ ~roteot
               each other.

          11. Accardii~g to Pauta Hawk, she admits ht~s~it~.ls are interested in volume,
              strmething Dr. Dlarrani provided frar ~VCM~ ~d UC Health,

          T2. A.ccarcting to Ms1~e Jeffers,the director o£fna~lce,they txacked fir. Durrani's
              finnanci~l numbers.

          1~. Accor~i~~g bra Mute 3e~fers, he ~dinits Dr. Durrani k~elp~d them in theax dime a#'
              need.

          ~4. E'~.~corc~ing tQ Mile Jeffers, I7r, I3urrani was tk~e hi~h~st mo~.ey ,~enexator.

          1 S. According tv Mi.~.e Jeffi~rs, he knew T}r. D~-rani kid more th~~ o~~ surgical
               suite assigned at once.

          1 ~. Aeeorc~ing ~ta 3vlik~ Je~frers, ~ia~uses were paxcl to him and othexs based ~zpon
               ~fnauces.

          17. Acca~•ding to Dc. ~~ter ~kexu, he laZ~w Dx. Dutra~~i was c~n~y "s~~isfactary,"
              not a ~rorld class spine surgeon as West ClYest~r adeertise~.

           1$. Dr. Stern doesn't deny adrnittin~ [T+C Healt~i looked t~~e nth~r way on Di~xraz~~
               bec~.use ofmoney,

           1~, According t~ credentiali.iag manager, A~u~~ ~h~lly, these ~uas plenty of"~ublio
              ~owiedge"about fir. Dur~'ani to check before oredet~ti~ling.

           ~.G. AccQrdi~~ to Ann. ~ha11y, ~~st Chester relied on the N~'BB they lczie~v was
                profiected by hospitals,

           21. ~]r, Eric Sclu~eeberger, Dr.I)urrani's paxtc~~r, was on tl~e MEC ~t WCIVIC.

           22. Acca~ing to Eris Sc~u~e~berger, Wept Ghes~er knew about Dut~~atu
               scheduling sux~~ries long into the d~~+ and night.

           ~3. ,(~ccoiding tQ former nursing m~t~~~er, Elaiaie ~w~k~, W~MC Icx~ew abt~ut Dr.
               J~urr~i not completing recot~d5.

           24, AccoYCiin~ ter ~l~izle K€~~o,~JC~~ knew Dr. Durrani wau~d claim sur~erias
               wire emergency when they wire r at,

           25. According to ~l~x~~ i~ux~ko, ~`+~CMC lcr~er~v thare was arf issue with I]r.
               Dt~rrani not being in tie rooms dfli~.g surgery vn "lnis" pat~~~if.

                                                   I1
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         '~6. Accc~rc~ing to Elaine ~.~~nko,even the aR nurses ~ne~v WC11~C put up wifh
              17r. Durrani fix rrxoney.
                                                                                                  s.
          27. Accortli~ to ~lai~~e Kunlco,'EJ~T~3v.F~ ~'~.cl~ert Dr. I}urrani'~ financi~~ ».umber

          28, ACCOTC1iIl1~,'C0 ~]EFID~}~Tc~,t1Ve L~1feC~~1'j Lisa ]~a~vys,'l~'CMC lcne~v Dui~`ani's
                                                                                                  sure
              off~~ is ~up~osed to get consents ~o ~C1VVitC had an obligation tq make
             they did.

          29. Aao~irdii~g to 3'i115te~;nlan, the risl~ zxianager at West Chester, she knew
              I~ur~'~ni nad `°issues."

          3Q, Jill ~a~~p~rn~n co~yfiY~ns Gerry ~roodma~n's cvznplain~s.

          31. ~,ccoxding to ~.aihy ~-Iays, WCM~ kxtew hativ Dr. ~?ut~aa~i used BMP~2 end
              ~'ureG~n.
                                                                                          his
          3~, fir. Tina.I~remchek,the Chi~foftie i]z~thopedic degari~netit, filed tc~ da
                                           it
              jab under the MEN byXa~vs fts related to the supez^vi sian ar~d review  pf ]fix.
              Durrani,

           33. l~cc~rdin~ to Dr. Tina I~i'ernchek, he knew Dr. Durrani was"sloppy."
                                                                                   stt7'gery
           34. I~e~in J~se~l~, the CEQ of'WCMC,elain~.s to lcncrw ~ptk~ix~g ~.bvut
               operations in his hospital.

           35, Sevin Toseph, the CEC?,claims a hospxtal;nu~tpro~ect patients from
               uz~nec~ssary harm "as much as they can."
                                                                                                     s
           3G, ~~~vin Joseph, the CEO,clams ~VGMC doesn't k~a~e over~sght ofsuxgeon
               doing what Plaintiffclaa~nas Dt~rra~►i was doing, (I~aspite what his bylaws
               state.

           37. ~i~.ewir~ Joseph, tl~e CEO, denies the hospital. has ~.ny reapo~isibility if I~r.
               Durrani did ~n unnecessary surgery.

            38. I~.evin Joseph,the CEt}, despife his finance office tracl~ing it, denies any
                knQwl~dge ofIMF-2 use.
                                                                                        about D~',
            39. Kevin Joseph, the CEO,denies knowing about any complaints
                Du~'~ani.
                                                                                          ,
            ~~. ~~~vin Joseph,the ~~0,admits they b~r~~ft~d ~Ziianciall.y from ~h. burrani
                i~acludiaxg ~.is awn pay.


                                                      l.2
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         41. Ma~lr Troin~a, the ~R mar~ag~#', admits BMI'-2 ease a~ used by Dr. Durrani.

          Q2. Acec~rding to Je~'FI3~~~~lik, the Senior Leadership team, including Joseph, net
             we~~c~y and revreweti numbers.

          43. Ac~~`~i~g to Je£f'Dt~.palik,the C~0 of ~NCMC kneuJ ~7r. r7turaui ways a kti~li
              ~vnlume money maker.

          44, L~sl~y ~~lbertso~a, a member ofthe MEN o~'WCMC, a~ad.ss~est~.~iala~ist
              workiizg wit1~ I3urrani, had a concern about hQw long DuYrani kept patients
              under.

          ~S. According to ~.~atErials manager, Dennis Rabb,~CMC kn.~w the volumes flf
              BMP~2 being used.

          ~6. Accordin,~ to Karen Ghat~'~7, ~VCI17G ~t~ew the chart docuxz~.entatitin of Dr.
              Durr~.ni vas r~.ot in campli~nce with their byl~.ws.

          47. P~t~ick ~Ak~rt nursing SIP at t1i~CMC emits WCMC ~xack~~ the ~r~~cial
              perfo t~x~ance of Dr. Dur~ani..

          4$. Acectrt~ing to Nurse, ~Jicici Scott, the admuustration 4f~JCMC l~new from.tl~e
              outset of'~T~st Ck~~ster all the serious issues pertaining to Dr. Durra~ni.

           ~9. Aecordin;to Vicki Scutt, ~Ve~t ~~a~ster's xisk meager began to xgnora
               complaints from Ms. Scott,

           50. According to Vicki Sc~t~, sta~f'w~s seed to sp~~k out.

           51, According ~a Vicki Scott, patients didn°t l~iaw who did the ~r.~gerxes—Shaa~ti
              or I7~~xrani.

           ~2..Accord~n~ to V,i~k~ Scott,recoxds wexe riot accurate wha was i~ the OR.at
              what tizzy.e.

           ~~, Accc~r~ing t.~ Vicki S~ntt, e~exya~.~ st'[~VCMC ]a-iew it ~va~ a6oiit rn~ney,

           5~#. Accaidin~ t~ Vicki Scott, WCMC la~~~ about Dr.Durr~ni's axa~. West
                Chester's illegal use o~PureGen.

           55, According ~o Vicki Scott, Dx~ DliTT~iril Wa.4 & ~E~3V10I" ~JTUbl~7ri.

            SG. Accn~ding to pafient t~presei~tati~e, Eli~~beth Dean, W~1VI~ tracked Dr.
                Du~ani"s vraXumes fro~x~ ~~,e outset and the COQ loved what ke saw.



                                                   X3
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          S7. According to Elizab~tl~ dean, WCMC knew Dr. I3urrani had issues at
              Children's.

          5$. Accorc~ix~g #o ~~izab~lh Dea~~, ~NC~VI~ knet~r T}r. Durrani was pexforming
              u~~cessazy procedures by uolur~e~ and.repeats.

          ~~. Acco~:dinb to 1~LU~se, Scott Rim~z~, ~VCMC knew Dr.Durrani waited until a$er
              surgeries ~o document what pra~edures were planned.

          6th. ~ccardin~ to Scott R~rner, pat~exits at V~CMC load pror.~~.ures they chid not
               consent to and WGM~ k.~e^~r i~.

          6I. ACeoi•ditig to Scott Rimei,ste~rale fields v~ere not ~.'ot~cted.

          b2. A.ccording to Scott Rimer,W~~VIC l~iew ~'ur~~en was beizag used by 17r.
              Durra~ai and a1lo~ved it.

          6~. A~~gx~in~;'i~c~ Thainas Blank,PuxeGen v as Utz al~erna~ive to BMP-2, which
             "~CMC tu~ied to based upon ~z~surance denials o~ BI~LF'-~. In addition, Dr.
              DZUr~~a~ operated an unethical POD ~f Alphatech called Evnlut~t~n Ivled~cal to
              s~11 Pu~r~a~n to West G~ester.

          64. Accorclin~ to Garry Gvotlrzaan,'t7i~CMC track~t3 B1VIP-2 ~sse by Dr. D~ran~;
              pat«n~s drd not know whfl at times ~ecfaz~xie~ their surgery Dr. Shand ox L}r,
              i~tu,rani; elecfroYUC xecdrds liar to be ch~n.g~cl after Dr. D~zxani's st~-gerY; Dr.
              Dt~~'sni and ~'C~C ~e~er obtained infr~:rzxaed consents; Dr. I~urrani's voltiurne
              was a warning sign t~f t~ve~~.tilization. ferry CrQOdmax~.reported all th~s~
              ~t~ncerns ta'4VCN~C an~i there was no action. GezTy Gooc~nian vas to d ~nc~
              ca~.eluded that WCMC did not wait fit► do anything about Dr. Dlu~rani because
              o~~naney rewards.

                                   ADDITIONAL O~"IlVI4NS

          FiS. Thy Center o~ A~d~a~ced spine Tecl~nologiea{CAST} negligently supervi~~d
               and.retained Dr. Durrani,ineiuc~ing by allowing Dr, Durrani tv pe~r£orrn
               unnecessax~ praced~ares and surgeries; t~se BMP-Z a~dlor PureGe~ without
               appropriate consent; f~ilirig to dtscl~se Dr. ~hanti and athexs in~4lvernent in
               sur~exy;improper b~~ling; changing the pre-op and post-Qp records to coinci~'e
               when the surgery vas not the surgery disclosed; and a~] other conduct d~tail~d
               i~ fhe documents I reviewed.

          &6, Vd~I~vIC, UC IIe~tth and CA,S~'S I11O~lV~ F41'~kkC1T AG~,10115 Atl£~ 1I3&Gf1Q~S
              tt?wards Dr. Durrani w~~ fii~~ncial gain.

          67. T,~e MEC,ad~inistratinn and Boards of WCMC and UC Heal~a wiled to
             "govern t~.~ aFfaixs cifth.e Me~icaZ ~t~f."

                                                   Y4
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          G~. ~'k~a MEC,admini~tratian anc~ Bards of WCIt~C ~d UC Health fai~~d #v
              enforce their rules upon Dr, I}urrani as they were xequGred tv do.

          69. The MEC,ad~'i.inistratio;~ and Baar~s of ~C11~C ~,n~ UC Health failed to
             pra~ide oversight c~~']7r, Durrani as they were .required to do,

          7Q. The MEC,admin.zstration aid Boards a~'WCMC and UG Hea1#h failed to
             ~rvperry evaluate Zlr. Durrani.

          71, The Di~t~iapedic and Su~•gery Depaz~ments abdicated their respan~il~ility under
             the MEC ~yl~~s ~a review, investigate and st~pezvise Dr. Durrani.

          72. The MEC,ac~minisi~~tion a~lc~ Boards of WCMC and UC Hea~tka ~aii~d to
             properly disciplsna Dr, Dtzrr~.r~i including summary suspe~si~a~as aald
             revocation.

          73. The MEC,adrninist~atiQn and $oards of W~MC and UC Health Failed to
             properly di~ci~l~e under t1~e MEC bylaws as it p~~#az~as to TJ~. ~1~~z-aru.

          74, The ~i~lEC, adminis~ratian acid Boa~'ds ~£ WCMC anc~ LTC HeaJ,th.zgnore~ t ae
              infor~n~tion readily avail~.b~e pertaining tv Dr. I7~.u~rani be~oxe ~rede~tX~~ng
              and granting him privileges.

          75. The MEC,adrr~nistration ar~d }~oatds of ~NCIvIC and U~ Health. failed to act
              pn Dr. 3~►~rrani's disruptive behavior,unprafessiot~al behavior~~Ii~ucal
              ~et£ax~atzce placing T'laintiffat risk.

          76.`The MEC,~nir~is#ra~o~ mid Boards of ~]~ICM~ a~ad UC Health cef~i~i~d axed
             approved the uruieces~ary pra~edu~'es QfDr. Durxani an P~axntaff kna~vi t~r.ey
             were itnn~cessary azad knowingly allowing the improper use ofBMP-~ andlor
             PureGen ar~d knowing there way not proper infarr~aed consent.

          77. Thy MEC,adrnin~~t~atian grad Boards of WCMC and UC Health failed to act
              an I~r. Dturani's failure iri medical record documentation.

          78. The NIEG, administration and T3nards ~f~CMC ar~c~ ETC He~lt.~ failed fo
              squire Dx. Durra.ni to follow the nale~ far v~£ babel axperi~~ntal procedures.

          79~ ~`?~e MEC,administration and Baa~~ds of WCMC acid ~[1C Health allowed Dr.
              Durrani to use u~idisolosed and unquali~icd s~rrgeons to perform his surgeries
              i~icludin~ Dx. Shand.

          S0.'I~ie Iv~C, administra~az~ and Boards of VJC11~fC and. LTC ~ealt~ altovve~ ~7x.
              Dut~rani to do multiple surgeries at Once.



                                                i$
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           81. WC11r~C and TJC ~Iealth. have refused fo pra~~icle as pxivzl~ged tk~e ~eex revzew
               i~a£crrmati~n £rom ~'~MC for ~77r, Durrani to either me or #heir own.exert.
               Th~r~~'ore,~~e have no ~Criowledge o~'what aetifln, if any, was ta[~en against
              f~im. However,$aged u~a~ the t'acts ~i~r~, it i~ obvious they failed to take
               ac#ion.

           82. Based upnn a1~ o~'the ab~v~,it's rn,y api~ivn #,fiat W~MC a.nd U~ ~eal.~k~ were
               negli~e~t in heir credentiali ng, supervising, disciplining and retaining Dr.
               Durrarax a~ s~af~ end all~wx~.g hin~ to ab#ain and deep privileges at WC~vIC
               t~~ade~ t1~~ standards of ahic~ ~s d~taiIsd az~ ~k~e :Brenda Shell's Response t~
               IVlt~tz~n for Summaz~y ~t~c~grnent and this praxirnate~y caused harm to F'laintifiE

           $3. The facts su~~ar~ Ruvimbo Nyexnbzt's claim frr negligence, ha#tery,Iack of
               G9Ii8~31'~ a21C~ ft'~1~C~.


           $~4. As a result ofthe r►egiigence and conduct 4f Dr, Dut~ani, CAST,VVes~ Ch~ste~^
                and UC Health,~uvirnba hlyemba s►~ffered ~~.tnages proximately ca~see~.1~~
                them,in~lucling the fc~llo~ving:

               A. Fe~~manent c~isa~bility
               ~. ~'kzysic~l de~'orrnity and scars
               C. Fist, Gurr~~t ~nt~ Future ~'hysical a~~d IVlental Pain anal Suffering
               D. Lost in~c~me past, present acid futtue
               B, Lass ofenjoyment of life
               1~. fast medical. e~,penses
               ~. Future medical exp~r~ses appmximately in the mount of$ 4,000 to
                   $250,OQ0 defending an course a£txeattx~e~at
               H. A~gravatic~n of a pre-existing ~o~d~tza~
               T. Decreased ability to ~a znco~rie
               J. 3% incxeased risk ofcancer and dear of caner ifBMP-~ v~,ras used.

     AF'~'~ SA~'E`TT.~ FURTI~~t I~1'dT



                                                   KITH D. ~V1L       ~,Iv1.~J.


                                                   NOTARY


     SUS~~RIBED,~~ORN TC~ ANDS ~~~]'~~L~VI,ED~rEI)b~'oxe rne, aT~t'otary public, by

     K~xt1a ~~ Vt~zllcey, M.D. on this~day of~2015.




                                                  i6
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                                             ~1 '~' '
          Ufa#
              ~Y~u~AP4~oh~~Saal                  ~    ~       ~       ~   ~ ~~
      ~~mmfssl~e~t~°jStsso~rry!
                       r • Gfrar~s8
                    rtAres. Ju! ~ 20i`5
       Camr~f~ta~~~
               ~~,_ umber, 2i73381~       ~~'~ ~~.Y'~County

                                           State o~   i Spa~T~i-w ~




                                           17
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                                      RflI~I'ALD 120VL~LEY
                                     AFFIDAV~f OF MERIT
                                        WEST CHESTER

           I, Keith D. Wilkey, M.D., after being d~a.ly sworn and cau~.~i~ed states as fal~o~,vs:

       1, I dev~rte at leas# ano-halfof my prv~~asiQn~1 tine to the aetive Glitrical practice in my
          field o~F lic~nsz~e, or its instzuctic~n in ter. ~~cr~dited school. I ~m ~n ~orthflpedic
          sur~ec~~ wh~s~ focus is on ~air~~ surgery ax~~ ~reatmen~ ~ffihose with spina issues.

       2. I will su~+pleme~t tk~is affidavit wz~i at~oth~, by a letter ar by ~esCitttozay, ~ias~ upon
          aciy info arian prQVided to xne aifier I execute it.

       3. My curriculum vitae has been previously pz'c~vided to o~aposing cal~nsel in these Dr.
          D~rar~i oases and can be provided again span request. For my ~'eview,I raly upon
          any education, training ~~ad esperienae.

       4. I ha~~ riot counted but I have reviewed, over ~0 or rnflre ca~~s invalvang l~r, Dturani
          and the k~~spita~s where he once had priv~Ieges.

       5, I base my opir~vns in dart oz~ zny revae~v of all the eases I hate reviewed which ha~~e
          xevettled similar oandu~t by Dr, D~arrani and the hos~zta~s where he had privileges.

       ~. T a.m ~'~miliar with ap~lical~le standard ofcare far C~hi~, Kentucky a~~~ this cauntty
          fox an t~rtho~+edicls~ine s~rgeaY7 such as fir. Duz~ani.

       7. I am also f~rniliar with applicable st~dat~c~ ofct~~~, policies,rules and xegulatia~ts,
          medical executive ~ommitte~ bylaws, JCAHD rec~uirenzents, cred~tiaiin~,
          supervising, zeten~ion of meilic~l std', granting ~.nd rejecti~lg privila~es an~1 t ie peer
          x~vview praaess fQr West ~Iiestvr Hnsgital,LLC,also referred to ~s Vest Chester
          Haspxtel or'S~Test Chesfer M+edi~~l Cuter anc~ UC Health.

       8. I have reviewed all relav~.nt Fnedical records i~~a~di€~g ~adir~logy of Dr. I3uirani's
          riaedical t~eazment a£Ronald Rowley axed the rn.ec~ical treatrnerit o~'Ronald Rativley at
          Nest C~iester.

       ~. I have reviewed tie R~spnnse tQ ~uinxnary Tudgment xn tie Breda Shell case and
          all tka~ exhibits attacS~ed tc~ it.

        117. The Gaiter far Advanced ~pi~.e Te~lv~ologiesr 1xzc~ was Dr. l7ux~~ai's prac~ce group
             and lte vas tk~.e soli owner,clir~ctor and offices' of CAST as well ~s an employee.
             CASE`a~ such is also respox~sibl~ for Dr,Dtuxat~i's negligence a~ld for their f~iluze to
             also supez~vise, discipline and retain Dr. Dmra~i.

        11. ~ have also reva~~rrad the nursing surn~rkat~' pxepa~'ed by legal counsel's office for
            It,c~n~ld Rowley. Based Zupan the num.~aer of cases I've zevierv~tl pertai~~g to Dr.
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           Durratti, teal c~ut~.sel's office knows wha# n~afierials T neer~ ~a x~eviet~v Arad provides
           ine those materials. In adt~ition, Prh~le this afCdavit con#ains case specific
           inforrna~ion; it also cflntains inE~rmation relevant to this case artdlor m~.ny andlar
           mast andl~r all the other cases. ~~ is prepared for m~ by ccr~nsel with my directitin
           and approval li~~ aIl off~es~ have been.

       1.2. used upon my revi~~r, the Following are the facts T ~'e1y upoxz:


       A. Rc~n~id Rowley is mo~,v a 4$ ~e~r old tx~~Z~, di~r~xced and Ysas ~ta.sto~.y ofhis 14 yr
          old d~ughC~r. Rc~naxd's vc+~ark career centered arced ~actarr~ work ~Yld berg a
          oot~k wk~ick~ required hin~ to ~ta~id on his feed all day long. He is a recovering
          ~Icnhoiic and was pursuing an Associate's Degree ui Chemical T)ependeilcy at
          Sot~ther~l ~#ate College prior tia surgery, He was si~fEering from lower bac1~ pain
          shooting dou+n his legs(r~~~ ~ciatie mope sa} with Numbness, ~in~ling, left l~nee
          ~~.in ~t.~ i~►cteas~t~ 'urinaly ~r~q~~ncy. Dv~r ~e years to deal with the ~aaz~ Ron
          misused drugs and has bean in i~vt~lved with GAST's Pain Management g~a~p
         (Dr. T~ye1a).

       B. TJpan referral from his P~F,Dr. Jahn Merlin, he soa~~t L7r. Durrani's opinion.
          Ronald stakes "Dr. I7urratu assured hi~n he could fix }aim and iie waul~ have na
          more pain." ~n a ~o#e tv L7r. M~ling {~1~511 ~~ Dr. DuerAni states Ron was also
          having troub~~ wit~i ~noorit~ollerl loss of stonl, dra~~ing things and had been
          through unsuccessfi~l conservative #reafinents for x~any rnon~lis. Ron says this is
          not true reg~ding the ~~oo~, drtrpping thugs sand ~ons~ative treatment. His pain
          ~cc~re pre-ova was SII.D.

       C. Rbn says 1`~r. ~u~ra~ii was highly recommended au~d fie believed what Dr. D~urani
          con~e~ed to hiu~ re~ardin~ the s~ur~~r~~ Rona~.~ atsv states Y1~at pr, Ditna~i n~~er
          told hi~n au~~hi~ng al~o~ut u~in~ any type ~~'aeam+~nt (autr~l~l~agtr~.ft} or actually
          taking the disc out. R~sn has since dis~overecl that the side ef~~cts of
          TI~FU~CBMP ct~ cause cancer later vn in life and now h.e is very ar~ious and
          worried this may p~tentia~e his c~ianaes ofha~penin~g, since c~z~~er runs in his
          family,

       I7, ~ a ~-mori~h (1-13/11 post-ap note to Dr. Merling, Da•. Durrani states Z2.t~~,~~. xs
           doing very well with neg~i~ibl~ pain. fan stated this is got #rixe at all, that hE
           acivally de~velo~ed anxiety a~'id depr~ssi~n over the mantkls ;fa~I€~wing surgery due
           to the ~~r~le<n~ixYg ~►~i~ k~e sndta~ed, He has ~v~n ~peri~ccd panic ~ttaaks and
           k~a~ fr~ue~t tie Efts for bath pain anc~ mez~ta~ health issues, of ~c~vhich he
           ct~~i~inues to be treated,


                                                    2
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       ~. Since his inability tc~ do this type ofwt~~'~C with the incre~.sed fain he has in his
          legs ~.lo~g tivi~l a~~,sety and panic at~a~cks he now ~c.p~riezices, ~e k~as ~'in~ily been
          liven Social Security Disability as of ~,ar~y 2013.

       ~', Aocardin~ to the Rac~ialag~ xeadings it dies not appe~'tc~ have been ne~es~ary at
           the tirn~,

       G. Dr, I3utz~a~ni misinterpreted the pry-operative ~iaguostie. On 2/16f1~ MRI Lumbar
          ~~sine from the Clintam Matna~i~1 I~ospitaP: Impression. IA~-S,51e~e1, f~aere is a
          right paracentral/right s~barkicttlatlri~tt forazninal discprotrus~on pausing mild to
          ~t~d~rate ~i,;~ht ~oraminal na~mowi~g ~nt~ c~.using mild postei7ar displ~Ge~nent of
          the c~esoending right ~~ ~etve tact in t~Z~ xiglrt lat~ra~ recess. (inc~ud~d)

       ~-I. According to L'3r. Du~~ni's note {312SI10} t0 Der, Merling, he states"€fie x-days
            reveeweci that clay sh~r~v Ronald leas I~4-LS degen~rati~va Iisthesis. That the MRZ
            showed a very 1arg~ dish herniation at Y,4-L5 which ~c ~l~tety ablzterating the
            right #`ara~.nina at that le~e~. H~ has a very significant ~entr~l for~inal stenasis at
            that ler~~l, Thy MRT alsa slows a t~assiv+e at~thrapaflzya# tt~e LA~-L~ ~~v~1. Mild
            degenerative ~1~ax~ges at L3-L4 as well.


       X, Tn fhe same nat~,Dr. Durxani's clinical opinion was lumla~u spinal stenosis and
          spondylo~isthe~is c~ T~5~S1, pxagressi~e severe central nettrogenic claudica~ia~,
          b~c~ pain, ra~ic~.ila~ pain i~~ t~~e ~4=~5 distribution,eery sigt7i~ica~t func~ipn
          impaii~nent, ant~t~olisthesis of I.,~-L5, central end lateral rec~sa~d stenosiss L,~-LS
          more pretlorninant on the ~.~t side.


       J, Dr. Durcani rec~mmendec~. stug~y ~~ t1~.e first of~tce visit. Ronald states he did
          not affez any kind ofinjections locks ar ~r~yt~iz~ else a~ that time,just surgery.


       I~. Dr; Llani per~'a~med ane surgery a~ the clien#;
           On 8125f TO ~UFt~ER~ @West Chester Me~iioal Genter
           PROCEDURES: 1~ Lateral Lunbax Int~rbody fusion L4-L5 using Auto~allograft
           2}Placement lateral Interbady C~g~ T~4~L5
           3}l~oste~~or ~~inal Ii~stt~urr~entatian, L4~L5
           4jPasfei7or spinal Fusion using Au#c~/a1log~a~

       T~. The ~nforn~.ed Consent it1 the lvYedi~al Records is Manic as far as F1~e type Qf
           proceclurel~i~z~gery but it was signed by Ronald Rowley and Dr, DurranX an.
           81~ 2110. Al~hougk~ in ~►r. Hust~d ~lR diction ]ae notes a#~er obtaining informal
           consen#, Che patient vvas taken to the ap~rat~~g ~or~m ete., In ~e Intro-op Re~ar~ it
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           is ~'ecaxded during ~i~ ttme-~uf ~erit~d tf~~ staff competes the ttpcomit~g procedtu~e
           with the Infnrmetl Car~ent.(p~g~ 361

       M. The ~n£ormed Consen# (page 367, the only ca~isent in this medical :r~~ord} details
          all t~~ risks, cnnseque~ces, com~lieations and alternatives afthe operative
          procadt~re but does not identify vYk~at procedE~re/proced.~xes the patient has
          ~ons~nted to be perfo~ned acid it is witnessed by apparently Dr. Durrani's
          signature died 8112110.

          PREOPERATIVE & P{)S'~`QFERATNE DIAGN~3~ES: SAME
          Lumbar A~- lumbar S Degerzexative disk disease, Degene~rativ~ Spinal stenosis.

       N. TI~'FLTSEIBNIl'2 was used.

       C}. The fvllo«ink Hardware was im~lan#ed;
                   5cc —foam Bioaot Vitoss
                  1-- ~lydesda~ 72~SOYa ~edt~ro~i~
                  4 —Set Sc~•ew F/G4 ~T H~~ Medt~~inc
                  2 — Rad Pre k3ent M~ S.~X~Ornm T1 Medtronic
                  1-~ ~NI~~S Set Bone Graft Sm 11~edtronic

       ~, OfP Iab~l u~~; ~t vvas an anterinr ~xpflsure with a I~LIF ap~r~acli with cage.

       C~. Suxg~ry was on 8l2S/10 and the Op Report vvAS dicta#ed by Dr. A. D~u~~~ni on
           1111110 {G8 days latter) tt~id r~er~fied by Dr. Thu~a~i ~n 11/12/10(7~ days later},

       R. Them. vas no f~il~d hardware. Tf the client continues to ~e in it~.+~re pain than
          before the surger,~ perhaps that ~anstitutes ~ failt~r~.

       S, The client stags he has no insurance yet and ea~~nQt afford finan~ia~ly to welt
           another opinion aC this time. At ore ot'the ER ~i~~its he was told that it wasn't
           understood why the surgery ores done i~tx filae frs~ place beca~ige it reat~y ~v~s nc~t
           n.ece$sacy a~ the #ime ~acvrding to the MRI of2 1611 f~.

       T. Ronald stakes he is having mQr~ pain now than prior tc~ the su~~~ery. He rates ~iis
          pain score as 7-9l1 d on a daily basis. ~n s~3n~ days his pAin level is up fc~ ~ Q110
          for w~~at~ver the rea~oz~.

       U. Ronald £eels as though Dr. Durrani I~as iir~pacted his lzfe ;g~eatly not only with fhe
          daily pain he his to deal with but the anxiety end panic attacks f1~at continue to
          accii~. He is no longer able to staaxd to perf~i~m the jobs he hurl i~e~z~ ~ccustamed
          to for the first 25 yeah pf his work-life.

                                                   C~
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       V. H~ wants to try to get another surg;~vn's opinzc~n regardiang removal ofthe
          ~M~IINF'US or whit ~ls~ cc~t~lc~ be rune ifanything to allevi~t~ the beak pain a~zd
          Qhe iuinary frequency. His limitations e~urr~ntly are;
          Walking — before surgery he could w~~k 2-3 hours but nat ~~w ~~ is not able to
          walk m€~re than 15 rninu.tes ~t a time and that's with a Dana.
          ~it~ing ~ he was able to pit £or ~-~ hc~~,u~s before c~iangin~ ~asition and nom its
          only 45-6dminiites iu~til hip buttock becarn~s numb with a c~~e~ t~rnbbing aching
          pain. H~ tivas fold by ate ER physician he has Waco severs art~tis in the LuxnEb~t'
          4.5 area.
          Standing ~— he could stand all day, 8 hours at a ~irne ~t work as a cook and the
          factory v~ror~C with aaa problem but now it'a 5 minutes a~xd ~.e hay ~o sit dawn.
          Loring —use to be able to lay on his sta~aaGh aid b~ek busk no~v he is liz~nitad to
          only hYS ~`ig~it or left sides, 4z~ ~.is back h~ atat~s dike there is too much pre~s~u•~.
          Sleeping — he awakens every 2 h~t~.ra tkv~~ughaut the nig}it clue to pain ~~d zeds
          to ch~ga positions. He has even tried his bzac~ which doesn't seem tv help witk~
          fh~ pain either.
          Liming limit is to ~baut IO lbs, tryi~ig to be~~ forward is most dif~tcu~lt.
          Hoi~s~hald ch+~res end cutting ~h~ grass responsibilities hive 6ee~a taken av~'~a~
          Y~is significant other, H~ no ~c~nger drives himself due to the ~lx~abilir~+ stat~.s r~it~
          Soaia~ Se~u~%ty. He ~,a~ zaat xec~zv~d ~ileclicaid as of yet, He is Izznite~. to ~~ie£ gar
          #rips and grooery ~hvpping far Che 4vee~ is out ofthe queatia~i. I~~ rs conee~~ned
          with the panic attacks that ocet~r in rel~tian to the severity Qfthe pain. He has
          gotten,vercy clepxesse~! over t~ii~ in the last couple of yee~~a aid has soug~it and
          continues with treatment. He finds himself worrying ar~d getting axaxic~us avez t~.~
          fact ~haf the BMP could cause caner ion. tl~e £~ture, Rai Mates he ends up in ~e
          ~R about anc~ a month far the gain and panic at#~c~s. His last visit with Dr.
          Durraaai wvas 1113/11, Ron nev~;r returned far his 1 ye~u falloav-up visit.

       13. Based upon my revi~~v, the fnllvwi~ng are my aginivns based upon a reasaz~able
           degree of medical certainty p~~ining t~ the deviakian in star►dard ofcage or
           ~.~g~ig~zzce, xr~fozmed consent, battery and fraud claims against Dr.Durra~i, CAST`,
           West Chester and UC H~al~ly which pir~ximat~ly cau~acl harm to Flaintif~:

           A. Need to h~.ve additional surgery to repair ~zoblet~~ creat+~~ b~ Dr. Durra~i

           B, Im~l~rtt~tx4~ ofFuregen without informed consent

           C, Irnp]az~tation ofBMP-2 wztl~out i~fa~`med consent

           37, Failed l~ard~ware

           E. Failure to obtain p~s~per in~Q~rned consent fox surgery

           ~. ~'t~ilure to prav~de adequate and Yhorough axe-ap~rative and ~o5t~t~perafiive
              patent surgical eduoa~ion

                                                  5
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          Cr. Failure to properly past-ap mani#or the patent

         ~I. Failure try ~ro~er~y peYfarm #'all+aw gyp, pt~st-op gaze

         I. Negligent st~'gical #ec$niques

         1. Failure tq tnai.n~ain accurate and complete surgical r~aords and s~r~ic~l.
            cflnsenfi ~orr~~s

          I~, Failure to di$o~ose irnpartant health infnriziatio~ fo pat~e~t

          L. Failure t~ maintain and compete tl~~rl~arge sumtuuary

         1VI. k'a~ilure fa supervise I~r. ]~urrani

         N. Negligent prey-5uz~gical diagnosis

          O. ~~iZure to prepaxe a ~Cimely oper~€iv~ ~'eport or other medj~Ql recarc~

         P, Billing ~+or seivzces not completed

          Q. Not informsng the patient another surgeon vv~~l be claing all or dart offine
             surgery

          R. Practicing outside Dr. Durrani's scope oftraining, education, experience, end
             ~p~td c~rtificatians

          ~. L~aviation in standaxd ofcare

          T, k'ailure fa perfot~ thaeough and accurate pre-op tiona~g,~cal eva~uatian

          U. ~a~ilt~e by Dr, Durrani to in£vx~n pa~ie~►t of a~lditiai~a7.lel~anged procedure and
             reason

          ~'. Failure by CAST to c~isc~ase ~dditzonaUchang~d pxaaedur~ and ru~nn to
              patient

          W. Failure b~ Dr,Durratii at CAST to prvp~rl~r educate patient x~g~r~ing
             diag~~osis

          Y. Prior ttn.owledge o£possible ccrmpXication and net acting properly upon same

          Y. Failure to ciisclase ~et~inent healkb infor~natian to ~nvthe~ kiearlfih cage ~r~vider

          Z. ~'raudnlent, naglig~nt and reckless pre-a~eratxve ward up
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          AA.       Fraudulent, ne~~~gent and reckl~s~ suxgea-y

          BB.       Inacc~.u-ate, fr~uduae~.t, ~dlor e~~.ggezatioria£diagixoses

          CC.       Failure to properly e~lueate patient re~art~in,~ di~.~;noses

          TEA,          Failure ~o attempt r~on-surgical canser~~tiv~ treatment

          EE,       ~~lur~ to p~~~rm thorau~i and acccuate pr~mo~ nonsurgical evalu~tian

          FF.Failura by Df. Uurra.ni at UCIWest Chester Hasp~t~l to p~rForm accurate end
                complete preoperative teac~in~

          CG. ~ailur~ by Dr. Ihzi~ani at UC/West ~hestel• Hospital to properly et~ucate
            ~at~ent ~~garding rliagnases

          HH,           ~FaiXure by Dr. Durr~ni at U~fVdest Ch~~ter Hospital to maintain
                a~a~u~~xe andlor comptete ~aed~ca~ recaxds

          II,       Failtue o~ i~►fa~~rned consent by Dr. Bur~a•ar~i at UC1West Chester Hospital

          J~. Failure af`TTCI'LVest ~he.~ter Hospital to insure Di~. Dun~ani and CAST had
                obtained pxa~er ir~form~d ccanaent

          Tom.      Failur.~e c►f U~1W~~t Chester Hflspital to obtain prayer
             acl~iawledgernet~t o£coz~sent

          ~L.Failure by Dr. Durrt~ni at U~/Wegt Chestex ~v~pit~l to disclose pertinent
             h~~1th i~for~~tian

          MAGI. Failure by ~CfWest Ch~sfi~er Health tv disclose adclitiat~allc~anged
             prac~dtue end r~as4n tv patient

          1tiT1~.   failure by UClWest Ches~e~ H~a1th to supervise staff

          QtJ.           Failure by UCIW~~t Chester Medical staffto properly docurnet~t
                abnarmalxties and ~'ol~aw ~p care

          PP.Non-approved har~vvare aombina~ians

          4R•Ax, I~u~ani ~r~ade false andmateria~ ~nis~~epresen~atians af~naterial fads
             intended to mislead Ronald Rowley and enne~:aled tn~#ez~al facts he hacl a
             duty to disclose. TJCIWest Chestex ~-Tea~~h end CAST c~neealed material facts
                the had a duty to dzsclvse~ Rc~~.ald ~tov~ley was justified in x~lyin~ an the
                misrepresentation axed did rely prt,~imately causing farm to Ronald Bewley,

                                                    7
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                 Dr. Du~~a~li, CAST, at~.t~ T]C/LVest Chester HeaEth i~tiez~tionally mined Ronald
                 Rawley, Ronald Rc~v~rley had the right t~ correct infazrn.2~tion.

       l~. The testimony, faots anc~ exhibits of Brenda Shell's Res~avnse to iVlotion for
           Summary Tud~nent and Exhibits to same are applicak~le to all the claims against
           Nest Chester Medical Center(WCMC)end ~[_l'G S~ealt~i far all claims,including
           netigent retention and credentialing iaraught 1~y ~`l~inti€f.

       15.       S~set~. upon my r~vi.~~v o~tYi~ deposition teg4imony,the JCAHQ r~giiir~nen~g,
             the l C ~ayla~vs ar~d all the ~forrr~~tian provided tQ m~, T am ahle to adapt the
             follflwing opinions relating to V~1C~C and U'~ ~Tealth p~z~axning to the ctairns
             against them.'5~,~'Cn+I~'s and UC Hea1~'s ~eti~rts ~d inactia~s d~ailed in this
             a~iidavit proximately caused ~i~tt~tn to Pa~,iz~ti£~: ~'C1~C anc~ ~'C Health are batri
             being refereeuced when only WCIv~C is named. I hold the fallotiving opinions
             ~~lativ~ to'trtrCTvr~ and U~ He~lt~ p~t~ainin~ to their e4nduct acting t~~rau~fi their
             ~dmi~iatration and MIlC. The time pei7dd ua~rered is from the dime Dr. Lltura~.i
             sought privileges prior to ~'►1'CYVYC opining in May ~~d9 througri M~,y 2013 when
             he no lo~~~r ~~.c~ privife~;es. In addition to fny opini~zas, Y set forth ~'act~ I rely
             upon.. This inclu+~es al( w~iich T referenced t~~t I re~ie~v~d, Xn a~t~ition to all of
             the ~~ave, I attest io the following:

                                                FACT

             1. A,cct~rt~i~,g to Wes#. Ck~ester's ~ixst Executive dice ~'cesident, Carol King,she
                did not explore t~.e "rtunvrs" abort ]fir, Dunani'~ leaving Children's.

             2. According to Canal Ding, the hnspifi~l tracked problem issues yet ~1~IC3vIC
                have waled to ~aroduce the infarrn~.tic~n under peer r~v~.ew pxvtea#xoz~.

             3. Aocordi~ig to ci~cula~r~g ~nu~~s~, Janet Srr~th, presets mere ch~nget~ in fhe
                 computer to inc~ieate the procedure Dr. Du~ani perfoi~ned afi~er t'he procedure.

             4. Accorc~,ing to Janet Smith, despite nc~ one at West Chester never working with
                Dr, l~~rxrani i~efare,~CMC never checked him aui.

             5. According t~ former University Hvs~ztal president(a UC Health ~i~spital),
                Arian Gib~e~', hospitals face ~i~aazacia~ a~.a1~~~~e~.

             b. According to risk manager, Da~vrd Schw~ilie, ristc mars~gement ~cr~sw Durrani
                 ~7,af~ aSSA05.


             7, A~cnrding to r~t~ioIcrgist, Thomas Brown,there W~r~ Surg~b~S qu~StiOnin~
                ~lut~•a~u's c~~ci~ions to ~e~~foem surgery.

             $, According to me~ieal staff director, Pau1~ Hawk,a policy called "stop the
                lying" was irnpl~mented the see year and xnantb they kicked out Dr.
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              Uurrani. Tk~is infers a poor environment of honesty aid disclgsure before this
              poXi~y.

          ~. t•Laco~di:n~ to Paula Hawl~ and as t~-ie diar~cta~• of medial staff, money is not
             supposed to trump patient safety,

          10. According to Paula hawk, she ad~'nitis peen re~rievtr is far hospitals to protect
              each other.

          11. Accoz~iing to ~'aula Hawk,she a~1lnits hospitals ~r~ interested in voliui~~,
              something Dr. Dt~rarti prc~vi,ded far ~GMC and UC Health.

          ~2.,According t4 IU~ik~ 3e~f~s~, the director of ~in~nc~,they ~r~ck~d Dr. Dl7TT~ri1'S
             financial r~umb~rS.

          13. Accar~ling to Mike Jef~~rs, he a~~nits fir, Durrani h~~~ec~ them in their t~rne of
              need.

          1 ~. According t~ 1VIike ~ef#'ers, Dr. De~rrani was t11~ highest money generator.

          ~ 5, According to llnike Jeffers, he knew Dr, Durrani had more than one surgical
             suite assigned,at once.

          16, ~,.ccording to Mike ~et'fei~, bonuses w~ze paid to him aid achers based ~~~on
             ~in~rices.

          X'~. According to Z3r, Petex Stun,he ~Crrav~ X3r. Durrr~i w~B only "satisfactory,,'
               not ~ ~vo#~1t~ alas sgine stu~eon as ~U'est Chester adv~z-~3sed,

          1~. I~r. Steen doesn't deny admitting ~..TC Health looked i;~ie other way on Durrt~ni
              because afmaney.

          19. Accp~di~g to eredentia~ing manager; Anri Shelly, there was plenty of"~u~alie
              kn~wler~ge" about Dr. Durrani ~o a}~eck before crede~tialing.

          2~,,A,ccoxding to Axua ~h~11~, West C~iester relied an the NPDB t~r~y Jax~vs+ was
             pra~ected b~ ht~spitals.

          21. Dr. F~ric Schneeberger,fix, Aux~rani's partnex, was a~ tk~e MEC at WCMC,

          ~2. According to ~a~c Sc~u~.eel~erger, West Chester knew about Dut~~ani
              scheduling surgeries lc►ng it~ta the day end night.

          ~~. A.ccort~ing tv f~rmez`z~ur~~g m~n~ger,~lain~ Kunko, WCM~ kxaew about l~r.
              Durrani not completing racards.



                                                ~]
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          Z4. AcGOxding to Elaine T~unko, WCMC knew Dr, D~urani wr~uld claim surgeries
              wire ezn~r~ency ~vhen they were nat,

          25. According to Elaine Kunko, ~?[TCMC ~riaw there ~uas an issue with Dr.
              Dulu7~ani not bei~ag in the raotrx dv~n~ suxg~zy tin "his" patient.

          26. Accor~ia~g to El~in~ I~ur~s,~, even tie OR nuxs~s l~new V~CMC put up with
              ~►r. Durrsni for many.

          27. Aocording to Elaine ~1u~lccr, Vt1CIvIC tx°acked Dl°. Duxr~uni's financial numbers.

          ~3. Acaordi~g to p~:tx~pera~xve dir~ctar, Lisa ~a~ris, V~~GIVIC knew Durrani's
              office is suppos~t3 ~ get afl~zsents so ~V'C1UZC had an ab~igation to ~nalce sine
              t~1ey dick.

          ~~. Aecor~rng to J~11 Stegmat7, the risk manager a~ West Chester, she knew
              Durr~iu had "issues.,,

          34. ~rll ~t~grt~~n a~~n~~s ~~zxy Goad~an's ovmplaints,

          31. According ~o ~a~f~y Trays, V~CMG ~i~w hvw I~r. Duxrar~i used BMP-2 anti
              ~ureGen.

          32. Dr. Tim Kremchel~, the Chief ofthe t]x~h.opeclia de~~rtrn~r~t, £ailed to do his
             job und~x t~.e MEC bylaws ~s it ~~la~ed tc~ tl~e supe~~visian and ~~e~i~w nfDx,
              Du~rani,

          33. A~corciing t~ Dr. Tim I~re~rtcheki he knevyT Dr. Tani ~v~s "sla}~py."

          34, I~evin Joseph, the CEO of WCN~C,claims to know nofl~il3g about surgery
              o~ae~atrans in his ~.ospita~.

          35. Ke~~in Jase~f~, the CECI,claims ~ ~~asp~t~t mint proteot patients from
              utar~.ec~sSary firm "as much as they can.,,

          3~. I~evin Joseph, the CEO,claims WCMC floe~n't h~v~ oversight of surg~oz~s
              doing what Plaintiff claims Dutxa~ii ~~as doi~ig. (Despite w~7at h~~ 1~ylavvs
              s~at~.}
          37. Kevi~i Joseph, the ~Ef?, denies t~h~ ~ayspita] has any responsibility i£Dr,
              Duz~r~ai did an unnecessary surgery.

          ~$, Ke~rin Joseph, the CED,despite his fn~nc~ affiae tracking it, detues any
              knaw~edge o£BNlP-2 use.




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          3}. Kevin Jc►se~ih, the CEC~, de~iie~ kno5uing ~~aout any complaints ~bc~ut Dr,
              Dlu-~ani,

          40. Kevin Joseph, the CEO,aclrnFts they benefitet€ ~in.an~ially fr~~n. Ar, Ditrrar~i,
              inch~ding his c~svn pay.

          41. Mare ~rotn$a, tote OR, manager, admits B1VI1'-~ use as used ~6y Dr. Dutrani.

          42. Accorcling to JeffL~rapalik, the ~eniar Lead~r~hip team,including Joseph, met
              w~ek~~y aid re~ie4ued numbers.

          4~. According to Jeffl~rap~tlik, the C~'C1 a~ ~~N~~ l~ew Dr. T]urr~t~i ~u~as a l~i~h
              vol~tne mai~~y malc~r.

          44. Lesley Gilla~rtson, ~ menll~er ofthe MEC d~ ~1~MG,and anesthesiologist
              wo~`king vaith Durrani, h~,d ~ cope   abut know 1c~ng T~urrani kept patients
              ~tat~d~r.

          ~5. According tc~ matei7a.ls manager,I]ermis Robh,WCMC knew the valurnes of
             BMP-2 being used.

          4~. According to ~are~ GhafFari, ln1CMC knew tie dart doeumer}tation ofDr.
              T~uz-r~.ni was taot in cv~nplia~ace v~ith their bylaws.

          47. Patrick Baker, nursing ~F at VICMC at~rnits ~TGM~ f~~acked the financial
              ~ei~formance ofDr. Thanani.

          48. Ar,.~ording to nurse, Vicki ~~att, t~►~ ad~aaznistrat~~n v:f ~GM~ knew from t1~~
              qutset of~~st Ck~~ter ~Il fh~ geriaus i~suea pertaining t~ I]r. I7urrairt.

          4~. A~cct~ding ~o Vicki 5c~tt, t~l'est Chester's risk manager began to xgno~e
              complsin#s from Ms. SGatt.

          S0. According to Vicki ~ca~t, staff was scared to spe~Tc out.

          51. Aecorc3itig to 1~icki Sett, patients didn°t know u+ha did tote s~'geries—S~ia~nti
              or Du~ani,

          52. According to Vicl~i Scott, records were not accurate rho eras in the O]Z, at
              what t~zne.

          53. A~carding to Vicki Scott, ~veiyone at SIVCMC knew it v,~fts aT~out mnney.

          S4. Aacozding to Vie~ci Scott, WCM~ knew about Dr. Du~rani's and West
              Chester's illegal use ofPureC~en,



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          5S. According to Vicki Scott, Dr. Durrani was a beh~viarproblem.

          55, According to patient representative, Elizabeth Dean, ~VCN.~G t~°ac~Ced Dr.
              Dux'x'~ni's valumes ~rQm the au#set a~ic~ the CFO Iave~l what he yaw.

          57, Accnr~.i~g to ElizabeYl~ D~~n,'~'CMC ~aew Dr. I~urrani haci issues at
              ChildxerL's.

          S8. Accarcling to Elizabeth Qean,WCMC lrnew I}~'. I~t~rtani eras perfa~l~i~1g
             unnecessary piacedures by valu~nes anc~ repeats.

          59. Accardintg to nurse, Scott Rirn~x, WCMC knew Tar. Durr~ni ~~&ited u~.til afte~t`
              sultgeries to document what procedures were ~lantxed~

          60. A.ccardi~~ to ~catt Rimer, ~at~~rtts at VdCMC haci procedures ~iey dicl n,ot
              consent ~c~ ~n~ ~~M~ knew it.

          6T. Accazciing to Scott Rimer,stei~le fields were nit protected,

           62. Accardi~g to Scr~it Rimer,'S~G`MC irnew Pux~Gen v+~~s being used by Dr.
              ]~urrani ~,~d a1l~wed it.

           63, Ac~ozding to Tlio~na~ Slanlc, FureGen wag an alternative to PMP~2, which
               VdCMC tur~ied to based upas~ insuran~ca denies ofBMP-2. Tn addition, Dr.
               Tharrani operated ate unethical PDD ofAlphatech cal~e~i Evolution h~fedical t~
               sell PureGen to ~~~t ~h~stez'.

           64. Acc~rdin~ to Gerry Goodman, V4tCMC tracked B~IZP-2 use by Dr. Durrani;
               patients did ntit know ~v~o at dames performed theix surgery Dx. Sk~ant~ ar Dr,
               Durrani; electronic records had ~a b~ ~~an~eel after Dx,]~v,~'rani's surgery; Qr.
               Durrani and 't~irCZVIC nevex'obtained inforrr7.et~ consents; Tar. D ~ani's volume
               was a vvaz~i~g sign of a~erutiri~ation. Gerry Gt~fldman re}~arted all these
               ~vncez~ td VJCMC and here was na act~~n, C~u~y Gaotlman was toZcl ~~ti
               concluded that ~G1VZC did not want to da a~ythir~~ a~put Dr, LlutYani because
               ofi zx~aney rewa~'ds.

                                       ADDYTIa11TAL (7PI~~(~~1'S

           65. T#~e Centex a£.Advat~ce~l Spine Teehncrlogies OAST)ne~iigeritly ~npervised
               a~n.d retained Dx. Dur~ani, including by allowing I~r. Durra~% to perform
               t~t~rtLece~sary procedures and sur~rie~; ~.se BMP~2 andlar P~ueG~ without
               appropriate consent; failing to disclose Dr•. ~l t~ an~i ethers involvement i~~
               surgery, i~r►propez' bi1~~~,~; eh~nging the pre-off and past-~ ~ecorc~s to coincide
               when the a~r~;~r~ vvas not ~ha surgery disclosed; and all ether conduct detailed
               i.r~ the documents I reviewed.



                                                  I2
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          ~6, WCMC,tTC I~ealth and CA,ST's motive £or theft' ao~ions and inactx~o~.~
              ~avvard~ ~}r. Durrani was fin~n~cial gain.

          67. Z'k~e MEC,attrr~inistratifln anc~ Boards o~'VIrC1V~~ end U'~ Health wiled td
             "govern the ~£fa~r~ p~th~Medieal S~afF.,,

          68.T`he IVIEC, administ~~ati~z~ ~n,d'B- yards ~fWCMC and UG Health failed to
             enforce their rues L~pt~~ Dr, Durxa~x as they weze ret~ui~e~ to do.

          b~. T7~~ MSC, adm~nistratian and F.~aa~ds of~V~NtC and VC H~a~t1~ failed ~Q
              provide oversight of~~. Duz~atii as they were ret3,uired to do.

          70. The MEC,ad7ninist~~ali4n ~nc~ }3~ards af'WCMC ~z►d CTC T~~a1th failed to
              proper~~ evaluate Dr, Uurrani.

          71. The arthapedic and Surgery I}epartsnenta abdic~t~~ t~.eir responsibility ender
              the MEN bylaws to review, inuest~gat~ and supezvise I]r. i7urran~.

          72. The MEC,a~drninis~r~tion and Bvaxds o~ ~CN~C and U~ H~a3t1~ filed tt~
              properly dis~ip~~n~ lDr, D~urran~ including ~umr~ary s~xspetasaons and
             r~vac~tio~n,

          73. Tie MEN,ad~ainis~ia~ion a~~ci Bflards ofWCMC and UC Health failed to
              ~argpex~ly dis~i~lin~ under t1-ie 1Vr~~ ~ylarus as it laer~ains to Dr. Durrani.

          7~. The MEC,adminis€ratian and Boards ofW~h~IC and ~.1~ Heal~.z ignored the
              in£aataan ~'eadily available pertaining to Dr. I~uaxani ~~fare ~red~nti~i~~g
              and gran#ing hi7n privileges.

          75. The 1VIEC, adminisEration and Bv~rds o#'~C~C grid UC I~ea11~ failed tv apt
              an Dr. Durrani's ~~sxaptive be~ia~viar, un~rofessio~al behavior and clinical
              performance placing Plaintiff at rzsk.

          'lC.'Cfie MEC,administration and hoards of'WCMC ~tid L1G Health certified and
               approved the unnecessary procedu~•es of i~r. Durrani can Plaintiff knowing they
               wire unnecessary ar~~ kn~~vingly allowing the im~ropec lase of BMP-2 andlar
              ~'uxeG~n ~uic1 knowing th~r~e was not proper informed eons~nt,

          77. The IvIEC, administxat~on anti Boards o£VJCI►,~1C acid UC Health failed to act
              ~n Dr, L?urrani's failure in medz~a~ r~card doclamen#atioz~,

          78. The MEN,adrninis~rat~o~ ~,z~d Bt~sr~.s of VVCMC and UC Health filed to
              rewire Dr. I3urrat7i ~n follow tote tales for of~lat~el e~p~r~~~.tal p~ocecl~~res.

          ?9. The MEC,~cltninist~~ation and Boaxds of WCIVIC and TJC H~~,lth allowed Dr.
              Durrani to tts~ iu~disclased and unqu~~i~ied sltxgeons to per~t~zrn his surgeries

                                                 l3
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              i~cludang Dx,,Sh~ti.

          8a. The MEC,acl~ninisi~atian and Boards of1~~CMC and UC Health a~rawed Dr.
              J~urrani to da multiple stn~geries at o~~ce.

          81. zTi~CMC and UC Health have reused to provide as privileged the peep• re~tiew
              inForma#ian from VV~MC fvr T2~. Du~ra~►i tQ ei.ther me ax their own expert.
              Thare~'crre, we have na lcraovvl~dg~ ofvcrh~t action., if any, was talon against
              him. ~'lowevex,lased upon. tie £'acts here, it is olaviaus #.fey ~ax~ed to take
              action.

          $2. used upon all of the ~b~v~e, it's ray opinion tha# ~CM~ and TJC I~ealth v~~re
              negligent in theiz cx~denti~lin~, su~~rvESir~,~, disciplini~i~ and retaining Dr,
              Durrani on staff and a~~owing him to obtain and keep privileges at WCMC
              u~tder the standards offlhi,t~ as de#ailed in tine Brenda Shell's R.esp~onse to
             lUlvTion £ar Sur~rnary dudgtnent ~.nd this proximately caused harm to FIaint~ff

          83. Ths facts suppar~ Ronald k4wley'S C~c~1377~ ~OP X1~$I1~~I1C~y battery, lack of
              consent anc~ gaud.

          ~4. As a r~s~aYt of the neglig~ice mid aanduct of Df.IIurr~nx, CAST,West ~he~t~r
              and UC Health, Ronald ~toz~rley su~'ered damages proxiin~tely ca~s~d lay
              them,ix~cTuding the following:

             A, Perma~.ent disability
             B. Physical deformity anc~ s~a~s
             C. Past, Cu€rent and future Physical and Mental Pain and Stiffe~~itag
             I}. Last income past, present and f€it~re
             L, L~~s ~fe~ij~~m~ent oflife
              F. Fast medical exp~z~~~s
              G. ~ut~ue medical ~xpens~~ ap~ara~ximately in the atx~.Q~uat of$50,404 t~
                 $20,000 d~p~nding a~ col~rse of tr~~.t~n~t
             ~T, Aggr~.vatio~ a~'a pie-existing cax~ditian
             I. Decreased ability to earn income
             J. 3°lo increased risk of cancer and fear of cancer i~BMF~-2 was r~secl,

    A~'FIANT SAYETH RURTHER 1VOT



                                                 ~TTH I],         KEG,M.D.


                                                 l~'OTAR'~'



                                                14
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      SCIBSCRIBEDy S~C~RN TO Ah7D AC~.NQWLED~EI~ ~efc~re m~~ a ZVatary Public, by

      r~~xtk~ U, Wilkey, M.D. an ~iis     day o           ,



                                                  NC~"C       Y PUBLIC

          a~a~E~a Fai~serr                                       SCaunty
       Nolary public ~ Notary Saak                '
            State of Niissflurl
   Grn~mfssinned fat St. ~harEes Co~r~r
  MyComzn~ssionExplres:Juiy iB,24i~               Sta~ea€          ~',.Ye
     CQmmisslon I~urn~er:11138513




                                             15
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                                           BILL SPILVVY
                                      ,A~FIDAV[T Q~' MERiT
                                         WEST ~H~STER

          ~, Keith I}, VVilke~, M.l~., after being duly sworn and cau~ivn~d stakes as £allows:

       ~. I de`vQte at least ore-half'of my prof~s~iona~ time to t~.~ active clinical ~r~ctice in any
          Meld oflicensure, ar its ins~z'ua~ion in an.aocx~d~ted school. Zany. an ortltc~pedic
           sur~ec~n whose focus is on spine ~~ge~~~ ~.nd tre~tme~rt of tho~~e with spine issues.

       2. I ~vil~ su~plerr~ent this affidavit vvit.~ another, by a lsit~t a~- ley te~tiri~ony, based upon
          any infa7mation ~~ovided to rrae after I execute i~.

       3. My ~urrict~lurr~ vitae has been pre~ior.~sly ~r~n~ided to ap~c~siva~ catui~el ui these Dr.
          Durrax~i cases and can be prc~videcl ag€~in upon request. for any ~e~iew,I rely upon
          my educat~an, tzaining and experience.

       4. I have ~nvt counted but 11~ave reviewed,over 50 ar rr~~x~ uses involving Dr.1Ji~+~'~ni
          at~:d the hospitals where he onr~e had privi~egas.

       S, I bye my opinions in fait. on m~ re~ie~v ofall die cases T have ~~vi~w~ which have
          xe~ealed similar canc~~.at by I7r. I3urraani and the hospitals where ~e ~a.d ~z7v~l~e~es.

       6. ~ am ~'atni~i~r r~zt~i ~~~~xoab~e stan~xd of Dare for Dl~ia,I~entucky ar~d the ~ou~try
          fox an csrthopecliclspine si~rg~nn such as Dr. Durrax~i,                 -

        7. I am also familiax with applicable standard o~ Gax~, polic~esf rules and regulations,
           medical executz~ve coixu~itt~e bylawa, JCA~(~ ~'~r~~~1~.~fisr ~Cede~ttialit~g,
           supervising, retention of m~dacal s~a~f, gi'an~.ng an;d rejecting pY-ivile~es and the peer
           revaew process for'West C~est~r Hospital, LLC, also ~efe~d f~ as West Chester
           H~s~ital ox West Chester NTeclical, Center and C7C Health.

        8. ~ h~v~ re~vie~v~d all relevant m~lic~l reco~•ds including t~dialo ofDx, Durcaa~i's
           medic~.l treatx~ent of Gill Spivy and the medical treatment of~i11 Spiry at `J4Test
           Ch~steY~.

        9. I ~a~e reviewed t~.e Tt~spons~ to Sutrunary Judgment in the Brenda ~h~~l case a~ad
           211 the ezchibit~ ~~tac~ied tee it.

        10. The Center for Advanced spine Tech~aQla~Xes, Tnc. was Dr, Durrarzi's practice group
            ~d tae was the sole owner, darectar and o~"icer of CAST as ~ve~l as an e~np~oyee.
            CAST as such is also responsible far Dr. Durrani'~ negligence and fog t~iei~r failure to
            also su~ervxse, dis~ip~ine and ratan.Ax, ~7urrani.

        11. I h~~ve Elsa reviewed t1~e z~u~~si~~g surnmar~ ~r~~saeed ~~'legal caut~sel's af£ic~ for dill
            Spi~+y. Based upon the number 0~'cas~5 I've reviewed pertaining to ~z'. Dt~'rani,
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          legal counsel's once knaves what materials I need to rev~aw ~.nd provides me those
          materials. Tn addition, while this aff~idauit contains case specific inf'ozmation; it also
          aont~ins inf'ormaizon relevax~t to this easeand/or many az~dlnr mast atid/o~' ~1I t~.e
                                                                                            l life all
          ~thex uses. ~t is prep~t~ed fior me by counsel tivitl~ my direction ax~.d appzova
          o~these have been.

       12. Based upon my review,the following are t ie facts T rely upt~n:


       A. Billy S~i~y ~cuas a 51 year old ma.~e ti~vhen Dx. Durx~ni did the first a£tlu•ee
          suxgerxes, ~e is now a divnT~~d and di~a~bled 58 yeas olc3. Billy says Yt~ was aza
          ~tl~Ie~e wlaet~ in hid sch~oi and had aiw~ys kept kv~.self in Fairly ~aod c4nditian..
          ~Ie Mates h~ use tQ run a lot on a daily basis and would tn.~n ~ve~•ytyvhere ~ the
           town.he use to l~~ve in.

           dilly has a medical histaxy of ~y~er~ensian, Hyp~z~xpic~emia, ~arona3cyy A.z~ery
           Disease, CHF, Gout,~ypathyro~di~m, Anxiety and $ipalar Disarde~. Surgically
           he has had r~perati+o~s an his hands, right ~'ov~, heart and neck.
                                                                                           his
       C. Billy use to manage a rest~.urant u~i,th his wife for se~er~,l ears had to be an
          Feet all day lan.g which at the time way z~at a p~'obl~m. Tie fell o£fof atwo-story
          roof, back in 19 1 and had lumbar surgery at that time at V~r►derbilt. He did
          ~xne fog a.Uaut 15 years then the ~t~wer back p~.in refux~ed alan~ with right ieg paid
          and right testicle pail. That's when he saw fix. Durrat~i fnr an apizaion. dilly's
          pain scare 8-9110 ~t t~i~ tx~tte.

                                                                                            and
        D. Billy states Ar. Durr~i m~.de the decision to operate ~t the first ofFice visit
           before ~e h~.d even g~tfien the first MAI. It was~.'t until after t~.~ surgery wkxen
                                                                                               die
           Billy s~.w the x-ray ~Irns that he reaiiaec~ wk~at l~ was feeling iii his back was
           laardwat'e that had ia~s~ put in place, Billy adanrjantly states br.  T~urrani did not
           explain ~o him about any ~fthat hardware ire-operatively.(#~ ~urgexy - 2~91~7)

                                                                                         wa#h hia
        L. F~/16~07 in axe office note, Dr. IJ~arxani Mated that Hilly vas pretty h~ApY
                                                                                        l~v;rer
           progress and Billy states that I~as sever been true, Eilly con~i~ued rrvith
                                                                                      ~onti~u  ed to
           back ~d right deg pain and wi~~ t ae pain. medication that I~r. Durranx
                                                                                                ng
           ~arescribe far him fir t~w~ years. When h~ would questia~ Dr. Ihuraazi regardi
                                                                                              Ri~l~
           tie ca~atant lower back fain and now neap pain also, Lax. Durrani would t~~~
           tie only thing that will help is mare ~urgez~y.

                                                                                       a~ signifieat3t
         F. 8131!07 in an a£fice note, Dr. T~urrani stated Billy was complaining
            neck pa~r~, left acrn ~~eakness, le£~ anrn nuxri~ness anc~ the rx~ht lei is doing numb
            as w~1X. Apparently #hers waa a ~aer~od of time lapse b~caus~ tlae nest affica note

                                                      ~a
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           is 11201D9 and again i~. ~n mice Hate Dr. ~]urrani states Billy leas severe cerviG~l
           stenosis with intense symptoms, Dr, Durrani vitas so amphati~ about rr~o~'~e
           surgery lae fiold Billy ~e would stop prescrik~xng his pain medications unless he
           ~giree~.to z~t~~e surgery. Sa Billy agreed to the cervical stugery(#2 surgery-
           3127f~9} See di~,g~sastic Elms ~f312?f~~ baln~v.

        G. Dr. ID«izx~ni had told Billy it would be abauf a ~-5" inczsian in his neck ~n~ if
           turned out toy lie abaut 10".


        H. A.t tha ti~z~e Billy states he didn't enders#and hr~~v neck slugery was goir~.g to halp
           his lowe~~ bacl~ pai n and wYte~a c~uestit~ning never really ~a~ an a~a$wer from I~r.
           J~u~rrani or the o~`ice sta££', Hl~~~ S~.yS if ~7~ O~fdCO 3~~ tl]]Si+i'~t"~C~{ Ally 0£ 115
           gciestions r~gardzng him~el£, the next time he viszt~d the of~iee that persQr~ rTvas na
            longer there.


            Bxl~~ had to ~.a~v~ Cardiac Glear~n.ce and the Ca~'dialogist, Dr. ~ta~hu wat~ld not
            a11o~ fQx the blood thitu~,in~ rnedx~a~ionto be stopped. (fir. R.agh.~. hid bean
            treating Billy for his CTS a~.d had placed c.~rr~iac stints prior to tie ~t~gexy,~ Dr.
            Dt~rrani a~su~-ed Bzlly by Hat stopping the blood thinners v~,~ould be nay problem.
            'W~11 ~h~t v,~asn't firu~. because Billy did hive an episode of e~c~ssi~e bleeding
            post~o~erati~~ly resulting in rec~~ving a tii~it of blood and incr~easiiag ~e hospital
            st~.y ~y 5 days. Apparently one a~'the nurses infoxm~t~ Billy t~Zat h~ had a
             TT    Bart attack du~in~ bow #1 and #2 surg~xies that he had nod beep. aware of
            He said wh~z~ he questioned persaz~n~l at Christ n4 one would dive a straag,~t
             atisysrer,


         J, Billy's pain continued i~ kiis lowex back. and down his xight Ieg so he retuxned to
            Dr. ~uz`~ani a~ai~, Billy had to gv Uac~ to U~. Durranx because once othex
            physicians ~aun.d that he h~.d surgexY p~eviausly by T~urxani they re£~sed to get
            i~uolvad. Sa I~. Du~'ani had informed Billy tk~at he was wall on his vttay of beFng
            totally disabled it` h~ dic~'t have more neck surgery which carne about,(#3
            suxgely - 911?/14~ R.nother com~licati~n ensued following that surety which
            4vas MRSA. It took ~-3 months for that infection t~ clear up according t~ Billy.
            fee ~ez'victal ~iiagt~ostic report dated 612511 Q below.


         I~,, ~'dllowi~g this #3 sur~ez~y Billy had to ga to see Dr. Tay~b for I2 epidural steroid
              injections to txy to ~~lp easy ~s pai.n. Billy stated on nsany occasions Dr. Tayeb
              vvas~'~ evan.ably to inject into the correct spaces dl~e to the am~aunt ~#'J~.a~'ciw~r~ in
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                                                                                         #o go
           place. Dr, Tayeb fold Bi11y he had the Iimit of itijectians and he would lave
           his PCP, Dr. Sabir Quraishi,to get his pain medications frflrra then Qn.


                                                                                             e and
       L, ~i~ly says comments made to hires by persaxv~~i trade ~u~a feed uncomfor#abl
          ~e wondex~d about the competency of Dr.17uz~ani, i.e. Radi4l~gy staff
                                                                                              a
          commenting they knew wlao did his sluge~y acting lxl~e i~ was a funny tkiing;
                                                                                           a
          nurse, Rosa, wlao had ~aeen a cardiQlo~y nurse, stated to Billy, he was just
                                                                                                 all
          guinea pig so-ta-speak, a~.d a~~.ot~.e~~ nurse frorz~ Dr, Taye1~'s offca tellir~ Billy
                                                                                               #a
          #hey were dt~Xn~ was killing him. ~3ally'a faith and trust ire I.~z'. DtXrr i ~egat~
           weaken from chat ~inze,

                                                                                                   right leg pain,
       M. ~ A1I6110 in an office rate, Dx, Durrani s#ated Billy vas raw h&ping
                                                                                                g.       ]aad.
          pain shooting d~vUn tine right leg along with numbness and tinglin $illy
                                                                                                           first
          been complaining a~~ut this right leg pain and right ~e~ticle since since the
          o~fi~e visi# orz 11f9~05. Dr. I3urrazai's i~n.pression of that visit was.
                                                                                            ~SI3 L~—LA~, L4~~5
       •          S "~~}ll1t~~ ~1:~I],~JX13: SS$0~]H~P~ W1~7.~.itt'x'i~~X' S~}QX1~1~}Ii5#}7
            LLtI31~}c'~
            SfF prior lumbar interb~dy fission at L2-L3 aid T~5~S1
       *    Pxc~gres~ive and severe symptam~ Qfneurogenic clauc~icati~n
            Bask pain with r~dicula,r pain ~n #h~ ~~-L,4 end the L,4-LS distxibutiQ~n
       +    Very significant functional irnpairrnent
       •    A~aterolisthesis a~L3 an L4 and L~ on LS
       •    Ad,~acent Ievel de~eneratiaz~ L~-L4,~~#-L~
       •    Severe cent~~.1 stenasis ~,4-L5 aa~d moderate central stenosis L3-L4
       •     Severe foraniiz~al ~ter~vsrs bilaterally at I.~-L~y rnodaxate at Z3-L4
       *    FailLUe of cansexvat~ve ~e~trn~nt fdr over zna~y years,

        1'~. 2128111 dilly appaxen#ly had a cardiac arrest i~ediat~ly folla~ing a cardiac
             stmt placement and ~ua~ resuscitated b~ cardial4gist, I7r. ~aghu.

                                                                                              Billy
        ~. 10(21I2 ~n a 1e~tex tra J~il~y's P~F,Dr. Sabix Q~r~iskai, Iar. Durxa.~ti's ~tateci
                                                                                      him without
           dad. returned with ~ngairzg right leg pair along with it giving rout an
                                                                          flexi~r~ and  exf~nsian
           ~a~~ning c~usi~g him to f~11,1-2~lweek. Billy's £ozw~ard
           both were painft~. Dr. Aurrani reminded Ili ~nr~isla~ that Billy had failed cardiac
           clearance wh~r~ ~a pre~+id~~ly had Billy seh~duled for lu~n~s~ surgery, His plan.
                                                                                fnr` ~ gl1T~,1~0I
            vas ~a reheat a Iuml~a~r MST and have Si.~ly xetut~t to the ogee
           decision. ''his #4 surgery was never dare.




                                                           4
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       ~. B~~ly ~.ad f~e~n cc~m~alaini~g ~a his PCP that he chokes easily ~r~~ has ~.rf~ia~ity
          swallowing and cieai~~~g his throat. L)r. ~uraishi ordered a CT of the Neck.
          Billy was told by a Dr. Susan.that the way he holds his head a~zd neck from the
          neck surgery is crunching leis 'Thyroid. He states he is able to palpate this ~r~vhich
          then makes hin~ nauseated.


       Q, 2112113 CT ofthe ~l'eck ~vith ZV Contrast
          Impressio~a: '~ mild da~sal protrusion flf the right Io~e of the Thyroid, othet-wisa
          u~vrerriar~able appeara~ace o~ the ~tlxyr4id, * Mi1d e~~largement off'an upper jugular
          lymph node cif each side.
       • Moderate cii£fuse mural t~iekening ofthe upper esophagus m.a~ indicate
          esophagitis or se~er~ refluY. This shoo}d be e~r~luatec~ further as clinically
          waxiraiated.
       * C~thex ~~a~xz~gs i~,cluding enlaxgernenfi of the ascending At~t~~ and bony findings.

    Bxll~r's last'visit to Dr, Du~~rani was on 3/2[113.

       R, Questionable if~li~ cor~•ect pxacedur~ vas dons ~'or #1 surgery. Na office note
          regarding Dx. D~.trrani's decision as tQ u+hy this surg~zy was done at this i~Fne.

        S. Dr. Durrani;s zr~is~nter~aretatic~~ ~ffhe ~~e-operative diagnostic:
           #Z Surgery - 11f9105 Scoliosis Survey dan~ @University Pointe
           Impression: ~,i~nited ~xanrain~tlo~a. V~t~y mild scalitotic curvature at the
           ~liQracolurnbar jtu~ctio~a.
           Multilevel dege~aerative discQgenic changes. ~uspect~c~ t~ansitianal segment at
           the lumbasa~ral ~unc~ion,considerec151 fiar tlae pt~rp~~e cifthis ~xarninatian.
           {az~a~i~ded}

            #1 ~ Surgery - 411 /07 Lumbosa~ral Sine ~ AC~&I7L5 CDllll~ HQ$pl'~~
            Findings; it is stated there has been w.ul~teral ~ost~eiax fusifln ~t L2-L3 ~wit~ right-
            sided pediCl.e s~rev~s and ~. vertical bar, h~dwa~'e intact. Tl~~re is es~mm~trie Loss
            of disc sp~c~ height ~,t L2-L3 gr~~t~r c~~ t1a~ Ieft, resulting in degenerative
            scolic~sis. At T.,~-S1 disc space ~~s iaeen ~reserv~d and no subl~xa~icsn. ~includ~d]

            #1 Surgery -4I2~1Y~ Lurnbosaccal Spine series Q'I'~e ChrxstHaspital
            Impression:4 Iu~nbar type vertebral bodies,status poi# ~oste~~ior Fusion L1- ~~,
                         Prior ar~teriar and posterior at L4-~1.
            The Informed Co~~s~nt does rnentian Ll-L2 or L4.
            Thy In£ar~nned Co~~sent vas signed fox L2-L3 and L5-S1 p~rcutaneous
            bcaz~sfoxaminaJ. ltunbar aza~e~~at~~y ~axt~~. ~crx #~ surgery,

            #2 Su~•ger~+ -~ 8123107 ~ Cervzc~l S~rin~ IVIR~ without Contx~st
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           Itnpre~sion: Fast-fiYS~an ohanges with diffuse posterior ~ufging of the fused
           verte~ra~ bodies and mild narrowing ofthe canal ~f f7~is ~sv~~, Qtkzet' area a£ t~isc
           pratz~usion w~t~ areas of canal narrowing and tr5ild cord 'Volume loss. (included)

           ##~ ~urgeiy --- ~To other Radiology Reports a~v~.~~aiale fr~~ 8/ 3/07 to the day aP
           stugery on 3/Z7109.
           .Page l ~ is musing, but the Diag C-Spine 2-3 Views dated ~I271Q9 ~?a Christ
           H~s~ital
           Impression: Prier anteritar fusion at CS~C7, Mild anterior tinny spurring at ~3-C4,
           e~a.oderate anterior bony spurring at C4-GS and reversal of normal cervical
           1pTt~051S.(included}
           #~ Surgery procedure ~s c~u~sti~rn~~~a a~s to why it vvas doii~ at tk~at time.

           #3 Surgery - ~1~5I10 Cervic~Z Spiny MRI ~uvstho~t ~Qn~rast (a~ Adams Coiti~
           ~~s~ital
           ~xndin$s; It is toted that C~-T1 in unchanged wit~i~uf significant anal narrowing.
           ~'kx~ze zs nv sig~ifi~ant forarn.i~al ~ierrov~iz~g, Comparison was Sf2~07

           #3 Ir~£ar~x,ed Consent is rnis~iz~g. 'I`hree rnanfihs latex,the ap Report 911 /lU
           states ~tl~e procedt~t~es done were fln C7-'~'1, an~erio~ di~c~ctgmy, fusion, with
           All graft and ~,ufQgraft, cezvical cagy placement and iristrtrrn~~ta~ion.
           #~ Surgery p~ncedur~ is questionable as to why it was dan~.

        T. ~Jn the first office rrisit, Dr, ~7~.umani r~CVmmended the first suxge~~y.

        U, Dr. Dur~ra~i performed th~~ee surgeries an this client:
           #1-- Surgery — 216!07 r~7r The Christ Hospital
              1'~CIpERATIV~ &POS'~OPERATIVE DIAGNClSES: ~AlV~E
              • Lumbar ~ ~L3 Di~cog~~nic dise~sE ~urt~x stenosas
               ~ ~5 -- S1 DisoQgenic disease with fQrar~inal and central stenasis
                   I'1~.00EIIL}RES:
               E L2-L3 Right forarr~inal ~ecoz~~re5sion arzd larninectarny
              • L2-L3 posterrar s~i~al insfxu~nentation
              • L2-L3 pos~~rib~ spinal fusion
                   L5-SI t~at~sforax~inal lurrzbar i~terbady fusion
               ■   LS-S1 Pasteri~r spinal i~sentatiQn
               * LS~~1 Post~rid~ spinal fusion

            #2 — Surgery — 312710 [7a The Christ ~Iospital
                   PR~QPERATI~IE P~STOP~RATIV'~ DIAGNQSE~:SAME
            ~ervi~a~ Spinal Stenosi5
                   PR~CED[JRES
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              • C3 tea. C7,Post~~~or Cervical LaYnin4~i~sty vvit~h Left sxd~d opening and
                Right sided hinging.

           #3 — 911711 b — Surgery - ~ West Chester Medical Center
                  PREOPER.ATi'VE ~ P£}STQ~'ERATIV~ IIIAGNOSE~: SAIVIE
              s Ceruical Degenerative Disc Disease C7-`Y'~'
              * Cervical Spinal Stenosis C7-T1
                  PR.~C~DURES:
              • Anterior ~~rvica~ Discect~rn3r C7-T1
              • A.ntexia~~ ~er~ica.1 Fusion using Autograft anc~ ,Allograft C7-Ti
              • Ant~~iar Ce~ical Pl~cernent InterUody Cage C7-Tl
              • A~zteriox Cervical Placement ~nstr~unenfation C7~T1

       V. BMP-2 was used during the fQllnwing ~~irgeries:
          # 1 Surgery — ~.~coznbinaa~.t BMP
          # 3 Surgery -- BMF,Bioa~t Fo~n, Aut~gra~ anal A.11vgraft

       ~rV, The f~ll~wi~g hardware was implanted:
            #l. - Surgery - ~ — Screws 6.5~3S~xun - Medtrvnie
            ~ ~ b.5x45 mm.- Medtronic
            ~ ~ Set Screv~s — Medtronic
            2 —Rods 45mrn ~ Medtronic
            1 ~ Rad SQmm — Medtronic
            Master ~sraf~' Matrix
            C~psto:~e Ver~e~sta~k VBS 3fi~~4mm
            INFUSE Bone C~x~ft Large ~,i~

        #~ — Surgery - 3 ~ Flues ~Qznm ~ Medtronic
           18 — Screvsrs 7mm ~ Medcrnnic
           2 — ~l~te 12mrn — Medt~~crnic
            1 —screw 9mna — Medtronic

        #~ ~ Suegeiy — I-Foam B~oac#'~itoss k'ack Scc — Orthovita
           1— I~1FLJ~~ XX Bone graft Sm 0.7rn1 -Q Meclfraxaia
           1— SPCR Vert Lard Cr 9mrn Polymer — Synthes Spine
           3 — Scr~:~'s dery VA SD VCTRA 4h14'I'1 -~ Synthes Spine
           ~ — ~~~ews Cexv VA Sb VCTR.~1 ~xJ.G T1— Synthes Spine
           1 ~ 'late Cery VECTI k~,. ~ Lev I6mxn Tl — Syzzthes Spine
           1— SFCR VE1~T ~,QCd CR 8rnm Pc~lyrner — Synthes ~pxn~e

        K, Billp stated that 13r. Duzxarai did x~c~t explain to l~im t~iat he was going tea put in all
           t~iat hardware, a~e~~wards he was mast upset because lie dad n~ i~.ea ua~t~1 he saw
           h.is x-rays. ~~ saes the only t.~zing he z~ecalls was ghat tae would have arti~ic~a~
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           disc xnse~ed and ~.a~. na concept of what it actually inva€ved because Dr, T.)~uxani
           had nvt ~x~lai~ied it to him clearly.

       Y. OffLabel Use:

           #1 Surgery - eras a TLI~' approach
           #2 Surgery - `wa.s a posterior appraacl~.
           3~~ ~'liT~~:Ty - VV~S ~ 5~a1].£~&7't~, 13ght-SlC~~C~ SITllt~l-R0~3iT1S~Tl ~.~]~YO~G~'1.
        ~. OperatiUe Report Dict~tiaz~s:
        #1 Surgery was d~cfated end verified by Dr, A. Du~'ani vn 11!3110 X47 days Iat~x),

       #2 Surgery was dicta~eti by I)r. A. Uut~rani on 3~~~I09[~ days latex} and ve~fed by
       I7r, L~urrani on 511 D10~(75 dais Iatex}.

       #3 Surgery was di~taCed and verified by Dr. A. Dnxra~tai c~~ 1113f10(~7 days later),

        ,AA.      The fc~I~awing consists offaiEed hardwa~'e:
           #~ Surgery was going to be revised dus to tie continued 1e~ fain only this dine ha
           vv~s going fc~ involve L4-L5, ofwhich he skipped aver an the first surgery.

        BB.       The client has not seen a subsequent treating physiGxan, bud Dr. ~7~zrrani
           had pX~nned to do a revisifln of#1 Surgery — Combos but clue to the patient's CHF
           he was not claare~ by Cardiology far t12e procedure.

        C~,       The patient tried to see other surgeons(Mayfield Clinzc~ b~zt once fey
           found out Dr. Ihi~a~i had operated an him they reused to get involved.

        I}~.       As Hilly said it should go wit~auf saying that k~e has much moxe fain naw
           than he ever imagined p~ivr to Dr. Durxani's surgery. $illy states it's withQUt a
           doubt that his life has been ruined by l~r. Durra~a~ arld h~ is ~.a~ ab3e to ~ve~ do his
           daily diving a~tiviti~s without help. Silly says he has now ex~el7enced what a lU
           on the pain sear z~eally is and that he ~s a 9-10I~0 pain eo~stantly since the £~xst
           suxg~ry. Wien the weather is bad ~i~ pain. seems to be a ~Of10 all day.

         EE.BiIIy has had t~ move three tames since origi.~al surgery because he then had
            ~~auble getting up and down t1~e steps ofhis apartment. 7n the Zast 4 years dilly
            }zas l~~cc~me sa debilitated frcsm tla.~ constant pain and inability tv w~1k, He's h~,d
            to move into an assis#~d living pursing facility, He has an Aide that comps in
             every day t~ hel~a hinx get 1~is c[oth~s ~x~ and get his meals fQr him, A nurse
             cameo once a week for the GHF. ~ill~ s~~+s sometimes he bets so depres,~ed aver
            ~e wk~ole ~ititatx~~ and haying to talera~x; the constant pain, he gets an ~acasianal
             ~C~~& 0~ W~lY S~IClf ~'~llrii~ ~?Ut S~~S ~1C 15 IlOt 5L1J,C1LI~1, His limitations are
             ~XtenSi~re tY~ese days such aS:

                                                            0
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          Walking — before I3~r~.ni's surgery he use to walk evetywhexe for hours and now
          he can oily manage to walk.far less khan S minutes. He walks with a cane or a
          wa.[~er. ~e stags he r,.onfi~.ues to r~sxst suggestions ofutilizing a wlieelc~.air
          cause ~e feels once he git~~s into it he m~.y ~~t be able t~ 'walk at all.
          Bathing — he needs assi~tan~e u+ith g~ttz~g in and out ofthe shower, prone ~o
          faltit~g o~whic~ he ~.as f~~que~~l~ sir~c~ Iais right leg corrtinues to give aut on him.
                   ~?ressing hirr~self is a prvb~em si~~e ~e cannot rare his arms above his
                   sk~oul~ers rec~ui~ing hi~xa. to Have h~kp in putttn~; Qua tee skrixts. ~+Vhen he
                   faxces himselffo da this ~ait~. shots up his neck aiad into his back. He
                   su£~ers with headaches £requ~r~~ly. ~~ is able to get his pants pan bt~t needs
                   help in getting kris sllc~~s pan.
                   Sitting- was n.at a problem before t~~ 1a` s~~sge~~~ huh ~uz~en~ly 15 minutes
                   is m~.ximum befar~ he has t~ change kris position.
                    ~t~nd~ing —was the usual routine since h~ rarz a restauxaz~.t and was on ~i~s
                   feet all day.
                   Laying down is lirnite~d tra azll~ his rig~it side.
                    ~leepi~g ---comes is~ shims of~ rnttybe 4 ~iauxs at a txzaa~ then he hss #o get
                    up and sit for brie~pexxp~ then ga back to 1aed, A.t night leis right leg
                    seems to fall ast~e~ which i'hen awakens hina,
                    Lif~n.g — before X1.1 the surgeries was riot a pxoblev~ to 1ii~ whatever ~e
                    need~c~ to but cu~'ently is about2-3 l~rs at ~ urns. I~'kip attempts to pie~C u~
                    anythi~ig heavier k~e then pays far it r~vifih porn s~ia~ti~g up his back and
                    nick resta#ar~g in a b~td headache.
                    Household shores —ire is not ably to do vt~ a daily basis, the Aide tends to
                    X11 his needs i~ t~iat aspect includ~r~g mailing his bi11s.
                     Grocery shopping —the Aide does fha~ for hirn ~.~so.
                    k'lexzon ~ of his neck is limited as well, he casx tw~i his head a Iitt1e to the
                     x~ght but not at ail to the 1~~G. He can bend his neck faz~ward just a Iittl~.
                     Shaving his neck r~~uires sssistance because he cannot bend his neck
                     t~ack~v~'ds.
                     ~'Iexi~n— ofhis bask xs lirr~ited to being at~Ie to 1~~.~ f~rwaz~cl. a little and is
                     unable to bend avex.
                     Driving — he does aot da anymore b~cau.ss o~ tl~e limited flexion ofhis
                     neck, afraid h~ might r~u~ znta ana#~~t car.

        ~~. ~i~~y seems t~ have accepted the fact Yee ~riil ~a~e to live with.the pain he endures
            every day fir txce rest ofiris life. He s~~+s at times i~ gets depressing. ire has been
            toXd ~.e wild have t~ be on ~ai~. ~edicatiQn~, nnuscle relaxants -- ~ta4~axin .long
            with Nerooti~, and Baa~~fen ~`or the rest o£ his life.

        13. Based upon my ~~viaw,the following ~xre my opinions based ~~po~ a reasoxiable
            degree nfinedical certainty pei-tainin~ to the deviation i~ standard ofcare ar
            negli~nce, inf'o~~tned cozas~nt, l~at~e~'y acid ~t`aud claims against L}r. Durr~c~i, CA~aT,
            Vires~ Chester end UC Health wkdch ~rroximatal~ caused hard t~ Plaint~£i~

            A, deed to knave addztivna~ surgery to repair p~ablems crewed by Dx. Ih~rrani
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          B. Implantation of Purege~ wAtk~~ut X~~vrmed consent

          C. Itnplarata~tion ofBM~'-2 without inf'oxtxaee~ consent

          I~. Failed hardware

          E, Faxl~tue to obtain proper in~orme~. consent £ox surgery

          F, Fttilux~ to praeide ad~c~uate aid th~rou~h. preoperative and past-operative
             p~,~~ent surgical education

          G. F~~~zt~re tv pr'aperly past-t~~ rn~nitor the patient

          H. Failuxe tt~ p~raperly perform f411ow up, host-oft caxe

          I. NEgligent surgical techniques

          J, Failure to xzaa~~ataan accurate and conap3ete surgical recoxds and stu~gic~l
             con~~nt ~'c~~~ns

          I~. ~'ailuxe to disolase ixn~artant health in~ormatir~n to patie~it

          L. Failure tc~ rnarY~tai~ a~.d cnmplet~ discl~targe summary

          1VI. Failure to supezvise 17r. Durranz

          N. Negligent pre-s~~rgio~~ t~xagnosis

          C). ~'~a~uxe tc~ prepare a timely a~erative report or othex x~tedical ~ecQrd

          P, Bxl~ing for serviees not comple~d

          Q. Not informing tie patient anatk~er surgeon will be ding ill or part ~fthe
             surgery

          fit„ l~r~.cticing ou~tsicie L7r. Durrani's scope offxaining, education, e~erience, and
               Baazd c~ertifiGataaz~s

          S. Deviation i~ standard o~ caxe

          T. ~~iluse 10 p~rforna thor~ug~ and accurate pry-op nozasu;r~ica~ ~r+a~uatian

          U. F~ilux~ b~ Dx.Ia~rani to inform pa~i~nt t~f adal~~ic~z~~.Xlchanged procedure and
              z~a~c+n


                                                   ltd
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          V. Failure by BAST to disclose ~d~litio~allchan~ed procedure and ~easo~ to
             patae~t

          W. Failure ~y Dr. Durrani at CA~~'to pxapexly educate patient regarding
             diagnosis

         ~. Frior k,~.awledge ~f passible cfln~.~plicativn and riot acting prc~per~~ upon saz~ze

          Y. Failure to disclose ~e!rti.ne~t lZe~,lth infot-matitin to Attoth~r health. care provider

         Z. k'xauduIe~t, r~eg~igent anc~ ~ec~les~ pre-operative work u~

          A.A.     Fxaudulent, xce~liger~~ and reckless s~.u~eYy

         $B.       Inacaurat~, f~audule~.t, andlor exa~~eratian of di~~ne~ses

          C~.      ~~il~re to pmp~rly educate patient regarding diagnt~~es

          17~}.    ~'a~[tiu~ to a~G~~aa~t n~n~surgi~al canser~r~tive ~reatr~aent

          ~E,     .failure fo pez~att~ ~k~orough and accurate pre-ap ~xonsurgical evaluation

          ~F.~ailur~ b~ Dr. ~]urr&ni a# UCIWest Chester ~aspzt~l t~ perfc~rtn accurate and
             complete pxeop~rativ~ tcacl~i~ig

          GG. k`aflure by Dr. Durrani at UCI'[~Vest Chester Elospital fia properly educate
            patient regarding diagnoses

          HH.    Failure by ~Jr. Du~ani at UC~West Chester ~aspatal td maintain accurate
            andlc~r complete xn~di~al r~r€~xds

          II.      ~a~luxe ofi~faixned canse~t by Dr. Dttrrani at UCIWest Chester Hospxt~J

          ~d. Failure o~~Cl't~4lest Ch+~st~x ~IdSpi~a1 to insure Dr. Durrani end Ct~ST had
              c~bf~it~ed propex irz~ormed canse~it

          K~.      Fa.iluxe crf UCIWest Ches#er Hflsp~tat to obtain proger ackn~wledgem~nt
                of consent

          LL.Faiiu~~e by Dr. Durrani at UCIV~e~t Chester HQSpit~l to disclose pertinent
              health information

          MM. Failure by UC/West Ck~~stex Huth to dis~~as~ ac~da~~o~all~hanged
            prflc~dure and re~san to patient

          NN,      Failure 17y UClWest Chaster ~Teal~h to supervise staff

                                                   1Y
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          ~D, ~'aihtre by U~lWest ~hestex ~Vlet~i~al sfa~'fto propez^ly c~octzts~tent
            $bn,arrnalities a~lt~ follow up care

          P~'.Non-apprQVed ha~d~vare cc~xnbinatians

              ~q,Dr, Durrani made f~s~ a~.d mat~.ial misrepresenta~ians of m~ferial facts
                 intend~c~ to mislead. Bi1i S~ivy and concealed mat~'ial facts he had a d~zty to
                 disclose. UCNS1ESt ~k~ester ~-Iealth and CAST`co~,ceaied material facts ~~y
                 had a duty to disclose. ~i[1 ~pi~y was justified in relying on the
                 misreprese~ta~ian as~d did xely proximately ca~sxng harm to Bill Spivy. Dr.
                 Durrani, CAST,and L1~lWest Chester Health in~e~~tionally rnislec~ Bi11 Spivy.
                 Bili Spiny had the right ~o correct infoz~mation,

       14, The testirnQny, fact's and exhibits t~fi I3rend~. S11e11's Response to Mvtial~ for
           St~.mt y Je~c~gment axed L~ibits tQ same are ~pplic~,ble t~ ail ~h~ claims against
           west Chester l'vl~dic~.1 Cex~~er(W~MC)aiac~ UC Health fqr all claims, inait~diixg
           ne~li~ent ~•etentivn ally c~~ed~~ntiali~~~ brought by Pl~.~~tif~,

       1 S.       .Based. upon nay review t~ffloe t~eposit~vn testimony,r.~e JCAH~ requirerxi~nts,
              the 1v1EC bylav~s aYid all the ir~£ormatio-r~ prn~icled to nie, I Ana able to adept the
              ~ollar~ving apiiaic~~3s relating to ~NCMC and UC Health ~e~~fiaaxza~~ to the claims
              ~gainat t1~ern. ~WGMG's ai~~ UC H~~lth's actiai~s end inactions ci~tailec! in this
              ~f~dav~t proximately cat~se[~ harm to ~laixit~ff. ~WCn~1~ a1~d U~ I~ealth are both.
              ~e~ng ref~z~e~c~d when only WCI+rIC ~s ~aarned, I hold the ffllla~ing opinions
              rela~i~a to ~CMC and UC Health pertaining tr3 their conduct acting t.~rougli their
              adn~inist~~t~c~n axaci 1'vI~G. The t~ma ~ariod covered is from.the time Dx, Durrani
              sought privileges prior to WCMC opening iri May 2 09 through May 2073 when
              he nca ~ongEr h~.d px~valeges, ~~ a~ditinn to my opinions,l sefi, forth facts Y rely
              upon, This in~Tut~~s all which I refer~~ced t~iat T r~vie~ved, Tn addition to atl q£
              the above, ~ attest to the £o~Iowing;

                                                 k'A.CTS

              1, According to West ~l~e~ter's firsf Ex~~utive'~1'ice President, ~axol King, s~ie
                 did not explore the "rumors" .bout Dr. Durra~i's leaving children's.

              2. According to Caro] Kind,the hospital trtt~~Ced ~xobl~m zssues yet VJCIVIC
                 have £~.iled to prcaduce the infa~natian u~c~er pest review protectxor~,

              3. A.ccc~rci7t~g t4 cixcul~.ting nurses Janet ~mi~1,presets were cha~'iged in ~.~
                 ea~npu~~z to indxcata the procec~ttre Dr. Durrani perfairned a£Cer the prnoed~'e. -

              4. .According to 1an~t Smitk~, despite nc~ one at West Chester never working with
                 Dr. Durrani beFat~e, W~MC ~~~+err c~.ecker~ him gut,



                                                     ~~
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                                                                                       ),
          5. According to former Unirrers~ty ~Tospital Presideiat(a UG Health hospital
             Brian Gibler, hospitals face fi~an~ial challenges.

          6. ~ccoidingy; to risk mar~~~er, D~v'td Schwallie, ~l~ management ~r7ew Duz~:ani
             had issues.

          '7. Accardi~tg to r~diolagis~, Thcrnt~s B~a~vn, there were s~g~c~~as q~.es~ianina
              Durrani's decisions to pex~vrm su~gazy,

          8. According to ~eciical 5t~.ff c~ixector, PAUia Hawk, apal~Gy calle.~ "sEop the
             lying" was it~apleznez~ted the carne year and ~rn.pnththey kicket~ aut Dt`~
             Durra~i. This ~~.fexs t~ poor en~iraryment of honesty anti disclosure before thzs
             pc~liey.

          9. ~lecorc~ir~ to Fula i~~a~wl~ a.nd as the duectox of r~aedical staff', money zs not
             supposed to ~tuaap patent safety.

           1{}. According to PaL~1a I~awk, sFa~ adrnzts p~~z~ xeviev~ is fox hospitals to pxoteefi
                each other.

           1 ~.. According to Paula ~-Iawk, she admits hospitals ~e intex~sted z~n volume,
                 something L}r. 1]urr~i provided fox WCIVIC and UC Health.
                                                                                                   's
           12. Acco~'ding to Milo Teffers, the dvrec~or o£finance, t1~ey tracked Dr. Du~raz~X
              finan~i~1 nurnloers.

           13. ~1.cc4rdit~ to Nli~ce de~~ers, he admits ~.}r. L?uxrani helped them in their time of
               need.

                                                                                             ~r.
           1~. According to Mike T~Ffers, I~r. Du~rani ~r~s ~Yi~ kiig~,est money generat€
                                                                                       surgical
           15. Accar~it~g tt~ Milo JefF~~~~, he l~a~w 17x, Dut7ra~i lead mace than ane
               suits ~ssigr~d at once.

           16. According to Ivlike :Ie~'ers, btinuses tivere paid t~ hirn arzd vth~xs based upon
               finances.
                                                                                   "satis£~ctory,'°
            17. Acco~din~ to Dr. Peter stern, he Icne~v Dr. Dtzra:a~rti was only
                nvt a vvarld class sine surgeon as West Ch~st~x advertised,
                                                                                         on Tl►trrani
            1$,fir. ~fer~a daesr~'~ deny admi~xng YJ~ I~e~lt~t looked the other way
                l~ec~.use of rno~.sy.

            1~, Acctirdin~; t4 ~reclenti~lin~ x~~a~er, Ann Sl~~l~y, there was plenty of"public
                ~tnawle~ig~" about 1~e. burx~.~i to check.before cr~cler~txaling.


                                                    13
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          2d. Accordi~l~ tt~ A~a~ ~hel~y, West Chester ~^e1i~d on ale NPDB th~~r 1crie~v was
              protected by h~spita~s.

          21. Df•. uric ~cl~iaeb~r~e~~, Dr. Dun~ani's pat~z~ex, was on Elie M~~ at WCNIG.

          22, According to Eric Schi~eebar~er, West Chester lcn.ew about Durr~z~i
              scheduling sur~eri~s long into the day and ~axgFzt,

          23. Ace4rding t~ fo~~mei° tZ~xsing manager, Elaine K.~Txiko, WCMC knew about Dr.
              T~urxani not ~a~pleting records.

          2~. t~,~~ordri~g to El~ir7e KEU~:cQ, ~t,~C11~C knew Dx. Du~an~ would claim suzgeri~s
              wire eme~~gency when they were not.

          2~. ficcor~irig to Maine Ku~a,1~''CIvIC ~ne~r these was are issue with ~lx.
              D~urra~i not being ixx the roam doing surgery o~n "his" pat~e~.t,

          26. Accardit~g to Elaine T~4U~ilca, even the OR nurses.knew ~+VG~C p~xt ~xp ~crith
              Dr. Durrani far money.

          27. Accozding to ~.lazne I~ur~l~o, ~VCMC 1~~ack~e~. Dr. D►urani's fnai~ciaZ numbers.

          28. Acvorc~ing to }3erioperative di.~'~atoi, T~~s~ Uavis,~CMC knew T~urxani's
              office is supposed to get can~~~ts sa WCMC had an obligat~an to ma1~e sure
              tk~ey cad..

          29. Accort~in.~ to Jill Stegnaan, ~tl~e risk manager at West Chester, she knew
              Durrani hacl °Sigsues.:'

           3U. Jil.] Ste~na~~ confirms Gerry Goaci~rcan's cvrnplainis,

           ~1. ~ccor~in~ to Katy Hays, W~MC maw how Dr. Duxrani ~s~d BMF-2 end
               PureGen.

           32. Dr. Tian I~t~emclac[c, the Chief of ~khe (7r~.opedic department,failed to dcs his
              job under the 1VxEC bylaysrs as it related to tie sup~rvisia~ and review of l~r.
               Ilurrani,

           33, A.cG~ax'dx~g to Dr. Tire ~r~rnch~k, he knew Dr. Ih~crani vas "s1QppY."

           3~. ~.evit~ Joseph, the CE~D cif WC~Cy claims to tutvw nothxz~~ about si~t'gery
               operations in hip hospital.

           35. Ke~i11 ]QSe~ah,the CEC}, cl~~ms a k~Qspit~l roust pr~ta~t patients fxvm
               tu~ecessary harm "as ml~c~ as th$y can.'°


                                                  14
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          3~. Kevin Joseph, t1i~ C~~,~Iaizns ~V~MC doesn't knave oversight of surgeaiis
              doing wk~a.t P1aYi~tiff claims ~7utxani ~vv~s doing. (Despite what 1~ bylaws
              state.}

          37. ~.evin Joseph., fk~~ CEO,denies t13e hospital has any xespansibi~iry if T7;r.
              T7u~ani did an unnecessary surgery.

          3$. i~.e~i~~ .~oseph, the CEQ,cies~ite kris fulanr~ ~f~~e t~ac~.i~~ it, denies any
              kno~vledg~ of BMf'-2 use.

          3~. Kevin Joseph, the ~~~,denies knowing about any co~~plai~its about I3r.
              Durrani.

           44. K~~~n .~oseph, the CEO,admits They b~nefit~d fin~aaiall~ ~rd~i Dr. Du~rani,
               including 1~%s o~vn day.

           ~~. Mark Troni~a,the OR.nza~.ager, adr~xts BMP-2 use gs used by Dx. nurrani,

           A~. According to 7eff Dra~al~.k, the S~niax Leadership te~.m, including J'osepri, rnet
               w~e~ty and reviewed nurr~bers,

           43~. Acaorcling td ~e~`l~rapalik, the ~~'0 ~f WCMC knew Ux. Durrani eras a ~ig~
                volume rnoraey maker.

           44. L~sl~~~ Gzlbei-tsaz~, a zn ber o~the MEC of WCMG,and anesthesiologist
               ~ortciz~~ v,~ith Duz~~~a~i, had ~ co~eern about l ow land Durrani l~e~t patients
               under.

           45. Ac~orclin~ tQ in~.terials rnanagec, .C7er~is Rabb, V4~CIV.IC Ec~ew the vQhune~ of
               BIviF~~ ~~ing used.

           4b,t~lccording t~ Kann Gllaffari, WCMC kr~e~v the ~h~-t doc~xm~x~ta~ion 4f ~lr.
              Durrani t~ras not ~~ eompliaia~e ~vrtt~ thezr b~l~ws.

           ~7. ~'~ttrick Baker, parsing VP of ~t%k1+~C ~dnuts ~N~NrC tracked the fn.ancial
               pe~forrrlance ofD~. Uuxxani.

           48. Accardin~ to nurse, Vici~i scat, the administration of Vi~CMC knew frnrxa the
               autsst of West Chester all the se~iaus issues pez~ainin~ ~a Dr. Durrani,

           49. Accurdicxg to Vicki Scott, Vlesfi Chester's ris~C rnanag~r began to i~►ax~
              ~o~plaints from Ms. Scoff.

            ~fl, ,A~:carc~g to Vicki 5eatt, staf#~ vvas sc~r~d t~ speak s~t~ti.




                                                     ~S
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         51. According to Vzcki Scott, patients didn't know w~ia did the sul.•geries—Shand
             az~ Du~rra~i.

         52. Accorc~.i.~g t~ Vicki Scott,reoards wexe not accurate ~wha vas in the OR at
             what tinge.

          ~3, l-~ccardii~~ tt~ ~7iaki Scot,e~~ezyone at WCMC kn.ev~ it was ~ha~t money.

          S4. A~cord~ng #t~ Vicl~ Scott, ~VG11~I~ knew abnut 1~~. Dutrani's anc~ West
              Chester's illegal use ofPureGen.

          5$. Acc~rdi~ig to Vicl~i Scott, Dx. Durrani was a beha~ria~ ~xab~e~.

          S6. Acct~rdiug t~ patient representative, ~li~ab~th .Dean, WCMC tracked Tyr.
              Du~r~mi's ~Falr.~na~s from the outset and the CFQ Iovec~ s~vhat he sa~r,

          57. Accc~r~~in~ to ~li~t~etl; Dew,~IG~"vIC kzaew Dr. T.~urrani hid iss~~~ a~
              Children's.

          S$. According tv k:~xz~,b~eh D~~r~, WCM~ knew Di~, nurrani was per~flrming
              tu~aecessaty pxoa~duxes by vol~xrnes and repeats,

          59. A.c~~rcl~rt~ to ~~~~rse, Scot Kinzer, Vi~CMC knew l~r. Duirani waited until a~e~'
              su~'geries to document what procedures were plan~zvd.

          ~q.,A,aaordii~~ to Scan I~~er,patients at WCMC h~~.tl ~r~acedi~re~ they did nvt
             consent ~o a nd WC11~G [thew it.

          51. Accorc~in~ to Scott R.irner, sterile fields were not protected.

          ~~. t~ccarc~ii~g tca Scat Kinzer,~'CMC kx~e~v Fure~en was being used by Dx,
              Dzirrani ~~ad allavved it.

          53. Accardin~ t4 Thomas Blame, ~"~u~t'e~~n v~~as an altert~adtive to BMP-~, which
              WCMC turra~~ t¢ based ~pa:~ insur ce denials of~3MP-2. Tn ac~c~ition, Dr.
              Durraz~i. o~er~.ted an unet~axca'1 FdD of Alphatech ca11ec1 Evolutio~i 1►lledical to
              sell FureG~n to West Chester.

          64, According to Gerry Goaclrnar~, WCIIJIC tra.~ked BMF-2 use ~y Dr. Durrani;
              patients did nat kr~~w who ati~mes p~r£o~med their surgexy fir. Slaanti or Dr,
              Duman%; electrr~nic records had to be c~aaaged a~~x Dr. Durr'ani's surgery; Dr.
              Durrari and'WCMC haver obtained ~t~ormed consents; Z}r, Dn~`ani's volume
              was a ~raatning sign of over~.tilizati~►~. ~ez~ Gaodma~ re~a~ted aX~ t,~~s~
              concerns to WCMC and thexe way no action. Gerry Co~cl~nan ~+as told ar►cl
              concluded that WCIVIC did ~c~t w~n~ to do anytY~ing about Ur. Durr~ni b~~use
              +of~m~ney r+~w~rds.

                                                 1G
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                                    AD][~I'I'ZC)NAL UPINIQNS

          65. Tire Center of Advanced Spiny Technologies(GAS'S} n~gli,~e~t1y supe~'VISBtI
              and retained Dr. Durran.i, inctud~ng by allowing Dr,I)~~cani t~ perform
              unnecessary p~~cedtu~es ~tnd surgeries; use r3~VI~-2 andlor PureGen without
              a~~rropria#e coiise~.t; failing #a disclose Ur. ~hanti arxd others invol~ernent zn
              surgery; unproper billing; chat~~iiig the pre»gyp axtd ppst~a~a records tc~ coincide
              when the surgery was not the surgery diselosed~ ara~ ~Il other ~anduct detailed
              Xn fhe docum~~ts I re~ievaed,

          66. ~~MC,UC H~~.th ~d +CAST°s motive for their aGt~vr~s and inactiai7s
              towaxds fir, Durxa~ai was financial ~ai~i.

          b7. The MEC,administration and B~a~ds of WC~vIC and UC health Failed to
             "govern the ~ff~.irs o£ the IV~edi~al Staff.:'

          6$, The MLC,a~ministraf~vn a.~d Boards of'~VGMC and. C7C H~aX~t failed to
              en~arce their ru1~s u~ton Dx, J~urrani ~s they wexe required to da

          69, The NIE~, administr~titrn.~d Boa~~ds of W~MC and UC ~e~.th failed try
              provide oversight ~~'I7r. Durxani as they v~ere required t~ ~a.

          70. The MEC,adnai~xstxat~Qn and F~~~rds of~'~CM~ and UC Health failed to
              propex~y evaluate Dr. Du~~rani.

         '7~. The Orthopedic and Surgery 17epartrn~nt~ abdicated t~~eir reaponsibility unc~e~
              the MEC ~~rlaws to review, inaest~gate and supexvise Dr. burrani.

          72. Tl~e MSC,adrninistr~tzan ar~~. $pards of Vt~+CYt11C end UC Health failed t~
              properly discipline ~7x. DL1I'Yc`iTll 1TiCIl1C~lllg 5UT1?T17HTjj S115j7e21S1p11S ST1CI
              re~ocatian.                                                                 _

          73, The MEC,adrninis~ratian and ~aards t~f V+1~"MC and X.F~ Health failed to
              px~perly discipline un.d~~ the MEC ~yXaws as it pertains to Dr. D~xrani,

          74. Tlie MEC,admizaistxatian and Boards ~f t~V~MC and UC Health.igr~are~l the
              informatxo~a xea~ily available pertaining t~ I3r. Durrani befo~•e credentialing
               tad g~r~,ting hirn ~SZiUileges.

          7S. T1~e MEC,administratiax~ anal H~a~'ds of Vij~MC acid[JC Health f~I~d to act
              ~n Dr. Dui~r~ni's disz~ptxv~ behavior, Unp~•ofe~sion~l behavior and clinical
              perfa~7nance p1aG~ng P~a~nt~ff at t~is~C,

          76. The SEC,administration and Sa~rds of W~MC att~ UG Health cet~ified and
              apprQVed fine unnacess~y ~raced~ues of Dr. Durrani on Plaintif~'kttavving they


                                                    1'7
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             were unnecessary and kxzar~vingly allavcri~xg #k~e ux~proper use ofBMP-~ andlor
             PtareGen and lcnvwing there was not prapez~ znformed co~a~e~~.

          77. 'phi ,e MEC,~drn~xtusira~ivn az~t~ Boards of WCMC and. UC ~-Iealtl3 failed to act
              c~~ i]r, D~rrani's failiyre in medical r~GOr~i dt~~umenfadon.

          78. The N~tEC, adminis~r~tion and Bo~,x~is of CMC anc~ UG He~1th failed'to
              ~ceq~~ire Dr, l~urr~tni to follow fhe xules for off ~ab~l expeximental pracedut`es.

          79. The MEN,adri~inistration and Bo~,xds of W~MC and UC ~-iealt~a arlawec~ Dr.
              Dwrani to lase undisclosed and ~uiqual~~ed sti~rgeons ttt ~erforrr~ his surge~~es
             including Ar. ~k~a~lti.

          80. The N1EC, ~drniz~.istration and Bv~.rds of~T~MC and UC Hea~t~ ~tlrc~wed I}r,
              Dui7ani to do niczlt~ple surg~i~ies at anee.

          81. WCMC and -i.S~C Healkh have refi~s~d. to provide as pr~~~leged the p~er~ ~re~iew
              inft~nnation from W~MC far I7r, ~7u~r~ni to either m~ pr their ovvza expert.
              ~'1~e~~efare, eve have no ~ct~owle~ge a~ what action, if' any, was taken agaa~st
              hxrn. However, ba~~d upan the facts here, it is ob~iotas t~aey failed to ~alce
              action.

          82.Based upon all of tie above, it's ~y ~pinia~ that WCMC aid i~C Health were
             t~egtzgent ir_ tl~eir crede~tialir~, supervising, rlisciplin.ing and retaining Dr.
             Durrar~i an staff an[~ allowing ~irn to obt~%~n axzd ke~~ p~i~rile~~s afi WAMC
             under t~.e standards of Ohio as detailed in tie Brenda Shell's Response to
             Ivrotio~ far Summary Judgnn.~~tt ~.nd thas proximately caused hHrn~ to Plaintiff

          83. Tlae facts su~►pv~ Bill Spivy's ~lainn fof• negligence, ba~te~y, lack of cans~nt
              a,~ad fraud.

          84a As a result Qf the n~~ligence anti ccrnd~.~t ofIlr. Diu~an.x, C,A~T,~~st Chester
              and UC Health, Bilt Spivy suffered ~am~g~s px~ximatel~ caused by than,
              including the Following:

              A,, Permanent disability'
              H, P~ysxcal defarr~ity and scars
              C. last, ~urr~nt 2uid Fut~ir~ physical and Mental Pain and Suffering
              D. Lost in~oxn.e past, preset aa~d future
              E. Loss ofe~jayment cif1i~e
              ~'. ~'~st metiacal expenses
              G. Future rz~es~ical expe~ases appxo~imate~y in the amount of$50,000 to
                  $~5~,OQ0 depe~iding on course oft~'eatrnent
              I~, Aggravation Qf ~ pxe-existing condition
              I. Decreased abilzty to earn ir~c~me
              J. 3%increased risk of cancer and fear of cancer ifDMP-~ vas used.

                                                 18
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    AFFIANT ~AYE'~S FURTHER NQ'T`



                                              K~IT~-I D. VJIL            ,~Vf.D.


                                              3~t~TAR.'S~


    SUBSCRIBED,S~NDRN T(3 A1~1~ ACKN[JWLEDGED before me,al~Iatarty Public,E~y
                                                   Y`
    Keith D. ~ill~ey, M.D.4~ this ~~_ ciao off' r,2014.

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                                                    4 A      .
                                                         5

                                                                                   r
              ANG~l.A P~4NSETT                      r            ~       ~         ~, .-
          ~t4iary P~Bifc - ~okary, 9est
               State of 1~16~dur~                  .~.               ~
      Commisswnsd tar 5t. Gt+arles CouniY
                                         i6
     ~y C6mrnVssiao Nurni~es:11S
                                    3~6i~     State o~           ~ t~        ~E




                                              19
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                                          ~lC~.,~, ~k~:VY
                                      AR~IDA~T QF MERIT
                                       CH13I~T H~SFITAI~

           I, K~itli D. Wilkey, M,D,, af~erbeing dtt~y ~woz~. and cautioned s#afes as foltows:

       1, I d~vt~ts at ~e~st orie~h~lf of my prafes~iona~ time to the active clinical practice ~~n any
          field €~~`licens~re, ar its insiruc~on ~n an accredited s~haol. I ~.rn an ol~khop~dic
          s~.u~et~n w~iase focus is on spine st.ugeiy and tteatn2e~n~ ciftl~~s~ with spi~tae iss~.~s.

       2. T, vr~l~ s~~p~le~ne~tt this ~"ida~it vv~h another, by a letter rnr Tay tes~irncmy~ used upon
           ax~y in£armati~an pxavided tv me a$er I execute it.

       3. My Guzxiculurn vitae etas baen pxev~ousl~+ provided to opptising counsel in these Dr.
          Durrani cases a id can be pr~videc~ main upon f~uest. For my revx~w,I rely upon
          rrzy e~.u+r~#a~~, t~~.xni~ and experience.

       4. I have Sgt ~o-~~~ed bi.t~ X ~.av~ ~r~vxewed, over 50 or more Gasea inva~vivag Dr. Durres
          anti the hospitals w~exe h~ a~,~e dad privileges.

       5. I base my opinions isa part tin my re~riew ofal]t ie cases ~ have rev~~wed rxrhich here
          revealed si~za~lar conduct by Dr, I3u~t~~ni and the hospitals wh~x~e ~e had pri~il~ges.

       ~, I ~nr~.faniiiiar with applicat~le st~dar~i ofcarp far OIuo,Kentucky a~c~ die coEUitry
          #'~r ate orthopedic/s~i-ne surgeon ouch as Dr. Duz~tan~.

       '~. Tam also familiar with app~xcai~l~ standard ofcare, policies, roles and reguta~it~ns,
           medical executive con~rni~te~ byla~v~, JCAHd requirements, crer~eni~a~ing,
           supervisir~, retention s~~'~~di~al staff, granting and reject~n~ ~xivi~le~e~ and the freer
           revievvpxaa~ss ~c~r Christ ~Tospital thereafter CH).

       $, Z have zevievued all rale~ant medical recoxds xncl~,~din~ ~r~cliolr~~y ofI~r. D~rrani'a
          rnedict~ treatment ofF3iI1 Spiny and the medical tx~ea~ent of F3~~1 Spzvy at C~.

       ~, Thy tenter for Advanced spine Technologies, Inc. was Ihr. Dur~ani's pr~~~ice group
          and h~ was tie sole or~ner, director az~~ n#~icer of :AST a~ ~v~l~ as an employee.
          CASE" as such is also responszb~e for }ar, ]~t~xani's negligence grid fc~r their failure to
          also supervise, discipline and r~taxn. Tlr, Durrani.

        10. F have also reviewed the ~~r~ing summary prepared by legal counsel's office fax Bili
            Spiny. Based u~an then ber of cases I've reviewed perkaitun~ to l~r. D~rani,
            legal eot~ns~l's ~ffic~ knows what materials ~ nee~l to review a+i~. ~ro~vides me those
            materials, In ~ddifao~a, while t~iis affidavit cantai~s ~as~ specific
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          information; it also contairc~ information relevaax~ tc~ this case andiar many a~~dlor
          mast andlor al~ the otk~e~r c~~es. it is prepared £Qr me b~ ~t~~urisel wvith my dir~c~ian
          and approval life all ~~tkz~se have been.

       11. B~sec~ upon my r~vietiv, the following are the fads I iely ~po~:

       A. Bally Spivy 'was a 5l year old male when Dr. Du17r~tii did th.e frst of th~~ee
          Surgeries. He is r~ovv a divt~~ced a.~d disabled S$ year old. Billy ~a~s he was a~
          athlete vv~an in high ~choal artd hid always kept himself ~n fairly g~oc~ cr~nc~ition.
          He states he use to xurt a l~~ can s. daily basis and would ii.ui everywhere iti the
          town he use t~ li've i~..

       B. Billy has ~ rn.~d~cal hi-story afHypertension, Hypez~li~aidemia, Coronary Artery
          Disease, ~~1F, taut, Hypot#-iyroidism.,.Anxie~ky and Bipolar Diso~~der. surgically
          he has had operations on his hands, right foot, heart and ~e~k,

       C, ~iil~ use to ma~iage a restaE~rant with his v~ife far several years k~pd to be on leis
          feet aI~ day Iang ~rhiah at ~'ie dime was not a pxablem. He fill aff of a twa~stary
          ~aaf, back in 199 X az~d had lumbar s~g~ry at ~.at tz~m~ at Vanderbilt. He did
          Tina far abou# 15 years then the la vv~x back pain returned along with right leg pai~a
          aid sight testicle paid. That's wk~eza h~ sa~uv Dr. ~urran~ for ~n opi k~~n. dilly's
          pain scare 8-911 D at this tuna.

       D. ~iliy states Dx, ~1urr~ni made the decxsio~n to a~~t'ate at fibs first office visit and
          before he had even gotten tl~e first MRI. It wasn't u:ntal a.fler ~.e surgery v,~~a~n.
          $illy saw the x-ray ~~rzis that he r~ali~ed what h~ v as £e~~in~ in his ~vack vva~ the
          hardw~ze ~tYiat hacl b~~ ~au~t in place. Billy adaxnaritly atat~s ]fix. I~u~mani did not
          explain to him about any a£that I~ar~lvvace pare-operatively. ~#~ Surgery - X19107}

       E. 81IfiI07 i~ an office note, L~r. Durr~ni st~t~d that ~3i]ly was pretty hag~y with his
          progress anti Billy states that I~as sever been tree. Billy co~.ta:~~ed rx~iCh law~r
          baal~ and right leg fain a~zd with tie pain medication that Ax. Durrarii continued t~
          preseribe €or biro fax twfl years. When he v~ould quesi~on L7r, Du~~ani regarding
          the co~z~stant laweY~ book pain ~~.~ar~ neck pain also, Dr. Durrani would t~11 Billy
          the ~n~~ triing mat witl help zs rnc~re st~geiy.

        ~, 8131!07 iza an office note, Dr. Duz~ani stated Billy was eornpl~ining a~'si~nificant
           peek pain,,[eft arr~ weakness, deft a~rn nun~hness and the right leg is goi~~g ilur►~b
           as well. Appa~'ently there was a p~ria~1 oftime lapse because the ne~ct of~"ice note
           xs 1J20l~9 and again in att ~f~cs Rio#e 17r, Du:t~ani at,~,tes Bi~i~ his seven +~e~ic~1
           stez~osis ~vvi#h intense syn~gtnms. Dr. Zlurra~i was so ernphatie about mare
           surgery he told Billy he w~t~ld stop ~r~sc~~ibing his pain medications unless he
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           agreed to mare surgery. So Billy agreed to the cezvical si~xger~r(#2 surgery
           31z71~9) See dia~flstic films of 3!27/09 ~e~a~v.

       ~. Dr. I~urrani had told Billy it would be ahou# a 4-S"incision ~~a hzs neck ~zzd i~
           turned apt t~ be about J.0",


       H. A,t tk~e time Billy states he didn't understand ~io~ neck surgery was going to help
          his lower b~~k pain. aEnd wk~e~ questioning never really got a~n anst~v~r ~xo~tn Dr,
          Dut~rani or the office staff. Billy says ~£fhe office staff ansu+ered any afkis
          c~u~stia~as xegardin.~ him~~lf, the z~e~t tixra.e he visited the of~c~ t~~ pe~~san was n4
           longer there.


           Ei~ly had to have Cardiac ~Crearance and fh~ Cardialc~gi~t, Dr. Raghu tivould got
           allow far the blood tinning rnedicatian to be stopped. tDr. Raghu hats beep
           treating Billy far his CT~~'and had pZacec~ cardiac stems prior to tha surgery~~ Dx.
           Durra.tai assured Billy by not sto~~ing the bXaod thini~.ers ~vou~~. be ~.v pxob~~xzx.
           ~1'~11 that wasn't ~z-~.~e I~eo~u.se Billy did hive ax► epi5ade a~ exeessit~~ bleeding
           pestaparatively resulting zz~ receiving a unit af'blatad and increasing the hospital
           stay by 5 days. Apparently one t~fire nurses informed Billy that he had a
           TIA/beart attack during both #1 and #2 surgeries that he had nit been aware of.
           He said when he qu.~stxo~ed ~ersnnnel at Christ ~Q one would gzve ~ stxaz~ht
           ~a~swer.


       1. Bi11y's pain continued Sn his louver bask and dawn his right leg so lie returned to
          l~r. Dunani again. Billy ~~d to ~;a back to fix. J~tkxra~i bec~ti~se +~na~ ot~.er
          physicians ftiund that h~ dad ~uxgezy pxevib~sly dry Durrani they refused.td get
          itz~olved. So Dr. Dt~rrani hid ~~f[~rmed Billy that he was weld an his vvay of beir~
          tat~I~y t~issbled if h~ didn't have mare neck surgery vahich came about, ~~#3
          stugery - 9l17~I0} ~lnothei~ com~Iicatian ~ns~ied ~ollawing that suxgery which
          was MRSA. It toc~~C 2~3 months for f.~at infeetran to clear up ac~ox~i~g to Billy.
          See ~ez~vzcal diagnostic report dated 6125114 belo~r.


       K, Follvwang this #3 suxge~y Bii~y had to ga ~a see Dr. Taye6 for 12 epidural steraic~
          snjec~ions to try to help ease his pain. Billy s#.a~~d ~n many occasions Dr. Tayeb
          was~a't eves ably to izaj~ct into the can~ect spaces true to tJ~e am~~nt of hardtivare in
          place. Dr. Tayeb told Hilly ~e I~~d t ae ~i~'nit ofinjections anti he would ha~~ to go
          his FCF,Dr. Sabin {~uraGishi, fo gel bus pain nr~edicat~Qns from then on.
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       L. Billy says cornt~ients made tp him by ~aersonnel made ]aixn feel ur~cartifartable and
          he wondered a~rvut the oompetency t~fDr. Durrani, i.~, ~tAd.i~iagy staff£
          carnmentin~ they lrnew ~v~to did his surgery acting like it ~a~s ~ Mutiny thing; a
          nurse, Rasa ~w~.o had been a card~t~~o~y purse, stated to Billy, h~ was just a
          ~?uinea dig sa-to-speak, and ~,rsother ~iurse from Dr. T'ayeb'~ office tilling dilly alt
          ##-iey we~~ doing was killing 4~in~. Billy's faith. az~d t~~s~ in fir. Dux~rax~,i bean to
          w~ak~~ frpnl that time,


      Nr. 111T 611 U z~ a~ o£fzce note, flr. Du~~rani stated Billy was now l~a~vin~ right lep pain,
          pain shootizig down the Y•ight leg along with numbness and ting~in~, Billy lead
          been cv~rtpZsinin~ aba~~t this right lei pain aaa~ xzgk~t tiesticl~ since since tae ~xs~
          office visit Qn 1 f19/06. Dr. Durrani's in~press~~~, ofthat visit was:
          L,urnbar spinal Sten~xrx associated tivit~ lumbar spon~ylolis~hesis L3-T.4, I,4-T,5
      * 51.E pz~c~x lumbar interbody f~sic~n at L2~L3 and LS-S ~
          Pragras~ive ar~d severe symptoms ~f neuraganiG claudication
      r Back pain with r~dac~~.ar pain in the L3-L4 and the L4~LS etistributian
      e Very significant fu~ietional i~pai~ment
      • A~~texn~is~hesis QfL3 nn L4 end LA~ o~ LS
      • Adjacent l~~r~l degen~ratiar~ L3-L~, Y,4-L5
      ~ Sevet'e central stenosis L4-L5 azid rnad~~a#e eentraY st~nasis L3-L4
      * Severe faraminal ~tenosis bilatar~]Iy ~t L4-LS, m4derata ~.t L~-T,~
      ~ Failure of conservatiy~ treatxxae~at for over mttny years.

      N, 212$111 Billy ~.pparently had a cardiac arrest immediately fol~~vvin~ a cardiac
         stmt placement attd was resu~~it~ted by cardiologist, I~r. Ragk~u.

       ~, ].Q12/1~ In a lett~rta ~i11y°S PCP,Dr. ~abir Quxazahi, Dr. Dlatxani'~ stated ~ill~
          had returned wEth ongoing right Ieg pain along with Xt gzvir~g out a~ dam wzt~ZOUt
          warning causing him fa f~l~, I~?.Xlweek, Billy's fo~°tv~xd ~lexian axad e~tensior~
          bath were painful. Dr_ I~u~~ani remir~cled Dx Q~,raisku that dilly had #'aileii cardiac
          cl~ara~nce ~+~aen he previously ~.ad Szl~y scheduled.far lumbar surgery. His Ian
          was to repeat a Zu~b~,x MRT azzd faave Billy return tc~ the~office fc~r a suegi~~,
          deci~xon.. This #4 s~xrgery was ~~ver cfc~ne.


      k, k3i11y hid been camplainir~g t~ his PCP that he chokes easily ~nc~ has difficulty
         swal.~owing and ~learin~ his thr-oafi. Dr, Quraishi ordered a CT of tY~e hleck.
         Hilly w~.s told ley a, Dr, Susan that the way he k~a~d~ his head and neck from the
         neck s~arg~r~r as criurz~hing hxs ~'k~yxoid. He states he is ably to palpate this tvhi~h
         then makes him nauseated..

                                                  4
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       Q, 21I2113 CT a~'the Neck with ~V Cor~tra~t
          7mpressi~~: '~ Mild dorsal prQt~usion of~he rig~.t lobe of the Thyxc~d, otherwise
         unremarkable ~.~~ear~nce t~~~he thyroid. * MXXd ~nlargernetit of an upper ji~guly'
         lymph node of each side.
       ~ Mo~er~te dif~iise muxal tl~ickening of the upper esop~.agus Ynay in~3~o~te
         esaphagitis or se~~re refi]ux. Ti~is should be evaluated further as olinicatty
         warranted.
       r pier findir~,s i~cludit~g e~l~x~ernent ofthe ascending ,Aorta and bond £endings.

    ~i~tly's last visit to Dr. Durr~ni was ~n 312U/13.

        R. Que~iox~~bie iffine correct ~r~cedure was done fqr #~ surgery. No af~ice note
           rega~r~r.ng Dr, Durrarai's decision as to ~vhy this surgery vas done at this ~zme,

        ~. Dr. Dtu~ani;s zxxzsinterpretation of the pxe-operative diagnosfiic;
           #I Surgery - 1119f0~ ~coliosis Sut'vey done ~ University Poir~e
           It~npressian: ~.imat~d examination, Very mild saolitotic curvature at t1a~
           ~har~.c~lu~nb~rjux~ctian.
           IV~ultilevel degenera~.ve discv~enic changes. Suspected tratisition~I segment at
           the lutn~asacra~ j~.u~o~aon, ~crnsid~xed SI ~'or ~ha purpose of this eX~min~tion.
           (i~.~luded}

            ~l — Sur~e7ry - ~112/0~ Lurnbvsacra~ Spine ~a Adams County Hospital
            F'inding~: it is sEated f~.~xe has been unilateral paste~iar fiasxoz~ of L2-L~ vvi~h rig~t-
            sided pe~.icle screws acid a vertical bat,17.F1Ti~Wc'~TE 1t7t~Ct. T~14t'~ 1S 85yii7xl'iEfCIC 1.055
            ofdisc space hei~lat of L2-~3 gz~ea~er oz~ floe left, resulting i~. degenerative
            setaliosis. At LS-S1 disc space has b~~n preserved anti Sao subluxaEion. (incl~des~~

            #1 Surgery - 41211I~ Lu~x,,b~sacral Spine series a~ the Christ Has~a~tal
            Impression: ~ lurnbax type vertebral bodies, st~.tus pastgastexit~r £uaivn ~.1- L2,
                           ~'ri~r a.~teripr and posterior at L~~S1.
            Thy In~'~rmed Consent does rnen~ia~ L7-L2 or L~.
            T`~a,~ Informed Consent was signed far L2-L3 and L5»~l ~e~cutaneQUs
            transfc~raminal lumbar int~z~bc~dy fuszon for #1 surg~zy.

            #Z Siugety — 812'~1{~7 - Cervical Spine MRS without Cant~ast
            Impxessit~n: Post-fi~s~on changes with diffuse posterior bulging cifthe £used
            vertebral bodias and Ynild n~c~~vving saftk~e canal at t11is level, c~#her aa`ea of disc
            pratrusXOn with axeas Qf canal narrowitlg and znitd card volume IQSS. (included)

            #~ Su~'gery --N~ other Radiology Reports ~v~.il~,bla ~rQix~. 8123/07 to the day o£
            surgery can 3(27109.
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           Page 14 is missing, but the I3iag ~-~pi~e 2-3 Views dated 3~~7IQ9 ct Chxist
           Hospital
           Irnpre~sian: Prim anterior fusion ~.t ~5-C7, NIiId anterior bony spurring at C3,C4,
           moderate t~texior bony spurring at C4-CS end rev~rsa~ of'normal cervtca~
           larclosxs.(ir~c~uded)
           #Z surgery procedure is questi~~abie as to why it was dons at that #ime.

           #3 ~urgezy -[125110 Cer~ica~ spine MRI vvitl~.ouf Cantr~.~t @Adams ~aurxty
           T~ospzta]
           ~'in~ings: I~ is noted that ~7-T1 in w~hanged v;~ith~ut s~gr~i~c.~,nt canal ~r~a~c~wing.
           There is na si mifcant ~oramF~.a1 narrowing. Comp~isc~n w~.s $12fl~7

           #3 Informed Ca~nsent is missixag. 'T1~ee moths ~at~x, tine Qp Report 9/1X11a
           st~.t~s tie ~a~r~eedures done weie an C~-TI, interior disc~ctQmy,fusion w~t~a
           All~rgxaft and Autagraf~, cervical cage plaeenient azxd instrlementa#ion.
           #3 ~uxg~ry pra~edure is q~.es~ion~.ble ~s tc~ w~,y it vas done.

       T. On the first ofi~iee visit, DS`. Dt].Y'Y'~1~x x8GOI3ll7?8I]f~.L'{~ f.Il~ ~lYSt surgery.

       U. Dr. Durrani p~rFortx~e~ three surg~rze~ can this client:
           #1— Surgery ~- 216/D7(~7 ~'~,e Christ I~ospital
              ~'7tE0PEkATI'VE ~ Pt~S'TOPERAT7'~'E DIt~~r~VD~ES: ~Ah2E
              D Lumbar 2 —T,~ D1SCp~',~S~1C C~S~aSB WIf~Z St@I105I3
               • ~5 ~- S1 T_aiscagenic disease with £oa•aminal end cer~t`ra~ stenr~sis
                 PRU~EDURES:
               ~ ~,~~L3 Ri~hf forarnin~l depompression and IaminectQ~ny
               ~ L2-~.,3 posteriox spinaX instrumentat~~n
                 L2-L~ po~terioz~ spina[ f~~ian
               • L5-S1 transforaminal lurn.b~:r intexbady fusion
               • LS-SI Posterzor spinal ix~atrumentatian
               • L~-~1 Pa~erior spinal fusion

           ~ ~ — ~tzrgery — 31~~1Q9 ~ The ~la~'is~ Hospital
                   PREOPERATNE PC~~TQ~'E~A~'I~7E ,L]IACiN4SES: SAME
           Cervical ~p~i~a~ Stenosis
                   ~'RC10EDiJItES:
              • C3 t~iru C7,Posterior Cervical Lataai~.o~a~a~sty wzth heft sided opening anc~
                   Right side. hinging,

           #3 — ~II711 a — Surgery - cr 'test Chester Medical Ce~ater
                  PREOPERATIVE Bc ~'OSTOPEEtAT~VE I~~,A,GI;TOSES: SAME
               a Gc ruieal begen~rat~ve .disc Disease C7-T1


                                                         f~
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              • Cervical ~pin~l ~tenosis C7-Tl
                PRQC~D~1~~:
                Anterior ~er~ical bisce~torr►y C7-T1
              • Anterior Cervical Fusion using Autograft a~zd All~g~aft C7~T'~
                ~,.~.terior Cervical Plaeecnexx~ I~terbady Cage C7-Tl
              ~ Anterit~r Cervical Placement Ir~strutnentation C'7-Tl

       V. BMF-2 was ~tseci during the following surgeries:
          ~! a Surgery — R~~o~hxz~a~t I3MP
          # 3 Surgery — BlYIP, R~o~.ct Farm,,A.uto~raft ~z~,d Al~a~'ai~

       W. The fvllowin~ hardware way in~pYarit~d:
         #1 - Surgery - Z -- ~az~ews 6.5x3Smm - M~d~oniG
          ~ — d.5x~5 mm - Medtratuo
         6 -- Set Screws — Nied~tanic
         ? —Rods 45mYti ~ Medi~anic
          Y — RQd SOmnx — Ivledtranic
          Master Cn'aft Matrix
          ~a~astone Ve~te-sfack VBS 36x14mm
          INFUSE Bane G.r~ Large fit

        #2 ~ Sw~ezy - 3 ~ Plates 10n~ - 1V[adtronic
           1$ — screws 7mm - Medtronic
           2 — Fate 12mm — l~Iedtroz~ic
            ~ — Scree+ 9~a — Med~ro~ic

        #3 -- Stirgexy — 1- Fcratn Biaa~t ~ita~s Park 5cc— Drthv~it~.
           1 ~INFUSE          '. Bane Crraft Sm 4.7rn1 -0 Nle~t~nr~ic
           1— SPCR ~Tert Lc~xd Gr 9mm Polymex — Synthes Sine
           3 — Screws dery ~A 5D VCTRA 4x14 T[ ~- Synthes Spine
           2 — Screws ~~xv V,A S~ VCTRA 4xl6 Ti — Synthes Spine
            1 —Plate Cery VECTRA 1 Lev l~mm T~ — 5ynthes Spine
            l — SPCR BERT Lord CR 8mm T'olyxrr.ex ~- Syztfihes S~~.e

       X. Bi11y stated.that Dr. Dt~rrani did ~t~t explain fio him tlYat he was going t~ put in a1~
          that h~rdw~e,afterwards he was xnast upset because he had na idea until he saw
          his x-gays. H~ says the only thing he recalls was mat he 'would have artificial
          disc inserted ~d hid no cai~cept of what it aetu~lly involved because Dr. Durrani
          h~.d oat sxp~a~~ecl it to l~irn clearly.

        Y. Off-~,abel Use:

           #1 Surgery - r~vas a TLIF ~pprt~aah
           #2 S~trg~ry - was a pas~~xiar app~aach.

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         ~3 Suxgez~ - w~.s a standard right-sicced Sm#taa-Ra~inso~. appxoaG~a.
      Z. 4aperati~+e Repast T~i~Y.~tir ns:
      #1 Surgery was dictated and verified by l~r. A.~urrani on ~ ]./3l~U (~7 days later}.

      #2 surgery was dictated by Dr. A. bi~t~ani on ~/30/~9~ ~3 days Iater) and verified by
      Dr. D~ani pan 6I1~IQ9(7S gays ~at~x).

      #~ Sua~ge~y was dictated ar~d v~ri~ied ~y Dr, A. Dt.~rani ova 7 ~131]0 {47 gays later},

      AA.         The following consists offailed ltardwate:
          #l. Surgery was g~x~.g ~o be revised due t~ t~.e cantinue~.leg ~azx~ Only tk~xs ti~za~ k~e
          was ~oin~ to involve L4-~S, of r~~i~ah ~.e skipped over on the first ~~ur~e:t-~.

      BB.        The clien# k~as rat s~e~ a subsequent treating physician, bii~ Dr. Dus~a~ai
         had ~plaitned to do ~.revision of#I Surgery — Gumbar but due to tlae pa~zenf's UHF
        ~e w~~ ~t~~ cle~t~tt by Cardiology for the ~rrocedure,

      CC.         The patient tried to see of~.ex suxgeoras (Mayfield Clinic) but once they
          ~'aluid out Dr. T7ut~ani ~~ad ope~'a#~d on ~i~,they refused to get involved.

      DU.       A.s dilly said it shoutd ga without s~.yin~ ~i.at he k~~s m~ek~ xz~vre pax; now
        than he ever imagined prior to Dr. Durxan,i's sux~ery, Billy stags it's without a
        doubt that his life has been rui~,ed by l~r. ~t~'~ni €~t~d he is not able to eae~ da his
        daily living activities ~v t~or~t l~~lp. Billy says he leas now exp~rien~ed what a 1 d
        o~ the pain s~a~e ~'~lly is and thafi he has a 9-10110 pain constantly sin~a tae ~~:st
        surgery. When the weather is bad his fain seear~.~ to tae ~. J ~IJ.O alb day.

      E~.Bi11y has had to move t.~zee times since oxzgzr~~l surgery because Ise then had
          trouble getFing tEp end dawn the steps of his apaz~ment, In the last ~ yews fitly
          has becc+me sn debilitated from fhe constant pain at~d inability tv wa1k. He's ha.d
          to rave into an assisted living n~xs~~~ £ac~l~ty. Tie has an Aide that comes in
          eae~y day to help hx~a het his clothes can and get his meals for him. A nurse
          cprnes once a weed ~'or the CHF. ~i311y says sorneti~nes he bets so depressed aver
          tie whole ~ztu~.~ic~n and having to tolerate the cazastant polo, he gets an c~cGasional
          zde~ a~w~~ stick arflund but says he i~ ~.ot suicidal. Has liz~itations ire
          extensive these days such as;
          'VS~aIking — befo~•e Du~xani's surgery he use to walk everywhere ~o~r hours and now
          he can only manage to walk ~'ar less than 5 niinu~es. He walks with ~ cane or a
          walker. H~ S~~S ~e C~I1~Lt11l~S ${] TP.Sl5~ SLI~~eS'r102]S O~ll~ilIZI21g ~ W~ie?.~C~~.1x
          c~.use ~e feels nnce he gives into it he may ~.at be able to walk at all,
          8athi ~~ -- h~ needs assistance with getting az~ and rout ofthe shower, pr~rn.e t~
          falling of ~v'hich lie has frequently sine his right Ieg continues ter ~zve c ut on ~irn.
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                    l~r~ssi~►g llimsel~'is ap~Rbl~m s~n~e he canl~.vt razse his arms move his
                    shol~~ders requx~~~ag karm f.~ have help in pufitF~.g c~~a tee skurts. '~'i1he~ he
                    farces himself to da this pain sk~aots np his neck ~a~. rota his back, He
                    suffers with headaches freque~atly. She is able t~ get leis pests o~ but ~e~~s
                    ]yelp in. betting his shoes dn.
                    Sitting- was not a problem ~aefore the 1St surgery but currentFy X S minutes
                    is ma~.imtun b~t'ore he has to change his position.
                    ~tanc~ing —was fine usual routine sitice he ran a restateant and was on his
                    feet all day.
                    Laying down i~ limited tv only his right szde.
                    bleeping —comes ire sk~i~s of3 may've 4 hours at a time tkaen he has to get
                    u~ and pit for ~br~iefperiod then g~ bask to bed. At tight k~s right leg
                    seern~ io ~'a11 asleep which then awakes him,
                    Lifting — be~o~e ill the surgeries rrvas ~aat ~. ~.ra~r~em to lift whatever he
                    needed to Gaut currently is about~-3 16s at afim~, If he atterrlpts to pick up
                    anything ~ea~vier he then pays ~`Qr it ~svx~Sa pain shooting up his bacl~ anc~
                    neck r~sultin~ in a bad headache,
                    T~ouse~al~. ck~oxes — he is not abbe to do on a. daily basis, fhe Aide tens to
                    alI hY~ needs i~, th~.t aspect including r~7azlx~g his bills.
                    Crrocery shoppzng —the Aide does that fax Dina also,
                    flexion — o~ his neck i~ 1united as well, he cart tuxn his head a lii#le to the
                    right but not at ~l ~o the Ieft. He ca~~ be~icl his neck forward just a little.
                    shaving his neck xequires assis#once because he ~a;r~ot bend his neck
                    backwards.
                    F[e~ioiz — at'his back is lizxiifed to being able to lean forwaxd a little Fund is
                    unable to bend aver.
                    Dxiving — he does not do aay~mo.r~ b~aause of the limited flexion- e~£ ~~~
                    neck, a£xaad he mighf i     into ~.norher car.

       FF.   Bi~l~ seems to ]eve ~oeepted the fact he wi1~ have to lute witht~ie pain he endu~as
             ~'v~ry day far the rest of his 1~~'e. He says at times it geks depxessing. He his been
             told he tivill have to be on pain z~r~edica~ians, muscle rela~r,~.nts ~ Robaxin alt~ng
             vrith Netu~otin and ~aclo£~n fox the ~esC ofhis life.

       12. Based u~an any review, t~ze ~oltowing are my opinions based upon a reasonable
           degree a£ medical cet~ai~~y pertaining to the deviation in stataa~ard ofcare ar
           zze~ligence, anf4z~a~tl consen#, battery a.~ni~ fraud claims against Dr. Dzu~r~ni and CH
           wk~xch proxi~rnat~ly caused ha~~rn to Plaintiff;

             A. Need to have additional surgery to repair ~re~bie~ns crated by Dr. Durrani

             B. Implgaatatio~ ofBMP-2 witho~it informed cvnse~.ti

             C. Failed hardware

             D. Failure to obtain proffer ic~~rrn~d ar~nsent #'or surg~r~

                                                    ~]
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              E. Failure to provide a~.equate ~aci tharaugh pxe-operative anal posC-aperati_~e
                 patient surgical edu~~.tion

              ~. F~~I~.re to properly ~c~stap Enonito~ the patient

-             G. Failure ~o properly perform fallow up, post-ap care

              ]f~. Negligent surgical techniques

              I. Failure tQ m~izatain a~cc~:u'ate aid c~~plete surgieal zecoxds a~~d s~ical
                 consent farms

              J. ~ailu~e to disc[os~ irnpa~tant health informati~~ to patient

              K. Failure to main~.in and cam~Iete discharge sufnmary

              L. Failure to s~.iperrvisa Dr. Durr~►i

              M. N~~Xige~t pre-surgi~~l diagnosis

              I~1. k'~ilure to ~repar~ ~. ti~nn.el~ o~era~i~re re~o~rt or other medical record

              a. Billing for services got completed

              P. Not ~.nfarming t ae p~ti~nt another surgeon will be doing all ~r pert o~'tf~e
                 surgery

              Q. F'racticir~g outside Dr. I)t~rrani's scope o~txaining, edu~atia~i, ~x~erience, and
                  Board oeriifica~ions

              ~, De~iatian in st~dard of carp

              "~. Failure to perfai~m thorough and acct~ra~te p;re-off ~on~ur~ical e~~ivatian

              T. failure by Dr. burr~a~ tea infartn patient of additional/,changed procedure and
                 reason

              C.?. Ftti~uz-e by CAST to ~isclase aclditionallahanged ~roc~dure azid reason in
                   ~at~ent

              V. ~'~I~USE I7~ Dp. Durrani ~.t CAST to prc~pe~l~     edueafe p~,ti~~.e regarding
                  [~1~~t7~~S~S


              'V4~. F'xicrr I~t~~ledge of possible cornplxcation and not acti~.g properly upc►n s~z~e



                                                       ~~
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          ~. ~`a~.lure to disclose pertinent health ~~~'azznatian to ano~l~~r health care pr~~ider

          Y. Fraudulent, negligent and reckless pry-Qperafive work up

          Z. Fraudulent, negligent and reckless surgery

          AA..      Fnaccurate, ~r`aud~lent, andlor exa~geradon a~'diagntrs~s

          BB.       Failure to prope~~y educate patie~it regarding di~noses

          CC.       Failuace to at~~mpt z~c~z~-surgical conservative treat~e~t

          I)Il.          Failure t~ perfarzn t~.aro~tph and accurate pze~op no~asurgical
                2~ra~Uk1~1U11


          EE.       Fs.ilura 1~y Dr. Durrani ~.t CH to pex~'arm a.courate and compete
                preo~eratrv~ teaching

          ~F.Faal~r~e 1~~+ Dr. ~}u~ani a~ CH to properly+ ed~.eate patient regaz's~in~ dia~moses

          GG. Failure by fir. ~}urrani at C~ to rr~ai~tain acctuate ~.ndlr~x Gom~lete
            medicar regards

          HMI.           Failure of in~orimed con~~nt by Dr. T3urrani at CH

          II.       Failure ofC~ to insure Dr. Dturrar~i and G,AS~' had obtained propex
                infar~ned consent

          Jd. ~~iluxe ofCH to obtain proper aaka~o~x+ledgement of consent

          ~K..           Failure by Dx. Durrani at CIS to disclas~ pe~i~a~f health information

          ~,L.~'ail~ by CH ~a disclose a~ditionallchanged procedure and reason tt~ ~aatient .

          MM. failure by Cato su~ervis~ staff

          M~1, Failuz'~ icy ~~ staffto properly document abnormalities and fallow up
             care

          OD.           I'~or~-appLOVed hardware cc~~bz~xatians

          PP. Br. Du;r~ra~i made false and inateri~l misrepresentations afmatexi~l ~acfis
              intended to snisleacX dill Spiny and conce~.Ied naat.~~~ fads he l~a~ a duty to
              disclose. CH and C,A.ST ct~ncealed r~iaterial ~a~~s f ey had a duty to dzsalvse,
              Bill Spiny was justified in relying an the misrepr~senta~ivn and dick rely



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                 prc~~i~ately causing harm to ~3ill Spiry. Dr. Durrc~Sii and CH ~ntention~,lly
                 mi~Ied Bill Spivy. Bill 5pivy had tha rig~.ti tq Goz~C~ct iz~~'Qrm~ation,

       ~3.       Saved upon m~~ review of the deposition testimony, fiha JGt1.H~ tequireiaaents,
             the MEC bylaws and all the information p~~vxdEd to nse, I am abbe to adopt the
             following a~it~xc~11s relaCu~g to CST pertaining to tl~e claima ~g$i~~st them. CBI's
             actions and ina~tio:~s detailed i~~ this a.f'1~ciavit prc~xin3ately ~a~as~~ harm to
             P~aintifF. CST are bath beix~~; ref'~x~~r~G~c~ ~vlien only CH is n~tned. I lavld the
             ~olYowing opinions relative to CH ~S~~~init~g to them'conduct acting tlat'ough ~ieir
             a~minist~a~io~i pct MEC. The tizxze peziod covered is fra7n the tinge Dx, Durrani
             joined CH un#il ha left by A~xgust Zp13. In additiQ~. to Tny opinions, I set ~'atfih
             facts I rely upon. This includes all ~rhicl~ I referenced that Z reviewed.. T~. ac~difiion
             to ail o~'t~a wave,I ~.~fest tv tkze folla~vx~.g;

             t. CH°s rr~otiv~ ~'c~r ~k~~iz• actions and inactions tawarc~s D~. Dt~~~ani ~~vas ~i~ancial
                gain.

             2. The TtII~C, adrr~t~r sit~tian and Baaards ~fCH failed f~ "govern the affairs of
                the Medical.Ste"

             3. The NIEC, at3r~inis#xation and B~~rds of C:I~i failed to ~t~farce their rules ~~po~i
                ~}r. Du~'~~i as they wire required tQ ~.v.

             4. The MEC,administration and Boards o~ ~~ failed to provide oversight c,fDr.
                Durxani as they we~~e rec~uixed to da.

             5, The MEC,administratiax~ and Boards ofCH fa~lec~ to properly evaluate ~?r.
                ~?tuxani,

             6. Tire 4z~thvp~dzc at~.r~ Stugery ~7e~a~~.eiits abdicafe~ their Yesponsibilify ~t~dex
                the MEC bylaws to re~ie~v,investigate and sup~rvis~ Dr. I3turani.

             7. The It~IEC, adrninistr~txon and ~3aards ~~'~H fa~Ied to prope~Xy disci~aline Dc,
                Durratii incl~~ding summary suspet~signs and revocation.

             $. The MEC,ad~ninis~'atron ~.nd Bo~~ds cif CH f~il~tl tv properly discipline
                unc~ex tae MEC bylaws as Xt pertains to T)r. l~LU•rat~i,

             9. The MEC,administration aid Bvard~ o~CH ignored Elie i~a£arxnatioi~. readily
                a~vai(able pertaining to Dr. Du~aaai before credentialing a~.d granting him
                  ~1T1V1~~~~5.


              10. Thy MEN,adrxzinistratian an,d ~3oards of CH failed to oat oi~ D,r. ~1ur~an~'s
                  disruptive behavior, unprofessional behav~oz~ az~d alir~ical performance placing
                  P~~ir~tzff ~.t ~xs~t.



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          11. Tie N EC,at~~inistrati~n a~.~ Boards ofCI~ c~rti~ed and appxo'ved the
              u~nzxe~~ss~ry proa~de~re~ offix. Du~~n,x on Pl~inti~ffknowing ~.e~ w'er~
              ~nne~essary and knowingly ~.11~wing the improper use ofBMP-2 ~c~lo;r
              P~aGran and laiawing there was not grope£ in~c~.`~rned consent.

          1Z. The MEC,administ~•ation and Bt~ards ofCH failed xp aat on Dr.Ih~rrani's
              failure in medical record docLrmentation.

          13. The MEC,ad~ni~istxa~ian and Boa7ds ofCH failed to ret~uire Dz. Duna~ai to
             fallow t~.e :rules fox o£f Iabel experirr~.ental procedures.

          1~. The MSC,administration and Bflards of CH allovve~ Dr. Durrani to use
             undisclosed and ttnqual~fted surgeons to pet`~orctn his surgeries ~n~Xuding
             fellows and.interns.

          15. Tha MSC,administration and Boaxc~s o:f CH allowed I3r. Durrani t~ do
              multiple surgeries at once.

          16. NCH have r~fiised to pra~ride as pri~ile~;ed tkte peer ie~iew information fra~n
             ~H for Dr. l7arrani t.~ either me or their own expert, T1lerefora, we have no
              knovsrledge of what action, if aa~y, w~ taken against luny. However,based
              upon the facts here, it is obvious tk~ey failed to take action.

          17. Based upax~ a~~ oft~ae above,it's my c~~airi~~rn that CH were ne~l~~enx in their
              cre~ienti~,ling, supe~i~ing, disciplining aa~d retaining ~lr. ~ux~ani an siaff~d
              a1~av~ing hitn td a1at~.iu atfd k~~p privileges at C~ under ~e stand~.rds of Qhio
              arid, t~ais p~'vxirnat~ly cau~~d hat~tn to Plaintiff.

          18. `~'k~e facts support ~ifl ~pivy's claim fox r~eglige~ce, batkery, lack of c~nse~.t
              and fraud.

          1~. As a result tr£ the negligence ~~ conduct of Dr. ~lurrani and CH Bill ~pivy
              su~Fered damages prt~ximafiely caused ~y thazn, including the following:

              A, Permanent disability
              ~1. Fhysica~ defa~nity and scars
              C. past, Curre~zt and Fugue Physicat ar~~ :M~~#~~ ~aix~ a~a~. Suffering
              D. Last income past, present ar~d futura
              E, Ls~ss o~~njaymetit oflife
              F. Past z~n~dzcal expenses
              G, future medacal expenses ttp~roxfmately in the a~~unt off' ~50,~00 to
                  ~25Q,pOQ depending on course n~'tre~fiment
              H. Aggravatipz~ o£ a pre-~sisting canclitinn
              T. I~ecre~sed ability to ea~a~. income
              3. 3%increased xis~C a~ cancer and fear of c~s~.r~er if F3MP-2 was used.



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     AFFiRPIT S.A'S~ETH FUt~T~TER NAT
                                                     ~~          a

                                                KEITH 1~.'~'TL          , M.D.


                                                NOTARY


     SUBSCRIBED,SCORN TO AI D ACK~T~WLEbGE~ before me, a Notary Public, by

     Keith.D. VTiXkey, M.D. ~n this      _ day of          ,2014.

                                                                    _            fi
                                                    ~,.~
             AN ELA POIh1S~T
         Plotary Pvbltc -Notary Seal
              5tafa of l~Issnuri                      ~~~ L ~,.
    Comm4~sloned for 5t. Charles Coun
   My Commission Expires: July 18,2D 5
      Gomtnissinn Number,11t3 81&                    -i      1




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     TU;          Johan




  FRaN~s         Sandy

  AA~`E:         Septetn&er fix, Z~~~

  R~:            ~rettds Shen


 Y s~vk~ wit~a ~riax~ again st t~,~ y~est C~~ster Media enter who advised that~lr, bura~i,F~ ~~i11
 has not signed v on tk~~ ap reports, H8 advised ~~~ he l~a~ talked to Dr,Dur~t~'s ~#~Ce~ and
 ihey are aware #hat ne needs to sign tt~e reports He said t~~re is nothing e~sa ~e ~s~ ~a~ snd
 au~ges#ed I cant~n~e to Dell hire ~'~r tt~e stags. I ~+il~ c~~ back ir, s~ can~le of weeks.
     '~'~t:       ~'~~a ~,~~1 Fi~~

  F~Cf~1+Y:       Jabaa Holsc~tzh

  ~A'~;3         {~V'~t1~39r Jr~, ~~X ~1



  Tallcs~ ~1.th ~rl~ eat VV~st Ckaster vr~ t~c~taber ~. Ha edvi i ~u~rtt~ sti~~ has n+~~ aig~d on tvro
 plar,~~ in the ~~t~. Appar~t3y he ~ssid the h~ghher e~~alan at tha bo~pi~ai ~s#~~ ooa it and ~~y
     daitag ev~ythir~g ~y a~ to ~,et r3ure~a~ to sly, M35~ ~~vilege~ are s~iYt s~sge~ed until he
 spas. Yn any went, Y cared 8rtan ~ ser.~~d time and told #gym t~ we wa~ersR tit t~~
 recd had been r~l~ased #.~ ~Fz~ ~aeuraq~c eompa~ny. H~ mid t~a~          r~~e~se t1c~ Ards w tae
 i~s~ra~ces cam~at~y vua~Igp~ed l~~o~ws~ ~t ~s £o~ Sing Pur~~s~5 as ~pptrsod to I~gal pt~t~pses. I
 tats him ~a~ this p~ftYtr~r~j z~ti tv get#tee recarc~ e~~nn i~'t.~+~y are nv~ std aid
 ~~~. He said~ ~va~tid ~o a~tea~i and process ~sand ge~t3 t~~ r~rcis t~ us with fh~t
 u~~erst~ndi»~.

 cam: Mr,Jol~ S~e1~
 ~e~~.i
Case: 1:16-cv-00594-SJD Doc #: 1-3 Filed: 05/31/16 Page: 305 of 307 PAGEID #: 328
      Case: 1:16-cv-00594-SJD Doc #: 1-3 Filed: 05/31/16 Page: 306 of 307 PAGEID #: 329




'"~         I, Dr. Dur~~ani suspended same time sooner th~r~ ~.ugtxs~ G,2~ 10 through at lest October S,
               2Q1D.

            2. LVha# surgeries perfar~necl during that time?

                      ,..
         ~art~$i~,~Cf~d~                 '.~r~H                                      ~ a~~~2I1Q
         Slone,Crys#al                   ~rC7aU SAM                                    ~8f06/1 p

         Couch,Sackie                     '~7'►~CH                                    0811111 ~
         Stanfield, Rick                 'RICH                                        ~811~J10
         Ur~d~rwood, Cv~«                'L~~~1                                       b811~110
         McQu~~xy,7['ax~ia                ~VC~                                        U$1I~lIb
        Smitk~, l~v~eatcl                 G~4D SAM                                    081z011U
        Cotner, 4~r~lc~                  '~T~T~                                      081~3/1~
        Hc~ughtvn, Robert                 W~H                      ~                 48I~~1X ~
        Ross, Carol                       W~~                                        ~8125/1~
        R~wie ,Ronald                    1~CH                                        OB/2SlIQ
        I3r~dy, Rebekah                   WCH                                        0g127I10
        Allen, Sherry I,~nn              ~NCT-T                                      08/30/10
 1
        ~Callmeyar, V~ard,Linda          ~'CH                                        0$130f10
        Jahnsan, Chelsea                 (~C?DD SAM                                  09/~311~
        Rasebery, Fa e                   't~CH                                       ~~10$I1Q
        Sh~tnpert, ~a~id                 ~VCf~                                       ~~11011Q
        ~3act~~atu~,~ayl~                NCH                                         0911511~
        Juergens, Sarah                   WG~-T                                      ~9f1 S11 D
        Quinn,I'~ar~ia                    WC~                                        49J~71i~
        RQdri uez, Debbie                'SYirCH                                     Q9fl'TII~
        Sp~v}~, Bii3y                    WCH                                         ~911711~
        ~radsha~v,~~t~~+~                LV~T~                                       091~OJIU
         Koch, Amanda                    WCH^R~                                      09lZblIO
        Atwoad, Christopher              WCH                                         4~I~211 ~
        Favaron, ~+Feil                  WCH                                         Q9~~21[Q
        K~u~'f'man, Kate] n              '41~~H                                      09/~211~
        Golclstcin, Christine            YJCH                                        091 4110
        Ra ,Todd                         WC~        „~                               4~1~9110
        Hickey, J~nnif~r                 'V~C~I                                      l ~IOIf[0
        I~ursva~g, Carolyn                WC.H     ~                                 F0~4~/t ~
        Shemp~r~, Davad                   RICH                                       1DID1/10
        $tea~ttnar~, Siar~~a              GOOD SAM                                   1D141110
Case: 1:16-cv-00594-SJD Doc #: 1-3 Filed: 05/31/16 Page: 307 of 307 PAGEID #: 330




    ~aytiss, Steve ~I.ouise)   - WCH                         10/04110
    ~allme~er, VVard,~,i}~da   ~ ~WCH                        ]~1a4f14
    M'arksb~erry,P~ui            WC~-I                       10!0411 Q
    Mc~su~.ey, Hjram             V~CH                        ~o~a~ira
